                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNDER SEAL,
                                          NO.1:16-cv-01605
              Plaintiffs,

     v.

UNDER SEAL,                               JURY TRIAL DEMANDED

              Defendant.
                                          FILED UNDER SEAL PURSUANT TO
                                          31 U.S.C. § 3730


                    DOCUMENT TO BE KEPT UNDER SEAL

                            DO NOT ENTER ON PACER




                                      1
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, the
STATES of CALIFORNIA, COLORADO,          NO. 1:16-cv-01605
CONNECTICUT, DELAWARE, FLORIDA,
GEORGIA,      HAWAII,    ILLINOIS,
INDIANA,     IOWA,     LOUISIANA,
MARYLAND, MICHIGAN, MINNESOTA,           JURY TRIAL DEMANDED
MONTANA, NEVADA, NEW JERSEY,
NEW MEXICO, NEW YORK, NORTH
CAROLINA,    OKLAHOMA,     RHODE
ISLAND,     TENNESSEE,     TEXAS,        FILED UNDER SEAL PURSUANT TO
VERMONT, VIRGINIA, WASHINGTON,           31 U.S.C. § 3730
WISCONSIN the COMMONWEALTHS OF
MASSACHUSETTS AND VIRGINIA, and
the DISTRICT OF COLUMBIA, EX
REL.GREG SMITH, CLINT HOUCK,
BRENT SHIRKEY.

             Plaintiffs,

     v.

NOVO NORDISK INC.,

             Defendant.



                           AMENDED COMPLAINT




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                                 9
 1   I.     INTRODUCTION

 2          1.         Plaintiffs and Relators Greg Smith, Clint Houck and Brent Shirkey, identified
 3
     herein (“Relators” or Plaintiffs-Relators”), by and through their attorneys, bring this action on
 4
     behalf of the United States of America and certain States (the “Qui Tam States”) pursuant to the Qui
 5
     Tam provision of the Federal Civil False Claims Act, 31 U.S.C. § 3729, et seq. (“FCA”) and the
 6

 7   State False Claims Act statutes identified herein (“State Qui Tam statutes” or “State FCAs”). They

 8   also bring this action on their own behalf, seeking damages for the Defendant’s retaliatory
 9   discharge of Relators from their positions of employment, pursuant to 31 U.S.C. § 3730(h) and the
10
     corresponding anti-retaliation provisions of the Commonwealth of Virginia Fraud Against
11
     Taxpayers Act and the West Virginia Human Rights Act, W. VA Code § 5-11-9(7) (c) and the
12

13
     common law protections of the Commonwealth of Virginia and the State of West Virginia.

14          2.         This is an action to recover damages and civil penalties on behalf of the United
15   States and the Qui Tam States, from January 1, 2015 and continuing, arising from false and/or
16
     fraudulent records, statements and claims made, used, and presented, and caused to be made, used
17
     or presented by Defendant and/or its agents, employees and co-conspirators under the Federal False
18
     Claims Act and the State Qui Tam statutes. In addition, Relators seek to recover damages for their
19

20   personal claims of retaliation.

21          3.         Novo Nordisk, Inc. identified herein (“Novo Nordisk,” “NNI,” “The Company”
22
     or “Defendant”) has benefitted from an aggressive, nationwide scheme involving illegal off-label
23
     marketing, product switching or substitution, and kickbacks in the area of weight loss following the
24
     approval of the drug Liraglutide trademarked as Victoza for diabetes treatment in 2010 and
25

26   approved for obesity treatment as Saxenda in 2014. The groundwork for this scheme was laid over

27   many years and culminated with the formal marketing launch of Saxenda in late 2014. Through this
28
     sophisticated nationwide scheme, the Defendant maximizes revenue from sales of Victoza and


                                                      10
 1   Saxenda by expanding the market beyond their approved Food and Drug Administration (“FDA”)

 2   indications and their government health insurance coverage eligibility including through:
 3
                   a.      The nationwide marketing of Liraglutide, which was trademarked as Victoza
 4
     and approved by the FDA as a diabetes drug in January 2010, as a weight loss drug to both
 5
     endocrinologist and primary care physicians and to physicians who established weight loss clinics
 6

 7   which drug was reimbursed and paid for by Government healthcare programs. The primary

 8   components of the Novo Nordisk fraudulent scheme targets prescribing physicians with two
 9
     coordinated sales teams, one for Saxenda establishing the weight loss benefit and one for Victoza
10
     providing a Managed Care funded source of the “same molecule”. Concurrently the Victoza Sales
11
     Team is required to stock physicians’ refrigerators with Victoza samples at a “1:1 ratio or better”
12

13   for paid prescriptions written by the practice. Physicians complying with the Novo Nordisk scheme

14   provide patients with the Saxenda weight loss level dosage using Victoza off label through a mix of
15
     prescriptions and free samples. This scheme increases the risk of patient harm as the Victoza FDA
16
     required Full Prescribing Information inadequately describes the more severe side effects of the
17
     higher Saxenda level dosage.
18

19                         i.       Victoza (Liraglutide): Submitted to the FDA in May 2008 and

20   approved for type 2 diabetes in January 2010. See EXHIBIT A: VICTOZA FDA “HIGHLIGHTS
21   OF PRESCRIBING INFORMATION AND MEDICATION GUIDE” - JANUARY 2010. In 2010,
22
     the FDA approved Victoza for the treatment of adults with type 2 diabetes only and not for weight
23
     loss or pregnant women or pediatric patients under 18. See EXHIBIT A: Sections: 1, 8.1 and 8.4.
24

25
                   b.      The nationwide marketing of Liraglutide, which was trademarked as Saxenda

26   and approved by the FDA as a drug for severely obese patients (with BMI of 30 or over) on
27   December 23, 2014, to physicians by encouraging a substitution of Victoza for merely overweight
28



                                                      11
 1   patients under the guise of pre-diabetes indications which drug was reimbursed and paid for by

 2   Government healthcare programs.
 3
                                i.      Saxenda (Liraglutide): Submitted to the FDA in December 2013, the
 4
     FDA Advisory Committee voted for approval on September 11, 2014, and it was approved on
 5
     December 23, 2014 by the Federal Drug Administration for the treatment of obese adults with a
 6

 7   Body Mass Index (”BMI”) of 30 or higher or overweight adults with a BMI of 27 or higher and at

 8   least one weight related comorbid condition (e.g., hypertension, type 2 diabetes or dyslipidemia)
 9
     and not for individuals with BMI under 27 or with BMI between 27 and 30, but without a comorbid
10
     condition, pregnant women and pediatric patients under 18. See EXHIBIT B: SAXENDA FDA
11
     “HIGHLIGHTS OF PRESCRIBING INFORMATION AND MEDICATION GUIDE” -
12

13   DECEMBER 2014- Sections: 1, 8.1 and 8.4. Note: Victoza and Saxenda (Liraglutide) are

14   chemically identical, however Saxenda is approved and indicated to be prescribed with a higher
15
     dosage, 3.0 mg as compared to Victoza at 0.6-1.8 mg.
16
                                ii.     State Medicaid programs also include oversight of NNI medications,
17
     for example in Texas the State Medicaid/CHIP Vendor Drug Program (VDP)1 provides statewide
18

19   access to covered outpatient drugs, including Victoza, for clients enrolled in Medicaid, Texas

20   Children’s Health Insurance Program (CHIP), Texas DSHS Children with Special Health Care
21   Needs (CSHCN) Services program, Texas DSHS Kidney Health Care (KHC) program, and Texas
22
     Women’s Health Program (TWHP): Texas requires prior authorization for certain prescription
23
     drugs, including Victoza.2 The Texas VDP prior authorization process utilizes a questionnaire and
24

25
     decision tree which clearly delineates the approved diagnosis and patient groups. As described

26

27   1
         http://www.txvendordrug.com/about/
28   2
         http://www.txvendordrug.com/formulary/index.asp



                                                           12
 1   below NNI routinely did not follow these rules: See EXHIBIT C: “TEXAS PRIOR

 2   AUTHORIZATION PROGRAMS CLINICAL EDIT CRITERIA” – VICTOZA.
 3
                             iii.   Texas VDP patients who are under 18, or have not received a
 4
     diagnosis of type 2 diabetes in the last 365 days or have a history of thyroid cancer are not
 5
     authorized to receive Victoza under any of the Texas State programs described above. See
 6

 7   EXHIBIT C: “TEXAS PRIOR AUTHORIZATION PROGRAMS CLINICAL EDIT CRITERIA” –

 8   VICTOZA. pages 3, 4, et al.
 9
                    c.       The active nationwide coordination of both the Sales and Medical
10
     Departments of Novo Nordisk by:
11
                             i.     A program of soliciting requests from physicians through the
12

13   Electronic Product Information Request Program (herein identified as “EPIR” or “EPIRP”) to

14   involve the Medical Department in disseminating information about off-label indications of
15
     government reimbursed products through which the Medical Department became an extension of
16
     the Sales Department.
17
                             ii.    The active dissemination by the Novo Nordisk Sales Department of
18

19   the Medical Department’s Slide Decks which included off-label safety and efficacy claims.

20                           iii.   The involvement of the Medical Department in a “ride along”
21   program (herein identified as “RAP”) with the Sales Department personnel in sales campaigns
22
     involving Victoza and Saxenda, which emphasized off-label safety and efficacy claims.
23
                    d.       The nationwide payment or distribution by Novo Nordisk of monetary and
24

25
     non-monetary kickbacks to physicians as direct compensation for the issuance of Novo Nordisk

26   prescriptions for Victoza and Saxenda.
27

28



                                                        13
 1                 e.       A nationwide pay-to-play corruption of the Novo Nordisk Key Opinion

 2   Leader Speakers Program (herein identified as “KOLSP”) based, not on the knowledge of the
 3
     speaker, but on the physician’s prescription volume of Novo Nordisk drugs Victoza and Saxenda.
 4
     These payments included cash payments and travel benefits.
 5
                   f.       A nationwide sales program of extensive meals for physician staff to
 6

 7   encourage medical offices to switch patients from a competitor’s drug to Novo Nordisk drugs

 8   Victoza and Saxenda.
 9
                   g.       A nationwide sales program of distributing large volumes of free samples of
10
     Novo Nordisk drugs Victoza and Saxenda as a reward for high volumes of prescriptions written by
11
     the physicians and to support the off-label marketing and switching/substitution campaign involving
12

13   Victoza and Saxenda.

14                 h.       A deliberate and step-by-step violation of substantial numbers of the terms of
15
     a Corporate Integrity Agreement (“CIA”) signed in 2011 by Novo Nordisk executives Francis
16
     Bigley, Chief Compliance Officer, James C. Shehan, Corporate Vice President Legal/Government
17
     & Quality Affairs and the company’s lawyer Sidley Austin and remained in force through May 31,
18

19   2016.

20           4.         In 2015, Novo Nordisk generated approximately $2,000,000,000 in total U.S.
21   sales of Liraglutide based prescription medication. See EXHIBIT D: TABLE OF VICTOZA &
22
     SAXENDA SALES VOLUME BY YEAR. Through this action, Relators seek to recover damages
23
     and penalties for Defendant’s misconduct with regard to these two drugs since January 1, 2015.
24

25
             5.         The Defendant’s illegal nationwide scheme has caused false and fraudulent claims

26   for payment to the federal and state government funded health care programs since January 1, 2015.
27   On information and belief, these fraudulent schemes are ongoing.
28



                                                       14
 1          6.         Novo Nordisk actively solicited prescriptions for the off-label weight loss uses for

 2   its products Victoza and Saxenda. By definition, such uses had not been approved as safe and
 3
     effective by the FDA, and were not medically accepted uses covered by federal and state health care
 4
     programs. Novo Nordisk’s pursuit of increasing prescriptions for off-label uses caused it to make
 5
     false and misleading statements and to engage in inappropriate conduct with respect to its drugs
 6

 7   including: furnishing doctors and key purchasing personnel with false reports concerning the drugs’

 8   efficacy for off-label purposes, incentivizing and overtly encouraging its sales force to meet goals
 9
     focused on off-label sales, targeting patient populations for off-label sales, and minimizing or
10
     making false and misleading statements about the safety of these drugs when used off-label,
11
     including in doses not approved by the FDA.
12

13          7.      NNI also employed an illegal kickback strategy to induce Key Opinion Leaders to

14   increase off-label prescriptions. As part of the scheme, the Company paid illegal kickbacks through
15
     its key speakers program to doctors, key decision-makers, and other influential health care
16
     professionals. Among other effects, the increased use of Novo Nordisk products induced by these
17
     payments supplanted use of competitors’ products and resulted in higher expenditures and inflated
18

19   charges reimbursed by Medicare and Medicaid. Additionally, this effort caused switching of drugs

20   without regard to the particular medical condition or welfare of the affected patient.
21          8.      The kickbacks given to health care professionals included contracted for honoraria
22
     associated with speaking engagements utilizing a pay-to-play physician kickback scheme.
23
            9.      Another dimension of the kickback strategy was the ample use of free products in
24

25
     order to illegally induce physicians to prescribe, and patients to use, the Novo Nordisk drugs.

26          10.     Novo Nordisk’s illegal conduct caused the United States and the Qui Tam States to
27   pay millions of dollars in claims since January 2015 that were ineligible for reimbursement, thereby
28



                                                        15
 1   enriching the Defendant while patients were subjected to non-approved and/or potentially unsafe

 2   uses of their drugs and to unnecessary charges.
 3
            11.     When Relators confronted the Defendant’s management leaders with aspects of these
 4
     fraudulent schemes relating in particular to the promotion of Victoza and Saxenda, the Defendant
 5
     retaliated against the Relators by terminating their employment based on supposed minor violations
 6

 7   of corporate policies and procedures.

 8          12.     Under the FCA and similar State provisions, there has been no statutorily relevant
 9
     public disclosure with respect to this action. Moreover, each Relator is an “original source” as
10
     defined by FCA and analogous State provisions to the extent there has been any such public
11
     disclosure. The allegations made here arise from each Relator’s direct and independent knowledge
12

13   gained through their years of employment with the Defendant and other experience. The Relators

14   voluntarily disclosed and provided their information, based on their personal knowledge, to both the
15
     federal and State Plaintiffs prior to filing this lawsuit and this complaint. Additionally, Relators
16
     have knowledge about the misconduct alleged herein that is independent of, and that would
17
     materially add to, any publicly disclosed allegations or transactions that may prove to have
18

19   occurred.

20

21   II.    JURISDICTION AND VENUE
22
            13.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
23
     § 1331, 31 U.S.C. § 3732, and 28 U.S.C. § 1367. The Court has original and supplemental
24
     jurisdiction over the State law claims pursuant to 31 U.S.C. § 3732(b) and 28 U.S.C. § 1367
25

26   because this action is brought under State laws for the recovery of funds paid by the Qui Tam

27   States, and arises from the same transaction or occurrence brought on behalf of the United States
28   under 31 U.S.C. § 3730.


                                                       16
 1          14.     This Court has personal jurisdiction over the Defendant Novo Nordisk because,

 2   among other things, NNI transacted and/or is registered to do business in this District and/or
 3
     engaged in the misconduct alleged in this complaint within this District.
 4
            15.     Venue is proper in this District under 31 U.S.C. § 3732(a); 28 U.S.C. §§ 1391(b) and
 5
     (c); and 28 U.S.C. § 1395(a). The Defendant transacts business within this District, and acts
 6

 7   proscribed by 31 U.S.C. § 3729 occurred in this District.

 8

 9   III.   PARTIES
10
            16.        Relator Houck is a citizen of the United States currently residing in Daniels, West
11
     Virginia. Relator Houck is a former employee of Novo Nordisk who joined the company in October
12
     of 2001 to launch NovoLog as a territory Sales Representative in the Charleston, West Virginia
13

14   territory. Over the next thirteen years and with the launch of NovoLog, NovLog Mix 70/30,

15   Levemir, and Victoza, Relator Houck worked with physicians, pharmacists, hospitals, and other
16
     health care professionals to expand Novo Nordisk’s diabetes business. Relator Houck was a Senior
17
     Endocrinology Diabetes Care Specialist when Victoza launched in 2009 and an Executive Diabetes
18
     Care Specialist at the time of his termination around Thanksgiving 2014. Relator Houck has
19

20   extensive personal knowledge about the sales practices in question within both the primary care

21   levels and specialty levels during his tenure. In response to complaints to his superiors about
22
     unlawful and unethical practices he witnessed, Relator Houck was unlawfully discharged by
23
     Defendant in 2014.
24
            17.        Relator Smith is a citizen of the United States currently residing in Glen Allen,
25

26   Virginia. He is a former employee of Novo Nordisk who started his relationship with the company

27   in 1998 while employed by Schering Plough and co-promoting a drug called Prandin. He joined
28   Novo Nordisk in 2001 to market a new drug called NovoLog. Overtime he began to sell NovoLog,


                                                       17
 1   NovoLog Mix 70/30 and Levemir. Smith worked with physicians, pharmacists, hospitals, and other

 2   health care professionals to sell the new products including Liraglutide trademarked and approved
 3
     as Victoza for diabetes by using his contacts in the medical community. Smith was an
 4
     Endocrinology Diabetes Care Specialist when Victoza launched. In response to complaints to his
 5
     superiors about the unlawful and unethical practices he witnessed, Relator Smith was unlawfully
 6

 7   discharged by the Defendant and terminated in early September 2014.

 8          18.       Relator Shirkey is a citizen of the United States currently residing in
 9
     Barboursville, West Virginia who joined the company in July of 2006 to launch Levemir as a
10
     Senior Diabetes Care Specialist in Huntington, West Virginia. Relator Shirkey’s early
11
     responsibilities included the promotion and sales of Levemir, NovoLog and NovoLog Mix 70/30.
12

13   Beginning in late 2009, the majority of Relator Shirkey’s sales efforts were concentrated on the two

14   Liraglutide drugs: Victoza and Saxenda. Over his nine (9) years employment at Novo Nordisk,
15
     Relator Shirkey was recognized multiple times with “Exceed Expectation” and “Outstanding”
16
     reviews. In response to complaints to his superiors about unlawful and unethical practices he
17
     witnessed, Relator Shirkey was unlawfully discharged by Defendant in November 2015.
18

19          19.       The United States and the Qui Tam States are also parties to this action, as the real

20   parties in interest with respect to the federal and state False Claims Act Qui Tam claims. At this
21   time, Plaintiffs-Relators are pursuing their cause of action on behalf of the named Plaintiffs the
22
     United States and the States on the FCA Qui Tam claims set forth herein pursuant to 31 U.S.C. §
23
     3730(b) and comparable provisions of the State FCAs.
24

25
            20.       The Defendant, Novo Nordisk, Inc., is incorporated under the laws of New Jersey

26   and operates as a healthcare company that focuses on diabetes care. The Company provides
27
     diabetes pharmaceuticals and insulin delivery systems. It also specializes in hemophilia
28



                                                      18
 1   care, growth hormone therapy, and hormone replacement therapy. Novo Nordisk was
 2
     incorporated in 1982 and is headquartered in Plainsboro, New Jersey. It has a manufacturing
 3
     facility in Clayton, North Carolina; and a research and development center in Seattle,
 4

 5   Washington. Novo Nordisk operates as a subsidiary of Novo Nordisk A/S., a Danish

 6   Limited Liability Company.
 7

 8
     IV.    APPLICABLE FEDERAL AND STATE LAWS AND REGULATIONS
 9

10
            A.      Government Health Insurance Programs

11          21.     The Health Insurance for the Aged and Disabled Program, known as Medicare, Title
12   XVIII of the Social Security Act, 42 U.S.C. §§ 1395 et seq. (“Medicare”), is a health insurance
13
     program administered by the United States Government, funded by taxpayer revenue. The United
14
     States Department of Health and Human Services (“HHS”), through its Centers for Medicare and
15

16
     Medicaid Services (“CMS”), oversee Medicare.

17          22.     Medicare was designed to be a health insurance program and to provide for payment

18   of, among other things, medical services and equipment to persons over 65 years of age and certain
19
     others who qualify under Medicare’s terms and conditions. The Medicare program has four parts:
20
     Part A, Part B, Part C and Part D. Medicare Part A (“Part A”), the Basic Plan of Hospital
21
     Insurance, covers the cost of inpatient hospital services and post-hospital nursing facility care. See
22

23   42 U.S.C. §§ 1395c-1395i-4. Medicare Part B, the Voluntary Supplemental Insurance Plan, covers

24   the cost of services performed by physicians and certain other health care providers, such as
25
     services provided to Medicare patients by physicians, laboratories, and diagnostic testing facilities.
26
     See 42 U.S.C. §§ 1395k, 1395l, 1395x(s). Medicare Part C covers certain managed care plans, and
27
     Medicare Part D provides subsidized prescription drug coverage for Medicare beneficiaries.
28



                                                       19
 1          23.    The Medicaid program, Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-

 2   1396v (“Medicaid”), is a health insurance program administered by the United States Government
 3
     and the States and is funded jointly by state and federal taxpayer revenue. CMS and HHS oversee
 4
     Medicaid jointly with agencies in each State. Each named Plaintiff State participates in Medicaid,
 5
     and each named Plaintiff State’s Medicaid program covers the Defendant’s drugs at issue in this
 6

 7   Complaint.

 8          24.    Medicaid is designed to assist participating States in providing medical services,
 9
     medical equipment, and prescription drugs to needy individuals that qualify for Medicaid. The
10
     States and federal government share reimbursement costs. States directly pay providers, and then
11
     obtain the federal contribution from accounts drawn on the United States Treasury. 42 C.F.R. §§
12

13   430.0-430.5, 430.10, 430.12, 430.14-430.16, 430.18, 430.20, 430.25, 430.30, 430.32-430.33,

14   430.35, 430.38, 430.40, 430.42, 430.45, 430.48 (1994). Federal funding for the Medicaid Program
15
     includes support for Medicare Savings Programs which help qualifying Medicare beneficiaries pay
16
     Part A and B premiums, co-payments, co-insurance, and deductibles. The Medicare Savings
17
     Programs consist of the Qualified Medicare Beneficiary Program, 42 U.S.C. § 1396d(p)(1), the
18

19   Specified Low-Income Medicare Beneficiary Program, 42 U.S.C. § 1396a(a)(10)(E)(iii), the

20   Qualifying Individual Program, 42 U.S.C. § 1396a(a)(10)(E)(iv), and the Qualified Disabled and
21   Working Individuals Program, 42 U.S.C. § 1396d(s). Medicaid may serve as the primary insurer, or
22
     in some instances as the secondary insurer (e.g., with Medicare or private insurance paying primary
23
     coverage).
24

25
            25.    The Civilian Health and Medical Program of the United States (now known as

26   “TRICARE”), 10 U.S.C. §§ 1071-1106, provides benefits for health care services furnished by
27   civilian providers, physicians, and suppliers to members of the Uniformed Services and to spouses
28



                                                      20
 1   and children of active duty, retired, and deceased members. TRICARE pays for, among other

 2   things, medical devices and surgeries for its beneficiaries. CHAMPVA, administered by the United
 3
     States Department of Veterans Affairs (“VA”), is a health care program for the families of veterans
 4
     with 100-percent service-connected disability, or for those who died from a VA-rated-service-
 5
     connected disability.
 6

 7          26.     The Federal Employee Health Benefits Program (“FEHBP”) provides healthcare

 8   benefits for qualified federal employees and their dependents. It pays for, among other things,
 9
     medical devices and surgeries for its beneficiaries. Under the FEHBP, the federal employee is
10
     covered by private payor health insurance which is in turn subsidized in part by the federal
11
     government. As a result, fraud on a patient covered by the FEHBP constitutes fraud on the federal
12

13   government and the loss of federal funds.

14          27.     The federal government operates hospitals, including through its Departments of
15
     Defense and VA, and receives and uses federal funds to provide medication to patients treated at
16
     these facilities and otherwise, as well as outpatient services. A network of already established VA
17
     hospitals and services make up the VA health care system. Together, the programs described above,
18

19   and any other government-funded healthcare programs, are referred to as “Government Health Care

20   Programs.”
21          28.     Reimbursement practices under all Government Health Care Programs closely align
22
     with the rules and regulations governing Medicare reimbursement. The most basic reimbursement
23
     requirement under Medicare, Medicaid, and other Government Health Care Programs is that the
24

25
     service provided must be reasonable and medically necessary. See, e.g., 42 U.S.C. §

26   1395y(a)(1)(A); 42 U.S.C. §§ 1396 et seq.; 42 C.F.R. §§ 410.50, 411.15, 411.406; United States v.
27   Rutgard, 116 F.3d 1270, 1275-76 (9th Cir. 1997) (holding that TRICARE and the Railroad
28



                                                      21
 1   Retirement Health Insurance Program follow the same rules and regulations as Medicare, citing,

 2   e.g., 32 C.F.R. § 199.4(a)(1)(i)). Medical providers are not permitted to bill the government for
 3
     medically unnecessary services, which includes services that actually harm a patient or are
 4
     performed for no reason other than obtaining a profit. See, e.g., United States ex rel. Kneepkins v.
 5
     Gambro Healthcare, Inc., 115 F. Supp. 2d 35, 41-42 (D. Mass. 2000) (procedures chosen solely for
 6

 7   defendant’s economic gain are not “medically necessary”). Health care providers must certify that

 8   services or items ordered or provided to patients will be provided “economically and only when,
 9
     and to the extent, medically necessary” and “will be of a quality which meets professionally
10
     recognized standards of health care” and “will be supported by evidence of medical necessity and
11
     quality.” 42 U.S.C. § 1320c-5(a)(1)-(3).
12

13          29.     Physicians and hospitals enter into Provider Agreements with CMS in order to

14   establish their eligibility to seek Medicare reimbursements. As part of those agreements, the
15
     provider must sign the following certification:
16
                    I agree to abide by the Medicare laws, regulations and program instructions that
17                  apply to [me]. The Medicare laws, regulations, and program instructions are
                    available through the Medicare contractor. I understand that payment of a claim by
18
                    Medicare is conditioned upon the claim and the underlying transaction complying
19                  with such laws, regulations, and program instructions (including, but not limited to,
                    the Federal anti-kickback statute and the Stark law), and on the provider’s
20                  compliance with all applicable conditions of participation in Medicare.
21   Form CMS-855A, at 48 (for institutional providers); see Form CMS-855I, at 25 (similar; for
22
     physicians and non-physician practitioners).
23
            30.     Claims submitted by health care providers to Government Health Care Programs
24

25
     contain similar representations and certifications. See, e.g., Forms CMS-1500; 1450 (UB04).

26          31.     When submitting a claim for payment, a provider does so subject to and under the
27   terms of his certification to the United States that the services were delivered in accordance with
28



                                                       22
 1   federal law, including, for example, Government Health Care Program laws and regulations.

 2   Similar State Medicaid applicable certifications also incorporate relevant state laws and regulations.
 3
     Government Health Care Programs require compliance with these certifications as a material
 4
     condition of payment, and claims that violate these certifications are false or fraudulent claims
 5
     under the False Claims Act. CMS, its fiscal agents, and relevant State health agencies will not pay
 6

 7   claims for medically unnecessary services or claims for services provided in violation of relevant

 8   state or federal laws.
 9
            32.     Defendants, such as Novo Nordisk, may be liable under the Federal and State FCAs
10
     even if they are not the entity submitting the claim for reimbursement to the government. It is well-
11
     settled that a party who causes another party, or conspires with, another party, is equally or even
12

13   principally liable as the party submitting the claim.

14          B.      The Anti-Kickback Laws of the United States and the States
15
            33.     The Medicare and Medicaid Patient Protection Act, also known as the Anti-
16
     Kickback Statute, 42 U.S.C. § 1320a-7b(b), arose out of congressional concern that the
17
     remuneration and gifts given to those who can influence health care decisions can corrupt medical
18

19   decision-making and can result in the provision of goods and services that are more expensive

20   and/or medically unnecessary or even harmful to a vulnerable patient population. To protect the
21   integrity of federal health care programs, Congress enacted a prohibition against the payment of
22
     kickbacks in any form. The Anti-Kickback Statute was enacted in 1972, “to provide penalties for
23
     certain practices which have long been regarded by professional organizations as unethical, as well
24

25
     as unlawful . . . and which contribute appreciably to the cost of the Medicare and Medicaid

26   programs.” H.R. Rep. No. 92-231, at 90 (1971), reprinted in 1972 U.S.C.C.A.N. 4989, 5093.
27

28



                                                        23
 1          34.     In 1977, Congress amended the Anti-Kickback Statute to prohibit receiving or

 2   paying “any remuneration” to induce referrals and increased the crime’s severity from a
 3
     misdemeanor to a felony, with a penalty of $25,000 and/or five years in jail. See Social Security
 4
     Amendments of 1972, Pub. L. No. 92-603, § 241(b) & (c), 86 Stat. 1329, 1419; 42 U.S.C. § 1320a-
 5
     7b(b). In doing so, Congress noted that the purpose of the Anti-Kickback Statute was to combat
 6

 7   fraud and abuse in medical settings that, “cheats taxpayers who must ultimately bear the financial

 8   burden of misuse of funds . . . diverts from those most in need, the nation’s elderly and poor, scarce
 9
     program dollars that were intended to provide vitally needed quality health services . . . [and] erodes
10
     the financial stability of those state and local governments whose budgets are already overextended
11
     and who must commit an ever-increasing portion of their financial resources to fulfill the
12

13   obligations of their medical assistance programs.” H.R. Rep. No. 95-393(II), at 44, reprinted in

14   1977 U.S.C.C.A.N. 3039, 3047.
15
            35.     In 1987, Congress again strengthened the Anti-Kickback Statute to ensure that
16
     kickbacks masquerading as legitimate transactions did not evade its reach. See Medicare-Medicaid
17
     Antifraud and Abuse Amendments, Pub. L. No. 95-142, 91 Stat. 1200 (1977); Medicare and
18

19   Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93, 101 Stat. 680.

20          36.     In 1996, Congress expanded the Anti-Kickback Statute to reach claims involving all
21   “[f]ederal health care programs” defined as, “any plan or program that provides health benefits,
22
     whether directly, through insurance, or otherwise, which is funded directly, in whole or in part, by
23
     the United States Government (other than the health insurance program under chapter 89 of title 5,
24

25
     United States Code).” Health Insurance Portability and Accountability Act of 1996, Pub. L. No.

26   104-191, § 204(a)(7), 110 Stat. 1936, 1999-2000 (adding 42 U.S.C § 1320a-7b(f).)
27

28



                                                        24
 1             37.    In 2010, Congress clarified two important issues regarding the application of the

 2   Anti-Kickback Statute. First, Congress clarified that any, “claim that includes items or services
 3
     resulting from a violation of this section constitutes a false or fraudulent claim for purposes of
 4
     subchapter III of chapter 37 of title 31, United States Code” – i.e., the False Claims Act, 31 U.S.C §
 5
     3729. Patient Protection and Affordable Care Act (“PPACA”), Pub. L. No. 111-148, § 6402(f)(1),
 6

 7   124 Stat. 468, 759 (2010) (adding 42 U.S.C. § 1320a-7b(g)). Second, Congress clarified that,

 8   “[w]ith respect to violations of this section, a person need not have actual knowledge of this section
 9
     or specific intent to commit a violation of this section.” Id. § 6402(f)(2) (adding 42 U.S.C. § 1320a-
10
     7b(h).)
11
               38.    The Anti-Kickback Statute prohibits any person or entity from knowingly and
12

13   willfully offering to pay or paying any remuneration to another person to induce that person to

14   purchase, order, or recommend any good or item for which payment may be made in whole or in
15
     part by a federal health care program, which includes any State health program or health program
16
     funded in part by the federal government. 42 U.S.C. §§ 1320a-7b(b), -7b(f).
17
               39.    The statute provides, in pertinent part:
18

19             (b) Illegal remunerations

20             ***
21                    (2) Whoever knowingly and willfully offers or pays any remuneration (including any
22                    kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in
                      kind to any person to induce such person –
23
                      1.      to refer an individual to a person for the furnishing or arranging for the
24                    furnishing of any item or service for which payment may be made in whole or in part
25
                      under Federal health care program, or

26                    2.     to purchase, lease, order, or arrange for or recommend purchasing, leasing or
                      ordering any good, facility, service, or item for which payment may be made in
27                    whole or in part under a Federal health care program, shall be guilty of a felony and
28



                                                          25
 1                  upon conviction thereof, shall be fined not more than $25,000 or imprisoned for not
                    more than five years, or both. 42 U.S.C. § 1320a-7b(b).
 2
            40.     In addition to criminal penalties, a violation of the Anti-Kickback Statute can also
 3

 4   subject the perpetrator to exclusion from participation in federal health care programs (42 U.S.C. §

 5   1320a-7(b)(7)), civil monetary penalties of $50,000 per violation (42 U.S.C. § 1320a-7a(a)), and
 6
     penalties in the amount of three times the amount of remuneration paid, regardless of whether any
 7
     part of the remuneration is for a legitimate purpose, 42 U.S.C. § 1320a-7a(a).
 8
            41.     Concern about improper drug marketing practices prompted the Inspector General of
 9

10   the Department of Health and Human Services the (“HHS OIG”) to issue a Special Fraud Alert in

11   1994 concerning prescription drug marketing practices that violated the Anti-Kickback Statute. See
12
     Publication of OIG Special Fraud Alerts, 59 Fed. Reg. 65372, 65376 (Dec. 19, 1994).
13
            42.     In May 2003, the HHS OIG published further guidance on marketing practices
14
     which may constitute kickbacks known as the “OIG Compliance Program Guidance for
15

16   Pharmaceutical Manufacturers,” 68 Fed. Reg. 23731 (May 5, 2003) (the “OIG Guidelines”). The

17   Guidelines address, inter alia, the conflicts that may arise when a pharmaceutical manufacturer
18
     provides educational or research funding to, “entities in a position to make or influence referrals.”
19
     Id. at 23735. As a general rule, educational grants should be made without conditions or
20
     restrictions, otherwise the arrangement becomes a forbidden quid pro quo relationship:
21

22   Manufacturers should take steps to ensure that neither they, nor their representatives, are using these

23   activities to channel improper remuneration to physicians or others in a position to generate
24   business for the manufacturer or to influence or control the content of the program. Id. at 23738.
25
            43.     The Anti-Kickback Statute not only prohibits outright bribes and rebate schemes, but
26
     also prohibits any payment or other remuneration by a drug company to a physician or other person
27

28
     which has as one of its purposes, the inducement of the physician to write prescriptions for the



                                                        26
 1   company’s pharmaceutical products or the inducement of the physician to influence or recommend

 2   the prescribing of the product.
 3
            44.     Remuneration includes the provision of, “services for free or for other than fair
 4
     market value.” 42 U.S.C § 1320a-7a(i)(6). See United States ex rel. Freedman v. Suarez-Hoyos, 781
 5
     F. Supp. 2d 1270, 1281 (M.D. Fla. 2011) (citing United States ex rel. Westmoreland v. Amgen,
 6

 7   Inc., 738 F. Supp. 2d 267 (D. Mass. 2010)); see also Medicare and State Health Care Programs:

 8   Fraud and Abuse; OIG Anti-Kickback Provisions, 56 Fed. Reg. 35952-01, 35958 (July 29, 1991)
 9
     (“Congress’s intent in placing the term ‘remuneration’ in the statute in 1977 was to cover the
10
     transferring of anything of value in any form or manner whatsoever.”).
11
            45.     Compliance with the Anti-Kickback Statute is a precondition to participation as a
12

13   health care provider under a Government Health Care Program, including Medicare and the state

14   Medicaid programs. See, e.g., United States ex rel. Wilkins v. United Health Grp., Inc., 659 F.3d
15
     295, 312 (3d Cir. 2011) (citing 42 C.F.R. § 413.24(f)(4)(iv)).
16
            46.     Moreover, compliance with the Anti-Kickback Statute is a precondition of payment
17
     for drug claims administered by physicians for which Medicare or Medicaid reimbursement is
18

19   sought. Violation of the preconditions in statutes, regulations, and provider agreements for payment

20   from or participation in government programs may form the basis for a FCA claim where there is an
21   underlying course of fraudulent conduct. See United States ex rel. Hutcheson v. Blackstone Med.,
22
     Inc., 647 F.3d 377 (1st Cir. 2011) (Medicare and Anti-Kickback Act); State of New York v. Amgen
23
     Inc., 652 F.3d 103 (1st Cir. 2011) (Medicaid and the Anti-Kickback Act); see also United States ex
24

25
     rel. Westmoreland v. Amgen, Inc., 812 F. Supp. 2d 39, 54 (D. Mass. 2011) (collecting cases). A

26   Medicare claim must be only for reasonable and necessary services. Under 42 U.S.C. §
27   1395y(a)(1)(A), “no payment may be made [under the Medicare statute] for any expenses incurred
28



                                                       27
 1   for items or services … which . . . are not reasonable and necessary for the diagnosis or treatment of

 2   illness or injury.”
 3
             47.     Therefore, every Medicare claim is an implicit certification that the underlying
 4
     services were reasonable and necessary. The Second Circuit Court has held that, “[s]ince §
 5
     1395y(a)(1)(A) expressly prohibits payment if a provider fails to comply with its terms, defendant’s
 6

 7   submission of the claim forms implicitly certifies compliance with its provision.” Mikes v. Strauss,

 8   274 F.3d 687, 701 (2d Cir. 2001); see also Ebeid ex rel. United States. v. Lungwitz, 616 F.3d 993,
 9
     996 (9th Cir. 2010); United States ex rel. Smith v. Yale Univ., 415 F. Supp. 2d 58, 98 (D. Conn.
10
     2006); In re Cardiac Devices Qui Tam Litig., 221 F.R.D. 318, 335, 345-47 (D. Conn. 2004); United
11
     States ex rel. Kneepkins v. Gambro Healthcare, Inc., 115 F. Supp. 2d 35, 41-42 (D. Mass. 2000);
12

13   United States ex rel. Kappenman v. Compassionate Care Hospice of the Midwest, L.L.C., No. CIV.

14   09-4039-KES, 2012 WL 602315 (D.S.D. Feb. 23, 2012).
15
             48.     Kickbacks are, by definition, not reasonable and necessary for the diagnosis or
16
     treatment of illness or injury, which is a prerequisite for payment of any claim by Medicare and
17
     other governmental health programs.
18

19           49.     Further, federal law makes clear that violation of the Anti-Kickback Statute can

20   support False Claims Act liability. See 42 U.S.C. § 1320a-7b(g) (“[A] claim that includes items or
21   services resulting from a violation of this section constitutes a false or fraudulent claim for purposes
22
     of [the False Claims Act].”); see also United States ex rel. Wilkins, 659 F.3d at 313 (reversing
23
     dismissal because the, “amended complaint meets the implied false certification standards for
24

25
     liability as they alleged that appellees received payment from the federal health insurance programs

26   despite their knowing violation of the AKS”); United States ex rel. Hutcheson, supra; State of New
27   York, supra; United States ex rel. McNutt v. Haleyville Med. Supplies, Inc., 423 F.3d 1256, 1259
28



                                                        28
 1   (11th Cir. 2005) (affirming denial of dismissal because, “[w]hen a violator of government

 2   regulations is ineligible to participate in a government program and that violator persists in
 3
     presenting claims for payment that the violator knows the government does not owe, that violator is
 4
     liable, under the Act, for its submission of those false claims . . . .”.)
 5
             50.     Many of the named Plaintiff States also have anti-kickback laws similar to the AKS,
 6

 7   which apply to medical providers and entities participating in their Medicaid programs. See, e.g.,

 8   California, Cal. Welf. & Inst. Code § 14107.2; Delaware, Del. Code. Ann. tit. 31, § 1005; Florida,
 9
     Fla. Stat. Ann. § 409.920(2)(a)(5); Illinois, 305 Ill. Comp. Stat. Ann. 5/8A-3; Louisiana, La. Rev.
10
     Stat. Ann. § 46:438.2; Massachusetts, Mass. Gen. Laws Ann. ch. 118E, § 41; Michigan, Mich.
11
     Comp. Laws Ann. § 400.604; New York, N.Y. Soc. Serv. Law § 366-d; and Virginia, Va. Code
12

13   Ann. § 32.1-315.

14           51.     Violations of the federal or state AKS laws can subject the perpetrator to liability
15
     under the federal and state FCAs, for example, for causing the submission of false or fraudulent
16
     claims or for making a false or fraudulent statement or record material to a false or fraudulent claim.
17
     See, e.g., PPACA, supra, amending the federal AKS, 42 U.S.C. §1320a-7b to add new subsections
18

19   (g) and (h) (items or services resulting from a violation of the AKS constitute false or fraudulent

20   claims for purposes of the federal FCA and no actual knowledge of this section or specific intent to
21   commit a violation of this section is required); Hutcheson, supra; Westmoreland, supra.
22
             C.      The Federal Food, Drug and Cosmetic Act
23
             52.     The Federal Food, Drug and Cosmetic Act (“FFDCA”) prohibits the distribution of
24

25
     new pharmaceutical drugs in interstate commerce unless the Food and Drug Administration

26   (“FDA”) has determined that the drug is safe and effective for its intended use. 21 U.S.C. § 355 (a)
27   & (d). An approved drug may be prescribed by doctors for uses other than those approved by the
28



                                                           29
 1   FDA, but manufacturers are prohibited from marketing or promoting the drug for such unapproved

 2   or off-label uses, except under certain narrowly construed exceptions (described below).
 3
             53.     Whether a drug is FDA-approved for a particular use is a key and determining factor
 4
     in whether a prescription of the drug is reimbursed under Government Health Care Programs. For
 5
     example, reimbursement under Medicaid is, in most circumstances, available only for “covered
 6

 7   outpatient drugs.” 42 U.S.C. § 1396b(i)(10)(A). Covered outpatient drugs do not include drugs that

 8   are, “used for a medical indication which is not a medically accepted indication.” Id. §1396r-
 9
     8(k)(3). A medically accepted indication includes a use, “which is approved under the Federal
10
     Food, Drug, and Cosmetic Act” or which is included in a specified drug compendia. Id. §1396r-
11
     8(k)(6). There is a single exception, not relevant to this Complaint, whereby in certain
12

13   circumstances Medicaid will reimburse the prescription of certain single-source or multi-source

14   innovator drugs for an off label use where the individual State has determined, inter alia, that the
15
     drug is essential to the health of beneficiaries. 42 U.S.C. § 1396r-8(a)(3) (the so-called
16
     “humanitarian exemption”.)
17
             54.     The FFDCA makes “misbranding” and the, “introduction into interstate commerce”
18

19   of a misbranded drug, illegal. 21 U.S.C. § 331(a) & (b). A drug is misbranded if any of 26 statutory

20   conditions are met, including as relevant here that, “[a] drug . . . shall be deemed to be misbranded .
21   . . [u]nless its labeling bears . . . adequate directions for use.” 21 U.S.C. § 352(f)(1).
22
             55.     The FDA defines the phrase “adequate directions for use” to mean, “directions under
23
     which the layman can use a drug safely and for the purposes for which it is intended.” 21 CFR §
24

25
     201.5. For prescription drugs, the “layman” standard is superseded by specific regulation requiring

26   that the, “[l]abeling on or within the package from which the drug is to be dispensed bears adequate
27   information for its use, including indications, effects, dosages, routes, methods, and frequency and
28



                                                          30
 1   duration of administration, and any relevant hazards, contraindications, side effects, and precautions

 2   under which practitioners licensed by law to administer the drug can use the drug safely and for the
 3
     purposes for which it is intended, including all purposes for which it is advertised or represented.”
 4
     21 CFR § 201.100(c)(1) (defining labeling adequate to satisfy 21 U.S.C § 352(f) for prescription
 5
     drugs); see United States v. Evers, 643 F.2d 1043, 1051 (5th Cir. 1981.)
 6

 7          56.     The intended purpose of a drug (for which the label must be adequate,) “refer[s] to

 8   the objective intent of the persons legally responsible for the labeling of [the] drugs.” 21 CFR §
 9
     201.128 (defining “intended uses” and related language.) Evidence of objective intent may be
10
     shown by, “labeling claims, advertising matter, or oral or written statements by such persons or
11
     their representatives.” Id. (emphasis added). Additionally, the objective intent of the persons legally
12

13   responsible for labeling the drug may be shown by, “the circumstances that the article is, with the

14   knowledge of such persons or their representatives, offered and used for a purpose for which it is
15
     neither labeled nor advertised.” Id. Courts have agreed that the off-label use of a drug lacks
16
     “adequate information for use” in the label, and thus the intent for a drug to be put to off-label use is
17
     sufficient to support a misbranding criminal conviction. See, e.g., United States v. Caronia, 703
18

19   F.3d 149, 154 (2d Cir. 2012) (“The government has repeatedly prosecuted—and obtained

20   convictions against—pharmaceutical companies and their representatives for misbranding based on
21   their off-label promotion.”)
22
            57.     The government has issued specific regulations governing what kinds of
23
     communications regarding off-label uses of drugs may be permissible between drug and device
24

25
     representatives and providers. These regulations are aimed at ensuring that the content of the

26   communications between the parties are truthful, non-misleading, and scientifically reliable. The
27   regulations, at 21 C.F.R. § 99.101, provide as follows:
28



                                                         31
 1   § 99.101       Information that may be disseminated.

 2   (a) A manufacturer may disseminate written information concerning the safety,
     effectiveness, or benefit of a use not described in the approved labeling for an approved drug
 3
     or device or in the statement of intended use for a cleared device, provided that the
 4   manufacturer complies with all other relevant requirements under this part. Such
     information shall:
 5           (1) Be about a drug or device that has been approved, licensed, or cleared for
             marketing by FDA;
 6
             (2) Be in the form of:
 7                   (i) An unabridged reprint or copy of an article, peer-reviewed by experts
                     qualified by scientific training or experience to evaluate the safety or
 8                   effectiveness of the drug or device involved, which was published in a
                     scientific or medical journal. In addition, the article must be about a clinical
 9
                     investigation with respect to the drug or device and must be considered to be
10                   scientifically sound by the experts described in this paragraph; or
                     (ii) An unabridged reference publication that includes information about a
11                   clinical investigation with respect to the drug or device, which experts
                     qualified by scientific training or experience to evaluate the safety or
12
                     effectiveness of the drug or device that is the subject of the clinical
13                   investigation would consider to be scientifically sound;
             (3) Not pose a significant risk to the public health;
14           (4) Not be false or misleading. FDA may consider information disseminated under
             this part to be false or misleading if, among other things, the information includes
15
             only favorable publications when unfavorable publications exist or excludes articles,
16           reference publications, or other information required under § 99.103(a)(4)or the
             information presents conclusions that clearly cannot be supported by the results of
17           the study; and
             (5) Not be derived from clinical research conducted by another manufacturer unless
18
             the manufacturer disseminating the information has the permission of such other
19           manufacturer to make the dissemination.
     (b) For purposes of this part:
20           (1) FDA will find that all journal articles and reference publications (as those terms
             are defined in § 99.3) are scientifically sound except:
21                   (i) Letters to the editor;
22                   (ii) Abstracts of a publication;
                     (iii) Those regarding Phase 1 trials in healthy people;
23                   (iv) Flagged reference publications that contain little or no substantive
                     discussion of the relevant clinical investigation; and
24                   (v) Those regarding observations in four or fewer people that do not reflect
25
                     any systematic attempt to collect data, unless the manufacturer demonstrates
                     to FDA that such reports could help guide a physician in his/her medical
26                   practice.
             (2) A reprint or copy of an article or reference publication is “unabridged” only if it
27           retains the same appearance, form, format, content, or configuration as the original
28
             article or publication. Such reprint, copy of an article, or reference publication shall



                                                32
 1                  not be disseminated with any information that is promotional in nature. A
                    manufacturer may cite a particular discussion about a new use in a reference
 2                  publication in the explanatory or other information attached to or otherwise
                    accompanying the reference publication under § 99.103.
 3

 4          58.     The intent of these regulations is to prevent unreliable information from influencing

 5   providers’ prescription writing practices. While any restriction on speech raises First Amendment
 6
     concerns, see Caronia, supra, courts uniformly agree that there is no First Amendment protection
 7
     for false and misleading promotional practices. See, e.g., United States v. Harkonen, 510 F. App’x
 8
     633, 639 (9th Cir. 2013) (rejecting First Amendment defense on ground that, “[t]he First
 9

10   Amendment does not protect fraudulent speech,” and affirming misbranding conviction based on a

11   press release with false information.)
12          D.      The Federal and State False Claims Acts
13
            59.     The FCA, 31 U.S.C. § 3729(a)(1)(A), makes “knowingly” presenting, or causing to
14
     be presented, to the United States any false or fraudulent claim for payment or approval a violation
15

16   of federal law for which the United States may recover three times the amount of the damages the

17   government sustains and a civil monetary penalty of between $5,500 and $11,000 per claim for
18   claims made on or after September 29, 1999 and to $10,781 to $21,563 for claims made on or after
19
     August 1, 2016.
20
            60.     The FCA, 31 U.S.C. § 3729(a)(1)(B), makes “knowingly” making, using, or causing
21

22
     to be used or made, a false record or statement material to a false or fraudulent claim, a violation of

23   federal law for which the United States may recover three times the amount of the damages the

24   Government sustains and a civil monetary penalty of between $5,500 and $11,000 per claim for
25
     claims made on or after September 29, 1999 and to $10,781 to $21,563 for claims made on or after
26
     August 1, 2016.
27

28



                                                        33
 1          61.     The FCA, 31 U.S.C. § 3729(a)(1)(B), provides that any person who “knowingly”

 2   makes, uses, or causes to be made or used a false record or statement material to an obligation to
 3
     pay or transmit money or property to the Government, or knowingly conceals or knowingly and
 4
     improperly avoids or decreases an obligation to pay or transmit money or property to the
 5
     Government, liable for three times the amount of the damages the Government sustains and a civil
 6

 7   monetary penalty of between $5,500 and $11,000 per claim for claims made on or after September

 8   29, 1999 and to $10,781 to $21,563 for claims made on or after August 1, 2016.
 9
            62.     The FCA, 31 U.S.C. § 3729(a)(1)(C)), makes any person, who conspires to commit a
10
     violation of the FCA, liable for three times the amount of the damages the Government sustains and
11
     a civil monetary penalty of between $5,500 and $11,000 per claim for claims made on or after
12

13   September 29, 1999 and to $10,781 to $21,563 for claims made on or after August 1, 2016.

14          63.     The FCA defines a “claim” to include, “any request or demand, whether under a
15
     contract or otherwise, for money or property,” which, “is made to a contractor, grantee, or other
16
     recipient,” if the United States Government provides, “any portion of the money or property,”
17
     which is “requested or demanded” or if the Government, “will reimburse such contractor, grantee,
18

19   or other recipient for any portion of the money or property which is requested.” 31 U.S.C. §

20   3729(b)(2).
21          64.     The FCA, 31 U.S.C. § 3729(b)(1), provides that, “(1) the terms ‘knowing’ and
22
     ‘knowingly’ – (A) mean that a person, with respect to information – (i) has actual knowledge of the
23
     information; (ii) acts in deliberate ignorance of the truth or falsity of the information; or (iii) acts in
24

25
     reckless disregard of the truth or falsity of the information; and (B) require no proof of specific

26   intent to defraud.”
27

28



                                                          34
 1          65.     The FCA, 31 U.S.C. § 3729(b)(4), provides that, “(4) the term ‘material’ means

 2   having a natural tendency to influence, or be capable of influencing, the payment or receipt of
 3
     money or property.”
 4
            66.     The FCA, 31 U.S.C. § 3729(b)(3), defines an “obligation” to pay as, “an established
 5
     duty, whether or not fixed, arising from an express or implied contractual, grantor-grantee, or
 6

 7   licensor-licensee relationship, from a fee-based or similar relationship, from statute or regulation, or

 8   from the retention of any overpayment.” Moreover, in the health care context, such as Medicare and
 9
     Medicaid, the term “obligation” is further defined as: “Any overpayment retained by a person after
10
     the deadline for reporting and returning the overpayment . . . is an obligation (as defined [in the
11
     FCA],)” and an overpayment must be reported, “[b]y the later of . . . 60 days after the date on which
12

13   the overpayment was identified . . . or the date any corresponding cost report is due, if applicable.”

14   Patient Protection and Affordable Care Act (“PPACA”), Pub. L. No. 111-148, § 6402(d)-(e), 124
15
     Stat. 119, 755 (codified at 42 U.S.C. § 1128J9(d)). See also 42 U.S.C. § 1320a-7k(d).
16
            67.     Claims that are submitted to the government that are premised on violations of other
17
     laws, such as the AKA and the FDCA, may render those claims “false” or “fraudulent” under the
18

19   Federal and State False Claims Acts.

20          68.     Furthermore, the FCA, 31 U.S.C. § 3730(h), provides relief to employees who have
21   been retaliated against in their employment because of lawful acts done by the employee in
22
     furtherance of efforts to stop one or more violations of the FCA. Such retaliation may include
23
     discharge, demotion, suspension, threats, harassment or any other type of discrimination in the
24

25
     terms and conditions of employment. The employee is entitled to all relief necessary to make that

26   employee whole, including reinstatement, two times back pay, interest on the back pay, and
27   compensation for any special damages, including litigation costs and reasonable attorney’s fees.
28



                                                        35
 1          69.    Additionally, many states have passed False Claims Act legislation, which in most

 2   instances closely tracks the Federal FCA. The State False Claims Act apply, inter alia, to the state
 3
     portion of Medicaid losses caused by false Medicaid claims to the jointly federal-state funded
 4
     Medicaid program and failure to report and return any overpayments therefrom. The Defendant’s
 5
     acts alleged herein also constitute violations of the California False Claims, Cal. Govt. Code §
 6

 7   12650 et seq.; the Colorado Medicaid False Claims Act, Colo. Rev. Stat. 25.5-4-303.5 et seq.; the

 8   Connecticut False Claims Act, Conn. Gen. Stat. §§ 4-274, et seq.; the Delaware False Claims and
 9
     Reporting Act, Del. Code Ann. Tit. 6, § 1201 et seq.; the Florida False Claims Act, Fla. Stat. §
10
     68.081, et seq.; the Georgia Medicaid False Claims Act, Ga. Code Ann. § 49-4-168, et seq.; the
11
     Hawaii False Claims Act, Haw. Rev. Stat. § 661-21 et seq.; the Illinois False Claims Act, 740 Ill.
12

13   Comp. Stat. § 175/1, et seq.; the Indiana Medicaid False Claims Act, Ind. Code § 5-11-5.7, et seq.;

14   the Iowa False Claims Act, Iowa Code § 685.1 et seq.; the Louisiana Medical Assistance Programs
15
     Integrity Law, La. Rev. Stat. Tit. 46 § 437.1 et seq.; the Maryland False Health Claims Act,
16
     Maryland Code Ann. Health-Gen. § 2-601 et seq.; the Massachusetts False Claims Act, Mass. Gen.
17
     Laws Ch. 12 § 5A et seq.; the Michigan Medicaid False Claims Act, Stat. Mich. Comp. Laws Serv.
18

19   § 400.601 et seq.; the Minnesota False Claims Act, Minn. Stat. § 15C.01 et seq.; the Montana False

20   Claims Act, Mont. Code Ann. § 17-8-401, et seq.; the Nevada False Claims Act, Nev. Rev. Stat.
21   357.010, et seq.; the New Jersey False Claims Act, N.J.S.A. § 2A:32C-1, et seq.; the New Mexico
22
     Medicaid False Claims Act, N.M. Stat. Ann. § 27-14-1 et seq.; the New York False Claims Act,
23
     N.Y St. Fin. Law § 187, et seq.; the North Carolina State False Claims Act, N.C. Gen. Stat. § 1-605
24

25
     et seq.; the Oklahoma Medicaid False Claims Act, 63 Okl. St. § 5053, et seq.; the Rhode Island

26   State False Claims Act, R.I. Gen. Laws § 9-1.1-1, et seq.; the Tennessee Medicaid False Claims
27   Act, Tenn. Code Ann. § 71-5-181, et seq.; the Texas Medicaid Fraud Prevention Law, Tex. Hum.
28



                                                      36
 1   Res. Code § 36.001, et seq.; the State of Vermont False Claims Act, 32 V.S.A. Chapter 7,

 2   Subchapter 8; the Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-216.1, et seq.; the
 3
     Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code                § 74.66.005 et seq.;
 4
     Wisconsin False Claims for Medical Assistance Act, Wis. Stat. § 20.931, et seq. (repealed non-
 5
     retroactively effective July 14, 2015); and the District of Columbia False Claims Act, D.C. Code §
 6

 7   2-308.03 et seq. . Each of the statutes listed above contains Qui Tam provisions governing, inter

 8   alia, a relator’s right to claim a share of the State’s recovery. These statutes also contain anti-
 9
     retaliation provisions substantially similar and in some cases identical to the federal anti-retaliation
10
     provision.
11
            70.     Relators seek to recover damages and civil penalties in the name of the United States
12

13   of America and the named States, arising from the false or fraudulent statements and claims for

14   payment made or caused by Defendant to the United States and the above-listed States and other
15
     violations of the federal and state FCAs, on or after January 1, 2015.
16
     V.     FACTS AND ALLEGATIONS
17
            71.     Relators allege that Defendant, Novo Nordisk, engaged in the following illegal
18

19   practices on a nationwide basis, and that such misconduct is ongoing. The acts described below

20   include acts which laid the groundwork for the Defendant’s sophisticated scheme which culminated
21   with the launch of Saxenda in late 2014, the off-label promotion of Victoza and Saxenda, the
22
     inducing of physicians to substitute or switch prescriptions from Saxenda to Victoza to obtain
23
     government health insurance reimbursement for ineligible drugs and doses, and causing the
24

25
     submission of false or fraudulent claims therefor beginning on January 1, 2015 and continuing.

26

27

28



                                                        37
 1          A.      Integrated Fraudulent Scheme To Increase Sales of Victoza and Saxenda Using
                    Kickbacks, and Other Incentives, Regulatory Violations, and Unapproved
 2                  Diagnoses
 3
            72.          Novo Nordisk has benefitted from aggressive illegal off-label marketing practices
 4
     in the area of weight loss following the approval of the drug Liraglutide trademarked as Victoza for
 5
     diabetes treatment in 2010 and approved for obesity treatment as Saxenda in 2014. These practices
 6

 7   were combined with an aggressive physician pay-to-play and kickback scheme and have continued

 8   up until the present day with a sophisticated scheme to maximize Victoza and Saxenda revenue and
 9
     expand the market beyond the approved indications including so as to support Novo Nordisk’s
10
     corporate goal of exponential “double digit” revenue growth:
11
                    a.       The marketing of Liraglutide, trademarked as Victoza, as a diabetes drug in
12

13   January 2010, as a weight loss drug to both endocrinologist and primary care physicians as a weight

14   loss solution for diabetic and non-diabetic patients is an illegal and off-label diagnosis and treatment
15
     option for this drug. The Defendant even went as far as to use the misnomer of “behavior
16
     modification,” which is to say the drug could be used as weight loss treatment for the patient (who
17
     was concerned with body weight regardless their actual BMI) as compared to diabetes management
18

19   and treatment options approved by the FDA for Victoza. The Company also used this misnomer

20   with physicians who established weight loss clinics for any patient group (i.e. non-diabetes
21   patients). The payment and reimbursement for this drug by Government health care programs cost
22
     taxpayers millions of dollars in false claims since January 1, 2015.
23
                    b.       The marketing of Liraglutide, trademarked as Saxenda, after it was approved
24

25
     as an obesity drug for severely overweight patients (with a BMI of 30 or over) by the FDA

26   Advisory Committee in September 2014 and later by the FDA in December 2014, to physicians by
27   encouraging the substitution of Victoza for merely overweight (with a BMI of 25-29.9) or even non-
28



                                                        38
 1   diabetic patients simply concerned with bodyweight, under the false guise of pre-diabetes

 2   indications.
 3
                    c.       The active coordination of both the Sales Department and Medical
 4
     Departments of Novo Nordisk by:
 5
                             i.     Creating a program of soliciting requests from physicians, through the
 6

 7   EPIRP, to involve the Medical Department in disseminating information about off-label indications

 8   of government reimbursed products through which the Medical Department became an extension of
 9
     the Sales Department.
10
                             ii.    The active dissemination by the Novo Nordisk Sales Department of
11
     the Medical Department’s Slide Decks which included off-label safety and efficacy claims and were
12

13   not peer-reviewed articles as allowed by the FDA for dissemination in this manner.

14                           iii.   The involvement of the Medical Department in “ride alongs” with the
15
     Sales Department employees in sales campaigns which emphasized off-label safety and efficacy
16
     claims.
17
                    d.       The payment or distribution by NNI of monetary and non-monetary
18

19   kickbacks to physicians as direct compensation for the issuance of Novo Nordisk prescriptions

20   including:
21                           i.     A pay-to-play corruption (which included cash payments and travel
22
     benefits) of the Novo Nordisk Key Opinion Leaders Speakers Program (“KOLSP") based on
23
     physician prescription volume.
24

25
                             ii.    A sales program of extensive meals for physician staff to encourage

26   medical offices to switch patients from a competitor’s drug to a Novo Nordisk drug.
27

28



                                                       39
 1                           iii.    A sales program of distributing large volumes of free samples of the

 2   Defendant’s drugs as a reward for high volumes of prescriptions written by the physicians.
 3
            73.          In 2015, alone Novo Nordisk generated approximately $2,000,000,000 in total
 4
     U.S. sales of Liraglutide based prescription medication, i.e. Victoza and Saxenda, and the
 5
     Defendant’s misconduct is continuing.
 6

 7          74.          The Defendant’s deliberate and illegal scheme has caused false and fraudulent

 8   claims for payment to the federal and state government funded health care programs since January
 9
     1, 2015. On information and belief, these fraudulent schemes are ongoing.
10
            B.      Off-label, Unapproved Uses of Victoza and Saxenda
11
            75.          Novo Nordisk actively solicited prescriptions for the off-label uses for its product,
12

13   Victoza. By definition, such uses had not been approved as safe and effective by the FDA, and

14   were not medically accepted uses covered by Federal and State health care programs. NNI’s pursuit
15
     of increasing prescriptions for off-label uses caused it to make false and misleading statements and
16
     engage in inappropriate conduct with respect to its drugs including: furnishing doctors and key
17
     purchasing personnel with false reports concerning drugs’ efficacy for off-label purposes,
18

19   incentivizing and overtly encouraging its sales force to meet goals focused on off-label sales, and

20   targeting patient populations for off-label sales.
21                  a.       Novo Nordisk settled a FCA case involving illegal sales acts, including
22
     kickbacks and off label promotion, for $25,000,000 in June 2011. See United States of America, ex
23
     rel. Ian Black, et al. v. Novo Nordisk Inc., et al., No. 1:08-cv-2900, D. Md., and United States of
24

25
     America, ex rel. Pepper v. Novo Nordisk, et al., No. 05-cv-3505, E.D.N.Y.) As part of that

26   settlement, the Company entered into a Corporate Integrity Agreement (“CIA”) with the Office of
27   Inspector General of the United States Department of Health and Human Services, in May 2011 for
28



                                                          40
 1   a five-year period ending on May 31, 2016. During the entire period when this CIA was in force

 2   Novo Nordisk committed deliberate and step-by-step violations of a substantial number of the
 3
     agreement’s terms. The specific violation(s) of this CIA will be footnoted below.
 4
                C.       Off-label Weight Loss Marketing of Victoza and Saxenda
 5
                76.         Novo Nordisk, at the beginning of 2010, was in a fortunate business position.
 6

 7   Novo Nordisk’s scientists and Medical Department had created and patented a drug, Liraglutide,

 8   which had just been approved under the trademark name Victoza by the FDA for treating the
 9
     disease of type 2 diabetes which primarily affects adults over the age of 18. Approximately 29
10
     million Americans (including 1.25 million children) have diabetes.3
11
                77.         Novo Nordisk also knew from its clinical trials that the same injectable drug
12

13   (Liraglutide) was effective at treating obesity by causing on average weight loss of in excess of 5

14   kg. In December of 2013, with a delay of almost four years after the FDA approved Victoza, Novo
15
     Nordisk applied for FDA approval of the drug (Liraglutide) for obese patients (over 30 BMI) under
16
     the trademarked name Saxenda. This approval was obtained in less than a year from the FDA
17
     Advisory Committee in September 2014 and finally from the FDA on December 23, 2014, for
18

19   obese (or severely overweight) patients (30 or higher BMI) or very overweight patents (27 BMI)

20   with a weight related comorbid condition. Obesity (30 or higher BMI) affects in excess of 35
21   percent (35%) of the citizens of the United States or approximately 114 million people.4
22
                78.         NNI did not have FDA approval to advertise weight loss for any patients from
23
     2010 to 2014. To present date, the Company still has not received FDA approval to advertise weight
24

25
     loss for the thirty-three percent (33%) of Americans (more than 100 million people) who are merely

26   overweight with a BMI between 25- 29.9 (without a weight related comorbid condition) and to any
27
     3
28       http://www.diabetes.org/diabetes-basics/statistics/
     4
         http://www.niddk.nih.gov/health-information/health-statistics/Pages/overweight-obesity-statistics.aspx



                                                                  41
 1   patients concerned with weight loss regardless of their actual BMI.5 In order for Novo Nordisk to

 2   support its corporate core message of “double digit growth,” company management exhorted the
 3
     Sales Department to market Liraglutide, as Victoza and Saxenda, to doctors as a non-FDA approved
 4
     weight loss treatment.
 5
             79.          In the United States, the annual expenditure on medications for type 2 diabetes is
 6

 7   in excess of $30 Billion and on medications for obesity revenues are in excess of $2 Billion.6 Some

 8   64% of those medication costs are paid by one or more Federal health care programs.7 Each off-
 9
     label prescription paid for by the Federal health care programs resulting from illegal marketing
10
     practices for either obese or the overweight patients who did not actually meet the approved
11
     indication, type 2 diabetes, was a false or fraudulent claim on the Federal and state governments.
12

13           D.       A National Sales Program To Merge The Novo Nordisk Sales Force With The
                      Medical Department To Market Unapproved Diagnoses Of Victoza And
14                    Saxenda
15
             80.          The Defendant, in brazen contempt for its then active CIA, created a nationwide
16
     scheme to merge its Sales Department with its Medical Department to illegally target sales to
17
     patients and doctors who were likely to use treatments which had not been tested or approved by the
18

19   FDA and to illegally market and submit claims for hundreds of millions of dollars of sales which

20   were then paid for by a variety of Government health care programs including Medicare, Tricare,
21   Medicare Part D, the Veterans Administration and numerous other Health Care Programs.
22
             81.          In their CIA, Novo Nordisk agreed to a course of lawful conduct, but in practice
23
     did exactly the opposite; whether it be with regard to facilitating the solicitation of off-label
24

25
     requests from the Medical Department, assigning and placing the Medical Department personnel

26   into the field with Sales Department employees, giving large volumes of free samples to doctors,
27   5
       http://www.niddk.nih.gov/health-information/health-statistics/Pages/overweight-obesity-statistics.aspx
     6
28     http://www.cdc.gov
     7
       http://www.cdc.gov



                                                                42
 1   paying for food and entertainment, and grievously paying doctors under the guise of cash speaker

 2   payments based on their prescription volumes. This strategic and carefully implemented national
 3
     sales program was simply illegal. Since 2010, Liraglutide, marketed as an injectable diabetic drug
 4
     under the name Victoza, was promoted as a weight loss drug for use by obese and overweight
 5
     patients before FDA approval of a different dose and indication of Liraglutide under the name
 6

 7   Saxenda in 2014. Liraglutide, even as Saxenda, has never been approved by the FDA for merely

 8   overweight patients with a BMI of 25 or over without a co-morbid condition.
 9
            E.     Targeting Multiple Patient Groups For Fraudulent Off-label Marketing of
10                 Victoza and Saxenda

11          82.         The Defendant targeted multiple patient groups for the fraudulent off-label
12
     marketing scheme for the drug Liraglutide (which is the same molecule as in Victoza and Saxenda):
13
                   a.       Obese patients with a BMI of 30 or greater were targeted in the marketing
14
     and sales programs for Victoza from January 2010 to the present date. This BMI based marketing
15

16   program was conducted prior to the eventual approval of Liraglutide, as Saxenda, for obese patients

17   and without the guidelines that were eventually approved.
18
                   b.       Overweight patients with a BMI of 25 to 29.9 were targeted in the marketing
19
     and sales program for Victoza from January 2010 to the present date. Furthermore, NNI often
20
     suggested that Victoza was a great substitution for Saxenda under a pre-diabetic diagnosis. This
21

22   marketing strategy was a deliberate program focusing on the off-label weight loss of an insulin

23   analog. To emphasize the weight loss effect of their drugs, Novo Nordisk Sales Department
24   employees, beginning with weight neutral off-label claims for the predecessor injectable drug
25
     Levemir, had over the years carried models of human fat into doctors’ offices. These models could
26
     only have the purpose of illustrating a weight loss effect. This fat model marketing practice has
27

28
     continued to the current day with regard to sales programs for Victoza and Saxenda. Furthermore,



                                                      43
 1   Novo Nordisk has a deliberate focus on general practitioners or endocrinologists who have

 2   established weight loss clinics and who would prescribe Victoza for overweight patients.
 3
                    c.       Pediatric patients, served by pediatric endocrinologists, were targeted in the
 4
     marketing for Victoza even though Victoza has never been approved by the FDA for either
 5
     pediatric or pediatric endocrinologist patient groups. To present date, the Liraglutide family of
 6

 7   injectable drugs, Victoza and Saxenda, have not been studied or approved for use with infants,

 8   children, or adolescents for pediatric use in either type I or type 2 diabetes. Nevertheless, the Sales
 9
     Department was instructed to focus on pediatric physicians. Note that in the United States it’s
10
     nearly impossible to recruit pediatric trials so there have been no pediatric trials.
11
                    d.        Pregnant Patients were targeted in the marketing and sales program for
12

13   Victoza, even though the drug has never been approved for this patient group. These patients were

14   also targeted in the promotion of Levemir prior to its FDA approval for this group. This included
15
     the promotion of drugs for pregnant gestational diabetic mothers prior to approval as a Category B
16
     drug (which would not enter the placenta and damage the unborn child).
17
            F.      Fraudulently Misleading Physicians and Patients Regarding The Increased
18
                    Risk of Patient Harm From Several Types of Cancer From the Use of Victoza
19                  and Saxenda

20          83.          The following patient groups and their physicians were fraudulently misled about
21   the increased risk of patient harm from cancer as a result of prescriptions of Victoza and Saxenda:
22
                    a.       To minimize negative sales impact of the potential for Victoza and Saxenda
23
     to increase patient risk of suffering from acute Pancreatitis and Pancreatic Cancer a deliberate and
24

25
     fraudulent program was created by the Novo Nordisk Sales Department to focus physicians and

26   their patients on the rarity of the occurrence of the cancer and not the very real danger and
27   potentially harmful risks to the patients prescribed Victoza or Saxenda for this type of cancer.
28



                                                         44
 1                  b.      To minimize negative sales impact of the potential for Victoza and Saxenda

 2   to increase patient risk of suffering from acute Pituitary Cancer a deliberate and fraudulent program
 3
     was created by the Novo Nordisk Sales Department to focus physicians and their patients on the
 4
     rarity of the occurrence of the cancer and not the very real danger and potentially harmful risks to
 5
     the patients prescribed Victoza or Saxenda for this type of cancer.
 6

 7                  c.      To minimize negative sales impact of the potential for Victoza and Saxenda

 8   to increase patient risk of suffering from acute Medullary Thyroid Cancer a deliberate and
 9
     fraudulent program was created by the Novo Nordisk Sales Department to focus physicians and
10
     their patients on the rarity of the occurrence of the cancer and not the very real danger and
11
     potentially harmful risks to the patients prescribed Victoza or Saxenda for this type of cancer.
12

13          G.      Fraudulently Inducing Physicians to Prescribe Victoza Off Label as a
                    Substitute for Saxenda and Causing Government Health Insurance Programs
14                  to Reimburse for Ineligible Victoza Claims
15
                    1.      Overview and Summary of the Scheme to Defraud
16
                    84.     With the formal FDA approval of Saxenda in December 2014, defendant
17
            Novo Nordisk was faced with a challenge in expanding sales of this new FDA approved
18

19          indication of Liraglutide because Saxenda, as a weight loss drug, was not yet reimbursed

20          through the typical “Managed Care” process of Medicare, Medicaid and private insurance,
21          and cost as much as $1,000 per month. Given the risk that lack of Managed Care coverage
22
            would limit potential sales of Saxenda during the crucial post launch months in 2015, Novo
23
            Nordisk management initiated an illegal scheme in which the company’s sales force with the
24

25
            support of the Medical Department would persuade physicians to prescribe its established

26          drug Victoza, which was fully covered under the majority of Managed Care Plans, in an off-
27          label manner. Victoza was very strong in Medicare Part D Plans which Novo Nordisk
28



                                                       45
 1          management, for example Relator Shirkey’s manager Shawnee Lewis, addressed regularly

 2          on weekly conference calls and monthly managerial ride days. Saxenda and Victoza contain
 3
            the same medication molecule Liraglutide. Victoza dosage is approved at 0.6, 1.2 and 1.8
 4
            mg while Saxenda is approved at 3.0 mg.
 5
            85.    The fraudulent scheme was very simple: inform physicians that Victoza at certain
 6

 7   dosages was an alternative form of Liraglutide, “the same molecule”8 as the weight loss approved

 8   Saxenda, but would be covered by insurance. The Victoza pitch was very specific, physicians
 9
     simply needed to just double the [FDA approved maximum] dose [of Victoza] and then Victoza has
10
     the same weight loss efficacy as Saxenda. The ”double the dose” or substitute the dose activity and
11
     conversations were both actual and implied, and using free samples assured that a weight loss dose
12

13   could and would be reached by paying for only one prescription plus one free sample. In order to

14   support this scheme Novo Nordisk management changed their traditional approach to providing free
15
     samples to physicians, which was that Sales Team members were reprimanded for providing any
16
     more than modest sample volume of Novo Nordisk’s diabetes medicines: Novolog, Novolog Mix
17
     70/30 or Levemir. Whereas with Victoza, Novo Nordisk Sales Team members were reprimanded if
18

19   they did not maintain “ a 1:1 or better ratio of samples to prescriptions” for a medical practice.

20   Curiously, the sample policy for Saxenda was the same as for the older diabetes drugs and Sales
21   Team members were required to provide very small volumes of samples or face corporate
22
     reprimand. The practical effect of the sample policy scheme was to expand sales of Managed Care
23
     covered Victoza as compared to Saxenda. In West Virginia Sales Manager Chuck Dent and in
24

25
     Louisville, Kentucky Sales Manager Kendra Heffey were responsible for this fraudulent sample

26   policy. The Novo Nordisk Science Department, Management, Sales persons and doctors all
27        8. See
              EXHIBIT Q- VICTOZA FDA FULL PRESCRIBING INFORMATION
          & EXHIBIT R- SAXENDA FDA FULL PRESCRIBING INFORMATION
28
     	


                                                      46
 1   understood the dose that was needed to reach the greatest reductions in weight by using the same

 2   molecule regardless of branded pharmaceutical name. The maximum dosage of Victoza is 1.8 mg,
 3
     thus twice the maximum dosage would equal3.6 mg or, a dosage that is 20% higher even than the
 4
     maximum dosage of Saxenda (3.0 mg) and exposed patients to the risk of even more severe side
 5
     effects than at Saxenda’s 3.0 mg dosage.9 Saxenda was launched in December 2014 just as
 6

 7   Victoza’s US sales were softening. By the second Quarter of 2015 as the fraudulent scheme

 8   matured and Saxenda marketing activity began to ramp up, Victoza sales began to grow once again,
 9
     increasing by over $100,000,000 in FY2015. US sales constitute approximately 2/3 of global
10
     Victoza sales:
11

12

13

14

15

16

17

18

19

20

21
             86.      This fraudulent scheme created significant risk of patient harm: every patient who
22

23
     was prescribed Victoza as a substitute for Saxenda received the Package Insert (in FDA parlance

24   Full Prescribing Information) with side effect and dosage disclosures for Victoza approved dosages
25   and indications. However, when Victoza is prescribed at a dosage equivalent to (or greater than) the
26
     Saxenda dosage level, Liraglutide has many more and much more severe side effects, including
27
     9
28    One could combine a 1.2mg dose of Victoza with a 1.8mg dose of Victoza to equal the Saxenda approved 3.0mg dose,
     but the “double the dose” marketing message did not take into account such nuance to Relators’ knowledge.



                                                             47
 1   Suicidal Behavior, Acute Hypoglycemia, Acute Pancreatitis and Heart Rate Increase that are not

 2   contained in the FDA Package Insert for Victoza. Indeed, a double dose10of Victoza, 2 x 1.8 mg or
 3
     3.6 mg, is in fact 20% higher than the maximum approved dose of Saxenda and thus is an
 4
     OVERDOSE and creates the potential risk of even greater harm.
 5
              87.   This fraudulent scheme also created potential financial risk of additional cost to
 6

 7   Medicare and Medicaid as a double dose of Victoza is more expensive than a single dose of

 8   Saxenda by as much as $200 a month. Novo Nordisk also used a high, and illegal volume, of free
 9
     Victoza samples to encourage initial dosage of Victoza at Saxenda level weight loss dosage, or
10
     above. Patients were prescribed (and insurance presumably paid for) one Victoza dose and were
11
     initially given one dose of Victoza as a free sample. By “owning physicians’ refrigerators” the
12

13   fraudulent scheme was designed to increase Victoza sales using the “halo effect” of Saxenda’s

14   potential for weight loss and by using free samples to reach the weight loss dosage for Liraglutide
15
     with a Victoza dose paid for by Managed Care. For example, in mid 2016 Novo Nordisk reduced
16
     the Saxenda Team coverage of West Virginia from three representatives to one. After this change,
17
     as reported to Relator Brent Shirkey by current Novo Nordisk employees, the West Virginia
18

19   Victoza Team is posting Victoza leading national sales numbers as Saxenda sales are substituted

20   with Managed Care covered Victoza.
21            88.   If even a single dose of Victoza prescribed for weight loss in place of Saxenda is off
22
     label and causes an additional fraudulent expense of approximately $600, per patient, per month
23
     based on current retail costs of Victoza. If only 5% of 2016 Victoza sales were due to Saxenda
24

25
     substitution, this is an additional burden to the federal government of at least $100,000,000 per

26   annum.
27        10. See
               EXHIBIT Q- VICTOZA FDA FULL PRESCRIBING INFORMATION
          & EXHIBIT R- SAXENDA FDA FULL PRESCRIBING INFORMATION
28
     	


                                                      48
 1          89.     In summary, Novo Nordisk’s management is executing an illegal, fraudulent double

 2   or substitute or switching dose scheme to drive the company’s stated “double digit” revenue growth
 3
     goals at great cost to the United States and State Governments. In addition, not satisfied with
 4
     stealing from government Managed Care Programs, Novo Nordisk’s substitution scheme has
 5
     resulted in the risk of great patient harm by hiding required FDA regulatory disclosures and by
 6

 7   recommending ”double doses of Victoza” and potentially overdosing many patients with a powerful

 8   drug at off -label levels and even beyond the maximum dosage ever approved by the FDA for
 9
     Liraglutide.
10
                    2.     Fraudulently Substituting Victoza For Saxenda In Order To Generate
11                         Additional Sales Of Liraglutide By Utilizing Government Funded Managed
                           Care Programs
12

13          90.     With the launch of Saxenda, Novo Nordisk Sales professionals were organized into

14   separate teams for each medication: the Victoza sales force was known as the Diabetes Team while
15
     the Saxenda sales force was known as the Obesity Team. The Saxenda/Obesity Teams were
16
     shadowed by Victoza/Diabetes Teams and acted like a “tag team” in “calling” on physicians.
17
     Saxenda Teams went in first and provided the details of how well Saxenda supports weight loss, but
18

19   had challenges making sales due to lack of Managed Care reimbursement. Victoza Teams then went

20   in and explained to the same physicians that Victoza is the same molecule and if patients can’t
21   afford Saxenda they can get Managed Care reimbursement for Victoza. This approach was
22
     particularly effective as Novo Nordisk already had an existing scheme to sell Victoza “off-label” for
23
     weight loss even prior to the FDA approval of Saxenda, as described in detail herein.
24

25
            91.     Novo Nordisk Sales Teams told physicians to simply double the maximum dose of

26   Victoza, which is not approved as a weight loss medication, to get the same effect as Saxenda. Yet
27   Saxenda requires higher dosages than Victoza as Liraglutide’s efficacy for weight loss has not been
28



                                                       49
 1   established at lower dosages, i,e,. The maximum approved dosage for Victoza is 1.8mg while

 2   Saxenda requires a dosage of 3.0 mg for dosage efficacy. If patients cannot tolerate the required 3.0
 3
     mg dosage of Saxenda, the drug must be discontinued.
 4
            92.     Novo Nordisk management instructed the Victoza/Diabetes Sales team that “We
 5
     don’t care what form or molecule, just write it, double the dose of Victoza,” as evidenced by Sales
 6

 7   Team member Susan Jessup and her WV based Manager, Shawnee Lewis.

 8          93.     Though Saxenda was approved and launched as new medication, it has ultimately
 9
     become the icing on the Victoza cake, given that Victoza sales revenues pre-launch of Saxenda had
10
     been flat and now have risen dramatically and are approximately 5 times Saxenda sales revenues.
11
                    3.      Increasing Patient Harm By Fraudulently Substituting Victoza “Off Label” For
12
                            Saxenda Without Providing The Necessary Additional Disclosures Required
13                          When Prescribing Higher Doses Of Liraglutide

14          94.     The maximum approved dosage of Victoza is 1.8 mg and at this dosage there are
15
     disclosures under Indications and Usage, Warnings and Precautions and Adverse Reactions noted in
16
     the FDA approved Full Prescribing Information for Victoza, See EXHIBIT Q: VICTOZA FDA
17
     FULL PRESCRIBING INFORMATION.
18

19          95.     In contrast, the maximum approved dosage of Saxenda is 3.0 mg at this dosage there

20   are many more negative side effects and disclosures under Indications and Usage, Warnings and
21   Precautions and Adverse Reactions, some very severe, as noted in the FDA approved Full
22
     Prescribing Information for Saxenda, See EXHIBIT R: SAXENDA FDA FULL PRESCRIBING
23
     INFORMATION. More specifically, the following list of Saxenda side effects, Indications and
24

25
     Usage, Contraindications, Warnings, Precautions and Additional Reactions describes the more

26   severe and additional challenges when Liraglutide is prescribed at higher doses as Saxenda required
27   to support efficacy in weight loss.
28



                                                       50
 1

 2   Additional Indications and Usage for Saxenda:
 3
        •   Saxenda is not indicated for the treatment of type 2 diabetes mellitus. Note Victoza
 4
            is approved for this indication.
 5

 6      •   The effects of Saxenda® on cardiovascular morbidity and mortality have not been

 7          established.
 8      •   The safety and effectiveness of Saxenda in combination with other products intended
 9
            for weight loss, including prescription drugs, over-the-counter drugs, and herbal
10
            preparations, have not been established. Note: Patients seeking weight loss are much
11

12
            more likely to be taking additional weight loss drugs.

13   Additional Warnings and Precautions for Saxenda:
14      •   Acute Gallbladder Disease: If cholelithiasis or cholecystitis are suspected,
15
            gallbladder studies are indicated.
16
        •   Heart Rate Increase: Monitor heart rate at regular intervals.
17

18      •   Suicidal Behavior and Ideation: Monitor for depression or suicidal thoughts.

19          Discontinue Saxenda® if symptoms develop.
20
     Additional Adverse Reactions:
21
        •   Saxenda patients reported 55 separate Adverse Reactions, in comparison Victoza
22
            patients reported just 33 Adverse Reactions, the overwhelming bulk of which are
23

24          shared with Saxenda, albeit often with less severity. See EXHIBIT S-

25          COMPARISON         LISTING         OF        SAXENDA   AND      VICTOZA   ADVERSE
26
            REACTIONS EXCERPTED FROM FDA FULL PRESCRIBING INFORMATION.
27

28



                                                    51
 1          Use In Specific Patient Populations:

 2                •   Finally, whereas Victoza is approved for use by pregnant patients Saxenda is
 3
                      specifically contraindicated and should not be used by pregnant patients.
 4
                      4.       Higher Doses of Liraglutide Significantly Increase the Risk of Patient Harm
 5                             When Victoza is Illegally Substituted for Saxenda
 6
            96.       The effects of Novo Nordisk’s illegal scheme to substitute Saxenda with Victoza are
 7
     to significantly increase the risk of patient harm because the Victoza’s FDA Contraindications, and
 8
     Warnings and Precautions and Adverse Reactions are much simpler and milder than the Saxenda
 9

10   disclosures. This is because the higher dose of Liraglutide from Saxenda causes more numerous,

11   and more severe, side effects. If a patient is prescribed Victoza they will receive Victoza’s milder
12
     FDA Contraindications, and Warnings and Precautions and Adverse Reactions. In addition, a
13
     double dose of Victoza causes a patient to receive potentially 3.6mg of Liraglutide, which is an
14
     overdose of 0.6mg, i.e., 20% higher than the maximum approved dose of even Saxenda. When
15

16   patients are prescribed higher dosages of any medication there are more numerous, and more

17   severe, side effects, as can be seen by the Victoza and Saxenda materials described above.
18

19          H.        Specific Knowledge of Relators Houck, Smith and Shirkey about the Novo
                      Nordisk Fraudulent Marketing and Sales Program for Victoza and Saxenda
20
            97.            Relator Houck has specific knowledge of the targeting of each of the specific
21

22   patient groups from his thirteen years of service with Novo Nordisk. Attached, as EXHIBIT E:

23   LIST OF THE SALES DEPARTMENT REPRESENTATIVES WHO INFORMED RELATOR
24
     HOUCK, is the list of NNI employees who instructed him to target specific patient groups (and to
25
     whom he reported to from 2010 when Victoza was launched) until his termination around
26
     Thanksgiving in 2014 after Saxenda had been submitted to the FDA for approval and had received
27

28



                                                         52
 1   approval from the FDA Advisory Committee, and launch preparations were underway. Relator

 2   Houck has direct and personal knowledge of the off-label sales method described above.
 3
                   a.     From January 2010 to the present date, Relator Houck has personal
 4
     knowledge that Novo Nordisk was marketing and selling Victoza for weight loss under a pre
 5
     diabetic diagnosis to patients who were merely overweight with a BMI of 25 to 29.9. Relator Houck
 6

 7   had extensive involvement in the sales practices of utilizing Liraglutide as Victoza for merely

 8   overweight patients by sharing off-label weight loss data with physicians. Relator Houck also has
 9
     extensive knowledge about the medical and marketing data that focused on weight loss as a BMI
10
     off-label indicator. Relator Houck was aware of the company’s pipeline of drugs and learned about
11
     Liragitude as early as 2004. Shortly after learning about Victoza in 2009, Relator Houck also
12

13   learned that the company was working on gaining approval of a weight loss diagnosis for

14   Liraglutide at a “double dose” of Victoza; that new drug became Saxenda launched in 2014.
15
     Relator Houck is aware that Victoza sales representatives (and often their spouses) used Victoza
16
     (even though they did not have type II diabetes or were not diabetic) for weight loss and then
17
     personally told the doctors they called on about this (off-label) benefit.     Relator Houck is
18

19   knowledgeable about the dosing, pricing, and reimbursement for Victoza and Saxenda.

20                 b.     Relator Houck has personal knowledge that Novo Nordisk was fraudulently
21   misleading physicians prescribing Victoza to patients that were at risk for acute Pancreatitis and
22
     Pancreatic cancer.
23
                   c.     Relator Houck has personal knowledge that Novo Nordisk was fraudulently
24

25
     misleading physicians prescribing Victoza to patients that were at risk for Medullary Thyroid

26   Cancer. Although Victoza listed Black Box warnings (which are the most potentially harmful risks
27   to patients) for Pancreatitis and Medullary Thyroid cancer, their Medical Department employees,
28



                                                     53
 1   including Francis Feng who Relator Houck personally witnessed, routinely explained that the risk

 2   for cancer with Victoza was overblown because the clinical trials were focused on rats and their
 3
     genetic make-up predisposed them to develop these types of cancer. The Medical Department
 4
     preferred to utilize primate data to downplay the associated risk listed in the product Package Insert.
 5
     At that time the competitor drug Byetta was the only other drug option, and it did not have the
 6

 7   Black Box warning about the content, so the Medical Department promoted the downplaying of

 8   these risks.
 9
             98.    Relator Smith has personal knowledge of the targeted patient groups, the drugs
10
     involved and the off-label sales method described above from his nearly 13 years with NNI. In
11
     particular, he has specific knowledge as described below.
12

13                  a.      From January 2010 to the present date, Relator Smith has personal

14   knowledge that Novo Nordisk was marketing and selling Victoza as a weight loss drug to patients
15
     who were merely overweight with a BMI of 25 to 29.9. Relator Smith also has direct and personal
16
     knowledge of the off-label sales method of Victoza from January 2010 to December 2014 to
17
     patients who were obese with BMI 30 or greater and for patients who requested weight loss
18

19   treatment regardless of their BMI. On at least three (3) occasions Relator Smith personally

20   witnessed Novo Nordisk Sales Department Managers Christy Miller and Anne Cannon in the field
21   presenting off-label information about the weight loss benefits of Victoza to targeted
22
     Endocrinologists physicians. At the time, Relator Smith and others within the company knew that
23
     Saxenda was on the horizon as an approved weight loss drug at double the dose of Victoza.
24

25
     Marketing Victoza for weight loss and to pre-diabetics and other unapproved groups was a way of

26   bridging the gap until Saxenda was approved and launched. He is also aware that it was a common
27   practice for Novo Nordisk sales representatives (and often their spouses) to use Victoza (even
28



                                                        54
 1   though they were not type II diabetic or diabetic) for weight loss and then personally tell the doctor

 2   they called on about this off-label benefit. Relator Smith is knowledgeable about the dosing,
 3
     pricing, and reimbursement for Victoza and Saxenda.
 4
                99.      At a Regional meeting in 2012, the Novo Nordisk Sales Department’s
 5
     Endocrinology Team, of which Relator Smith was a member, was introduced to the concept of
 6

 7   “behavior modification” by Regional Sales Department Manager Andreas Seagar. Manager Seagar

 8   trained the Sales Department employees to tailor conversations with physicians that the problem to
 9
     address was diabetes patients and their inability to stay on a diet and their failure to manage body
10
     weight. The solution to this problem was for doctors to prescribe Victoza because of its ability to
11
     “modify patient behavior” also known as helping patients to lose weight. Manager Seagar told
12

13   Relator Smith that the endocrinology team’s “core message” was to expand prescribing habits,

14   grow Victoza’s market share, and continue Novo Nordisk’s targeted double-digit growth using this
15
     message even though weight loss was not an approved FDA label for Victoza or even for Saxenda
16
     without the restrictive guidelines approved by the FDA. Novo Nordisk Sales Department Mangers
17
     used the “behavior modification” sales pitch to physicians as a metric in ongoing formal
18

19   performance reviews of Sales Department members even though weight loss was not an approved

20   FDA labeling: See EXHIBIT F: RELATOR SMITH’S 2013 NOVO NORDISK EMPLOYMENT
21
     REVIEW ACE YEAR END 2013 GSMI FINAL.11
22
                100.     Relator Smith and his partner DeEtte Daniel (who is still employed by NNI) made a
23
     Sales call on Dr. Sicat as a prescriber of Novo Nordisk products up to or around 2013 to provide
24

25   free samples of Victoza, while he transitioned his practice from endocrinology to a weight loss

26   clinic. After Dr. Sicat had fully transitioned to a weight loss clinic, Relator Smith and his partner
27
     were told by Novo Nordisk Management to remove him from their territory. On April 20, 2016,
28   11
          The CIA has clear restrictions on the salespersons sales plan which would prohibit this.



                                                                   55
 1   Relator Smith had a conversation with Daniel and she informed him that on or around September

 2   2015, Manager Dave Kimber instructed her to start including Dr. Sicat in her territory again using
 3
     the messaging that Dr. Sicat could, “use Victoza as an alternative to Saxenda, if he couldn’t get
 4
     insurance approval,” and to tell him, “it’s the same drug as you know.” Daniel also informed
 5
     Relator Smith that she was doing a lunch at Dr. Sicat’s office, the week of April 20th, 2016 with her
 6

 7   Sales Department Manager Michelle Goode. As part of the Endocrinology Sales Team, Daniel has

 8   responsibility for the sale of Victoza, which can be prescribed to type 2 diabetes patients, and not
 9
     for Saxenda, which is only approved as an obesity drug.
10
            101.    Relator Smith has direct and personal knowledge that pediatric patients served by
11
     pediatric endocrinologists were being prescribed NovoLog, NovoLog Mix 70/30, Levemir, and
12

13   Victoza even though none of these drugs are approved for use in pediatric patients. Relator Smith

14   was instructed by Novo Nordisk Sales Department management to visit pediatric diabetes practices
15
     and promote the use of NovoLog, NovoLog Mix 70/30 to juvenile diabetes patients. In order to
16
     persuade doctors to prescribe the drug to patients, despite the fact that it did not have pediatric
17
     indications at the time, Sales Representatives would present doctors with “The Bode” study, which
18

19   boasts about the drug’s safety in adults. From 2004-2012, Relator Smith was incentivized and

20   complemented for his success in this illegal program targeting of off-label sales. See EXHIBIT F:
21   EMAIL CONFIRMING SALES PROGRAM FOR PEDIATRIC PROMOTION OF NOVOLOG
22
     MIX 70/30. This sample email dates from 2004, but is representative of Novo Nordisk sponsored
23
     activities up through 2012. Similar documents were wiped from Relator Smith’s Novo Nordisk
24

25
     issued computer at the time of his termination under the company’s protective document

26   management policy in force at that time.
27

28



                                                       56
 1          102.     Relator Smith has direct and personal knowledge of pregnant patients being

 2   marketed Victoza and Levemir, even though neither drug was approved for use in pregnant persons
 3
     at the respective times. On multiple occasions Relator Smith personally witnessed Managers
 4
     Christy Miller and Anne Cannon in the field presenting off-label information about the safety of
 5
     Levemir for pregnant patients before the drug was approved by the FDA for that patient group. To
 6

 7   date, Victoza is not approved for pregnant patients. Levemir was approved for pregnant patients in

 8   2012, approximately 7 years after its original FDA approval.
 9
            103.    Relator Shirkey has direct and personal knowledge of the off-label sales method
10
     described above from his nearly 9 years with NNI. In particular, Relator Shirkey has specific
11
     knowledge as described below.
12

13          104.        Relator Shirkey has direct and personal knowledge of patients who were obese

14   with a BMI of 30 or greater being marketed for Victoza by Novo Nordisk Sales and Medical
15
     Department employees from January 2010 to September 2014.
16
            105.       Relator Shirkey has direct and personal knowledge of the use of the term
17
     “behavior modification” as directed by NNI management in regards to weight loss. He is also aware
18

19   that it was a common practice for Novo Nordisk sales representatives (and often their spouses) to

20   use Victoza (even though they were not type II diabetic or diabetic) for weight loss and then
21   personally tell the doctor they called on about this off-label benefit.
22
            106.       Prior to the introduction of Victoza in 2010, Relator Shirkey had been trained on
23
     sales promotion for the drug Levemir. Over his 9 years of employment at NNI, Relator Shirkey was
24

25
     recognized multiple times with “Exceed Expectation” and “Outstanding” reviews. He was coached

26   and instructed by his Sales Department Manager to always address the benefits of weight loss when
27   compared to competing diabetes drug, Lantus. Attached as EXHIBIT H: LIST OF THE SALES
28



                                                         57
 1   MANAGERS WHO INSTRUCTED RELATOR SHIRKEY. The language supplied included, but

 2   was not limited to, “in 12 out of 12 clinic trials Levemir had less weight gain than Lantus and in
 3
     most cases patients lost weight.” Relator Shirkey was given 5 pound models of fat to show what
 4
     that weight loss would look like. See EXHIBIT I: MODEL OF FIVE POUNDS OF FAT, which is a
 5
     picture of the present model being used for the FDA approved Drug Saxenda. A five pounds of fat
 6

 7   model like this was used by the Sales Department to promote the unapproved weight loss diagnosis

 8   beginning in 2006 with Levemir and continued though the launch of Victoza. From 2008 and for
 9
     the years to follow Relator Shirkey and his fellow Sales Department employees used these models
10
     for physician presentations. Relator Shirkey witnessed his partner Sales Department employee
11
     Shannon Henderson use the 5 pound model on a daily basis and was encouraged to follow the same
12

13   behavior by Sales Department Manager Chuck Dent.

14          107.   Relator Shirkey has direct knowledge and can corroborate with the other relators that
15
     the same 5 pound fat models were used in the promotional activity of Victoza in order to
16
     demonstrate what “5lbs of fat looked like” to physicians in their sales pitches. Sales Department
17
     Manager Dent, and later Sales Department Manager Shawnee Lewis, witnessed this behavior and
18

19   encouraged their employees to use these models to explain the benefits of weight loss to physicians

20   in order to encourage higher volume of prescriptions. Novo Nordisk Sales Department Manager
21   Staci Joy used these models on a regular and consistent basis and used language such as, “people
22
     will do anything to lose weight, including putting a needle in the eye.” Sales Department employees
23
     were actively encouraged and incentivized to use this type of sales and no Sales Department was
24

25
     reprimanded for using these of off-label discussions. EXHIBIT I: MODEL OF FIVE POUNDS OF

26   FAT. This model was also initially used for Victoza promotions, then eliminated from the sales
27

28



                                                      58
 1   process prior to the approval of Saxenda in 2014, but reintroduced at the launch of Saxenda as an

 2   approved weight loss drug.
 3
            108.    Relator Shirkey has direct and personal knowledge that from January 2010 to present
 4
     date patients who were overweight with a BMI of 25 to 29.9 were marketed for Victoza as a weight
 5
     loss drug. He also has knowledge of the NNI sales force encouraging pitch sales to substitute
 6

 7   Victoza for Saxenda under pre diabetic diagnosis. Relator Smith also has direct and personal

 8   knowledge of the off-label sales of Victoza (from January 2010 to present date) for patients who
 9
     requested weight loss treatment from their physicians regardless of their BMI under the guise of a
10
     pre diabetic diagnosis. Relator Shirkey was aware of Saxenda about two years before it was
11
     launched. In approximately 2012-2013, there were launch type discussions with Dr. Alan Moses,
12

13   Senior Vice President and Global Chief Medical Officer of Novo Nordisk, that focused on obesity

14   and the pipeline of drugs and how to talk to doctors about making the decision on how to use a
15
     drug. At a National Sales Meeting in or around 2013, Dr. Moses explained that Saxenda would be
16
     the “same molecule” at “double the dose.” Subsequent to this date multiple representatives of Novo
17
     Nordisk’s Management and Medical Department were heard to repeat these statements frequently.
18

19   Relator Shirkey’s direct and personal knowledge regarding Novo Nordisk’s illegal, national scheme

20   to fraudulently substitute Saxenda with double doses of Victoza after January 1, 2015, to increase
21   revenue at the risk of causing great patient harm, includes the following:
22
                    a.     In October 2014, Novo Nordisk began to officially train and prepare the
23
     company sales force to market Saxenda in addition to Victoza. To do so, Novo Nordisk created two
24

25
     separate Sales Teams: Obesity/Saxenda and Diabetes/Victoza. However, actual separation between

26   Sales Team duties was nominal in that the teams were given nearly identical call responsibility with
27   the same physicians being visited by each team. Once again, samples were utilized to manipulate
28



                                                       59
 1   sales, but curiously the Obesity/Saxenda Teams were given very limited access to samples while the

 2   Diabetes/Victoza Teams were given open access to samples. Relator Shirkey is familiar with the
 3
     Novo Nordisk policies to “own physicians refrigerators” by filling them with Victoza free samples
 4
     and to track samples in physician’s refrigerators which were required to be kept stocked with
 5
     Victoza samples at a ratio of 1:1 or better compared to the number of Victoza prescriptions written
 6

 7   by the practice.

 8                  b.     Prior to the launch of Saxenda following final FDA approval in December
 9
     2014, Victoza sales were flat and Victoza Sales Team members were typically under performing
10
     and missing quotas. Shortly after Saxenda’s launch, however, the Diabetes/Victoza Sales Teams
11
     began to make and began to exceed sales quotas, while the Obesity/Saxenda Sales Teams struggled
12

13   to make quotas. Based on multiple reports to Relator Shirkey from Novo Nordisk Sales Team

14   members named below, while Saxenda sales are weak because of lack of Managed Care access;
15
     Diabetes/Victoza sales are strong because the two Sales Teams are marketing the “same molecule”
16
     to the same doctors and because Victoza is a well-established drug that is very well covered by
17
     Managed Care.
18

19                  c.     For example, Obesity/Saxenda Sales Team members Anita Watson

20   (Huntington, WV), Mick Munafo (Dayton, OH), and Regina Patton (Charleston, WV), have
21   reported to Relator Shirkey, identical sales experiences beginning with Saxenda’s launch in
22
     December 2014 up to late August 2016. For example, in Huntington, WV, Doctors James Goetz
23
     and Thomas Dannals both explained the patient challenges presented by Saxenda, great weight loss
24

25
     effects, but no Managed Care coverage. The Diabetes/Victoza team, particularly in the person of

26   Sales Team members Susan Jessup, and Max Felix (Huntington, WV), followed up by explaining
27   that Victoza was the “same molecule” and a “double dose” would have the same effect as Saxenda,
28



                                                      60
 1   but would be paid for by Medicare/Medicaid/Insurance (i.e. Managed Care). In Kentucky,

 2   Diabetes/Victoza Sales Team members, Joe Collins and Greg Horn, used the identical sales pitch,
 3
     “same molecule, double dose.” There were multiple times when Relator Shirkey heard of a Victoza
 4
     sales representative who called on a doctor after Relator Shirkey and pitched the doctor on “double
 5
     the dose” and using a free sample of Victoza along with one Managed Care paid prescription of
 6

 7   Victoza. Doctors often asked Relator Shirkey about insurance coverage for Saxenda and told him

 8   that a Victoza representative (e.g., Susan Jessup) said to just use Victoza, plus one free sample to
 9
     reach the weight loss dose of Liraglutide.
10
                    d.     The above named Obesity/Saxenda Sales Team members reported this illegal
11
     marketing scheme to various Novo Nordisk managers on multiple occasions beginning in late 2014
12

13   up through the present day, including Manager Mike Hassle, Cincinnati, OH, and managers

14   Shawnee Lewis, Huntington, WV and David Hume, Kentucky. Due to the significant boost this
15
     illegal scheme has given to Victoza sales, no effort was made to correct the Diabetes/Victoza Sales
16
     Team activities, which are ongoing.
17
                    e.     In Virginia, Novo Nordisk Manager Angie Smith exhorted Diabetes/Victoza
18

19   Sales Team members to “own the refrigerators” which means very high volumes of Victoza

20   samples were provided so that physicians could initially prescribe one [unapproved] “dose” of
21   Victoza and combine it with a free sample dose to reach a “ double dose.” Under this scenario, one
22
     dose would be paid for by insurance and one dose would come from a sample given to the patient
23
     free of charge. As noted above, Relator Greg Smith and his Sales Team partner DeEtte Daniel were
24

25
     specifically instructed by Manager Angie Smith to stock extra Victoza samples at Endocrinology

26   and Weight Loss clinics, including Dr. Jeffery Sicat in Glen Allen, VA, as he transitioned his
27   practice from Endocrinology to Weight Loss. Even after a full transition to a Weight Loss business,
28



                                                      61
 1   Dr. Sicat was still visited by Victoza/Endocrinology Sales Team members to perpetuate the

 2   fraudulent Victoza “double dose” and sampling scheme. Conversely, Obesity/Saxenda Sales Team
 3
     members were given very limited Saxenda samples, a mirror image of the Victoza sample
 4
     inventory. In West Virginia, Relator Brent Shirkey and other members of the local Sales Team
 5
     were coached, on multiple conference calls, by Manager Shawnee Lewis to “own the refrigerators”
 6

 7   and stock large volumes of Victoza samples, including free samples to the Hurricane, West

 8   Virginia, practice of Doctor Rick Houdersheldt. Novo Nordisk management tracked the volume of
 9
     samples in physician’s refrigerators and required that the Sales Team maintain a “1:1 or better”
10
     ratio of samples to Victoza prescriptions written by the practice.
11
                    f.      Novo Nordisk Sales Team members were also instructed to educate
12

13   physicians that higher doses of Liraglutide did not have increased side effects and had positive

14   patient outcomes. Victoza was not approved for weight loss, and only approved at dosages up to
15
     1.8 mg of Liraglutide. Saxenda was approved for weight loss, but only at 3.0 mg of Liraglutide. In
16
     truth, Saxenda has more and more severe FDA Contraindications, Warnings and Precautions and
17
     Adverse Reactions. See EXHIBIT S SAXENDA & VICTOZA ADVERSE REACTIONS – SIDE
18

19   EFFECTS CHART.

20                  g.      In addition, Novo Nordisk management utilized the separate Sales Teams to
21   manipulate the EPIR process and the Medical Department/Sales Department firewall: if a doctor
22
     asked the Diabetes/Victoza Team about Saxenda there was an immediate EPIR of Medical
23
     Department referral and no attempt was made to utilize the Obesity/Saxenda Sales Team. Medical
24

25
     Department Team Member Francis Fang, West Virginia, was actively involved in this process

26   during 2015.    Novo Nordisk Medical Department members were also making cold calls to
27

28



                                                        62
 1   physicians explaining the “same molecule, dose” scheme, in 2015, including calls made on Daniel

 2   Massias, MD, in West Virginia.
 3
                   h.     Relator Shirkey is knowledgeable about the dosing, pricing, and
 4
     reimbursement for Victoza and Saxenda. To the best of his knowledge, the monthly cost of Saxenda
 5
     is less than the cost of a “double dose” of Victoza, by approximately $200 and the monthly cost of
 6

 7   a “single’ dose of Victoza can be $600 or more depending on pricing/rebates for

 8   Medicare/Medicaid agreements in a specific geography.
 9
            109.    Relator Shirkey has direct and personal knowledge that physicians with pregnant
10
     patients were marketed to for Victoza and Levemir even though neither drug was approved for
11
     treatment of pregnant persons. Relator Shirkey was directed by Dr. Todd Hobbs, Medical Liaison
12

13   and now Novo Nordisk Chief Medical Director, to use Medical Department pregnancy data to

14   influence higher volume of prescriptions of Levemir from Dr. Singh of Cabell Huntington Hospital
15
     and Marshall University in or about 2008. Upon receiving this directive, Relator Shirkey was
16
     instructed to share the information with other physicians, District and Regional Sales Department
17
     members, and Company Management. Relator Shirkey’s performance with regard to distribution of
18

19   these materials was monitored and used as a metric in which he was positively recognized in

20   periodic performance reviews for his efforts to follow these instructions. Relator Shirkey was
21   directed by Medical Department Director Hobbs to also present the Medial Department’s off-label
22
     data to Dr. Singh for gestational diabetes data for Levemir in 2009. Dr. Dewey Bailey, an
23
     Endocrinologist in Roanoke, Virginia, and a KOL speaker would commonly refer to risk of “large
24

25
     baby syndrome” with Lantus in comparison to Levemir and its IGF-1 receptor binding affinity in

26   2009-2012 in which the syndrome did not occur.
27

28



                                                      63
 1           110.     The Defendant’s Code of Business Conduct (“CBC”) which was developed as

 2   mandated by the CIA, specifically stated that speaking engagements are, “permissible provided they
 3
     require the performance of genuine services for Novo Nordisk, compensation is consistent with fair
 4
     market value and is not related to prescribing or purchasing volume or formulary treatment.”12
 5
     Initially, the Key Opinion Leaders Speakers Program was established as part of its sales to
 6

 7   endocrinologist specialist physicians. Accordingly, when the program was initially established it

 8   was populated with well-known, respected endocrinology specialists who were given a stipend
 9
     between $1,000 and $5,000 dollars a speech. KOLSP members were under contract and were
10
     required to give at least three speeches a year.
11
             111.     Novo Nordisk’s Sales Managers later corrupted the speakers’ program into a pay-to-
12

13   play stipend for primary care physicians, particularly physicians who established weight loss

14   clinics. The economic rationale for this change was that KOL Endocrinologists were typically
15
     academic experts with relatively modest practices as compared to primary care prescribers
16
     operating high revenue, high patient volume clinics. The “double digit growth” goal could simply
17
     not be supported without expanding into the high volume core of the market represented by the
18

19   primary care providers. In addition, primary care providers were often persuaded upon receiving

20   Novo Nordisk speaking fees to switch their entire patient populations from competing diabetes
21   drugs to the equivalent Novo Nordisk products: NovoLog, NovoLog Mix 70/30, Levemir and
22
     Victoza. In order to accomplish the required increase in sales, Novo Nordisk Sales Department
23
     Managers systematically limited the speaking engagements of KOL endocrinology speakers so they
24

25
     would be disqualified from the program and could then be replaced with primary care physicians.

26   These new doctors were typically dispensing a high volume of the Novo Nordisk family of
27   12
       The CIA stated in paragraph 2 Policies and Procedures subparagraph (k,) “These procedures shall be designed to ensure
28   that the arrangements and related events are used for legitimate and lawful purposes in accordance with applicable
     Federal health care program and FDA requirements.”



                                                               64
 1   injectable drugs, or were prescribing a high volume of competing drugs and were expected to

 2   change to Novo Nordisk products as a result of their addition to the KOL speaker kickback
 3
     program. Many of these high volume primary doctors were not required to actually make the
 4
     speeches to receive the stipend, or simply spoke to empty forums with the full knowledge of the
 5
     Novo Nordisk Sales Department management.
 6

 7          112.       A second element of the Defendant’s kickback scheme required and encouraged

 8   its sales staff to violate the “occasional meals” standard in the CBC by providing frequent, lavish,
 9
     and expensive meals and food to physicians and their staff. Sales Department Managers directed
10
     their employees to focus on the “total office call,” which encouraged nurses and other medical
11
     office staff to flag patient charts and manipulate prescription favorite lists in order to enhance
12

13   opportunities for the Novo Nordisk drug portfolio. This tactic created a potential opportunity for

14   switching from a competitor’s drugs to one provided by the Defendant. The “total call” was always
15
     a primary focus and part of Sales Department employee’s lunch promotions. The Sales Department
16
     Managers instructed their employees to discuss the targeted patient types in NNI’s promotional
17
     materials for chart identification with a physician’s entire office staff to gain their assistance with
18

19   transitioning from competing companies’ drugs to Novo Nordisk drugs. The Sales Department

20   employees’ ability to manipulate physician’s electronic medical records and the patients’
21   prescription favorite lists became a performance metric that Sales Department Manager Shawnee
22
     Lewis, a supervisor for Relators Houck and Shirkey, was particularly focused on.
23
            113.    Another dimension of the kickback strategy was the ample use of free samples of
24

25
     drugs and other NNI products in order to illegally induce physicians to prescribe, and patients to

26   use, the Defendant’s drugs. In direct contravention of their CBC, the Sales Department Managers
27   directed their employees to leverage sample distribution to generate prescriptions. It is well-known
28



                                                        65
 1   in the pharmaceutical industry that more samples drive more repeat prescriptions of a company’s

 2   products. Novo Nordisk required and encouraged its sales staff to register providers on the
 3
     NovoMedLink site to be able to order free samples with a fax-back-form. Sample activity was
 4
     tracked and measured for individual physicians. Samples were misused to support physician
 5
     practices and were used as a reward for favorable prescribing habits.
 6

 7          114.    Relator Houck has specific knowledge of NNI’s violations of the Anti-kickback

 8   Statute including the following:
 9
                    a.     Relator Houck learned that the KOLSP was initially established to offer
10
     endocrinologist specialist physicians that were considered key opinion leaders in their local markets
11
     opportunities to speak on behalf of Novo Nordisk products and not to promote off-label uses. These
12

13   KOL speakers were typically identified and selected from the endocrinology specialty based on

14   their professional reputations and extensive diabetes knowledge and experience.
15
                    b.     Relator Houck has personal knowledge that Novo Nordisk’s Medical
16
     Department was responsible for helping to establish the KOLSP by providing extensive education
17
     for its members focused on the Novo Nordisk brands. Slide presentations were developed that
18

19   reviewed all of the product information with a variety of end-points and outcomes, as compared to

20   competitive standards of care with both mono-therapy and in combination with other products. All
21   of this information was then carefully reviewed with the selected KOL endocrinologist physicians
22
     so that they would not send messages of off-label use. At its inception, off-label questions presented
23
     at KOL speaker meetings were required to be sidelined for a one-on-one discussion after the
24

25
     presentation between the speaker and the physician posing the questions. Sales Department

26   employees were also presented with this detailed off-label information during training to ensure that
27   only approved marketing messages were reviewed with customers.
28



                                                       66
 1                 c.      Relator Houck learned, beginning in 2011 with the launch of Victoza, that the

 2   original model for the KOLSP was corrupted by Sales Department Managers across the country
 3
     who directed their employees to switch the program’s focus on to the much larger number of
 4
     primary care doctors. Relator Houck discovered that across the country Sales Department Managers
 5
     realized that they were missing a huge opportunity to expand Novo Nordisk’s business by
 6

 7   developing; high prescribing primary care physicians as speakers. Relator Houck learned that the

 8   primary care Sales Department Managers had developed a program to disqualify speakers who did
 9
     not meet the minimum annual requirement of three promotional talks in order to maintain their
10
     status with the KOLSP. From 2010 to 2015, a large number of long-term endocrinologist speakers
11
     were replaced by high prescribing primary care physicians including physicians who established
12

13   weight loss clinics. Sales Department Managers across the country forbade their employees from

14   coordinating speaking engagements for endocrinology specialists, thus eliminating them from the
15
     program and opening spots for high volume primary care doctors who prescribed Novo Nordisk
16
     drugs for both approved FDA and off-label uses.
17
                   d.      As one example of many such occurrences, primary care Sales Department
18

19   employees in Charleston, West Virginia were forbidden by Sales Department Manager Dent to

20   utilize Dr. Stephen Grubb, a respected endocrinologist at the West Virginia University in
21   Charleston, so that he would not be able to maintain his membership in the KOLSP. Once Dr.
22
     Grubb was eliminated from the program, he was immediately replaced by Dr. Sathichandra Rao, a
23
     high volume prescribing primary care physician in Logan, West Virginia. Relator Houck has
24

25
     personal knowledge that with Sales Department Manager Dent’s full knowledge and

26   encouragement, Sales Department, employees fraudulently established KOLSP events for Dr. Rao
27   with very few, or even no attendees. As a result, Dr. Rao received payments of thousands of dollars
28



                                                       67
 1   for unattended speeches. The reason these events were approved was because Dr. Rao was a very

 2   high volume NNI’s product prescriber who utilized the drugs for both FDA approved and
 3
     unapproved off-label uses. Relator Houck believes Dr. Rao held pharmaceutical companies
 4
     including Novo Nordisk “hostage.” That is to say, if he was not receiving additional compensation
 5
     as a speaker, Dr. Rao would not prescribe the company’s drugs.
 6

 7                   e.       Relator Houck unsuccessfully challenged former Charleston Primary Care

 8   District Sales Department Manager, David Myers, and former Sales Department Diabetes Care
 9
     Specialist, Chris Kinder, regarding the validity of using Dr. Rao as a speaker for the Novo Nordisk
10
     insulin portfolio due to the lack of attendance at his speaking events and the potential loss of
11
     credibility for Novo Nordisk products, compared to utilizing legitimate KOL speakers such as Dr.
12

13   Stephen Grubb.

14          115.          Relator Houck has personal knowledge that Novo Nordisk encouraged Sales
15
     Department employees to use free meals to persuade physicians to prescribe their diabetes drugs.
16
     As an example of the abuse of the free meals program, Relator Houck was instructed by Sales
17
     Department Managers to spend far more meal funds on physicians with a high volume of
18

19   prescription.

20          116.          Relator Houck has personal knowledge that Novo Nordisk encouraged Sales
21   Department employees to use free samples of drugs to persuade physicians to prescribe the
22
     company’s diabetes drugs. Relator Houck was instructed to institute an excessive sampling practice
23
     to drive market share in high volume prescription physician offices. The Sales Department
24

25
     management’s direction was to “leverage samples for prescriptions.” Competitive insulin

26   manufacturers shipped samples in cooler packs per physician requests to preserve insulin standards
27   and integrity. The Novo Nordisk Sample Distribution personnel often failed to follow FDA
28



                                                      68
 1   guidelines for storage of injectable temperature standards in order to get substantial number of

 2   samples directly into the hands of high volume prescribing physicians.
 3
            117.   Relator Smith has specific knowledge that Novo Nordisk violated the Anti-Kickback
 4
     Statute:
 5
                   a.      Relator Smith has personal knowledge of the Defendant’s illegal pay-to-play
 6

 7   physician kickback scheme and the corruption of the KOLSP. He witnessed the early creation of an

 8   active KOL speakers program that was comprised primarily of endocrinologist and well respected
 9
     “thought leaders” in the medical field. He has direct knowledge of the later corruption of the
10
     program by NNI’s Primary Care Sales Department Managers across the country who intentionally
11
     selected speakers who were high volume prescription writers and not necessarily considered
12

13   “thought leaders.” These physicians were selected knowing that they would increase the sales of

14   NNI’s drugs in the sales territory in exchange for the speaker’s payments. Relator Smith can
15
     corroborate the other relators’ personal knowledge that the Defendant’s Sales Department Managers
16
     developed a rule that a speaker would not get approved for the next year unless they did three
17
     speeches a year and was told that this was a strategy to get rid of the doctors who were low volume
18

19   prescribers. The speakers that were added by Managers were internists that had a very high diabetes

20   population among their patients or developed weight loss clinics writing high volume prescriptions.
21   These physicians were not considered to be thought leaders.
22
                   b.      As one example of many, Relator Smith’s primary care Sales Department
23
     Manager removed Dr. Wigand, a KOL Endocrinologist who had been a member of the KOLSP
24

25
     since the launch of NovoLog, and replaced him with Dr. Wasserman, an internist, due to his high

26   volume of prescriptions.
27

28



                                                      69
 1                  c.        At a National Sales Department Meeting in 2013, primary care Sales

 2   Department Manager Joshua Puckett initiated a conversation with Relator Smith stating that Dr.
 3
     Courtney Harrison was not being a NNI team player. Puckett brought his complaints to
 4
     Endocrinology Sales Manager Angie Smith and Regional Directors Dave Fields and Nick Fisher.
 5
     Manager Puckett told Relator Smith that Dr. Harrison, “doesn’t sell our products well enough and
 6

 7   talks too much about other products in his talks” and that Relator Smith “needed to do something”

 8   or he wouldn’t continue to use him as a speaker within his district. Relator Smith responded that Dr.
 9
     Harrison was an excellent, well-respected and fair-balanced speaker and that it was a violation of
10
     the NNI Code of Business Conduct to encourage him to favor Novo Nordisk in his speeches.
11
                    d.        Management also asked Relator Smith and his partner to ask Dr.
12

13   Gunawardena, a high volume prescribing physician, if he wanted to become a KOL speaker for

14   Novo Nordisk. When Relator Smith stated that it was a violation of the Novo Nordisk Code of
15
     Business Conduct for the Sales Department to become involved with the speaker process, he was
16
     retaliated against by his Sales Department Managers in his next performance review and was
17
     eventually terminated.
18

19                  e.        Relator Smith has a history of “Exceeds Expectations” and “Meets

20   Expectations” performance reviews. However, once he started voicing his concerns about Novo
21   Nordisk violations, his performance reviews began reflecting Management’s decision to eliminate
22
     employees who were rocking the boat. Endocrinology Sales Department Manager Angie Smith
23
     gave Relator Smith a review of “Exceeds Expectations” in his 2012 performance evaluation,
24

25
     “Meet’s Expectations” in the mid 2013 mid year review, and “Does not Meet Expectations” by his

26   end of year review in 2013.
27

28



                                                       70
 1                  f.     In 2014 Relator Smith’s new endocrinology Sales Department Manager Dave

 2   Kimber and Regional Sales Department Director Nick Frager started to add pressure to Relator
 3
     Smith alleging that he was not doing his job. Relator Smith was also accused of falsifying calls,
 4
     however, an investigation by Human Resources cleared him of this allegation.
 5
            118.    Relator Smith has personal knowledge that Novo Nordisk encouraged Sales
 6

 7   Department employees to use free meals to persuade physicians to prescribe the company’s diabetes

 8   drugs. Relator Smith was instructed by his Sales Department Manager to spend far more meal
 9
     funds on physicians with high volumes of prescriptions. On multiple occasions, Relator Smith’s
10
     partner, Ricky Grimes, would drop off bags full of food for Dr. Nugarum and Dr. Liu with no
11
     educational purpose. Dr. Liu’s office staff referred to Mr. Grimes as “The Grocery Boy.”
12

13   Additionally, Grimes would drop off excessive amounts of cheesecake to Bay View Endocrinology

14   with no educational purpose. District Sales Department Manager Dave Kimber approved of this
15
     directly through approval of his expense reports.
16
            119.    Relator Smith also has personal knowledge that the Defendant encouraged Sales
17
     Department employees to use free samples of drugs to persuade physicians to prescribe the
18

19   company’s diabetes drugs.      Relator Smith was instructed to institute an excessive sampling

20   distribution practice with high volume prescribing physicians.
21          120.    Relator Shirkey has original knowledge of the illegal pay-to-play kickback scheme.
22
     He knew that the Novo Nordisk’s KOLSP was designed to offer physicians that were considered
23
     Key Opinion Leaders in their local markets opportunities to speak on behalf of the Company’s
24

25
     products. These KOLs were typically identified and selected from the endocrinology specialty

26   based on their extensive diabetes knowledge and experience. Novo Nordisk’s Medical Department
27   was responsible for developing the KOLSP by providing extensive education focused on the Novo
28



                                                         71
 1   Nordisk brands. Slide presentations were developed that reviewed all of the product information

 2   with a variety of end points and outcomes as compared to competitive standards of care with both
 3
     mono-therapy and in combination with other products. All of this information was reviewed with
 4
     these selected physicians. Relator Shirkey can also corroborate with the other relators that in its
 5
     later years, most of the KOL members speaking events were coordinated by the primary care sales
 6

 7   employees as a result of their doctors holding a key majority of the programs membership. While

 8   the primary care sales team was responsible for driving attendance, the Endocrinology Sales
 9
     Department was encouraged to help with the management of the programs speakers. Relator
10
     Shirkey learned that many primary care Sales Department Managers realized that they were missing
11
     an opportunity to develop high prescribing primary care physicians as speakers in return for the
12

13   thousands of dollars in speakers’ payments. The influx of primary care physicians in the KOLSP

14   became a challenge for endocrinology Sales Department employees because they could not ensure
15
     that their KOL speakers would meet the minimum annual requirement of 3 promotional talks to
16
     maintain their membership on the in the program. Many long-term well-respected KOL
17
     endocrinology doctors were replaced by high prescribing primary care physicians due to the
18

19   primary care Sales Department Managers forbidding their employees to coordinate events for them.

20                 a.      Relator Shirkey has personal knowledge that the direction to corrupt the
21   speakers program into one that supplied kickbacks for cooperating doctors came from the very top
22
     of the Defendant’s management and that their goal was to limit opportunities for endocrinologist
23
     KOL speakers in order to ensure that membership positions would open for high prescribing
24

25
     primary care physician speakers who could directly influence drug sales.

26                 b.      In 2010, Relator Shirkey witnessed Sales Department Manager Chuck Dent
27   limit the number of times Dr. Grubb, an endocrinologist, was allowed to speak in order to open a
28



                                                      72
 1   position for Dr. Rao. Dr. Grubb was a local West Virginian KOL who was a member of multiple

 2   pharmaceutical companies’ speaking programs and was therefore not writing a high volume of
 3
     Novo Nordisk drug prescriptions. As a result of this, the primary care Sales Department team stated
 4
     that Dr. Grubb did not meet the requirements set forth by NNI and removed him as a KOL speaker.
 5
     He was replaced in West Virginia by Dr. Rao who was not an endocrinologist or considered to be a
 6

 7   Key Opinion Leader by industry leaders or in the medical community. However, Dr. Rao, a high

 8   volume prescriber of multiple classes of diabetes drugs and had a reputation for growing a
 9
     pharmaceutical company’s share and volume of prescriptions as a member of their speakers
10
     program. Dr. Rao was a physician with a “commercial” and a high volume prescriber for the Novo
11
     Nordisk portfolio of diabetes prescriptions. Relator Shirkey was told that Novo Nordisk Medical
12

13   and Sales Department management wanted “commercials” and the volume and share changes

14   associated with a high volume prescriber like Dr. Rao.
15
                    c.     Relator Shirkey has personal knowledge that this type of substituting for pay-
16
     to-play doctors was implemented by numerous Sales Department Managers including but not
17
     limited to Chuck Dent, Stephanie Henrich, Jay Cox, Shawnee Lewis, Michelle Fields, Anita
18

19   Watson, Staci Joy, Chris Kinder, Brian Semenie, Dr. Francis Feng and others within the Novo

20   Nordisk Sales Department.
21                  d.     Relator Shirkey witnessed Sales Department employee Jay Cox brag about
22
     his close relationship and social activities with Dr. Rao which included attending a state basketball
23
     tournament and golfing. Cox let everyone know he “won with Rao at Sanofi (his previous
24

25
     company) and he would win with Rao again at Novo.” Cox conceded all he had to do was “get Rao

26   on the speaker list.” Dr. Rao made the list and Cox was rewarded with several Novo Nordisk paid
27   for vacation trips, as was Sales Department Manager Chuck Dent.
28



                                                       73
 1                  e.      As a representative of the Huntington District, Relator Shirkey witnessed

 2   firsthand how the KOLSP events were organized. Dr. Rao would provide a list of attendees to invite
 3
     to his speech, which consisted of colleagues and friends, and these individuals would rarely attend
 4
     the speaking engagement. These programs were intentionally organized as a way to pay Dr. Rao for
 5
     his ability to increase NNI’s market share in both the Charleston and Huntington markets and with
 6

 7   his high number of NNI drug prescriptions.

 8                  f.      Relator Shirkey’s new Sales Department Manager was made aware by
 9
     Relator Shirkey of the lack of attendance at these programs on multiple occasions. However, she
10
     continued to encourage Relator Shirkey and his Sales Department team to use Dr. Rao as a speaker
11
     because he was “winning” with Victoza. Neither Sales Department Manager Shawnee Lewis, nor
12

13   any member of the Medical Department, ever attended any of Dr. Rao’s speaking events because

14   they were aware of the lack of attendance and knew this was a direct violation of the CBC and CIA.
15
     Relator Shirkey voiced his concerns to Lewis, on multiple occasions. Her direction was to continue
16
     to let Dr. Rao know that he was going to lose his “opportunity” to speak on behalf of Novo Nordisk
17
     if he didn’t start writing more Victoza prescriptions.
18

19                  g.      Another example of which Relator Shirkey has direct knowledge of the

20   nationwide program of kickbacks was the addition of Dr. Tom Dannals to the KOLSP in or around
21   late 2012 or early 2013. Dr. Dannals was added to the speaker list for the purpose of the potential
22
     increase in prescription volume and market share that he could provide if he was under a speaking
23
     contract with Novo Nordisk. Dr. Dannals addition to the speaker list neutralized the endocrinology
24

25
     Sales Department team and specifically their use of endocrinologist Dr. Daniel Macias. Sales

26   Department management, with the support of the Medical Department, directed the endocrinology
27   Sales Department team to add a local primary care provider as a KOL speaker who would have the
28



                                                        74
 1   biggest impact on the Novo Nordisk sales goals. The Medical Department suggested that either Dr.

 2   Timothy Saxe or Dr. Dannals, join the KOLSP based on what each doctor could “bring to the
 3
     table,” meaning their willingness and ability to prescribe high volumes of Novo Nordisk diabetes
 4
     drugs. Dr. Dannals was selected due to his understanding that his spot on the speaker list would be
 5
     secured by changing his prescription writing habits to the Novo Nordisk portfolio, and with his full
 6

 7   knowledge that Novo Nordisk would dictate the content of his speeches as a way to grow business.

 8   On multiple occasions, Sales Department Manager Dent and later Sales Department Manger Lewis,
 9
     coached Relator Shirkey and other members of the Sales Department team to “get more” out of Dr.
10
     Dannals. They did this by dangling the “speaker carrot” in front of him for an extended amount of
11
     time. Dr. Dannals knew that in order for him to be added to the KOLSP he must first improve, that
12

13   is increase, his writing prescriptions of the Novo Nordisk diabetes drugs. Dr. Dannals also

14   understood he would have to open his door to the Medical Department and specifically, Dr. Feng.
15
     Relator Shirkey believed that the speaker program’s economic incentive was paramount with Dr.
16
     Dannals.
17
                    h.      Relator Shirkey has numerous examples of the Medical Department
18

19   “crossing the line” and using Sales Department employees to create opportunities for off-label

20   discussions with KOL speakers and physicians. On multiple occasions, Medical Department
21   representative Dr. Feng, stated that, “without prescribing experience of our products Dr. Dannals
22
     would not be able to guide others within his medical group or peers in the community to change
23
     their prescription writing habits and support Novo Nordisk’s portfolio.” This resulted in Dr.
24

25
     Dannals’ numbers of prescriptions of NNI’s drugs changing drastically. These numbers were

26   viewed by the Defendant’s staff in Novo Nordisk’s One Stop Shop information system. Dr. Dannals
27   was added to the speaker list shortly after this increase of NNI drug prescriptions.
28



                                                        75
 1                 i.      Dr. Dannals would often give “speeches” to less than 4 people, which was in

 2   direct violation of the Defendant’s CBC and the CIA. Relator Shirkey continually protested the use
 3
     of Dr. Dannals and openly shared his concern that the speaker payments that Dr. Dannals received
 4
     were really for his high volume of NNI product prescriptions. Relator Shirkey argued on multiple
 5
     occasions that this was one of the worst business decisions that he had been involved with. Relator
 6

 7   Shirkey expressed his displeasure with this practice to the level that he was eventually removed

 8   from the process of coordinating KOLSP events.
 9
                   j.      Another example of which Relator Shirkey has direct knowledge was that
10
     primary care Sales Department employees in Charleston, West Virginia, were forbidden by Sales
11
     Department Manager Dent to utilize Dr. Stephen Grubb, a respected endocrinologist and KOL, as a
12

13   speaker so that he would not retain his position on the Novo Nordisk speaker bureau and could be

14   replaced by Dr. Rao, a high volume primary care physician. Relator Shirkey has direct knowledge
15
     that Sales Department employees were instructed to set up speaking events with Dr. Rao with the
16
     full knowledge that these events were not highly attended. These events were coordinated for the
17
     sole reason of paying Dr. Rao for his high volume of NNI drug prescriptions and so he could
18

19   receive payment for programs without attendees.

20                 k.      Relator Shirkey also has personal knowledge that Novo Nordisk encouraged
21   Sales Department employees to use free meals to persuade physicians to prescribe the company’s
22
     diabetes drugs. Relator Shirkey had direct knowledge that his Sales Department Managers directed
23
     him to offer meals to the largest writers of prescriptions and supporters of the Novo Nordisk drug
24

25
     portfolio. Relator Shirkey and other members of the Novo Nordisk Sales Department would provide

26   free meals to offices on a regular, even bi weekly basis, as another tool to influence the staff and
27   physicians to “play ball” with the Defendant. These improper free meal provisions run counter to
28



                                                       76
 1   the voluntary code of conduct adopted by the Pharmaceutical Researchers and Manufacturers of

 2   America, that "it is appropriate for occasional meals to be offered as a business courtesy" to doctors
 3
     and members of their staffs attending information presentations by sales reps, if the presentations
 4
     "provide scientific or educational value," and the meals are "modest" by local standards and not part
 5
     of an entertainment or recreational event.
 6

 7          121.    Relator Shirkey has personal knowledge that Novo Nordisk encouraged Sales

 8   Department employees to use free samples of drugs to persuade physicians to prescribe the
 9
     company’s diabetes drugs. Samples were routinely provided to physicians who were generating
10
     large volumes of Novo Nordisk prescriptions and actively used as a tool to drive patients towards
11
     Novo Nordisk’s products. This practice was well engrained into NNI culture, as Sales Manager
12

13   Lewis knew of and encouraged over sampling with the NovoLog and Levemir drugs. The

14   Company’s management, and specifically Sales Department Manager Lewis, tracked the sample-to
15
     prescription-ratio to determine if Novo Nordisk was getting “the bulk of the medical practices
16
     business.” Sales Department Manager Lewis stated that this pattern of activity was at the direction
17
     of Novo Nordisk Regional Sales Department Management, specifically Greg Reilly. Sales
18

19   Department employees were required to justify sample distribution activity if their ratio of samples-

20   to-prescriptions did not meet goals management had set.
21          122.    The Defendant developed and executed a national sales program to merge the Sales
22
     Department with the Medical Department to foster promotion of drugs for uses and which had not
23
     been approved by the FDA which were not labeled for those uses.
24

25
            123.       NNI utilized its Electronic Product Information Request Sales Programs (EPIR)

26   program to persuade physicians to contact the medical department for information about
27

28



                                                       77
 1   unapproved diagnoses. Novo Nordisk Sales Department management also used EPIR requests to

 2   assess and incentivize Sales Department employees.
 3
             124.          Novo Nordisk, acting in form as though it was complying with the CIA dated
 4
     May 26, 2011,13 instructed its employees in the CBC that they were “prohibited from proactively
 5
     discussing information about unapproved new products or information that is not consistent with an
 6

 7   approved product label. Requests for such information must be referred to the Medical Department

 8   or the appropriate field medical employee using the electronic product information request (EPIR)
 9
     form.” Novo Nordisk subsequently systematically encouraged its sales force to induce prescribing
10
     physicians to make such EPIR requests. (In previous years Sales Department Managers had also
11
     encouraged its employees to increase the unsolicited requests for NovoLog, NovoLog Mix 70/30,
12

13   and Levemir.) With the approval of Victoza, the “highly encouraged” solicitation of these EPIR

14   request from doctors became a constant focus of the weekly Sales Department teleconferences. The
15
     volume of such unsolicited EPIR requests was used as a metric to evaluate the performance (and
16
     thus compensation) of each Sales Department employee.14 In order to accomplish the illegal EPIR
17
     initiative, Novo Nordisk Sales Department management at both the district and the regional level
18

19   obtained Medical Department information describing off-label diagnoses and distributed this

20   information directly to the Sales Department employees for presentation to prescribing physicians.
21   On numerous occasions District and Regional Sales Department Management directly participated
22
     in pitches to physician using the Medical Department material. This information was knowingly
23
     13
       Paragraph 2 (h) states: “The manner and circumstances under which medical personnel from Medical Affairs interact
24   with or participate in meetings or events, as well as how they handle responses to unsolicited requests about off-label
     indications of Government Reimbursed Products.”
25
     	
     14
       Paragraph 2 (q) states: “Compensation (including through salaries, bonuses, and contests) for Relevant Covered
26
     Persons who are sales representatives. These Policies and Procedures shall: 1.) be designed to ensure that financial
     incentives do not inappropriately motivate such individuals to engage in improper promotion, sales, and marketing of
27
     NOVO NORDISK’s Government Reimbursed Products; 2.) include mechanisms, where appropriate, to exclude from
     incentive compensation sales that may indicate off-label promotion of Government Reimbursed Products.”
28
     	


                                                                78
 1   shared to generate physician EPIRs. Sales Department management pressured their employees to

 2   increase this activity on weekly conference calls by giving special praise to those that generated
 3
     high levels of EPIR requests. Specifically, Relators Smith and Houck received this instruction from
 4
     Sales Department Manager Angie Smith. Similarly, Relator Shirkey received this instruction from
 5
     Sales Department Manager Shawnee Lewis.
 6

 7          125.   NNI Sales Department management and Medical Department employees utilized

 8   Power Point Slides of unapproved drug uses to market the company’s diabetic drugs. These slide
 9
     presentations were not from peer review medical articles as required by FDA regulations regarding
10
     permissible off-label marketing. Beginning in 2010 Novo Nordisk had its Medical Department
11
     develop a series of Power Point slides that described the efficacy and safe use of the drug
12

13   Liraglutide for both approved and non-approved uses or conditions. It then provided this

14   information in USB drive memory sticks to both the Sales Department Managers who managed the
15
     Sales Departments for endocrinologists and the Sales Managers for primary care physicians. These
16
     were then used on the Sales Department Managers’ Novo Nordisk provided computers. Sales
17
     Department Managers in turn provided their sales employees with copies of the USB drives. They
18

19   then systematically went on sales calls with field level Sales Department employees, such as the

20   Relators, to speak with high volume prescribing doctors to explain the off-label promotional
21   advantages for the drugs. In particular, Sales Department Managers discussed weight loss specific
22
     advantages of Victoza, prior to its FDA approval in December 2014 as Saxenda for exclusively
23
     obese patients. They also discussed with prescribing physicians the substitution of Victoza for
24

25
     Saxenda for patients that either did not qualify for FDA approved Saxenda conditions such as

26   obesity with a BMI over 30 and a co-morbid condition and were merely overweight. Finally, the
27

28



                                                      79
 1   Sales Managers instructed their employees to deflect the risk of prescribing Victoza to patients with

 2   risk of MTC, pituitary cancer, pancreatitis and pancreatic cancer.
 3
            126.    Novo Nordisk Sales Department management and Medical Department employees
 4
     utilized an improper “Ride Along” Program to market off-label and non- FDA approved usage of
 5
     the Company’s diabetes drugs. NNI created a team of Physician Medical Liaisons within the
 6

 7   Medical Department to develop medical slides and “collaborative” office visits to target specific

 8   doctors with high volume of off-label sales and weight loss uses in their diabetic focused practices.
 9
     These teams of Medical Liaisons were then scheduled by the Sales Department employees for
10
     medical “ride along” days in the field with the prescribing doctors and were frequently present for
11
     the discussions between physicians and Sales Department staff.
12

13          127.    Novo Nordisk directed its Sales Department and Medical Departments to market

14   Victoza and Saxenda under the BMI/Weight Loss Initiative. This was the same approach as
15
     previously used to market other Novo Nordisk drugs such as Levemir. In this Initiative, NNI
16
     actively promoted the weight loss efficacy of Liraglutide as type 2 diabetes drug including Victoza
17
     to physicians prior to FDA approval, as Saxenda, for obese individuals in December 2014. On an
18

19   ongoing basis, they also suggested Victoza for merely overweight individuals. Their strategic and

20   deliberate plan to illegally promote Victoza and Saxenda as weight loss drugs began with the
21   Medical Department designing slides specifically focusing on weight loss and then distributing
22
     them to Sales Department employees to actively encourage and solicit physician requests for that
23
     information through a deliberate scheme of promotions.
24

25
            128.    This approach of having the Medical Department prepare slides focusing on non-

26   FDA approved weight loss claims and efficacy was well ingrained into NNI’s company culture, as
27   this strategy was also used for earlier drugs such as Levemir which was considered “weight neutral”
28



                                                       80
 1   and this benefit was used to market it in comparison to other drugs. With Victoza, the first step was

 2   training Sales Department employees to market the drug based on the unapproved diagnosis of
 3
     weight loss. An example is the Victoza Executive Training Camp material given to Relator Houck.
 4
     See EXHIBIT J: VICTOZA EXECUTIVE TRAINING CAMP. The slide deck was prepared and
 5
     distributed in 2009 and 2010, prior to original FDA approval of Liraglutide for diabetes and the
 6

 7   sales program was already focused on weight loss. In this pre-FDA approval Victoza Sales

 8   Marketing material there are frequent references to “weight loss” and to “reduction in weight 2.8
 9
     kilograms.” Sales Department Manager Stephen Adkins supplied his employees with a drug
10
     efficacy and safety presentation prepared by the Medical Department on May 20th, 2010. These
11
     slides contain at least a dozen references to the weight loss effect of Victoza. As part of the BMI
12

13   weight related sales program for Victoza, Sales Department employees took physical models of five

14   pound packages of fat (SEE EXHIBIT I: MODEL OF FIVE POUNDS OF FAT) into doctors’
15
     offices to illustrate the weight reductions caused by the use of Victoza even before any such
16
     labeling was approved by the FDA and before the product was approved in late 2014, as Saxenda,
17
     for obese patients. The Sales Department employees were encouraged by their Managers to inform
18

19   doctors, particularly doctors who emphasized weight loss or established weight loss clinics, that

20   Victoza (approved as a type 2 diabetes treatment) is “the same molecule” and an alternative to
21   Saxenda (approved as an obesity treatment) and was easier to get Government program or private
22
     insurance approval and reimbursement for when prescribed as a pre-diabetic drug.
23
            129.    The Defendant directed its Sales Department to market to physicians specializing in
24

25
     pediatric and gestational diabetes. Novo Nordisk District and Sales Department Managers directed

26   field level Sales Department employees to visit pediatric and OB/GYN practices with regard to off-
27   label sales of Novo Nordisk diabetes drugs to these two unapproved patient groups.
28



                                                       81
 1            130.     Novo Nordisk initiated this off-label sales program and related scheme of kickbacks

 2   in direct contravention to a corporate integrity program designed to specifically curtail this type of
 3
     illegal activity and designed its corporate records system to hide this activity. The CIA specifically
 4
     mandated the creation of a Compliance Department and a CBC to prohibit illegal off-label
 5
     marketing sales activity and the payment of kickbacks. Novo Nordisk then designed a set of
 6

 7   activities which both violated the law and the contractual agreement of the Company with the HHS-

 8   OIG and designed a corporate records protocol to hide such activities. The CIA required NNI to
 9
     strictly control the marketing materials in the hands of the sales team.15 It also strictly controlled the
10
     Sales Department employees’ call plans.16 In addition, Novo Nordisk was required to hire an
11
     independent organization to perform reviews. The Defendant, knowing that it had developed an
12

13   illegal scheme, implemented a series of programs to hide or destroy evidence of the existence of the

14   wrongdoing. The Company had a longstanding policy and program for Sales Department
15
     employees to report their sales activity by taking electronic notes on the items discussed with the
16
     prescribing physicians. Once Novo Nordisk management had signed the CIA, they eliminated the
17
     data field on the “call notes,” which could provide of the discussions of off-label uses. Similarly,
18

19   Novo Nordisk attempted to keep the Medical Department slides containing the unapproved efficacy

20   and safety claims in the hands of Sales Department Management level employees who would be
21
     15
22     Paragraph 2 (f) states that “the materials and information that may be distributed by Novo Nordisk sales representative
     about Government Reimbursed Products and the manner in which Novo Nordisk sales representatives respond to requests
     for information about non-FDA approved (or “off-label”) uses of Government Reimbursed Products. These Policies and
23
     Procedures shall require that sales representatives refer all requests for information about non-FDA approved (”off-label”)
     uses of Government Reimbursed Products to Medical Affairs.”
24
     16
       Paragraph 2 (i) states “the development, implementation, and review of call plans for sales representatives who promote
25
     Government Reimbursed Products. For each Government Reimbursed Products, the Policies and Procedures shall require
     Novo Nordisk to review the call plans for the product and the bases upon, and circumstances under which HCPs and
26
     HCIs belonging to specified medical specialties or types of clinical practices are included in, or excluded from, the call
     plans. The Policies and Procedures shall also require that NOVO NORDISK modify the call plans as necessary to ensure
27
     that Novo Nordisk is promoting Government Reimbursed Products in a manner that complies with the applicable federal
     health care program and FDA requirements.”
28
     	


                                                                 82
 1   presumed to be more loyal to the company. Novo Nordisk incorporated and created a system to

 2   remotely wipe all data off of all of Company employee computers at the time an employee was
 3
     terminated in an attempt to cover their illegal and noncompliant actions.
 4
            131.    Novo Nordisk also instituted a policy linking EPIR requests generated by Sales
 5
     Department employees to the company’s compensation metrics using the improper blend of
 6

 7   information transfer from the Medical Department and field visits by Sales Department Managers

 8   and Medical Department professionals. Under the guise of “preventing” off-label sales practices,
 9
     NNI provided its entire sales team with information of what potential off-label diagnoses existed.
10
     This training was particularly effective with the ongoing distribution of Medical Department data,
11
     most egregiously with regard to weight loss, to the sales team by Sales Department Managers and
12

13   by Medical Department members.

14          132.    Relator Houck has specific knowledge of Novo Nordisk’s development and
15
     execution of a national sales program to merge the company’s Sales Department with the Medical
16
     Department to foster promotion of diabetes drugs for uses which had not been approved. Relator
17
     Houck has personal knowledge of the dissemination by Sales Department Managers of off-label
18

19   medical information for NovoLog, NovoLog Mix 70/30, and Levemir which establishes a long term

20   pattern of behavior by the Defendant. He was intimately involved in the sales programs for
21   Liraglutide marketed as Victoza for type 2 diabetes and for overweight patients. Relator Houck was
22
     consistently praised for his cross collaboration efforts with the Novo Nordisk Medical Department
23
     team. From 2002-2012 he provided access, utilizing his strong relationships with local physicians,
24

25
     to bring Medical Department personnel, including, Karen Lewis, Dr. Harold Daniel, Dr. Gallagher,

26   Anne Cannon, Dr. Feng, and Christy Miller, into the field to meet with prescribing physicians and
27   discuss off-label uses.
28



                                                       83
 1          133.   Relator Houck has personal knowledge of the EPIR system. He worked for Sales

 2   Department Manager Angie Smith who, in 2012, rewarded illicit behavior by encouraging Sales
 3
     Department employees to misuse the EPIR system to market physicians to solicit off-label
 4
     promotions for Novo Nordisk drugs, specifically for Victoza. In 2012, Sales Representatives who
 5
     followed Manager Smith’s direction were rewarded in a variety of ways including in their annual
 6

 7   performance reviews, since utilization and recording of EPIR requests was a new metric of success

 8   for employees of the Sales Department. Relator Houck has personal knowledge that in 2012, several
 9
     District of Colombia Metro West Virginia Regional District Sales Department Managers were
10
     openly praised for their high utilization of the EPIR system. On the other hand, Sales Department
11
     employees who were not willing to participate in the EPIR Program were castigated in weekly
12

13   regional Sales Department conference calls which were used to track and encourage this illegal

14   practice. This practice continued with Relator Houck’s transition to the primary care Sales
15
     Department under the supervision of Sales Manager Lewis from 2013-2014.
16
            134.   Relator Houck has personal knowledge of the unapproved use of Power Point Slides
17
     prepared by the Defendant’s Medical Department. Relator Houck’s District Sales Department
18

19   Manager Adkins utilized a USB drive containing a deck slides, prepared by the Novo Nordisk

20   Medical Department, which he copied to Relator Houck’s and Relator Smith’s USB drives. See
21   EXHIBIT K: VICTOZA USB DRIVE MEDICAL SLIDE DECK CONTAINING OFF-LABEL
22
     WEIGHT LOSS PROMOTION INFORMATION. Sales Department Manager Adkins also went on
23
     sales meetings with Relator Houck to present off-label information to endocrinology and other
24

25
     physicians from the time of Victoza’s launch in 2009 and continued thereafter up to his termination

26   by in 2014. Weight reduction was a central message on these Medical Department slides, including
27   descriptions of reductions of abdominal visceral fat. Within the slide deck there were four
28



                                                      84
 1   freestanding weight loss slides which dealt solely with the off-label weigh loss use. See EXHIBIT

 2   L: FOUR FREE STANDING WEIGHT LOSS SLIDES WHICH DEALT SOLELY WITH THE
 3
     OFF-LABEL WEIGHT LOSS FOR VICTOZA. Relator Houck can provide upon request the names
 4
     of numerous Sales Department employees across a variety of regional sales forces, who were
 5
     coerced by their Sales Department Managers to present the Medical Department slides to primary
 6

 7   care physicians and endocrinology specialists. Further evidence of illegal activity known to Relator

 8   Houck included:
 9
                   a.      Relator Houck was given a second deck of medical slides by the same Sales
10
     Department Manager Adkins, on May 20, 2010. These “Lead 4/5” downloads targeted weight based
11
     data for non-FDA approved weight loss benefits. Almost half, 16 of the 37, slides mention or
12

13   emphasize the weight loss benefits of Victoza. See EXHIBIT M: Lead 4/5 MEDICAL SLIDES

14   CONTAIN OFF-LABEL WEIGHT LOSS PROMOTIONAL INFORMATION.
15
                   b.      This aggressive off-label company policy of selling a suite of diabetes drugs
16
     based on their supported weight neutral and/or weight loss benefits was not new to Novo Nordisk
17
     beginning with the introduction and marketing of NovoLog, NovoLog 70/30 and Levemir in 2005.
18

19   Relator Houck was also given a deck of medical slides earlier in his career that emphasized similar

20   weight gain and loss issues. See EXHIBIT N: EARLY DECK OF MEDICAL SLIDES
21   EMPHASIZING WEIGHT QUESTION.
22
            135.   Relator Houck has personal knowledge of Novo Nordisk’s improper use of the
23
     Medical Department’s personnel in a Ride Along Program (“RAP”) accompanying Sales
24

25
     Department employees on marketing calls to physicians. From 2002-2012, Relator Houck, a Sales

26   Department employee, assisted Medical Department personnel to meet important physicians and
27   other medical staff to discuss the injectable diabetic, obesity and weight loss drugs. On many
28



                                                      85
 1   occasions Relator Houck scheduled and attended visits with physicians and hospitals, Medicaid

 2   personnel and members of the West Virginia DHHR- Diabetes Prevention and Control Program.
 3
            136.    Relator Houck has personal knowledge of the unapproved use of Novo Nordisk’s
 4
     BMI/Weight Initiative including extensive knowledge of the BMI Weight Loss Sales Program that
 5
     was central to the early sales program of Levemir following its launch in 2005. He has direct
 6

 7   knowledge concerning the weight loss focused sales program for Victoza from 2010 to 2014. See

 8   the previously attached EXHIBIT M: LEAD 4/5 MEDICAL SLIDES CONTAINS OFF-LABEL
 9
     WEIGHT LOSS PROMOTIONAL INFORMAITON AND EXHIBIT G: EARLY DECK OF
10
     MEDICAL SLIDES EXPLAINING WEIGHT QUESTION.
11
                    a.         On January 25, 2010 Relator Houck received a crucial slide deck that
12

13   revealed, in part, Novo Nordisk’s unapproved endorsement of off-label uses for Victoza. Sales

14   Department Manager Adkins gave Relator Houck a copy of the marketing slides for Victoza, which
15
     were used to train Sales Executives on how to advertise the drug at a Training Camp for Executives.
16
     See EXHIBIT J: VICTOZA EXECUTIVE TRAINING CAMP. This deck begins with an emphasis
17
     on patient weight loss.
18

19          137.    Relator Houck has personal knowledge of the unapproved marketing of Novo

20   Nordisk drugs Levemir and Victoza to physicians specializing in pediatric and gestational diabetes
21   and that a Pediatric and Gestational Diabetes sales program was in effect during Relator Houck’s
22
     period of employment at Novo Nordisk.
23
            138.    Relator Houck has extensive personal knowledge of the violations of Novo
24

25
     Nordisk’s CIA and CBC. He witnessed Novo Nordisk initiating an off-label Pediatric and

26   Gestational Diabetes sales program and related scheme of kickbacks in direct contravention to a
27

28



                                                      86
 1   CIA designed to specifically curtail this type of illegal activity and how they designed its corporate

 2   records system to hide this activity.
 3
             139.    Relator Smith has extensive personal knowledge of the violations of Novo Nordisk’s
 4
     CIA and CBC. He witnessed NNI initiating an off-label Pediatric and Gestational Diabetes sales
 5
     program and related scheme of kickbacks in direct contravention to a CIA designed to specifically
 6

 7   curtail this type of illegal activity and how the Company designed its corporate records system to

 8   hide this activity.
 9
             140.    Relator Smith has personal knowledge of Novo Nordisk’s development and
10
     execution of a national sales program to merge the Sales Department with the Medical Department
11
     to foster promotion of diabetes drugs for uses which had not been approved by the FDA.
12

13           141.    Relator Smith has personal knowledge of how Novo Nordisk’s EPIR system used to

14   market doctors regarding off-label, unapproved uses of the company’s diabetes drugs. Relator
15
     Smith has direct knowledge of the Defendant’s Sales Department Manager’s efforts that began in
16
     2012 to increase and solicit EPIRs request from “the right doctors.” In mandatory weekly
17
     conference calls, Sales Department Managers shared “Best Practices” about how Sales Department
18

19   employees could solicit EPIRs to their advantage in order to see a substantial increase in market

20   share. Relator Smith has knowledge of the subsequent emails that were sent to Sales Department
21   employees after these calls, which provided samples of questions to enter into the Novo Nordisk
22
     EPIR system in order to get the “right,” that is unapproved, off-label information to physicians.
23
                     a.     Relator Smith’s Sales Department Manager Angie Smith pressured Relator
24

25
     Smith during ride-alongs to “get more EPIRs sent from our key writing doctors.” Relator Smith’s

26   Sales Department Managers would grade him on the amount of EPIR activity he had, in particular
27   the amount of EPIRs generated in the Novo Nordisk Sales Department employee review system.
28



                                                       87
 1                  b.     Sales Department Manager Smith, during field visits, would ask Relator

 2   Smith why he was so low with EPIR requests for his doctor group and was chastised for submitting
 3
     them only when an off-label question was initiated by the doctors. In Relator Smith’s 2011 year-end
 4
     review about “Accountability Collaboration Extension” he was told that EPIR was an important
 5
     metric for his success as a Sales Department employee. See EXHIBIT O: RELATOR SMITH 2011-
 6

 7   YEAR END ACE REVIEW.

 8          142.    Relator Smith has personal knowledge of Novo Nordisk’s Sales Department’s use of
 9
     Power Point slides of unapproved drug use prepared by the Medical Department. Relator Smith’s
10
     District Sales Department Manager Stephen Adkins had a USB drive containing a deck of medical
11
     slides prepared by NNI Medical Department which he copied to Relator Smith’s and Relator
12

13   Houck’s USB drives. (See EXHIBIT K: VICTOZA USB DRIVE MEDICAL SLIDE DECK

14   CONTAINING OFF-LABEL WEIGHT LOSS PROMOTION INFORMATION.) District Sales
15
     Department Manager Stephen Adkins also went to sales meetings with Relator Smith to present off-
16
     label information to endocrinology physicians about weight loss during and after the Victoza launch
17
     in 2009. Weight loss was a central marketing message presented by District Sales Department
18

19   Manager Adkins including descriptions of reductions of abdominal visceral fat. Within the slide

20   deck there were four freestanding weight loss slides which dealt solely with the off-label weigh loss
21   use. See EXHIBIT M: FOUR FREE STANDING SLIDES WEIGHT LOSS SLIDES WHO
22
     DEALT SOLELY WITH THE OFF-LABEL WEIGHT LOSS FOR VICTOZA.
23
                    a.     Relator Smith has the names of numerous Sales Department employees
24

25
     across a variety of Novo Nordisk Sales geographic territories that were coerced by their Sales

26   Department Managers to present these saved Medical Department slides to primary care physicians
27   and endocrinologists to market the unapproved off-label weight loss diagnosis.
28



                                                       88
 1          143.    Relator Smith has personal knowledge of how Novo Nordisk’s Medical

 2   Department’s RAP was designed to market the unapproved weight loss diagnosis. In 2006-2012,
 3
     Novo Nordisk began hiring a large volume of Medical Liaisons in to the Medical Department. The
 4
     new Medial Liaisons consisted of endocrinologists, internists, pharmacists, and certified Diabetes
 5
     educators. At the direction of his Sales Department Manager, Relator Smith was initially involved
 6

 7   in planning the improper Medical Department’s Ride Along visits. Relator Smith would receive

 8   requests from the Medical Department to call on “Key Opinion Leaders,” which meant high writing
 9
     physician’s that Novo Nordisk thought would be early adopters and likely to prescribe a high
10
     volume of diabetes drug prescriptions including Novo log, Novo Log Mix 70/30, Levemir and
11
     Victoza. These field visits from the Medical Liaisons were unsolicited by Relator Smith and
12

13   occurred frequently from 2006 to 2010. During these visits the Medical Department’s Medical

14   Liaison’s would discuss off-label uses with physicians. Relator Smith was told that his year-end
15
     evaluation was, in part, based on how many Medical Department ride along visits he had scheduled.
16
     See EXHIBIT P: EMAILS DOCUMENTING RELATOR SMITH’S WORK TO BRING
17
     MEDICAL DEPARTMENT PERSONNEL ON RIDE ALONG PROGRAMS.
18

19          144.   Relator Smith has personal knowledge of Novo Nordisk’s BMI/Weight Initiative to

20   market off-label uses for Novo Nordisk drug Victoza. On or around April 2009, prior to Victoza
21   approval, Relator Smith was taken on a cruise for a National Sales Training meeting. During this
22
     meeting the Sales Department employees were trained on Victoza. Slides and data were shown at
23
     the meetings that highlighted weight loss benefits and systolic blood pressure improvement. The
24

25
     Sales Department was also instructed to focus on high BMI, overweight, patients. In January 2010,

26   during a National Sales Department meeting in Las Vegas, NNI repeated their heavy emphasis on
27   High BMI and weight loss for Victoza. Marketing language was developed to paint the picture that
28



                                                     89
 1   Victoza modifies patient behavior. Detailed language was developed that centered on obese patients

 2   with high BMI’s. Sub-set data was also detailed showing patients with higher BMI lost more
 3
     weight.
 4
               145.   Relator Smith has personal knowledge of the Defendant’s Pediatric and Gestational
 5
     Diabetes Sales Program targeting physicians with practices focusing on pediatric and gestational
 6

 7   diabetes patients even though Victoza was not approved to treat either diagnosis. Relator Smith has

 8   personal knowledge that Sales Department teams sampled Levemir, and then Victoza, to Pediatric
 9
     Endocrinologists from 2004 to 2010. NNI’s strategy was to get patients on their products as early as
10
     possible so that they could have “patients for life.”
11
               146.   Relator Shirkey has personal knowledge of Novo Nordisk’s development and
12

13   execution of a national sales program to merge the company’s Sales Department with the Medical

14   Department to increase promotion of diabetes drugs for uses which they had not been approved.
15
               147.   Relator Shirkey has personal knowledge of how NNI’s EPIR was used to market
16
     doctors regarding off-label, unapproved uses of the company’s diabetes drugs. Relator Shirkey has
17
     direct knowledge that his Sales Department Manager Lewis, with the full support of her
18

19   supervisors, rewarded illicit behavior by encouraging Sales Department employees to misuse the

20   EPIR system to drive off-label marketing for NNI promoted products. This behavior was
21   recognized and rewarded by Novo Nordisk Sales Department Managers in a variety of ways
22
     including a metric for annual performance reviews. Sales Department Manager Lewis’s team led
23
     the region in EPIRs generated. Sales Department employees were directed to request EPIRs on
24

25
     every marketing call to every physician regardless if the physician requested EPIR data. Sales

26   Department Manager Lewis conducted multiple conference calls around this topic and was very
27   aggressive in demanding this activity take place during all field rides. Many Sales Department
28



                                                         90
 1   employees, including Relator Shirkey, spoke up against this activity and explained that it was a

 2   serious compliance issue. Relator Shirkey and other District’s Sales Department employees in West
 3
     Virginia were told that this was a directive from “upper” Novo Nordisk Management and the
 4
     company’s Medical Department. Several employees across a variety of the Defendant’s Sales
 5
     Departments across the region and the nation told Relator Shirkey that they were directed to follow
 6

 7   the same directive to improperly use EPIRs.

 8          148.       Relator Shirkey was trained and encouraged to help physicians and staff members
 9
     to flag medical charts and manipulate EPIR activity to solicit off-label information. Relator Shirkey
10
     was trained by Sales Manager Shawnee Lewis, from 2012-2015, by conference calls on how to
11
     manipulate physicians IT Departments and office staff and on how to change their technology, so
12

13   that Novo Nordisk’s portfolio of diabetes drugs were always viewed in the most favorable status on

14   physician’s pharmaceutical applications. This training program was conducted at the NNI regional
15
     level under the direction of Regional Sales Department Manager Greg Reilly.
16
            149.     Relator Shirkey has personal knowledge of Novo Nordisk’s Sales Department’s use
17
     of Power Point slides of unapproved uses and diagnoses prepared by the company’s Medical
18

19   Department. Relator Shirkey has personal knowledge that Sales Department employees in the field

20   were supplied with Medical Department Slides on a USB that contained off-label weight loss
21   promotions of Victoza. Members of Relator Shirkey’s primary care team obtained copies of the
22
     USB from the endocrinology team, who were actively disseminating the information to their fellow
23
     employees and coaching them to utilize it aggressively. SEE EXHIBIT K: VICTOZA USB DRIVE
24

25
     MEDICINE        SLIDE    DECK     CONTAINS        OFF-LABEL        WEIGHTLOSS         PROMOTION

26   INFORMATION. Weight was a central message for these slides including reductions of abdominal
27   visceral fat.   Relator Shirkey has personal knowledge of the Defendant’s Sales Department
28



                                                       91
 1   employees across a variety of Districts implemented similar improper marketing efforts utilizing

 2   direct access to the unapproved data on the USB drives.
 3
             150.   Relator Shirkey has personal knowledge of Novo Nordisk’s Medical Department’s
 4
     RAP.
 5
             151.    From the day he was hired in 2006, Relator Shirkey witnessed Sales Department
 6

 7   employees and Medical Department personnel interacting in non-compliant ways. One such

 8   instance was with Dr. Robert Holley, who was a member of the KOLSP and needed to complete his
 9
     on-line training in order to remain eligible for speaking engagements. Relator Shirkey believes Dr.
10
     Holley was motivated by the prospect of the payments which NNI provided for his loyal writing of
11
     prescriptions for NovoLog Mix 70/30 and his increased writing of Levemir. Relator Shirkey and
12

13   his Sales Department partner, Shannon Henderson, were directed by Sales Department Manager

14   Dent and the Medical Department to complete Dr. Holley’s training for him, by signing in under
15
     Dr. Holley’s name on the Novo Nordisk on-line training system. In the course of this effort, Relator
16
     Shirkey was exposed to the previously mentioned slide deck containing off-label information just as
17
     the Medical Department and other Novo Nordisk thought leaders from around the US were at that
18

19   time.

20           152.   Relator Shirkey has personal knowledge of Novo Nordisk’s BMI/Weight Initiative to
21   market off-label uses for Novo Nordisk drugs Victoza and Saxenda. The Novo Nordisk corporate
22
     target of “Double Digit Growth” message was highlighted at every national sales meeting,
23
     particularly around new product launches. The main focus of the Victoza launch at the 2009
24

25
     National Sales Meeting was weight loss even though this was prior to approval by the FDA for any

26   diagnosis, including Victoza’s actual approved diagnosis for diabetes care. Relator Shirkey’s group
27   of nineteen newly hired Sales Department employees was told that the way to “win the war” was a
28



                                                      92
 1   marketing message targeted around the weight loss. He witnessed Sales Department employees in

 2   the field being given five-pound models of fat to promote Levemir and later Victoza to support the
 3
     claim “Light As a Feather.”
 4
            153.    Relator Shirkey has personal knowledge of Novo Nordisk’s Pediatric and
 5
     Gestational Diabetes Sales Program, which targeted physicians with practices focusing on pediatric
 6

 7   and gestational diabetes patients, even though Victoza was not approved as a treatment for either

 8   diagnosis.    Relator Shirkey has personal knowledge that the Huntington, West Virginia team
 9
     sampled Victoza to Pediatricians, Internal Medicine/Pediatric Specialists and to High Risk
10
     Gestational Clinics. Those doctors that were sampled, but were not limited to Dr. Bailes, Dr. Singh,
11
     Dr. Whitmore and Dr. Moses. This activity started from the 2010 launch of Victoza until
12

13   approximately 2013.

14          154.    Relator Shirkey has knowledge of how Novo Nordisk initiated an off-label sales
15
     programs and related scheme of kickbacks, in direct contravention to their CIA, which was
16
     designed to specifically curtail this type of illegal activity, and designed its corporate records
17
     system to hide this activity. In or around 2008, Relator Shirkey participated in a National Sales
18

19   Meeting and during this meeting a talent show took place. One district’s talent was performing a

20   scene from the movie “A Few Good Men.” During this skit, which took place in front of all levels
21   of Novo Nordisk management, the employees addressed call activity, integrity, compliance and
22
     other topics related to sales. It was evident to the field staff and management that the humorous skit
23
     represented the Defendant’s Sales Department employees meeting sales goals, call activity and
24

25
     other parameters in any way they could, approved or unapproved, improper or not, in order to meet

26   company sales goals. These activities included but were not limited to falsifying call activity,
27   promoting off-label uses of the drugs, highlighting Medicare driven sales, discussing pricing
28



                                                       93
 1   advantages in correlation to managed care pricing and never discussing the price increase that were

 2   being driven from the Corporate level. This became very clear when the phrase, “You want the
 3
     truth, you can’t handle the truth!!” was shouted out from the Sales Department employees on the
 4
     stage. This phrase was used just the same as it was in the movie, meaning and that it was to
 5
     highlight that the Sales Department employees in the field were being asked to achieve sales and to
 6

 7   meet growth goals while pretending to work in a compliant manner. Relator Shirkey believes that

 8   the Medical Department and the field Sales Department employees all knew “No one wanted the
 9
     truth!!” This activity was witnessed by Regional Sales Department Manager George Hampton and
10
     District Sales Department Manager Chuck Dent, who both were sitting with Relator Shirkey at the
11
     time of the talent show.
12

13          I.      Novo Nordisk Knowingly Failed to Report Violations of Its Corporate Integrity
                    Agreement with the United States.
14
            157.    As noted above, in May 2011, Defendant Novo Nordisk entered into a CIA with the
15

16   Office of the Inspector General of the Department of Health and Human Services. The CIA

17   expressly covers Novo Nordisk as well as its subsidiaries and covers a period of five years, until May
18
     2016. The CIA requires, inter alia, an Annual Report by Novo Nordisk, with the fifth and final
19
     reporting period ending May 31, 2016. An integral part of the CIA and the company’s compliance
20
     obligations was its internal Code of Conduct (see CIA Section I, III.B).
21

22          158.    The management of Novo Nordisk relevant to the allegations of this complaint were

23   aware of the CIA, the Code of Conduct, and their obligations under each. They were “Covered
24   Persons” or “Relevant Covered Persons” within the meaning of the CIA (Section II.C.1-2), while
25
     others were, in addition, “Certifying Employees” within the meaning of the CIA (Section III.A.4),
26
     including Business Regional Directors, Brand Directors, , the Corporate Vice President of National
27

28
     Diabetes Sales, and the Vice President for Victoza.



                                                       94
 1          159.    Under the CIA, each Covered Person is required to certify, in writing, that he or she

 2   has received, read, understood, and will abide by Novo Nordisk’s Code of Conduct. Pursuant to the
 3
     CIA, the Code of Conduct must specify that all Covered Persons shall be expected to comply with the
 4
     requirements of the CIA. Moreover, certain employees, most notably the Chief Compliance Officer,
 5
     must certify and sign an Annual Report and the Certifying Employees must sign an annual
 6

 7   certification of compliance (CIA, Section III.A.4). See generally CIA Sections V.B. and C. In

 8   addition, the Certifying Employees must sign an annual certification of compliance (CIA, Section
 9
     III.A.4), and those certifications must be included with the Annual Report (CIA, Section V.C.1). The
10
     Certifying Employees’ certification states, inter alia, that:
11
            “I have been trained on and understand the compliance requirements and
12
            responsibilities as they relate to [department or functional area], an area under my
13          supervision…Apart from those [issues I have referred internally as potential
            violations], I am not currently aware of any violations of applicable Federal health
14          care program requirements, FDA requirements, requirements of the Corporate
            Integrity Agreement, or the requirements of NNI policies. I understand that this
15
            certification is being provided to and relied upon by the United States.”
16

17          160.    In addition, the CIA contains a requirement that requires Novo Nordisk notify HHS-
18
     OIG of any “Reportable Event” within thirty (30) days after making the determination that a
19
     Reportable Event exists. See Section III.H. The CIA defines a Reportable Event as follows:
20
                    Definition of Reportable Event. For purposes of this CIA, a
21                  “Reportable Event” means anything that involves:
22

23                    a.    a matter that a reasonable person would consider a probable violation of
     criminal, civil, or administrative laws applicable to any Federal health care program for which
24   penalties or exclusion may be authorized;
25
                      b.    a matter that a reasonable person would consider a probable violation of
     criminal, civil, or administrative laws applicable to any FDA requirements relating to the promotion
26   of Government Reimbursed Products ….
27                  A Reportable Event may be the result of an isolated event or a series of
28
                    occurrences.”



                                                         95
 1
            161.    As noted above, the CIA contains numerous specific provisions relevant to the
 2
     allegations herein, including regarding the AntiKickback Statute. The CIA provides that Novo
 3

 4   Nordisk will report all probable violations of the AntiKickback Statute and other laws, including off-

 5   label promotional activities, to HHS-OIG.
 6
            162.    Pursuant to the CIA, Section V.C.2, the Compliance Officer must certify as follows:
 7
                    C. Certifications.
 8
                         The Implementation Report and Annual. Reports shall include a
 9
                    certification by the Compliance Officer that:
10
                           1.      to the best of his or her knowledge, except as otherwise
11                  described in the report, NNI is in compliance with …the Federal health care
                    program and FDA and all of the requirements of this CIA;
12

13                          2.     he or she has reviewed the report and has made reasonable
                    inquiry regarding its content and believes that the information in the report is
14                  accurate and truthful . . . .
15

16
            163.    The Compliance Officer of Novo Nordisk, was aware of the CIA as the person who

17   signed and attested to the truthfulness of the required annual certifications.

18          164.    Relators are informed and believe that one or more certifications signed by the
19
     Compliance Officer and other “Covered Persons” and “Certifying Employees” from Januray 1, 2015
20
     on were materially false in that Novo Nordisk certified that it complied with the obligations and
21
     reporting requirements under the CIA when in fact it did not report the violations of the law alleged
22

23   in this complaint.

24          165.    Since January 1, 2015 Novo Nordisk submitted one or more false certifications to the
25
     OIG falsely attesting that Novo Nordisk and its subsidiaries were in compliance with all of the
26
     requirements of the CIA, including compliance with the CIA's reporting requirements. Such false
27
     certification constituted a false record or statement made, used, or caused to be used which was
28



                                                        96
 1   material to Novo Nordisk’s obligation to pay or transmit money to the United States. Further,

 2   through such false certifications, Novo Nordisk knowingly concealed and/or improperly avoided or
 3
     decreased an obligation to pay or transmit money or property to the Government.
 4
            J.      Novo Nordisk Retaliated Against Relators Smith, Houck and Shirkey
 5
            166.    NNI has taken retaliatory employment action against Relators Smith, Houck and
 6

 7   Shirkey. In 2014, Novo Nordisk instituted a program to systematically eliminate Sales Department

 8   employees who had knowledge of and who had raised concerns about the legality of the Saxenda
 9
     and Victoza off-label sales, Medical Department RAP scheme and the pay-to-play kickback
10
     scheme. Relators Houck and Smith were summarily dismissed in 2014 and Relator Shirkey in 2015
11
     for trivial irregularities or supposed violations of expense report procedures, which had in fact been
12

13   approved by their direct Sales Department Management supervisors. These terminations were in

14   fact based on the Defendant’s management’s strategic program to eliminate company personnel
15
     who were known to have raised concerns about the kickbacks, the targeted patient groups and the
16
     various off-label sales processes described in this complaint.
17
            167.    Relator Houck was terminated because he voiced his concerns about the described
18

19   off-label promotions and specifically the cash bonus payments made to physicians through the

20   speaker pay-to-play programs.
21          168.    Relator Smith was terminated because he voiced his concerns about the described
22
     off-label promotions and physician pay-to-play kickback scheme.
23
            169.    Relator Shirkey was terminated because he voiced his concern about the above
24

25
     described off-label use and the corruption of the Novo Nordisk Key Opinion Leader Speakers

26   Program.
27   	
28



                                                       97
 1   VI.       CAUSES OF ACTION

 2   COUNT I
 3   Federal False Claims Act
 4
     31 U.S.C. § 3729(a)(1)(A) (2009)

 5             170.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 6   herein.
 7
               171.   This is a civil action brought by Relators, on behalf of the United States of America
 8
     against Defendant under the False Claims Act, 31 U.S.C. §3730(b)(1), for treble damages and
 9
     penalties under the False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended, for illegal acts from
10

11   January 1, 2015 and continuing.

12             172.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
13
     information involved, or with actual knowledge of the falsity of the information, presented or
14
     caused to be presented, and may still be presenting or causing to be presented false or fraudulent
15
     claims for payment or approval under the Medicare, Medicaid, and other United States Government
16

17   health programs to officers, employees, or agents of the United States Government, in violation of

18   31 U.S.C. § 3729(a)(1)(A).
19
               173.   The United States, unaware of the falsity of the claims and/or statements made or
20
     caused to be made by Defendant, and in reliance on the accuracy of these claims and/or statements,
21
     paid, and may continue to pay, for prescription drugs and drug-related management services and
22

23   provider claims for recipients of United States-funded health insurance programs.

24             174.   As a result of Defendant’s actions as set forth above, the United States has been, and
25
     may continue to be, severely damaged, in an amount to be determined at trial.
26
               175.   Additionally, the United States is entitled to the maximum penalty of up to $21,563
27
     for each and every violation alleged herein.
28



                                                         98
 1   COUNT II

 2   Federal False Claims Act
     31 U.S.C. § 3729(a)(1)(B) (2009)
 3
            176. Relators reallege and incorporate by reference the allegations contained in the
 4
     foregoing paragraphs as though fully set forth herein.
 5
            177.    This is a civil action brought by Relators, on behalf of the United States of America
 6

 7   against Defendant under the False Claims Act, 31 U.S.C. §3730(b)(1), for treble damages and

 8   penalties under the False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended for illegal acts from
 9
     January 1, 2015 and continuing.
10
            178.    By and through the acts described above, Defendant, in reckless disregard or
11
     deliberate ignorance of the truth or falsity of the information involved, or with actual knowledge of
12

13   the falsity of the information, made, used, or caused to be made or used, and may still be making,

14   using or causing to be made or used, false or fraudulent records and/or statements material to false
15
     or fraudulent claims under the Medicare, Medicaid, and other United States Government health
16
     programs in violation of 31 U.S.C. § 3729(a)(1)(B).
17
            179.    The United States, unaware of the falsity of the claims and/or statements made or
18

19   caused to be made by Defendant, and in reliance on the accuracy of these claims and/or statements,

20   paid, and may continue to pay, for prescription drugs and drug-related management services and
21   provider claims for recipients of United States-funded health insurance programs.
22
            180.    By reason of Defendant’s acts, the United States has been damaged, and continues to
23
     be damaged, in a substantial amount to be determined at trial.
24

25
            181.    Additionally, the United States is entitled to the maximum penalty of up to $21,563

26   for each and every violation alleged herein.
27   COUNT III
28



                                                       99
 1   Federal False Claims Act
     31 U.S.C. § 3729(a)(1)(G) (2009)
 2
            182.    Relators reallege and incorporate by reference the allegations contained in the
 3

 4   foregoing paragraphs as though fully set forth herein.

 5          183.    This is a civil action brought by Relators, on behalf of the United States of America
 6
     against Defendant under the False Claims Act, 31 U.S.C. §3730(b)(1), for treble damages and
 7
     penalties under the False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended, for illegal acts from
 8
     January 1, 2015 and continuing.
 9

10          184.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

11   information involved, or with actual knowledge of the falsity of the information, made, used or
12
     caused to be made or used, a false record or statement to conceal, avoid, or decrease an obligation
13
     to pay or transmit money or property to the United States Government and/or concealed or
14
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
15

16   obligations to pay or transmit money or property to the United States Government, all under the

17   Medicare, Medicaid, and other United States Government health programs, in violation of 31
18
     U.S.C. § 3729(a)(1)(G).
19
            185.    The Government, unaware of the false records and statements and the concealment
20
     or other misconduct by the Defendant, has not made demand for or collected overpayments due
21

22   from the Defendant since January 1, 2015 and continuing.

23          186.    By reason of Defendant’s acts, the United States has been damaged, and continues to
24   be damaged, in a substantial amount to be determined at trial.
25
            187.    Additionally, the United States is entitled to the maximum penalty of up to $21,563
26
     for each and every violation alleged herein.
27

28



                                                      100
 1   COUNT IV

 2   Federal False Claims Act
     31 U.S.C. § 3729(a)(1)(C) (2009)
 3
     and STATE ACTS, as listed below,
 4
            188.    Relators reallege and incorporate by reference the allegations contained in the
 5
     foregoing paragraphs above as though fully set forth herein.
 6

 7          189.    This is a civil action brought by Relators, on behalf of the United States of America

 8   against Defendant under the False Claims Act, 31 U.S.C. §3730(b)(1), for treble damages and
 9
     penalties under the False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended, for illegal acts from
10
     January 1, 2015 and continuing.
11
            190.    By and through the acts described above, Defendant conspired to commit violations
12

13   of 31 U.S.C. § 3729(a)(1)(A), (B), and (G).

14          191.    Defendant’s ongoing business model constituted an ongoing conspiracy to defraud
15
     Government Health Care Programs. Defendant created a conspiracy between itself as a corporation
16
     and certain officers and employees as described herein and otherwise. Defendant and certain
17
     officers and employees established a concrete and definite plan to structure Defendant’s policies
18

19   and practices to encourage aggressive, deceptive, and outright fraudulent sales tactics in order to

20   maximize reimbursement from Government Health Care Programs. In exchange for cooperation,
21   Defendant richly rewarded participating officers and employees and terminated non-participating or
22
     under-selling employees as well as Relators.
23
            192.    Defendant’s officers and employees took concrete and affirmative steps in
24

25
     furtherance of the conspiracy, which, on information and belief, continues to the present day. These

26   acts included, but were not limited to, the acts described above, including kickbacks, off label
27

28



                                                      101
 1   marketing, and false and deceptive sales and marketing tactics. Defendant and its officers and

 2   employees both individually and jointly profited from the conspiracy.
 3
               193.   Through the actions described herein, Defendant, certain of its officers and its
 4
     employees, and its agents knowingly agreed and conspired to violate the FCA. This conspiracy has
 5
     caused the United States and Plaintiff States to suffer damages.
 6

 7             194.   Defendant’s Managers, identified herein, and others conspired to commit the

 8   violations of the sub-sections of the False Claims Act enumerated above.
 9
               195.   The United States, unaware of the conspiracy and violations of the False Claims Act
10
     paid, and may continue to pay, for prescription drugs and drug-related management services and
11
     provider claims for recipients of United States-funded health insurance programs.
12

13             196.   By reason of Defendant’s acts, the United States has been damaged, and continues to

14   be damaged, in a substantial amount to be determined at trial.
15
               197.   Additionally, the United States is entitled to the maximum penalty of up to $21,563
16
     for each and every violation alleged herein.
17
     COUNT V
18
     VIOLATION OF THE STATE OF CALIFORNIA FALSE CLAIMS ACT,
19
     CAL. GOV’T CODE § 12650, ET SEQ.
20
               198.   Relators incorporate by reference the preceding paragraphs as though fully set forth
21
     herein.
22

23             199.   This is a civil action brought by Relators on behalf of the State of California against

24   Defendant under the California False Claims Act, Cal. Gov. Code § 12652(c), for illegal acts from
25
     January 1, 2015 and continuing.
26
               200.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
27
     information involved, or with actual knowledge of the falsity of the information, presented, or
28



                                                        102
 1   caused to be presented to, and may still be presenting or causing to be presented to, an officer or

 2   employee of the State of California or its political subdivisions, false or fraudulent claims for
 3
     payment, in violation of Cal. Gov. Code § 12651(a)(1).
 4
            201.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, made, used or
 6

 7   caused to be made or used, and may still be making, using or causing to be made or used, false

 8   records or statements material to a false or fraudulent claim in violation of Cal. Gov. Code §
 9
     12651(a)(2).
10
            202.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
11
     information involved, or with actual knowledge of the falsity of the information, made, used or
12

13   caused to be made or used, and may still be making, using or causing to be made or used, false

14   records or statements material to obligations to pay or transmit money or property to the State of
15
     California or its political subdivisions in violation of Cal. Gov. Code § 12651(a)(7).
16
            203.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
17
     information involved, or with actual knowledge of the falsity of the information, concealed or
18

19   improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,

20   obligations to pay or transmit money or property to the State of California or its political
21   subdivisions in violation of Cal. Gov. Code § 12651(a)(7).
22
            204.    The State of California, or its political subdivisions, unaware of the falsity of the
23
     claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
24

25
     of these claims and/or statements, paid, and may continue to pay, for prescription drug-related

26   management services for recipients of state and state subdivision-funded health insurance programs.
27

28



                                                       103
 1             205.   As a result of Defendant’s actions as set forth above, including conspiracy in

 2   violation of the federal and state FCAs, the State of California, including its political subdivisions,
 3
     has been, and may continue to be, severely damaged.
 4

 5
     COUNT VI
 6

 7   VIOLATION OF THE STATE OF COLORADO MEDICAID FALSE CLAIMS ACT,
     COLO. REV. STAT. § 25.5-4-303.5, ET SEQ.
 8
               206.   Relators incorporate by reference the preceding paragraphs as though fully set forth
 9
     herein.
10

11             207.   This is a civil action brought by Relators, in the name of the State of Colorado,

12   against Defendant pursuant to the State of Colorado False Claims Act, Colo. Rev. Stat. § 25.5-4-
13
     306,for illegal acts from January 1, 2015 and continuing.
14
               208.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
15
     information involved, or with actual knowledge of the falsity of the information, presented or
16

17   caused to be presented, and may still be presenting or causing to be presented, false or fraudulent

18   claims for payment or approval to an officer or employee of the state of Colorado under the
19
     Colorado Medical Assistance Act, in violation of Colo. Rev. Stat. § 25.5-4- 305(1)(a).
20
               209.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21
     information involved, or with actual knowledge of the falsity of the information, made, used, or
22

23   caused to be made or used, and may still be making, using, or causing to be made or used, false

24   records or statements material to a false or fraudulent claim to the state of Colorado under the
25
     Colorado Medical Assistance Act, in violation of Colo. Rev. Stat. § 25.5-4-305(1)(b).
26
               210.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
27
     information involved, or with actual knowledge of the falsity of the information, made, used, or
28



                                                        104
 1   caused to be made or used, and may still be making, using, or causing to be made or used, false

 2   records or statements material to obligations to pay or transmit money or property to the state in
 3
     connection with the Colorado Medical Assistance Act, in violation of Colo. Rev. Stat. § 25.5-4-
 4
     305(1)(f).
 5
               211.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 6

 7   information involved, or with actual knowledge of the falsity of the information, concealed or

 8   improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
 9
     obligations to pay or transmit money or property to the state in connection with the Colorado
10
     Medical Assistance Act, in violation of Colo. Rev. Stat. § 25.5-4-305(1)(f).
11
               212.   The State of Colorado, or its political subdivisions, unaware of the falsity of the
12

13   claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy

14   of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
15
     related management services for recipients of state and state subdivision-funded health insurance
16
     programs.
17
               213.   As a result of Defendant’s actions as set forth above, including conspiracy in
18

19   violation of the federal and state FCAs, the State of Colorado, including its political subdivisions,

20   has been, and may continue to be, severely damaged.
21

22
     COUNT VII
23
     VIOLATION OF THE STATE OF CONNECTICUT FALSE CLAIMS ACT, CONN. GEN. STAT.
24   §§ 4-274, ET SEQ.
25
               214.   Relators incorporate by reference the preceding paragraphs as though fully set forth
26
     herein.
27

28



                                                        105
 1          215.    This is a civil action brought by Relators, in the name of the State of Connecticut,

 2   against Defendant pursuant to the State of Connecticut False Claims Act § 4-274 for illegal acts
 3
     from January 1, 2015 and continuing.
 4
            216.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, false or fraudulent

 8   claims for payment or approval under medical assistance programs administered by the Department
 9
     of Social Services of the state of Connecticut, in violation of Conn. Gen. Stat. § 4-275(a) (1).
10
            217.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
11
     information involved, or with actual knowledge of the falsity of the information, made, used, or
12

13   caused to be made or used, and may still be making, using, or causing to be made or used, false

14   records or statements material to false or fraudulent claims for payment or approval under medical
15
     assistance programs administered by the Department of Social Services of the state of Connecticut,
16
     in violation of Conn. Gen. Stat. § 4-275(a)(2).
17
            218.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
18

19   information involved, or with actual knowledge of the falsity of the information, made, used, or

20   caused to be made or used, and may still be making, using, or causing to be made or used, false
21   records or statements material to obligations to pay or transmit money or property to the state under
22
     medical assistance programs administered by the Department of Social Services of the state of
23
     Connecticut, in violation of Conn. Gen. Stat. § 4-275(a)(7).
24

25
            219.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

26   information involved, or with actual knowledge of the falsity of the information, concealed or
27   improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
28



                                                       106
 1   obligations to pay or transmit money or property to the state under medical assistance programs

 2   administered by the Department of Social Services of the state of Connecticut, in violation of Conn.
 3
     Gen. Stat. § 4-275(a)(8).
 4
               220.   The State of Connecticut, its political subdivisions, unaware of the falsity of the
 5
     claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
 6

 7   of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-

 8   related management services for recipients of state and state subdivision-funded health insurance
 9
     programs.
10
               221.   As a result of Defendant’s actions as set forth above, including conspiracy in
11
     violation of the federal and state FCAs, the State of Connecticut, including its political subdivisions,
12

13   has been, and may continue to be, severely damaged.

14

15   COUNT VIII
16
     VIOLATION OF THE STATE OF DELAWARE FALSE CLAIMS AND REPORTING ACT,
17   DEL. CODE ANN. tit. 6 § 1201, ET SEQ.

18             222.   Relators incorporate by reference the preceding paragraphs as though fully set forth
19
     herein.
20
               223.   This is a civil action brought by Relators on behalf of the Government of the State of
21
     Delaware against Defendant under the State of Delaware’s False Claims and Reporting Act, Del.
22

23   Code Ann. tit. 6, § 1203(b)(1) for illegal acts from January 1, 2015 and continuing.

24             224.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
25
     information involved, or with actual knowledge of the falsity of the information, presented or
26
     caused to be presented, and may still be presenting or causing to be presented, directly or indirectly,
27

28



                                                        107
 1   to an officer or employee of the Government of the State of Delaware false or fraudulent claims for

 2   payment or approval, in violation of Del. Code Ann. tit. 6, §1201(a)(1).
 3
             225.     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used, or
 5
     caused to be made or used, and may still be making, using or causing to be made or used, directly or
 6

 7   indirectly, false records or statements material to a false or fraudulent claim, in violation of Del.

 8   Code Ann. tit. 6, §1201(a)(2).
 9
             226.     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
10
     information involved, or with actual knowledge of the falsity of the information, made, used, or
11
     caused to be made or used, and may still be making, using or causing to be made or used, false
12

13   records or statements material to an obligation to pay or transmit money to the State of Delaware, or

14   knowingly has and is continuing to conceal or to knowingly and improperly avoid or decrease an
15
     obligation to pay or transmit money to the Government of Delaware, in violation of Del. Code Ann.
16
     tit. 6, § 120l(a)(7).
17
             227.     The Government of the State of Delaware, unaware of the falsity of the claims
18

19   and/or statements made or caused to be made by Defendant, and in reliance on the accuracy of these

20   claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-related
21   management services for recipients of health care programs funded by the Government of the State
22
     of Delaware.
23
             228.     As a result of Defendant’s actions as set forth above, including conspiracy in
24

25
     violation of the federal and state FCAs, the State of Delaware, including its political subdivisions,

26   has been, and may continue to be, severely damaged.
27

28



                                                        108
 1

 2   COUNT IX
 3
     VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT, D.C. CODE ANN. §
 4   2.381.01, ET SEQ.

 5             229.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 6   herein.
 7
               230.   This is a civil action brought by Relators, in the name of the District of Columbia
 8
     against Defendant under the District of Columbia False Claims Act, D.C. Code Ann. § 2-
 9
     381.03(b)(1) for illegal acts from January 1, 2015 and continuing.
10

11             231.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

12   information involved, or with actual knowledge of the falsity of the information, presented, or
13
     caused to be presented, and may still be presenting or causing to be presented, to an officer or
14
     employee of the District, a false or fraudulent claim for payment or approval, in violation of D.C.
15
     Code Ann. § 2-381.02(a)(l).
16

17             232.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

18   information involved, or with actual knowledge of the falsity of the information, made, used or
19
     caused to be made or used, and may continue to be making, using, or causing to be made or used,
20
     false records and/or statements material to a false or fraudulent claims, in violation of D.C. Code
21
     Ann. § 2-381.02(a)(2).
22

23             233.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, concealed or
25
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
26
     an obligation to pay or transmit money to the District, in violation of D.C. Code Ann. § 2-
27
     381.02(a)(7).
28



                                                        109
 1             234.   The District of Columbia, unaware of the falsity of the claims and/or statements

 2   made or caused to be made by Defendant, and in reliance upon the accuracy of these claims and/or
 3
     statements, paid, and may continue to pay, for prescription and non-prescription drugs and drug-
 4
     related management services for recipients of health insurance programs funded by the District.
 5
               235.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 6

 7   violation of the federal and state FCAs, the District of Columbia has been, and continues to be,

 8   severely damaged.
 9

10
     COUNT X
11
     VIOLATION OF THE STATE OF FLORIDA FALSE CLAIMS ACT, FLA. STAT. § 68.081, ET
12   SEQ.
13
               236.   Relators incorporate by reference the preceding paragraphs as though fully set forth
14
     herein.
15
               237.   This is a civil action brought by Relators on behalf of the State of Florida against
16

17   Defendant under the State of Florida’s False Claims Act, Fla. Stat. § 68.083(2) for illegal acts from

18   January 1, 2015 and continuing.
19
               238.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
20
     information involved, or with actual knowledge of the falsity of the information, presented or
21
     caused to be presented, and may still be presenting or causing to be presented, to officers or
22

23   employees of the State of Florida or one of its agencies false or fraudulent claims for payment or

24   approval, in violation of Fla. Stat. § 68.082(2)(a).
25
               239.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
26
     information involved, or with actual knowledge of the falsity of the information, made, used, or
27

28



                                                        110
 1   caused to be made or used, and may still be making, using or causing to be made or used, false

 2   records or statements material to a false or fraudulent claim, in violation of Fla. Stat. § 68.082(2)(b).
 3
               240.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, concealed or
 5
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
 6

 7   an obligation to pay or transmit money to the State of Florida or one of its agencies, in violation of

 8   Fla. Stat. § 68.082(2)(g).
 9
               241.   The State of Florida and its agencies, unaware of the falsity of the claims and/or
10
     statements made or caused to be made by Defendant, and in reliance on the accuracy of these claims
11
     and/or statements, paid, and may continue to pay, for prescription and drug-related management
12

13   services for recipients of health insurance plans funded by the State of Florida or its agencies.

14             242.   As a result of Defendant’s actions, as set forth above, including conspiracy in
15
     violation of the federal and state FCAs, the State of Florida and/or its agencies have been, and may
16
     continue to be, severely damaged.
17

18
     COUNT XI
19

20   VIOLATION OF STATE OF GEORGIA FALSE MEDICAID CLAIMS ACT, GA. CODE ANN. §
     49-4-168, ET SEQ.
21
               243.   Relators incorporate by reference the preceding paragraphs as though fully set forth
22

23   herein.

24             244.   This is a civil action brought by Relators, in the name of the State of Georgia, against
25
     Defendant pursuant to the State of Georgia False Medicaid Claims Act, Ga. Code Ann. § 49-4-
26
     168.2(b) for illegal acts from January 1, 2015 and continuing.
27

28



                                                         111
 1          245.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, presented or
 3
     caused to presented, and may still be presenting or causing to be presented to the Georgia Medicaid
 4
     program false or fraudulent claims for payment or approval, in violation of Ga. Code Ann. § 49-4-
 5
     168.1(a)(1).
 6

 7          246.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, made, used, or
 9
     caused to be made or used, and may still be making, using, or causing to be made or used, false
10
     records or statements material to a false or fraudulent claim, in violation of Ga. Code Ann. § 49-4-
11
     168.1(a)(2).
12

13          247.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

14   information involved, or with actual knowledge of the falsity of the information, made, used, or
15
     caused to be made or used, and may still be making, using, or causing to be made or used, false
16
     records or statements material to obligations to pay or transmit property or money to the Georgia
17
     Medicaid program, in violation of Ga. Code Ann. § 49-4-168.1(a)(7).
18

19          248.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

20   information involved, or with actual knowledge of the falsity of the information, concealed or
21   improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
22
     obligations to pay or transmit property or money to the Georgia Medicaid program, in violation of
23
     Ga. Code Ann. § 49-4-168.1(a)(7).
24

25
            249.    The State of Georgia or its political subdivisions, unaware of the falsity of the claims

26   and/or statements made or caused to be made by Defendant, and in reliance on the accuracy of these
27

28



                                                       112
 1   claims and/or statements, paid, and may continue to pay, for prescription or non-prescription drugs

 2   and prescription or non-prescription drug-related management services for recipients of Medicaid.
 3
               250.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 4
     violation of the federal and state FCAs, the State of Georgia or its political subdivisions has been,
 5
     and may continue to be, severely damaged.
 6

 7

 8   COUNT XII
 9
     VIOLATION OF THE STATE OF HAWAII FALSE CLAIMS ACT, HAW. REV. STAT. § 661-
10   21, ET SEQ.

11             251.   Relators incorporate by reference the preceding paragraphs as though fully set forth
12   herein.
13
               252.   This is a civil action brought by Relators on behalf of the State of Hawaii and its
14
     political subdivisions against Defendant under the Hawaii False Claims Act, Haw. Rev. Stat. § 661-
15

16
     25(a) for illegal acts from January 1, 2015 and continuing.

17             253.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

18   information involved, or with actual knowledge of the falsity of the information, presented or
19
     caused to be presented, and may still be presenting or causing to be presented, to officers or
20
     employees of the State of Hawaii, or its political subdivisions, false or fraudulent claims for
21
     payment or approval, in violation of Haw. Rev. Stat. § 661-21(a)(l).
22

23             254.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, made, used or
25
     caused to be made and used, and may still be making, using or causing to be made or used, false
26
     records or statements material to a false or fraudulent claim, in violation of Haw. Rev. Stat. § 661-
27
     21(a)(2).
28



                                                        113
 1             255.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, made, used or
 3
     caused to be made or used, and may still be making, using or causing to be made or used, false
 4
     records or statements material to obligations to pay or transmit money or property to the State of
 5
     Hawaii, or its political subdivisions, in violation of Haw. Rev. Stat. § 661- 21(a)(6).
 6

 7             256.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, concealed or
 9
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
10
     obligations to pay or transmit money to the State of Hawaii, or its political subdivisions, in violation
11
     of Haw. Rev. Stat. § 661-21(a)(6).
12

13             257.   The State of Hawaii, or its political subdivisions, unaware of the falsity of the claims

14   and/or statements made or caused to be made by Defendant, and in reliance upon the accuracy of
15
     these claims and/or statements, paid, and may continue to pay, for prescription and drug-related
16
     management services for recipients of state-funded health insurance programs.
17
               258.   As a result of Defendant’s actions, as set forth above, including conspiracy in
18

19   violation of the federal and state FCAs, the State of Hawaii and/or its political subdivisions have

20   been, and may continue to be, severely damaged.
21

22
     COUNT XIII
23
     VIOLATION OF THE STATE OF ILLINOIS FALSE CLAIMS ACT, 740 ILL. COMP. STAT. §
24   175/1, ET SEQ.
25
               259.   Relators incorporate by reference the preceding paragraphs as though fully set forth
26
     herein.
27

28



                                                         114
 1          260.    This is a civil action brought by Relators on behalf of the State of Illinois against

 2   Defendant under the State of Illinois Whistleblower Reward and Protection Act, 740 Ill. Comp.
 3
     Stat. § 175/4(b), for illegal acts from January 1, 2015 and continuing.
 4
            261.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented, or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, to an officer or

 8   employee of the State of Illinois or a member of the Illinois National Guard a false or fraudulent
 9
     claim for payment or approval, in violation of 740 Ill. Comp. Stat. § 175/3(a)(1)(A).
10
            262.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
11
     information involved, or with actual knowledge of the falsity of the information, made, used, or
12

13   caused to be made or used, and may still be making, using, or causing to be made or used, a false

14   record or statement material to a false or fraudulent claim, in violation of 740 Ill. Comp. Stat. §
15
     175/3(a)(1)(B).
16
            263.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
17
     information involved, or with actual knowledge of the falsity of the information, made, used, or
18

19   caused to be made or used, and may still be making, using, or causing to be made or used, false

20   records or statements material to obligations to pay or transmit money or property to the State of
21   Illinois, in violation of 740 Ill. Comp. Stat. § 175/3(a)(1)(G).
22
            264.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
23
     information involved, or with actual knowledge of the falsity of the information, concealed or
24

25
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing

26   obligations to pay or transmit money to the State of Illinois, in violation of 740 Ill. Comp. Stat. §
27   175/3(a)(1)(G).
28



                                                        115
 1             265.   The State of Illinois, unaware of the falsity of the claims and/or statements made or

 2   caused to be made by Defendant, and in reliance on the accuracy of those claims and/or statements,
 3
     paid, and may continue to pay, for prescription and drug-related management services for recipients
 4
     of state funded health insurance programs.
 5
               266.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 6

 7   violation of the federal and state FCAs, the State of Illinois has been, and may continue to be,

 8   severely damaged.
 9

10
     COUNT XIV
11
     VIOLATION OF THE STATE OF INDIANA FALSE CLAIMS AND WHISTLEBLOWER
12
     PROTECTION ACT, IND. CODE § 5-11-5.7, ET SEQ.
13
               267.   Relators incorporate by reference the preceding paragraphs as though fully set forth
14
     herein.
15

16
               268.   This is a civil action brought by Relators on behalf of the State of Indiana against

17   Defendant under the State of Indiana False Claims and Whistleblower Protection Act, Ind. Code §

18   5-11-5.7-4(a), for illegal acts from January 1,2015 and continuing.
19
               269.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
20
     information involved, or with actual knowledge of the falsity of the information, presented, or
21
     caused to be presented, and may still be presenting or causing to be presented, a false claim for
22

23   payment or approval, in violation of Ind. Code § 5-11-5.7-2(a)(l).

24             270.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
25
     information involved, or with actual knowledge of the falsity of the information, made, used, or
26
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
27

28



                                                        116
 1   record or statement material to a false or fraudulent claim , in violation of Ind. Code § 5-11-5.7-

 2   2(a)(2).
 3
               271.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used, or
 5
     caused to be made or used, and may still be making, using, or causing to be made or used, false
 6

 7   records or statements concerning an obligation to pay or transmit money to the State of Indiana, in

 8   violation of Ind. Code § 5-11-5.7-2(a)(6)(A). Further Defendant has concealed or knowingly and
 9
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
10
     an obligation to pay or transmit money to the State of Indiana, in violation of Ind. Code § 5-11-5.7-
11
     2(a)(6)(B).
12

13             272.   The State of Indiana, unaware of the falsity of the claims and/or statements made or

14   caused to be made by Defendant, and in reliance on the accuracy of those claims and/or statements,
15
     paid, and may continue to pay, for prescription drugs and drug-related management services for
16
     recipients of state funded health insurance programs.
17
               273.   As a result of Defendant’s actions, as set forth above, including conspiracy in
18

19   violation of the federal and state FCAs, the State of Indiana has been, and may continue to be,

20   severely damaged.
21

22
     COUNT XV
23
     VIOLATION OF THE STATE OF IOWA FALSE CLAIMS ACT, IOWA CODE § 685.1, ET
24   SEQ.
25
               274.   Relators incorporate by reference the preceding paragraphs as though fully set forth
26
     herein.
27

28



                                                        117
 1          275.    This is a civil action brought by Relators on behalf of the State of Iowa against

 2   Defendant under the State of Iowa False Claims Act, Iowa Code § 685.3(2).a, for illegal acts from
 3
     January 1, 2015 and continuing.
 4
            276.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented, or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, a false claim for

 8   payment or approval, in violation of Iowa Code § 685.2(1).a.
 9
            277.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
10
     information involved, or with actual knowledge of the falsity of the information, made, used, or
11
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
12

13   record or statement material to a false or fraudulent claim, in violation of Iowa Code § 685.2(1).b.

14          278.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
15
     information involved, or with actual knowledge of the falsity of the information, made, used, or
16
     caused to be made or used, and may still be making, using, or causing to be made or used, false
17
     records or statements material to obligations to pay or transmit money or property to the state of
18

19   Iowa, in violation of Iowa Code § 685.2(1).g.

20          279.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21   information involved, or with actual knowledge of the falsity of the information, concealed or
22
     improperly avoided or decreased, and may still be concealing and improperly avoiding or
23
     decreasing obligations to pay or transmit money to the State of Iowa, in violation of Iowa Code §
24

25
     685.2(1).g.

26          280.    The State of Iowa, unaware of the falsity of the claims and/or statements made or
27   caused to be made by Defendant, and in reliance on the accuracy of those claims and/or statements,
28



                                                      118
 1   paid, and may continue to pay, for prescription drugs and drug-related management services for

 2   recipients of state funded health insurance programs.
 3
               281.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 4
     violation of the federal and state FCAs, the State of Iowa has been, and may continue to be,
 5
     severely damaged.
 6

 7

 8   COUNT XVI
 9   VIOLATION OF THE STATE OF LOUISIANA MEDICAL ASSISTANCE PROGRAMS
10   INTEGRITY LAW, LA. REV. STAT. ANN. § 46:437.1, ET SEQ.

11             282.   Relators incorporate by reference the preceding paragraphs as though fully set forth

12   herein.
13
               283.   This is a civil action brought by Relators on behalf of the State of Louisiana’s
14
     medical assistance programs against Defendant under the State of Louisiana Medical Assistance
15
     Programs Integrity Law, La. Rev. Stat. Ann. § 46:439.1.A for illegal acts from January 1, 2015 and
16

17   continuing.

18             284.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
19
     information involved, or with actual knowledge of the falsity of the information, presented, or
20
     caused to be presented, and may still be presenting or causing to be presented, false or fraudulent
21
     claims, in violation of La. Rev. Stat. Ann. § 46:438.3.A.
22

23             285.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, engaged in
25
     misrepresentation, and may still be engaging in misrepresentation, or made, used, or caused to be
26
     made, and may still be making, using, or causing to be made, false records or statements material to
27
     a false or fraudulent claim, in violation of La. Rev. Stat. Ann. § 46:438.3.B.
28



                                                        119
 1          286.      Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, made, used, or
 3
     caused to be made or used, and may still be making, using, or causing to be made or used, false
 4
     records or statements material to obligations to pay or transmit money or property to the medical
 5
     assistance programs of the state of Louisiana, in violation of La. Rev. Stat. Ann. § 46:438.3.C.
 6

 7          287.      Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, concealed,
 9
     avoided, or decreased, and may still be concealing, avoiding, or decreasing, obligations to pay or
10
     transmit money to the medical assistance programs of the state of Louisiana, in violation of La.
11
     Rev. Stat. Ann. § 46:438.3.C.
12

13          288.      Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

14   information involved, or with actual knowledge of the falsity of the information, attempted to
15
     defraud the Louisiana state medical assistance programs through misrepresentation or by obtaining,
16
     or attempting to obtain, payment for a false or fraudulent claim, in violation of La. Rev. Stat. Ann. §
17
     46:438.3.D.
18

19          289.      Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

20   information involved, or with actual knowledge of the falsity of the information, submitted, and
21   may continue to submit, claims for goods, services or supplies which were medically unnecessary
22
     or which were of substandard quality or quantity, in violation of LA. REV. STAT, ANN. §
23
     46:438.3.E(1).
24

25
            290.      The State of Louisiana, its medical assistance programs, political subdivisions and/or

26   the Department, unaware of the falsity of the claims and/or statements made or caused to be made
27   by Defendant, or their actions as set forth above, acted in reliance, and may continue to act in
28



                                                        120
 1   reliance, on the accuracy of Defendant’s claims and/or statements in paying for prescription drugs

 2   and drug-related management services for medical assistance program recipients.
 3
               291.   As a result of Defendant’s actions, the State of Louisiana, including conspiracy in
 4
     violation of the federal and state FCAs, its medical assistance programs, political subdivisions
 5
     and/or the Department have been, and may continue to be, severely damaged.
 6

 7

 8   COUNT XVII
 9   VIOLATION OF THE STATE OF MARYLAND FALSE HEALTH CLAIMS ACT, MD. CODE
10   ANN. HEALTH-GEN. § 2-601, ET SEQ.

11             292.   Relators incorporate by reference the preceding paragraphs as though fully set forth

12   herein.
13
               293.   This is a civil action brought by Relators on behalf of the State of Maryland against
14
     Defendant under the State of Maryland False Health Claims Act, Md. Code Ann. Health-Gen. § 2-
15
     604(a)(1)(i) for illegal acts from January 1, 2015 and continuing.
16

17             294.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

18   information involved, or with actual knowledge of the falsity of the information, presented, or
19
     caused to be presented, and may still be presenting or causing to be presented, a false claim for
20
     payment or approval, in violation of Md. Code Ann. Health-Gen. § 2-602(a)(1).
21
               295.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
22

23   information involved, or with actual knowledge of the falsity of the information, made, used, or

24   caused to be made or used, and may still be making, using, or causing to be made or used, a false
25
     record or statement material to a false or fraudulent claim, in violation of Md. Code Ann. Health-
26
     Gen. § 2-602(a)(2).
27

28



                                                        121
 1             296.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, made, used, or
 3
     caused to be made or used, and may still be making, using, or causing to be made or used, false
 4
     records or statements material to obligations to pay or transmit money to the State of Maryland, in
 5
     violation of Md. Code Ann. Health-Gen. § 2-602(a)(7).
 6

 7             297.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, concealed or
 9
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
10
     obligations to pay or transmit money to the State of Maryland, in violation of Md. Code Ann.
11
     Health-Gen. § 2-602(a)(8).
12

13             298.   The State of Maryland, unaware of the falsity of the claims and/or statements made

14   or caused to be made by Defendant, and in reliance on the accuracy of those claims and/or
15
     statements, paid, and may continue to pay, for prescription drugs and drug-related management
16
     services for recipients of state funded health insurance programs.
17
               299.   As a result of Defendant’s actions, as set forth above, including conspiracy in
18

19   violation of the federal and state FCAs, the State of Maryland has been, and may continue to be,

20   severely damaged.
21

22
     COUNT XVIII
23
     VIOLATION OF THE COMMONWEALTH OF MASSACHUSETTS FALSE CLAIMS ACT,
24   MASS. ANN. LAWS ch. 12, § 5A, ET SEQ.
25
               300.   Relators incorporate by reference the preceding paragraphs as though fully set forth
26
     herein.
27

28



                                                        122
 1          301.    This is a civil action brought by Relators on behalf of the Commonwealth of

 2   Massachusetts against Defendant under the Massachusetts False Claims Act, Mass. Ann. Laws, ch.
 3
     12, § 5C(2), for illegal acts from January 1, 2015 and continuing.
 4
            302.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, a false claim for

 8   payment or approval to the Commonwealth of Massachusetts or its political subdivisions, in
 9
     violation of Mass. Ann. Laws, ch. 12, § 5B(1).
10
            303.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
11
     information involved, or with actual knowledge of the falsity of the information, made, used or
12

13   caused to be made or used, and may still be making, using or causing to be made or used, false

14   records or statements material to a false or fraudulent claim in violation of Mass. Ann. Laws, ch. 12,
15
     § 5B(2).
16
            304.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
17
     information involved, or with actual knowledge of the falsity of the information, made, used, or
18

19   caused to be made or used, and may still be making, using or causing to be made or used, false

20   records or statements material to an obligation to pay or transmit money to the Commonwealth of
21   Massachusetts, or knowingly concealed, or knowingly and improperly avoided or decreased, and
22
     may still be concealing, avoiding, or decreasing, an obligation to pay or transmit money to the
23
     Commonwealth of Massachusetts or one of its political subdivisions, in violation of Mass. Ann.
24

25
     Laws, ch. 12, § 5B(9).

26          305.    The Commonwealth of Massachusetts, or its political subdivisions, unaware of the
27   falsity of the claims and/or statements made or caused to be made by Defendant, and in reliance on
28



                                                      123
 1   the accuracy of these claims and/or statements, paid, and may continue to pay, for prescription

 2   drugs and drug-related management services for recipients of health insurance programs funded by
 3
     the state or its political subdivisions.
 4
               306.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 5
     violation of the federal and state FCAs, the Commonwealth of Massachusetts or its political
 6

 7   subdivisions have been, and may continue to be, severely damaged.

 8

 9   COUNT XIX
10
     VIOLATION OF THE STATE OF MICHIGAN MEDICAID FALSE CLAIMS ACT, MICH.
11   COMP. LAWS SERV. § 400.601, ET SEQ.
12             307.   Relators incorporate by reference the preceding paragraphs as though fully set forth
13
     herein.
14
               308.   This is a civil action brought by Relators in the name of the State of Michigan
15
     against Defendant under the State of Michigan Medicaid False Claims Act, MICH. COMP. LAWS
16

17   SERV. § 400.610a(l), for illegal acts from January 1, 2015 and continuing.

18             309.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
19
     information involved, or with actual knowledge of the falsity of the information, or awareness of
20
     the nature of their conduct and awareness that it is substantially certain to cause the payment of a
21
     Medicaid benefit, made or caused to be made, and may still be making or causing to be made, a
22

23   false statement or false representation of a material fact in an application for Medicaid benefits, in

24   violation of Mich. Comp. Laws. Serv. § 400.603(1).
25
               310.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
26
     information involved, or with actual knowledge of the falsity of the information, or awareness of
27
     the nature of their conduct and awareness that it is substantially certain to cause the payment of a
28



                                                        124
 1   Medicaid benefit, knowingly made or cause to be made a false statement or false representation of a

 2   material fact for use in determining rights to a Medicaid benefit, in violation of Mich. Comp. Laws.
 3
     Serv. § 400.603(2).
 4
            311.    Defendant, in possession of facts under which they are aware or should be aware of
 5
     the nature of their conduct and that their conduct is substantially certain to cause the payment of a
 6

 7   Medicaid benefit, knowingly presented or made or caused to be presented or made, and may still be

 8   presenting or causing to be presented a false claim under the social welfare act, Act No. 280 of the
 9
     Public Acts of 1939, as amended, in violation of Mich. Comp. Laws. Serv. § 400.607(1).
10
            312.    Defendant, in possession of facts under which they are aware or should be aware of
11
     the nature of their conduct and that their conduct is substantially certain to cause the payment of a
12

13   Medicaid benefit, knowingly made, used, or caused to be made or used a false record or statement,

14   and may be continuing knowingly to make, use, or cause to be made or used a false record or
15
     statement, to conceal, avoid, or decrease an obligation to pay or transmit money or property to the
16
     state pertaining to a claim presented under the social welfare act, in violation of Mich. Comp. Laws.
17
     Serv. § 400.607(3).
18

19          313.    The State of Michigan, or its political subdivisions, unaware of the falsity of the

20   claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
21   of these claims and/or statements, paid, and may continue to pay, for prescription and non-
22
     prescription drugs and prescription and nonprescription drug- related management services for
23
     recipients of Medicaid.
24

25
            314.    As a result of Defendant’s actions, as set forth above, including conspiracy in

26   violation of the federal and state FCAs, the State of Michigan or its political subdivisions have
27   been, and may continue to be, severely damaged.
28



                                                      125
 1

 2   COUNT XX
 3
     VIOLATION OF THE STATE OF MINNESOTA FALSE CLAIMS ACT, MINN. STAT. §
 4   15C.01, ET SEQ.

 5             315.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 6   herein.
 7
               316.   This is a civil action brought by Relators on behalf of the State of Minnesota and its
 8
     political subdivisions against Defendant under the State of Minnesota False Claims Act, Minn. Stat.
 9
     § 15C.05(a), for illegal acts from January 1, 2015 and continuing.
10

11             317.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

12   information involved, or with actual knowledge of the falsity of the information, presented, or
13
     caused to be presented, and may still be presenting or causing to be presented, a false claim for
14
     payment or approval to an officer or employee of the state Minnesota or a political subdivision
15
     thereof, in violation of Minn. Stat. § 15C.02(a)(1).
16

17             318.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

18   information involved, or with actual knowledge of the falsity of the information, made, used, or
19
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
20
     record or statement material to a        false or fraudulent claim, in violation of Minn. Stat. §
21
     15C.02(a)(2).
22

23             319.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, made, used, or
25
     caused to be made or used, and may still be making, using, or causing to be made or used, false
26
     records or statements material to an obligation to pay or transmit money to the State of Minnesota,
27
     or knowingly concealed or knowingly and improperly avoided or decreased, and may still be
28



                                                        126
 1   concealing, avoiding, or decreasing, an obligation to pay or transmit money to the State of

 2   Minnesota, in violation of Minn. Stat. § 15C.02(a)(7).
 3
               320.   The State of Minnesota, unaware of the falsity of the claims and/or statements made
 4
     or caused to be made by Defendant, and in reliance on the accuracy of those claims and/or
 5
     statements, paid, and may continue to pay, for prescription drugs and drug-related management
 6

 7   services for recipients of state funded health insurance programs.

 8             321.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 9
     violation of the federal and state FCAs, the State of Minnesota has been, and may continue to be,
10
     severely damaged.
11

12

13

14   COUNT XXI
15   VIOLATION OF THE STATE OF MONTANA FALSE CLAIMS ACT, MONT. CODE ANN. §
16
     17-8-401, ET SEQ.

17             322.   Relators incorporate by reference the preceding paragraphs as though fully set forth

18   herein.
19
               323.   This is a civil action brought by Relators on behalf of the State of Montana and its
20
     political subdivisions against Defendant under the State of Montana False Claims Act, Mont. Code
21
     Ann. § 17-8-406(1), for illegal acts from January 1, 2015 and continuing.
22

23             324.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, presented, or
25
     caused to be presented, and may still be presenting or causing to be presented, a false claim for
26
     payment or approval to an officer or employee of the state Montana or a political subdivision
27
     thereof, in violation of Mont. Code Ann. § 17-8-403(1)(a).
28



                                                        127
 1          325.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, made, used, or
 3
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
 4
     record or statement material to a false or fraudulent claim, in violation of Mont. Code Ann. § 17-8-
 5
     403(1)(b).
 6

 7          326.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, made, used, or
 9
     caused to be made or used, and may still be making, using, or causing to be made or used, false
10
     records or statements material to an obligation to pay or transmit money to the State of Montana, or
11
     knowingly has concealed, or knowingly and improperly has avoided or decreased, and may still be
12

13   concealing, avoiding, or decreasing, an obligation to pay or transmit money to the State of Montana

14   or a political subdivision thereof, in violation of Mont. Code Ann. § 17-8-403(1)(g).
15
            327.    The State of Montana, unaware of the falsity of the claims and/or statements made or
16
     caused to be made by Defendant, and in reliance on the accuracy of those claims and/or statements,
17
     paid, and may continue to pay, for prescription drugs and drug-related management services for
18

19   recipients of state funded health insurance programs.

20          328.    As a result of Defendant’s actions, as set forth above, including conspiracy in
21   violation of the federal and state FCAs, the State of Montana has been, and may continue to be,
22
     severely damaged.
23

24

25

26

27

28



                                                      128
 1

 2   COUNT XXII
 3
     VIOLATION OF THE STATE OF NEVADA SUBMISSION OF FALSE CLAIMS TO STATE
 4   OR LOCAL GOVERNMENT ACT, NEV. REV. STAT. § 357.010, ET SEQ.

 5             329.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 6   herein.
 7
               330.   This is a civil action brought by Relators on behalf of the State of Nevada against
 8
     Defendant under the State of Nevada Submission of False Claims to State or Local Government
 9
     Act, Nev. Rev. Stat. § 357.080(1), for illegal acts from January 1, 2015 and continuing.
10

11             331.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

12   information involved, or with actual knowledge of the falsity of the information, presented or
13
     caused to be presented, and may still be presenting or causing to be presented, a false claim for
14
     payment or approval, in violation of Nev. Rev. Stat. § 357.040(l)(a).
15
               332.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
16

17   information involved, or with actual knowledge of the falsity of the information, made, used or

18   caused to be made or used, and may still be making, using or causing to be made or used, false
19
     records or statements material to a false or fraudulent claim in violation of Nev. Rev. Stat. §
20
     357.040(1)(b).
21
               333.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
22

23   information involved, or with actual knowledge of the falsity of the information, made, used, or

24   caused to be made or used, and may still be making, using or causing to be made or used, false
25
     records or statements material to an obligation to pay or transmit money to the State of Nevada or
26
     one of its political subdivisions, or knowingly concealed, or knowingly and improperly avoided or
27
     decreased, and may still be concealing, avoiding, or decreasing, an obligation to pay or transmit
28



                                                        129
 1   money to the State of Nevada or one of its political subdivisions, in violation of Nev. Rev. Stat. §

 2   357.040(1)(g).
 3
               334.   The State of Nevada, or its political subdivisions, unaware of the falsity of the claims
 4
     and/or statements made or caused to be made by Defendant, and in reliance on the accuracy of these
 5
     claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-related
 6

 7   management services for recipients of health insurance programs funded by the state or its political

 8   subdivisions.
 9
               335.   As a result of Defendant’s actions, as set forth above, including conspiracy in
10
     violation of the federal and state FCAs, the State of Nevada or its political subdivisions have been,
11
     and may continue to be, severely damaged.
12

13

14   COUNT XXIII
15   VIOLATION OF STATE OF NEW JERSEY FALSE CLAIMS ACT, N.J. STAT. ANN. § 2A:32C-
16
     1, ET SEQ.

17             336.   Relators incorporate by reference the preceding paragraphs as though fully set forth

18   herein.
19
               337.   This is a civil action brought by Relators, in the name of the State of New Jersey,
20
     against Defendant pursuant to the State of New Jersey False Claims Act, N.J. Stat. Ann. § 2A:32C-
21
     5.b, for illegal acts from January 1, 2015 and continuing.
22

23             338.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, presented or
25
     caused to be presented, and may still be presenting or causing to be presented, false or fraudulent
26
     claims for payment or approval to an employee, officer, or agent of the State of New Jersey, or to
27

28



                                                         130
 1   any contractor, grantee, or other recipient of State funds , in violation of N.J. Stat. Ann. § 2A:32C-

 2   3.a.
 3
            339.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used or
 5
     caused to be made or used, and may still be making, using or causing to be made or used, false
 6

 7   records or statements to get a false or fraudulent claim paid or approved by the State of New Jersey,

 8   in violation of N.J. Stat. Ann. § 2A:32C-3.b.
 9
            340.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
10
     information involved, or with actual knowledge of the falsity of the information, made, used, or
11
     caused to be made or used, and may still be making, using or causing to be made or used, false
12

13   records or statements to conceal, avoid, or decrease an obligation to pay or transmit money to the

14   State of New Jersey or one of its political subdivisions, in violation of N.J. Stat. Ann. § 2A:32C-3.g.
15
            341.    The State of New Jersey or its political subdivisions, unaware of the falsity of the
16
     claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
17
     of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
18

19   related management services for recipients of Medicaid.

20          342.    As a result of Defendant’s actions, as set forth above, including conspiracy in
21   violation of the federal and state FCAs, the State of New Jersey or its political subdivisions has
22
     been, and may continue to be, severely damaged.
23

24

25

26

27

28



                                                       131
 1   COUNT XXIV

 2   VIOLATION OF STATE OF NEW MEXICO MEDICAID FALSE CLAIMS ACT, N.M. STAT.
     ANN. § 27-14-1, ET SEQ.
 3

 4             343.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 5   herein.
 6
               344.   This is a civil action brought by Relators on behalf of the State of New Mexico
 7
     against Defendant under the State of New Mexico Medicaid False Claims Act, N.M. Stat. Ann. §
 8
     27-14-7(B), for illegal acts from January 1, 2015 and continuing.
 9

10             345.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

11   information involved, or with actual knowledge of the falsity of the information, presented or
12   caused to be presented, and may still be presenting or causing to be presented, a false or fraudulent
13
     claim for payment under the Medicaid program, in violation of N.M. Stat. Ann. § 27-14-4(A).
14
               346.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
15

16
     information involved, or with actual knowledge of the falsity of the information, made, used or

17   caused to be made or used, and may still be making, using or causing to be made or used, false

18   records or statements to obtain false or fraudulent claims under the Medicaid program paid for or
19
     approved by the state, in violation of N.M. Stat. Ann. § 27-14-4(C).
20
               347.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21
     information involved, or with actual knowledge of the falsity of the information, made, used, or
22

23   caused to be made or used, and may still be making, using or causing to be made or used, false

24   records or statements to conceal, avoid, or decrease an obligation to pay or transmit money to the
25
     State of New Mexico or one of its political subdivisions, relative to the Medicaid program, in
26
     violation of N.M. Stat. Ann. § 27-14-4(E).
27

28



                                                        132
 1             348.   The State of New Mexico, or its political subdivisions, unaware of the falsity of the

 2   claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
 3
     of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
 4
     related management services for recipients of health insurance programs funded by the state or its
 5
     political subdivisions.
 6

 7             349.   As a result of Defendant’s actions, as set forth above, including conspiracy in

 8   violation of the federal and state FCAs, the State of New Mexico or its political subdivisions have
 9
     been, and may continue to be, severely damaged.
10

11
     COUNT XXV
12

13
     VIOLATION OF THE STATE OF NEW YORK FALSE CLAIMS ACT, N.Y. FIN. LAW § 187,
     ET SEQ.
14
               350.   Relators incorporate by reference the preceding paragraphs as though fully set forth
15
     herein.
16

17             351.   This is a civil action brought by Relators on behalf of the State of New York against

18   Defendant under the State of New York False Claims Act, N.Y. Fin. Law § 190(2), for illegal acts
19
     from January 1, 2015 and continuing.
20
               352.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21
     information involved, or with actual knowledge of the falsity of the information, presented or
22

23   caused to be presented, and may still be presenting or causing to be presented, a false claim for

24   payment or approval, in violation of N.Y. Fin. Law § 189(1)(a).
25
               353.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
26
     information involved, or with actual knowledge of the falsity of the information, made, used or
27

28



                                                        133
 1   caused to be made or used, and may still be making, using or causing to be made or used, false

 2   records or statements material to a false or fraudulent , in violation of N.Y. Fin. Law § 189(1)(b).
 3
               354.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used, or
 5
     caused to be made or used, and may still be making, using or causing to be made or used, false
 6

 7   records or statements material to obligations to pay or transmit money or property to the state or a

 8   local government, in violation of N.Y. Fin. Law § 189(1)(g), or knowingly concealed, or knowingly
 9
     and improperly avoided or decreased, and may still be concealing, avoiding, or decreasing, an
10
     obligation to pay or transmit money or property to the State of New York or a local government, in
11
     violation of N.Y. Fin. Law § 189(1)(h).
12

13             355.   The State of New York, or its political subdivisions, unaware of the falsity of the

14   claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
15
     of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
16
     related management services for recipients of health insurance programs funded by the state or its
17
     political subdivisions.
18

19             356.   As a result of Defendant’s actions, as set forth above, including conspiracy in

20   violation of the federal and state FCAs, the State of New York or its political subdivisions have
21   been, and may continue to be, severely damaged.
22

23
     COUNT XXVI
24
     VIOLATION OF STATE OF NORTH CAROLINA FALSE CLAIMS ACT, N.C. GEN. STAT. §
25
     1-605, ET SEQ.
26
               357.   Relators incorporate by reference the preceding paragraphs as though fully set forth
27
     herein.
28



                                                        134
 1          358.    This is a civil action brought by Relators on behalf of the State of North Carolina

 2   against Defendant under the State of North Carolina False Claims Act, N.C. Gen. Stat. § 1-608(b),
 3
     for illegal acts from January 1, 2015 and continuing.
 4
            359.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, false or fraudulent

 8   claims for payment or approval, in violation of N.C. Gen. Stat. § 1-607(a)(1).
 9
            360.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
10
     information involved, or with actual knowledge of the falsity of the information, made, used or
11
     caused to be made or used, and may still be making, using or causing to be made or used, false
12

13   records material to false or fraudulent claims, in violation of N.C. Gen. Stat. § 1- 607(a)(2).

14          361.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
15
     information involved, or with actual knowledge of the falsity of the information, made, used, or
16
     caused to be made or used, and may still be making, using or causing to be made or used, false
17
     records or statements material to obligations to pay or transmit money or property to the State of
18

19   North Carolina in violation of N.C. Gen. Stat. § 1-607(a)(7).

20          362.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21   information involved, or with actual knowledge of the falsity of the information, concealed or
22
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
23
     obligations to pay or transmit money or property to the State of North Carolina in violation of N.C.
24

25
     Gen. Stat. § 1-607(a)(7).

26          363.    The State of North Carolina, or its political subdivisions, unaware of the falsity of
27   the claims and/or statements made or caused to be made by Defendant, and in reliance on the
28



                                                        135
 1   accuracy of these claims and/or statements, paid, and may continue to pay, for prescription drugs

 2   and drug-related management services for recipients of health insurance programs funded by the
 3
     state or its political subdivisions.
 4
               364.   As a result of Defendant’s actions, as set forth above, including conspiracy in
 5
     violation of the federal and state FCAs, the State of North Carolina or its political subdivisions have
 6

 7   been, and may continue to be, severely damaged.

 8

 9   COUNT XXVII
10
     VIOLATION OF STATE OF OKLAHOMA MEDICAID FALSE CLAIMS ACT, OKLA. STAT.
11   tit. 63, § 5053 (2007), ET SEQ.
12             365.   Relators incorporate by reference the preceding paragraphs as though fully set forth
13
     herein.
14
               366.   This is a civil action brought by Relators, in the name of the State of Oklahoma,
15
     against Defendant pursuant to the State of Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63,
16

17   § 5053.2(B), for illegal acts from January 1, 2015 and continuing.

18             367.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
19
     information involved, or with actual knowledge of the falsity of the information, presented or
20
     caused to be presented, and may still be making or causing to be presented, to an officer or
21
     employee of the State of Oklahoma, false or fraudulent claims for payment or approval under the
22

23   Oklahoma Medicaid program, in violation of Okla. Stat. tit. 63, § 5053.1(B)(1).

24             368.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
25
     information involved, or with actual knowledge of the falsity of the information, made, used or
26
     caused to be made or used, and may still be making, using or causing to be made or used, false
27

28



                                                        136
 1   records and statements to get false or fraudulent claims paid or approved by the state of Oklahoma,

 2   in violation of Okla. Stat. tit. 63, § 5053.1(B)(2).
 3
               369.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used, or
 5
     caused to be made or used, and may still be making, using, or causing to be made or used, false
 6

 7   records or statements to conceal, avoid, or decrease obligations to pay or transmit money or

 8   property to the state, in violation of Okla. Stat. tit. 63, § 5053.1(B)(7).
 9
               370.   The State of Oklahoma or its political subdivisions, unaware of the falsity of the
10
     claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
11
     of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
12

13   related management services for recipients of Medicaid.

14             371.   As a result of Defendant’s actions, as set forth above, including conspiracy in
15
     violation of the federal and state FCAs, the State of Oklahoma or its political subdivisions has been,
16
     and may continue to be, severely damaged.
17

18
     COUNT XXVIII
19

20   VIOLATION OF STATE OF RHODE ISLAND FALSE CLAIMS ACT, R.I. GEN. LAWS § 9-
     1.1-1, ET SEQ.
21
               372.   Relators incorporate by reference the preceding paragraphs as though fully set forth
22

23   herein.

24             373.   This is a civil action brought by Relators, in the name of the State of Rhode Island,
25
     against Defendant pursuant to the State of Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-
26
     4(b), for illegal acts from January 1, 2015 and continuing.
27

28



                                                            137
 1          374.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, presented or
 3
     caused to be presented, and may still be presenting or causing to be presented, to an officer or
 4
     employee of the state of Rhode Island false or fraudulent claims for payment or approval under the
 5
     Rhode Island Medicaid program, in violation of R.I. Gen. Laws § 9-1.1-3(a)(1).
 6

 7          375.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, made, used, or
 9
     caused to be made or used, and may still be making, using, or causing to be made or used, false
10
     records or statements material to a false or fraudulent claim , in violation of R.I. Gen. Laws § 9-1.1-
11
     3(a)(2).
12

13          376.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

14   information involved, or with actual knowledge of the falsity of the information, made, used, or
15
     caused to be made or used, and may still be making, using, or causing to be made or used, false
16
     records or statements material to an obligation to pay or transmit money or property to the state, or
17
     knowingly concealed, or knowingly and improperly avoided or decreased, and may still be
18

19   concealing, avoiding, or decreasing, an obligation to pay or transmit money or property to the state,

20   in violation of R.I. Gen. Laws § 9-1.1-3(a)(7).
21          377.    The State of Rhode Island or its political subdivisions, unaware of the falsity of the
22
     claims and/or statements made or caused to be made by Defendant, and in reliance on the accuracy
23
     of these claims and/or statements, paid, and may continue to pay, for prescription drugs and drug-
24

25
     related management services for recipients of Medicaid.

26

27

28



                                                       138
 1             378.   As a result of Defendant’s actions, as set forth above, including conspiracy in

 2   violation of the federal and state FCAs, the State of Rhode Island or its political subdivisions has
 3
     been, and may continue to be, severely damaged.
 4

 5
     COUNT XXIX
 6

 7   VIOLATION OF THE STATE OF TENNESSEE MEDICAID FALSE CLAIMS ACT, TENN.
     CODE ANN. § 71-5-181, ET SEQ.
 8
               379.   Relators incorporate by reference the preceding paragraphs as though fully set forth
 9
     herein.
10

11             380.   This is a civil action brought by Relators in the name of the State of Tennessee

12   against Defendant under the Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-
13
     183(b)(1), for illegal acts from January 1, 2015 and continuing.
14
               381.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
15
     information involved, or with actual knowledge of the falsity of the information, presented or
16

17   caused to be presented, and may still be presenting or causing to be presented, to the State of

18   Tennessee false or fraudulent claims for payment or approval under the Tennessee Medicaid
19
     program, in violation of Tenn. Code Ann. § 71-5-182(a)(l)(A).
20
               382.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
21
     information involved, or with actual knowledge of the falsity of the information, made, used or
22

23   caused to be made or used, and may still be making, using or causing to be made or used, false

24   records or statements material to false or fraudulent claims, in violation of Tenn. Code Ann. § 71-5-
25
     182(a)(l)(B).
26
               383.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
27
     information involved, or with actual knowledge of the falsity of the information, made, used, or
28



                                                        139
 1   caused to be made or used, and may still be making, using or causing to be made or used, false

 2   records or statements material to obligations to pay or transmit money, or property to the state of
 3
     Tennessee, relative to the Medicaid program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(D).
 4
               384.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, concealed or
 6

 7   improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,

 8   obligations to pay or transmit money or property to the state of Tennessee, relative to the Medicaid
 9
     program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(D).
10
               385.   The State of Tennessee, unaware of the falsity of the claims and/or statements made
11
     or caused to be made by Defendant, and in reliance on the accuracy of these claims and/or
12

13   statements, paid, and may continue to pay, for prescription drugs and drug-related management

14   services for recipients of the Medicaid program.
15
               386.   As a result of Defendant’s actions, as set forth above, including conspiracy in
16
     violation of the federal and state FCAs, the State of Tennessee has been, and may continue to be,
17
     severely damaged.
18

19

20   COUNT XXX

21   VIOLATION OF THE STATE OF TEXAS MEDICAID FRAUD PREVENTION ACT, TEX.
     HUM. RES. CODE § 36.001, ET SEQ.
22

23             387.   Relators incorporate by reference the preceding paragraphs as though fully set forth

24   herein.
25
               388.   This is a civil action brought by Relators in the name of the State of Texas against
26
     Defendant under the State of Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code §
27
     36.101(a), for illegal acts from January 1, 2015 and continuing.
28



                                                        140
 1          389.     Defendant, in reckless disregard of or with conscious indifference to the truth or

 2   falsity of the information involved, or with actual knowledge of the falsity of the information, made
 3
     or caused to be made, and may still be making or causing to be made, a false statement or
 4
     misrepresentation of material fact to permit a person to receive a benefit or payment under the
 5
     Medicaid program that is not authorized or that is greater than the benefit or payment that is
 6

 7   authorized, in violation of Tex. Hum. Res. Code § 36.002(1).

 8          390.     Defendant, in reckless disregard of or with conscious indifference to the truth or
 9
     falsity of the information involved, or with actual knowledge of the falsity of the information,
10
     concealed or failed to disclose information, and may still be concealing or failing to disclose
11
     information, that permits a person to receive a benefit or payment under the Medicaid program that
12

13   is not authorized or that is greater than the benefit or payment that is authorized, in violation of Tex.

14   Hum. Res. Code § 36.002(2).
15
            391.     Defendant, in reckless disregard of or with conscious indifference to the truth or
16
     falsity of the information involved, or with actual knowledge of the falsity of the information, made,
17
     caused to be made, induced or sought to induce, and may still be making, causing to be made,
18

19   inducing or seeking to induce, the making of a false statement or misrepresentation of material fact

20   concerning information required to be provided by a federal or state law, rule, regulation or
21   provider agreement pertaining to the Medicaid program, in violation of Tex. Hum. Res. Code §
22
     36.002(4)(B).
23
            392.     Defendant, in reckless disregard of or with conscious indifference to the truth or
24

25
     falsity of the information involved, or with actual knowledge of the falsity of the information, made

26   or caused to be made, and may still be making or causing to be made, a claim under the Medicaid
27   program (A) a product that has not been approved or acquiesced in by a treating physician or health
28



                                                        141
 1   care practitioner; (B) a product that is substantially inadequate or inappropriate when compared to

 2   generally recognized standards within the particular discipline or within the health care industry; or
 3
     (C) a product that has been adulterated, debased, mislabeled, or that is otherwise inappropriate, in
 4
     violation of Tex. Hum. Res. Code § 36.002(7)(A)-(C).
 5
               393.   Defendant, in reckless disregard of or with conscious indifference to the truth or
 6

 7   falsity of the information involved, or with actual knowledge of the falsity of the information, made,

 8   used, or caused the making or use, and may still be making, using, or causing the making or use, of
 9
     false records or statements material to an obligation to pay or transmit money or property to the
10
     state, or knowingly concealed, or knowingly and improperly avoided or decreased, and may still be
11
     concealing, avoiding, or decreasing, an obligation to pay or transmit money or property to the state
12

13   of Texas under the Medicaid program, in violation of Tex. Hum. Res. Code § 36.002(12).

14             394.   The State of Texas, its political subdivisions or the Department, unaware of the
15
     falsity of the claims and/or statements made or caused to be made by Defendant, and in reliance on
16
     the accuracy of these claims and/or statements, paid, and may continue to pay, for prescription
17
     drugs and drug-related management services for recipients of Medicaid.
18

19             395.   As a result of Defendant’s actions, as set forth above, including conspiracy in

20   violation of the federal and state FCAs, the State of Texas, its political subdivisions or the
21   Department has been, and may continue to be, severely damaged.
22

23
     COUNT XXXI
24

25
     VIOLATION OF THE STATE OF VERMONT FALSE CLAIMS ACT, 32 V.S.A. CHAPTER 7,
     SUBCHAPTER 8, ET SEQ.
26
               396.   Relators incorporate by reference the preceding paragraphs as though fully set forth
27
     herein.
28



                                                       142
 1          397.    This is a civil action brought by Relators in the name of the State of Vermont against

 2   Defendant under the State of Vermont False Claims Act, 32 V.S.A. Chapter 7, Subchapter 8, § 631,
 3
     632, for illegal acts from January 1, 2015 and continuing.
 4
            398.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 5
     information involved, or with actual knowledge of the falsity of the information, presented or
 6

 7   caused to be presented, and may still be presenting or causing to be presented, false or fraudulent

 8   claims for payment or approval, in violation of State of Vermont False Claims Act, 32 V.S.A.
 9
     Chapter 7, Subchapter 8, § 631(1).
10
            399.     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
11
     information involved, or with actual knowledge of the falsity of the information, made, used or
12

13   caused to be made or used, and may still be making, using or causing to be made or used, false

14   records material to false or fraudulent claims, in violation of State of Vermont False Claims Act, 32
15
     V.S.A. Chapter 7, Subchapter 8, § 631(2).
16
            400.    Defendant, entered into a written agreement or contract with an official of the State
17
     of Vermont or its agent, in reckless disregard of or with conscious indifference to the truth or falsity
18

19   of the information involved, or with actual knowledge of the falsity of the information, in violation

20   of State of Vermont False Claims Act, 32 V.S.A. Chapter 7, Subchapter 8, § 631(8).
21          401.
22
            402.    Defendant, in reckless disregard of or with conscious indifference to the truth or
23
     falsity of the information involved, or with actual knowledge of the falsity of the information, made,
24

25
     used, or caused the making or use, and may still be making, using, or causing the making or use, of

26   false records or statements material to an obligation to pay or transmit money or property to the
27   state, or knowinglyconcealed, or knowingly and improperly avoided or decreased, and may still be
28



                                                       143
 1   concealing, avoiding, or decreasing, an obligation to pay or transmit money or property to the state

 2   of Vermont under the Medicaid program, in violation of State of Vermont False Claims Act, 32
 3
     V.S.A. Chapter 7, Subchapter 8, § 631(9)-(10).
 4
               403.   The State of Vermont, its political subdivisions or the Department, unaware of the
 5
     falsity of the claims and/or statements made or caused to be made by Defendant, and in reliance on
 6

 7   the accuracy of these claims and/or statements, paid, and may continue to pay, for prescription

 8   drugs and drug-related management services for recipients of Medicaid.
 9
               404.   As a result of Defendant’s actions, as set forth above, including conspiracy in
10
     violation of the federal and state FCAs, the State of Vermont, its political subdivisions or the
11
     Department has been, and may continue to be, severely damaged.
12

13

14   COUNT XXXII
15
     VIOLATION OF THE COMMONWEALTH OF VIRGINIA FRAUD AGAINST TAXPAYERS
16   ACT, VA. CODE ANN. § 8.01-216.1, ET SEQ.

17             405.   Relators incorporate by reference the preceding paragraphs as though fully set forth

18   herein.
19
               406.   This is a civil action brought by Relators on behalf of the Commonwealth of Virginia
20
     against Defendant under the Commonwealth of Virginia Fraud Against Taxpayers Act, Va. Code
21
     Ann. § 8.01-216.5(A), for illegal acts from January 1, 2015 and continuing.
22

23             407.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, presented or
25
     caused to be presented, and may still be presenting or causing to be presented, to an officer or
26
     employee of the Commonwealth, a false or fraudulent claim for payment or approval, in violation
27
     of Va. Code Ann. § 8.01-216.3(A)(l).
28



                                                        144
 1          408.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, made, used, or
 3
     caused to be made or used, and may still be making, using or causing to be made or used, false
 4
     records or statements material to false or fraudulent claims, in violation of Va. Code Ann. § 8.01-
 5
     216.3(A)(2).
 6

 7          409.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 8   information involved, or with actual knowledge of the falsity of the information, made, used or
 9
     caused to be made or used, and may still be making, using or causing to be made or used, false
10
     records or statements material to obligations to pay or transmit money or property to the
11
     Commonwealth, in violation of Va. Code Ann. § 8.01-216.3(A)(7).
12

13          410.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

14   information involved, or with actual knowledge of the falsity of the information, concealed or
15
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
16
     obligations to pay or transmit money or property to the Commonwealth, in violation of Va. Code
17
     Ann. § 8.01-216.3(A)(7).
18

19          411.    The Commonwealth of Virginia, unaware of the falsity of the claims and/or

20   statements made or caused to be made by Defendant, and in reliance upon the accuracy of these
21   claims and/or statements, paid, and may continue to pay, for prescription and nonprescription drugs
22
     and prescription and non-prescription drug-related management services for recipients of state-
23
     funded health insurance programs.
24

25
            412.    As a result of Defendant’s actions, as set forth above, including conspiracy in

26   violation of the federal and state FCAs, the Commonwealth of Virginia, its political subdivisions or
27   the Department has been, and may continue to be, severely damaged.
28



                                                      145
 1

 2   COUNT XXXIII
 3
     VIOLATION OF THE WASHINGTON STATE MEDICAID FRAUD FALSE CLAIMS ACT,
 4   WASH. REV. CODE § 74.66.005, ET SEQ.

 5             413.   Relators incorporate by reference the preceding paragraphs as though fully set forth

 6   herein.
 7
               414.   This is a civil action brought by Relators on behalf of the State of Washington
 8
     against Defendant under the Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code
 9
     § 74.66.050(1), for illegal acts from January 1, 2015 and continuing.
10

11             415.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

12   information involved, or with actual knowledge of the falsity of the information, presented or
13
     caused to be presented, and may still be presenting or causing to be presented, false or fraudulent
14
     claims for payment or approval under the state of Washington Medicaid program, in violation of
15
     Wash. Rev. Code § 74.66.020(1)(a).
16

17             416.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

18   information involved, or with actual knowledge of the falsity of the information, made, used, or
19
     caused to be made or used, and may still be making, using or causing to be made or used, false
20
     records or statements material to false or fraudulent claims, in violation of Wash. Rev. Code §
21
     74.66.020(1)(b).
22

23             417.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

24   information involved, or with actual knowledge of the falsity of the information, made, used or
25
     caused to be made or used, and may still be making, using or causing to be made or used, false
26
     records or statements material to obligations to pay or transmit money or property to the state of
27
     Washington Medicaid program, in violation of Wash. Rev. Code § 74.66.020(1)(g).
28



                                                        146
 1             418.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

 2   information involved, or with actual knowledge of the falsity of the information, concealed or
 3
     improperly avoided or decreased, and may still be concealing or improperly avoiding or decreasing,
 4
     obligations to pay or transmit money or property to the state of Washington Medicaid program, in
 5
     violation of Wash. Rev. Code § 74.66.020(1)(g).
 6

 7             419.   The State of Washington, unaware of the falsity of the claims and/or statements

 8   made or caused to be made by Defendant, and in reliance upon the accuracy of these claims and/or
 9
     statements, paid, and may continue to pay, for prescription drugs and drug-related management
10
     services for recipients of state-funded health insurance programs.
11
               420.   As a result of Defendant’s actions, as set forth above, including conspiracy in
12

13   violation of the federal and state FCAs, the State of Washington and/or its political subdivisions

14   have been, and may continue to be, severely damaged.
15

16
     COUNT XXXIV
17
     VIOLATION OF THE STATE OF WISCONSIN FALSE CLAIMS FOR MEDICAL
18   ASSISTANCE ACT, WIS. STAT. § 20.931, ET SEQ.
19             421.   Relators incorporate by reference the preceding paragraphs as though fully set forth
20
     herein.
21
               422.   This is a civil action brought by Relators on behalf of the State of Wisconsin against
22

23
     Defendant under the State of Wisconsin False Claims for Medical Assistance, Wis. Stat. §

24   20.931(5)(a) for illegal acts from January 1, 2015 and continuing until the non-retroactive repeal of

25   that law effective July 14, 2015.
26
               423.   Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
27
     information involved, or with actual knowledge of the falsity of the information, presented or caused
28



                                                         147
 1   to be presented, and may still be presenting or causing to be presented, to any officer, or employee, or

 2   agent of the state, a false claim for medical assistance, in violation of Wis. Stat. § 20.931(2)(a).
 3
            424.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
 4
     information involved, or with actual knowledge of the falsity of the information, made, used, or
 5
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
 6

 7   record or statement to obtain approval or payment of a false claim for medical assistance, in violation

 8   of Wis. Stat. § 20.931(2)(b).
 9
            425.    Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the
10
     information involved, or with actual knowledge of the falsity of the information, made, used, or
11
     caused to be made or used, and may still be making, using, or causing to be made or used, a false
12

13   record or statement to conceal, avoid, or decrease an obligation to pay or transmit money or property

14   to the Medical Assistance program, in violation of Wis. Stat. § 20.931(2)(g).
15
            426.    Further, Defendant violated the Wisconsin FCA through conspiracy in violation of
16
     Wis. Stat. § 20.931(2)(c).
17
            427.    The State of Wisconsin, unaware of the falsity of the claims and/or statements made or
18

19   caused to be made by Defendant, and in reliance upon the accuracy of these claims and/or statements,

20   paid, and may continue to pay, for prescription drugs for recipients of state-funded health insurance
21   programs.
22
            428.    As a result of Defendant’s actions, as set forth above, including conspiracy in violation
23
     of the federal and state FCAs, the State of Wisconsin and/or its political subdivisions have been, and
24

25
     may continue to be, severely damaged.

26

27

28



                                                        148
 1

 2   COUNT XXXV
 3   RETALIATION AGAINST RELATOR SMITH IN VIOLATION OF FEDERAL FALSE
 4
     CLAIMS ACT, 31 U.S.C. § 3730(h), AND ANTI-RETALIATION PROVISION OF THE
     COMMONWEALTH OF VIRGINIA FRAUD AGAINST TAXPAYERS ACT, VA. CODE ANN.
 5   § 8.01-216.8 AND THE COMMON LAW PROTECTIONS OF THE COMONWEALTH OF
     VIRGINIA.
 6

 7
              429.   Relator Smith incorporates by reference the proceeding paragraphs as thus fully set

 8   forth herein.

 9            430.   As a result of Relator’s lawful acts in furtherance of protected activities in the
10
     reporting of fraud, and Defendant’s knowledge thereof, Defendant retaliated against Relator Smith.
11
              431.   Defendant’s retaliatory acts against Relator included failure to provide bonuses and
12
     merit increases, effective stripping of job duties and promotional and growth opportunities, and
13

14   other forms of discrimination, ultimately leading to Relator Smith’s constructive discharge.

15            432.   Defendant harassed, discriminated against, threatened, and ultimately discharged
16
     Relator Smith in his employment because of lawful acts Relator Smith undertook to stop violations
17
     of, and a conspiracy to violate, the False Claims Act. Defendant’s retaliation also independently
18
     violates the federal FCA, 31 U.S.C.        § 3730(h), the and Anti-Retaliation Provision of the
19

20   Commonwealth Of Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-216.8 and the

21   common law protections of the Commonwealth of Virginia, particularly violating the Virginia
22
     public policy exception for at-will employment because Relator Smith reported fraudulent behavior
23
     by Novo Nordisk attempting to make Novo Nordisk comply with State and Federal laws cited
24
     above.
25

26            433.   Defendant’s retaliatory acts caused Relator Smith to suffer, and continue to suffer,

27   compensatory and special damages, including, but not limited to, past and future earnings, lost
28   employment benefits (including health insurance benefits and retirement contributions), job-search


                                                      149
 1   expenses, humiliation, mental anguish, and emotional distress, all collectively in an amount to be

 2   determined at trial.
 3
            434.     Defendant’s actions were knowing, malicious, willful, and with conscious disregard
 4
     for Relator’s rights under the law. Relator Smith is further entitled to exemplary and punitive
 5
     damages in an amount to be determined at trial.
 6

 7

 8   COUNT XXVI
 9   RETALIATION AGAINST RELATOR HOUCK IN VIOLATION OF FEDERAL FALSE
     CLAIMS ACT, 31 U.S.C. § 3730(h), AND THE WEST VIRGINIA HUMAN RIGHTS ACT, W.
10
     VA CODE § 5-11-9(7) (C) AND THE COMMON LAW PROTECTIONS OF THE STATE OF
11   WEST VIRGINIA.

12          435.     Relator Houck incorporates by reference the proceeding paragraphs as thus fully set
13
     forth herein.
14
            436.     As a result of Relator Houck’s lawful acts in furtherance of protected activities in the
15
     reporting of fraud, and Defendant’s knowledge thereof, Defendant retaliated against Relator Houck.
16

17          437.     Defendant’s retaliatory acts against Relator Houck included failure to provide

18   bonuses and merit increases, effective stripping of job duties and promotional and growth
19
     opportunities, and other forms of discrimination, ultimately leading to Relator Houck’s constructive
20
     discharge.
21
            438.     Defendant harassed, discriminated against, threatened, and ultimately discharged
22

23   Relator Houck in his employment because of lawful acts Relator Houck undertook to stop

24   violations of, and a conspiracy to violate, the False Claims Act. Defendant’s retaliation also
25
     independently violates the federal FCA, 31 U.S.C. § 3730(h), the West Virginia Human Rights
26
     Act, W. VA Code § 5-11-9(7) (C) and the common law protections of the State of West Virginia
27
     particularly violating the West Virginia public policy exception for at-will employment because
28



                                                        150
 1   Relator Houck reported fraudulent behavior by Novo Nordisk while attempting to make Novo

 2   Nordisk comply with State and Federal laws cited above.
 3
             439.    Defendant’s retaliatory acts caused Relator Houck to suffer, and continue to suffer,
 4
     compensatory and special damages, including, but not limited to, past and future earnings, lost
 5
     employment benefits (including health insurance benefits and retirement contributions), job-search
 6

 7   expenses, humiliation, mental anguish, and emotional distress, all collectively in an amount to be

 8   determined at trial.
 9
             440.    Defendant’s actions were knowing, malicious, willful, and with conscious disregard
10
     for Relator Houck’s rights under the law. Relator Houck is further entitled to exemplary and
11
     punitive damages in an amount to be determined at trial.
12

13   COUNT XXVII

14   RETALIATION AGAINST RELATOR SHIRKEY IN VIOLATION OF FEDERAL FALSE
     CLAIMS ACT, 31 U.S.C. § 3730(h), AND THE WEST VIRGINIA HUMAN RIGHTS ACT, W.
15   VA CODE § 5-11-9(7) (C) AND THE COMMON LAW PROTECTIONS OF THE STATE OF
16
     WEST VIRGINIA.

17           441.    Relator Shirkey incorporates by reference the proceeding paragraphs as though fully

18   set forth herein.
19
             442.    As a result of Relator Shirkey’s lawful acts in furtherance of protected activities in
20
     the reporting of fraud, and Defendant’s knowledge thereof, Defendant retaliated against Relator
21
     Shirkey.
22

23           443.    Defendant’s retaliatory acts against Relator Shirkey included failure to provide

24   bonuses and merit increases, effective stripping of job duties and promotional and growth
25
     opportunities, and other forms of discrimination, ultimately leading to Relator Shirkey’s
26
     constructive discharge.
27

28



                                                       151
 1          444.    Defendant harassed, discriminated against, threatened, and ultimately discharged

 2   Relator Smith in his employment because of lawful acts Relator Shirkey undertook to stop
 3
     violations of, and a conspiracy to violate, the False Claims Act. Defendant’s retaliation also
 4
     independently violates the federal FCA, 31 U.S.C. § 3730(h), the West Virginia Human Rights Act,
 5
     W. VA Code § 5-11-9(7) (C) and the common law protections of the State of West Virginia
 6

 7   particularly violating the West Virginia public policy exception for at-will employment because

 8   Relator Houck reported fraudulent behavior by Novo Nordisk while attempting to make Novo
 9
     Nordisk comply with State and Federal laws cited above.
10
            445.    Defendant’s retaliatory acts caused Relator Shirkey to suffer, and continue to suffer,
11
     compensatory and special damages, including, but not limited to, past and future earnings, lost
12

13   employment benefits (including health insurance benefits and retirement contributions), job-search

14   expenses, humiliation, mental anguish, and emotional distress, all collectively in an amount to be
15
     determined at trial.
16
            446.    Defendant’s actions were knowing, malicious, willful, and with conscious disregard
17
     for Relator’s rights under the law. Relator Shirkey is further entitled to exemplary and punitive
18

19   damages in an amount to be determined at trial.

20

21   VII.   PRAYER FOR RELIEF
22
            WHEREFORE, on behalf of the Plaintiffs United States and States, and on their own behalf,
23
     Relators pray for judgment against Defendant as follows:
24

25          A.      That Defendant be ordered to cease and desist from submitting any more false

26   claims, or further violating the FCA and the State Qui Tam Statutes;
27

28



                                                       152
 1          B.      That judgment be entered in the United States of America’s favor and against

 2   Defendant in the amount of each and every false or fraudulent claim on or after January 1, 2015,
 3
     multiplied as provided for in 31 U.S.C. § 3729(a)(1), plus a civil penalty of not less $5,500 or more
 4
     than $11,000 per claim as provided by 31 U.S.C. § 3729(a)(1), as adjusted by the Federal Civil
 5
     Penalties Inflation Adjustment Act of 1990, to the extent such multiplied penalties shall fairly
 6

 7   compensate the United States of America for losses resulting from the various schemes undertaken

 8   by Defendant, together with penalties for specific claims to be identified at trial after full discovery;
 9
            C.      That judgment be entered in the Qui Tam States’ favor and against Defendant in the
10
     amount of the damages sustained by the State Qui Tam Statutes multiplied as provided for in the
11

12   State Qui Tam Statutes, plus civil penalties in the ranges provided by the State Qui Tam Statutes;

13
            D.      That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C. §
14
     3730(d), Cal. Gov’t Code § 12652(G), Colo. Rev. Stat. § 25.5-4-306(4), Conn. Gen. Stat. § 4-275 (b),
15

16
     Del. Code Ann. Tit. 6, § 1205, D.C. Code Ann. § 2- 381.03(F)(1), Fla. Stat. § 68.085, Ga. Code Ann.

17   § 49-4-168.2, Haw. Rev. Stat. § 661-27, 740 Ill. Comp. Stat. § 175/4(D), Ind. Code § 5-11-5.5 (b),

18   Iowa Code § 685.3, La. Rev. Ann. Stat. § 46:439.4, Md. Code Ann. Health-Gen. § 2-605, Mass. Ann.
19
     Laws Ch. 12, § 5F, Mich. Comp. Laws Serv. § 400.610a(9), Minn. Stat. § 15C.13, Mont. Code Ann.
20
     § 17-8-410, Nev. Rev. Stat. § 357.220, N.J. Stat Ann. § 2A:32C-7, N.M. Stat. Ann. § 27-14-9, N.Y.
21
     Fin. Law § 190(6), N.C. Gen. Stat. § 1-610, Okla. Stat. Tit. 63, § 5053.4, R.I. Gen. Laws § 9-1,1-
22

23   4(D), Tenn. Code Ann. § 71-5-183(D)(1)(A), Tex. Hum. Res. Code § 36.110, The State of

24   Vermont False Claims Act, 32 V.S.A. §7, Subchapter 8, et seq., Va. Code Ann. § 8.01-216.7, Wash.
25
     Rev. Code § 74.66.070, and WIS. STAT. § 20.931, et seq.
26
            E.      That Defendant be ordered to disgorge all sums by which it has been enriched
27
     unjustly by its wrongful conduct from January 1, 2015 and continuing;
28



                                                        153
 1          F.      That judgment be granted for Relators against Defendant for all costs, including, but

 2   not limited to, court costs, litigation costs, expert fees, and all attorneys’ fees incurred by Relators in
 3
     the prosecution of the Qui Tam claims;
 4

 5
            G.      That Relators be awarded all available damages, prejudgment interest, fees and costs

 6   pursuant to each of their personal claims for retaliation under the federal FCA, 31 U .S.C. §
 7   3730(h), the Virginia FCA or the West Virginia Human Rights Act, and common law, including,
 8
     without limitation, two times back pay plus interest (and prejudgment interest), reinstatement or in
 9
     lieu thereof front pay, and compensation for any special damages and/or exemplary or punitive
10
     damages, and litigation costs, and attorneys’ fees; and
11

12          H.      That Relator and the United States and the States be granted such other and further
13
     relief as the Court deems just and proper.
14

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                                                         154
 1   VIII. JURY TRIAL DEMAND

 2                Relators hereby demand a trial by jury in this action for all issues so triable.
 3
     Dated: October 12, 2016
 4

 5

 6

 7
                                                      ______________________________________
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 9                                                    Washington DC 20036
10
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27
                                                      Attorneys for Relators
28



                                                      155
LIST OF EXHIBITS

    EXHIBIT A: VICTOZA FDA “HIGHLIGHTS OF PRESCRIBING
INFORMATION AND MEDICATION GUIDE”

    EXHIBIT B: SAXENDA FDA “HIGHLIGHTS OF PRESCRIBING
INFORMATION AND MEDICATION GUIDE” - DECEMBER 2014

    EXHIBIT C: “TEXAS PRIOR AUTHORIZATION PROGRAMS CLINICAL
EDIT CRITERIA” – VICTOZA

    EXHIBIT D: TABLE OF VICTOZA & SAXENDA SALES VOLUME BY YEAR

    EXHIBIT E: LIST OF THE SALES DEPARTMENT REPRESENTATIVES WHO
INFORMED RELATOR HOUCK

    EXHIBIT F: RELATOR SMITH’S 2013 NOVO NORDISK EMPLOYMENT
REVIEW ACE YEAR END 2013 GSMI FINAL

   EXHIBIT G: EMAIL CONFIRMING SALES PROGRAM FOR PEDIATRIC
PROMOTION OF NOVOLOG MIX 70/30

    EXHIBIT H: LIST OF THE SALES MANAGERS WHO INSTRUCTED
RELATOR SHIRKEY

    EXHIBIT I: MODEL OF FIVE POUNDS OF FAT

    EXHIBIT J: VICTOZA EXECUTIVE TRAINING CAMP

    EXHIBIT K: VICTOZA USB DRIVE MEDICAL SLIDE DECK CONTAINING
OFF-LABEL WEIGHT LOSS PROMOTION INFORMATION

    EXHIBIT L: FOUR FREE STANDING WEIGHT LOSS SLIDES WHICH
DEALT SOLELY WITH THE OFF-LABEL WEIGHT LOSS FOR VICTOZA

      EXHIBIT M: Lead 4/5 MEDICAL SLIDES CONTAIN OFF-LABEL WEIGHT
LOSS PROMOTIONAL INFORMATION

    EXHIBIT N: EARLY DECK OF MEDICAL SLIDES EMPHASIZING WEIGHT
QUESTION
   EXHIBIT O: RELATOR SMITH 2011-YEAR END ACE REVIEW

    EXHIBIT P: EMAILS DOCUMENTING RELATOR SMITH’S WORK TO
BRING MEDICAL DEPARTMENT PERSONNEL ON RIDE ALONG PROGRAMS

   EXHIBIT Q: VICTOZA FDA FULL PRESCRIBING INFORMATION

   EXHIBIT R: SAXENDA FDA FULL PRESCRIBING INFORMATION

    EXHIBIT S: COMPARISON LISTING OF SAXENDA AND VICTOZA
ADVERSE REACTIONS EXCERPTED FROM FDA FULL PRESCRIBING
INFORMATION
                                Exhibit A




    SAXENDA FDA HIGHLIGHTS OF PRESCRIBING INFORMATION AND MEDICATION
                          GUIDE - DECEMBER 2014




                                Exhibit A
	
   HIGHLIGHTS OF PRESCRIBING INFORMATION                                                     ·······························DOSAGE FORMS AND STRENGTHS······························
   These highlights do not include all the information needed to use                               Solution for subcutaneous injection, pre-filled, multi-dose pen that delivers
   SAXENDA® safely and effectively. See full prescribing information                               doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg (6 mg/mL, 3 mL) (3).
   for SAXENDA.
                                                                                             ········································CONTRAINDICATIONS··············································
   SAXENDA (liraglutide [rDNA origin] injection), solution for                                     Personal or family history of medullary thyroid carcinoma or Multiple
   subcutaneous use                                                                                Endocrine Neoplasia syndrome type 2 (4, 5.1).
   Initial U.S. Approval: 2014                                                                     Hypersensitivity to liraglutide or any product components (4, 5.7).
           WARNING: RISK OF THYROID C-CELL TUMORS                                                  Pregnancy (4, 8.1).
         See full prescribing information for complete boxed warning.
         Liraglutide causes thyroid C-cell tumors at clinically relevant                     ··································WARNINGS AND PRECAUTIONS······························
         exposures in both genders of rats and mice. It is unknown                                 Thyroid C-cell Tumors: Counsel patients regarding the risk of medullary
         whether Saxenda causes thyroid C-cell tumors, including                                   thyroid carcinoma and the symptoms of thyroid tumors (5.1).
         medullary thyroid carcinoma (MTC), in humans, as the human                                Acute Pancreatitis: Discontinue promptly if pancreatitis is suspected. Do
         relevance of liraglutide-induced rodent thyroid C-cell tumors                             not restart if pancreatitis is confirmed (5.2).
         has not been determined (5.1).                                                            Acute Gallbladder Disease: If cholelithiasis or cholecystitis are suspected,
         Saxenda is contraindicated in patients with a personal or family                          gallbladder studies are indicated (5.3).
         history of MTC or in patients with Multiple Endocrine                                     Serious Hypoglycemia: Can occur when Saxenda is used with an insulin
         Neoplasia syndrome type 2 (MEN 2). Counsel patients                                       secretagogue (e.g. a sulfonylurea). Consider lowering the dose of anti-
         regarding the risk of MTC and the symptoms of thyroid tumors                              diabetic drugs to reduce the risk of hypoglycemia (2, 5.4).
         (4, 5.1, 13.1).                                                                           Heart Rate Increase: Monitor heart rate at regular intervals (5.5).
                                                                                                   Renal Impairment: Has been reported postmarketing, usually in association
   ································INDICATIONS AND USAGE··································         with nausea, vomiting, diarrhea, or dehydration which may sometimes
   Saxenda is a glucagon-like peptide-1 (GLP-1) receptor agonist indicated                         require hemodialysis. Use caution when initiating or escalating doses of
   as an adjunct to a reduced-calorie diet and increased physical activity for                     Saxenda in patients with renal impairment (5.6).
   chronic weight management in adult patients with an initial body mass
                                                                                                   Hypersensitivity Reactions: Postmarketing reports of serious
   index (BMI) of
                                                                                                   hypersensitivity reactions (e.g., anaphylactic reactions and angioedema).
                     30 kg/m2 or greater (obese) (1) or                                            Discontinue Saxenda and other suspect medications and promptly seek
                     27 kg/m2 or greater (overweight) in the presence of at least                  medical advice (5.7).
                     one weight-related comorbid condition (e.g. hypertension,                     Suicidal Behavior and Ideation: Monitor for depression or suicidal thoughts.
                     type 2 diabetes mellitus, or dyslipidemia) (1).                               Discontinue Saxenda if symptoms develop (5.8).
   Limitations of Use:
         Saxenda is not indicated for the treatment of type 2 diabetes (1).                  ········································ADVERSE REACTIONS···········································
         Saxenda should not be used in combination with any other GLP-1                            Most common adverse reactions, reported in greater than or equal to 5%
         receptor agonist (1).                                                                     are: nausea, hypoglycemia, diarrhea, constipation, vomiting, headache,
         Saxenda should not be used with insulin (1, 5.4).                                         decreased appetite, dyspepsia, fatigue, dizziness, abdominal pain, and
         The effects of Saxenda on cardiovascular morbidity and mortality                          increased lipase (6.1).
         have not been established (1).
         The safety and efficacy of coadministration with other products for                 To report SUSPECTED ADVERSE REACTIONS, contact Novo Nordisk
         weight loss have not been established (1).                                          Inc. at 1-877-484-2869 or FDA at 1-800-FDA-1088 or
         Saxenda has not been studied in patients with a history of                          www.fda.gov/medwatch.
         pancreatitis (1, 5.2).
                                                                                             ------------------------------DRUG INTERACTIONS-----------------------------------
   ······························DOSAGE AND ADMINISTRATION·······················                 Saxenda delays gastric emptying. May impact absorption of concomitantly
         Recommended dose of Saxenda is 3 mg daily. Administer at any                             administered oral medications. Use with caution (7).
         time of day, without regard to the timing of meals (2).
         Initiate at 0.6 mg per day for one week. In weekly intervals,                       ····································USE IN SPECIFIC POPULATIONS·····························
         increase the dose until a dose of 3 mg is reached (2).                                    Nursing Mothers: Discontinue drug or nursing (8.3).
         Inject subcutaneously in the abdomen, thigh or upper arm (2).                             Pediatric Use: Safety and effectiveness not established and use not
         The injection site and timing can be changed without dose                                 recommended (8.4).
         adjustment (2).
                                                                                             See 17 for PATIENT COUNSELING INFORMATION and
                                                                                             Medication Guide.
                                                                                                                                                                             Revised: 12/2014




                                 1
Reference ID: 3677762
                                                                         8.8 Gastroparesis
   FULL PRESCRIBING INFORMATION: CONTENTS*                    10         OVERDOSAGE
   BOXED WARNING: RISK OF THYROID C-CELL TUMORS               11         DESCRIPTION
                                                              12         CLINICAL PHARMACOLOGY
   1      INDICATIONS AND USAGE                                          12.1 Mechanism of Action
   2      DOSAGE AND ADMINISTRATION                                      12.2 Pharmacodynamics
   3      DOSAGE FORMS AND STRENGTHS                                     12.3 Pharmacokinetics
   4      CONTRAINDICATIONS                                   13         NONCLINICAL TOXICOLOGY
   5      WARNINGS AND PRECAUTIONS                                       13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
          5.1 Risk of Thyroid C-cell Tumors                   14         CLINICAL STUDIES
          5.2 Acute Pancreatitis                              16         HOW SUPPLIED/STORAGE AND HANDLING
          5.3 Acute Gallbladder Disease                                  16.1 How Supplied
          5.4 Risk for Hypoglycemia with Concomitant Use of              16.2 Recommended Storage
              Anti-Diabetic Therapy                           17         PATIENT COUNSELING INFORMATION
          5.5 Heart Rate Increase                                        17.1 FDA-Approved Medication Guide
          5.6 Renal Impairment                                           17.2 Instructions
          5.7 Hypersensitivity Reactions                                 17.3 Risk of Thyroid C-cell Tumors
          5.8 Suicidal Behavior and Ideation                             17.4 Acute Pancreatitis
   6      ADVERSE REACTIONS                                              17.5 Acute Gallbladder Disease
          6.1 Clinical Trials Experience                                 17.6 Hypoglycemia in Patients with Type 2 Diabetes Mellitus on
          6.2 Postmarketing Experience                                         Anti-Diabetic Therapy
   7      DRUG INTERACTIONS                                              17.7 Heart Rate Increase
          7.1 Oral Medications                                           17.8 Dehydration and Renal Impairment
   8      USE IN SPECIFIC POPULATIONS                                    17.9 Hypersensitivity Reactions
          8.1 Pregnancy                                                  17.10 Suicidal Behavior and Ideation
          8.3 Nursing Mothers                                            17.11 Jaundice and Hepatitis
          8.4 Pediatric Use                                              17.12 Never Share a Saxenda Pen Between Patients
          8.5 Geriatric Use                                   *Sections or subsections omitted from the full prescribing information are not
          8.6 Renal Impairment                                listed.
          8.7 Hepatic Impairment




                       1
Reference ID: 3677762
   FULL PRESCRIBING INFORMATION

                            WARNING: RISK OF THYROID C-CELL TUMORS
          Liraglutide causes dose-dependent and treatment-duration-dependent thyroid C-cell tumors at
          clinically relevant exposures in both genders of rats and mice. It is unknown whether Saxenda
          causes thyroid C-cell tumors, including medullary thyroid carcinoma (MTC), in humans, as the
          human relevance of liraglutide-induced rodent thyroid C-cell tumors has not been determined
          [see Warnings and Precautions (5.1) and Nonclinical Toxicology (13.1)].
          Saxenda is contraindicated in patients with a personal or family history of MTC and in patients
          with Multiple Endocrine Neoplasia syndrome type 2 (MEN 2). Counsel patients regarding the
          risk of MTC with use of Saxenda and inform them of symptoms of thyroid tumors (e.g., a mass
          in the neck, dysphagia, dyspnea, persistent hoarseness). Routine monitoring of serum calcitonin
          or using thyroid ultrasound is of uncertain value for early detection of MTC in patients treated
          with Saxenda [see Contraindications (4), Warnings and Precautions (5.1)].

   1     INDICATIONS AND USAGE
   Saxenda is indicated as an adjunct to a reduced-calorie diet and increased physical activity for chronic weight
   management in adult patients with an initial body mass index (BMI) of

          30 kg/m2 or greater (obese), or
          27 kg/m2 or greater (overweight) in the presence of at least one weight-related comorbid condition (e.g.,
          hypertension, type 2 diabetes mellitus, or dyslipidemia)

   Limitations of Use
     Saxenda is not indicated for the treatment of type 2 diabetes mellitus.

     Saxenda and Victoza® both contain the same active ingredient, liraglutide, and therefore should not be used
     together. Saxenda should not be used in combination with any other GLP-1 receptor agonist.

     Saxenda has not been studied in patients taking insulin. Saxenda and insulin should not be used together [see
     Warnings and Precautions (5.4)].

     The effects of Saxenda on cardiovascular morbidity and mortality have not been established.

     The safety and effectiveness of Saxenda in combination with other products intended for weight loss,
     including prescription drugs, over-the-counter drugs, and herbal preparations, have not been established.

     Saxenda has not been studied in patients with a history of pancreatitis [see Warnings and Precautions (5.2)].

   2       DOSAGE AND ADMINISTRATION
   The recommended dosage of Saxenda is 3 mg daily. The dose escalation schedule in Table 1 should be used to
   reduce the likelihood of gastrointestinal symptoms. If patients do not tolerate an increased dose during dose
   escalation, consider delaying dose escalation for approximately one additional week. Saxenda should be
   discontinued, however, if a patient cannot tolerate the 3 mg dose, as efficacy has not been established at lower
   doses (0.6, 1.2, 1.8, and 2.4 mg).




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   Table 1.       Dose Escalation Schedule
                                    Week                                    Daily Dose
                                      1                                      0.6 mg
                                      2                                      1.2 mg
                                      3                                      1.8 mg
                                      4                                      2.4 mg
                                5 and onward                                  3 mg

   Saxenda should be taken once daily at any time of day, without regard to the timing of meals. Saxenda can be
   injected subcutaneously in the abdomen, thigh, or upper arm. The injection site and timing can be changed
   without dose adjustment. Saxenda must not be administered intravenously or intramuscularly.

   When initiating Saxenda in patients taking insulin secretagogues (such as sulfonylureas), consider reducing the
   dose of the insulin secretagogue (for example, by one-half) to reduce the risk for hypoglycemia, and monitor
   blood glucose. Saxenda and insulin should not be used together [see Warnings and Precautions (5.4) and
   Adverse Reactions (6.1)]. Conversely, if discontinuing Saxenda in patients with type 2 diabetes, monitor for an
   increase in blood glucose.

   Evaluate the change in body weight 16 weeks after initiating Saxenda and discontinue Saxenda if the patient has
   not lost at least 4% of baseline body weight, since it is unlikely that the patient will achieve and sustain
   clinically meaningful weight loss with continued treatment.

   If a dose is missed, the once-daily regimen should be resumed as prescribed with the next scheduled dose. An
   extra dose or increase in dose should not be taken to make up for the missed dose. If more than 3 days have
   elapsed since the last Saxenda dose, patients should reinitiate Saxenda at 0.6 mg daily and follow the dose
   escalation schedule in Table 1, which may reduce the occurrence of gastrointestinal symptoms associated with
   reinitiation of treatment.

   Prior to initiation of Saxenda, patients should be trained by their healthcare professional on proper injection
   technique. Training reduces the risk of administration errors such as needle sticks and incomplete dosing. Refer
   to the accompanying Instructions for Use for complete administration instructions with illustrations.

   Saxenda solution should be inspected prior to each injection, and the solution should be used only if it is clear,
   colorless, and contains no particles.

   BMI is calculated by dividing weight in (kilograms) by height (in meters) squared. A chart for determining BMI
   based on height and weight is provided in Table 2.




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    Table 2.      BMI Conversion Chart




   3      DOSAGE FORMS AND STRENGTHS
   Solution for subcutaneous injection, pre-filled, multi-dose pen that delivers doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4
   mg, or 3 mg (6 mg/mL, 3 mL).

   4     CONTRAINDICATIONS
   Saxenda is contraindicated in the following conditions:
         Patients with a personal or family history of medullary thyroid carcinoma (MTC) or patients with
         Multiple Endocrine Neoplasia syndrome type 2 (MEN 2) [see Warnings and Precautions (5.1)]
         Patients with a prior serious hypersensitivity reaction to liraglutide or to any of the product components
         [see Warnings and Precautions (5.7)]
         Pregnancy [see Use in Specific Populations (8.1)]

   5      WARNINGS AND PRECAUTIONS
   5.1    Risk of Thyroid C-cell Tumors
   Liraglutide causes dose-dependent and treatment-duration-dependent thyroid C-cell tumors (adenomas
   and/or carcinomas) at clinically relevant exposures in both genders of rats and mice [see Nonclinical
   Toxicology (13.1)]. Malignant thyroid C-cell carcinomas were detected in rats and mice. It is unknown whether
   Saxenda will cause thyroid C-cell tumors, including medullary thyroid carcinoma (MTC), in humans, as the
   human relevance of liraglutide-induced rodent thyroid C-cell tumors has not been determined.

   Cases of MTC in patients treated with liraglutide have been reported in the postmarketing period; the data in
   these reports are insufficient to establish or exclude a causal relationship between MTC and liraglutide use in
   humans.

   Saxenda is contraindicated in patients with a personal or family history of MTC or in patients with MEN 2.
   Counsel patients regarding the risk for MTC and inform them of symptoms of thyroid tumors (e.g., a mass in
   the neck, dysphagia, dyspnea, persistent hoarseness).


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   Routine monitoring of serum calcitonin or using thyroid ultrasound is of uncertain value for early detection of
   MTC in patients treated with Saxenda. Such monitoring may increase the risk of unnecessary procedures, due
   to low test specificity for serum calcitonin and a high background incidence of thyroid disease. Significantly
   elevated serum calcitonin may indicate MTC, and patients with MTC usually have calcitonin values greater
   than 50 ng/L. If serum calcitonin is measured and found to be elevated, the patient should be further evaluated.
   Patients with thyroid nodules noted on physical examination or neck imaging should also be further evaluated.

   5.2    Acute Pancreatitis
   Based on spontaneous postmarketing reports, acute pancreatitis, including fatal and non-fatal hemorrhagic or
   necrotizing pancreatitis, has been observed in patients treated with liraglutide. After initiation of Saxenda,
   observe patients carefully for signs and symptoms of pancreatitis (including persistent severe abdominal pain,
   sometimes radiating to the back and which may or may not be accompanied by vomiting). If pancreatitis is
   suspected, Saxenda should promptly be discontinued and appropriate management should be initiated. If
   pancreatitis is confirmed, Saxenda should not be restarted.

   In Saxenda clinical trials, acute pancreatitis was confirmed by adjudication in 9 (0.3%) of 3291 Saxenda-treated
   patients and 1 (0.1%) of 1843 placebo-treated patients. In addition, there were 2 cases of acute pancreatitis in
   Saxenda-treated patients who prematurely withdrew from these clinical trials, occurring 74 and 124 days after
   the last dose, and 1 additional case in a Saxenda-treated patient during an off-treatment follow-up period within
   2 weeks of discontinuing Saxenda.

   It is unknown whether patients with a history of pancreatitis are at increased risk for pancreatitis while using
   Saxenda, since these patients were excluded from clinical trials.

   5.3     Acute Gallbladder Disease
   In Saxenda clinical trials, 1.5% of Saxenda-treated patients reported adverse events of cholelithiasis versus
   0.5% of placebo-treated patients. The incidence of cholecystitis was 0.6% in Saxenda-treated patients versus
   0.2% in placebo-treated patients. The majority of Saxenda-treated patients with adverse events of cholelithiasis
   and cholecystitis required cholecystectomy. Substantial or rapid weight loss can increase the risk of
   cholelithiasis; however, the incidence of acute gallbladder disease was greater in Saxenda-treated patients than
   in placebo-treated patients even after accounting for the degree of weight loss. If cholelithiasis is suspected,
   gallbladder studies and appropriate clinical follow-up are indicated.

   5.4     Risk for Hypoglycemia with Concomitant Use of Anti-Diabetic Therapy
   The risk for serious hypoglycemia is increased when Saxenda is used in combination with insulin secretagogues
   (for example, sulfonylureas) in patients with type 2 diabetes mellitus. Therefore, patients may require a lower
   dose of sulfonylurea (or other concomitantly administered insulin secretagogues) in this setting [see Dosage
   and Administration (2) and Adverse Reactions (6.1)]. Saxenda should not be used in patients taking insulin.

   Saxenda can lower blood glucose [see Clinical Pharmacology (12.2)]. Monitor blood glucose parameters prior
   to starting Saxenda and during Saxenda treatment in patients with type 2 diabetes. If needed, adjust co-
   administered anti-diabetic drugs based on glucose monitoring results and risk of hypoglycemia.

   5.5    Heart Rate Increase
   Mean increases in resting heart rate of 2 to 3 beats per minute (bpm) were observed with routine clinical
   monitoring in Saxenda-treated patients compared to placebo in clinical trials. More patients treated with
   Saxenda, compared with placebo, had changes from baseline at two consecutive visits of more than 10 bpm
   (34% versus 19%, respectively) and 20 bpm (5% versus 2%, respectively). At least one resting heart rate
   exceeding 100 bpm was recorded for 6% of Saxenda-treated patients compared with 4% of placebo-treated


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   patients, with this occurring at two consecutive study visits for 0.9% and 0.3%, respectively. Tachycardia was
   reported as an adverse reaction in 0.6% of Saxenda-treated patients and in 0.1% of placebo-treated patients.

   In a clinical pharmacology trial that monitored heart rate continuously for 24 hours, Saxenda treatment was
   associated with a heart rate that was 4 to 9 bpm higher than that observed with placebo.

   The clinical significance of the heart rate elevation with Saxenda treatment is unclear, especially for patients
   with cardiac and cerebrovascular disease as a result of limited exposure in these patients in clinical trials.

   Heart rate should be monitored at regular intervals consistent with usual clinical practice. Patients should inform
   health care providers of palpitations or feelings of a racing heartbeat while at rest during Saxenda treatment. For
   patients who experience a sustained increase in resting heart rate while taking Saxenda, Saxenda should be
   discontinued.

   5.6     Renal Impairment
   In patients treated with GLP-1 receptor agonists, including Saxenda, there have been reports of acute renal
   failure and worsening of chronic renal failure, sometimes requiring hemodialysis [see Adverse Reactions (6.2)].
   Some of these events were reported in patients without known underlying renal disease. A majority of the
   reported events occurred in patients who had experienced nausea, vomiting, or diarrhea leading to volume
   depletion. Some of the reported events occurred in patients receiving one or more medications known to affect
   renal function or volume status. Altered renal function has been reversed in many of the reported cases with
   supportive treatment and discontinuation of potentially causative agents, including liraglutide. Use caution
   when initiating or escalating doses of Saxenda in patients with renal impairment [see Use in Specific
   Populations (8.6)].

   5.7     Hypersensitivity Reactions
   There have been reports of serious hypersensitivity reactions (e.g., anaphylactic reactions and angioedema) in
   patients treated with liraglutide [see Adverse Reactions (6.1, 6.2)]. If a hypersensitivity reaction occurs, the
   patient should discontinue Saxenda and other suspect medications and promptly seek medical advice.

   Angioedema has also been reported with other GLP-1 receptor agonists. Use caution in a patient with a
   history of angioedema with another GLP-1 receptor agonist because it is unknown whether such patients
   will be predisposed to angioedema with Saxenda.

   5.8     Suicidal Behavior and Ideation
   In Saxenda clinical trials, 6 (0.2%) of 3384 Saxenda-treated patients and none of the 1941 placebo-treated
   patients reported suicidal ideation; one of these Saxenda-treated patients attempted suicide. Patients treated with
   Saxenda should be monitored for the emergence or worsening of depression, suicidal thoughts or behavior,
   and/or any unusual changes in mood or behavior. Discontinue Saxenda in patients who experience suicidal
   thoughts or behaviors. Avoid Saxenda in patients with a history of suicidal attempts or active suicidal ideation.

   6      ADVERSE REACTIONS
   The following serious adverse reactions are described below or elsewhere in the prescribing information:
          Risk of Thyroid C-Cell Tumors [see Warnings and Precautions (5.1)]
          Acute Pancreatitis [see Warnings and Precautions (5.2)]
          Acute Gallbladder Disease [see Warnings and Precautions (5.3)]
          Risk for Hypoglycemia with Concomitant Use of Anti-Diabetic Therapy [see Warnings and Precautions
          (5.4)]
          Heart Rate Increase [see Warnings and Precautions (5.5)]

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          Renal Impairment [see Warnings and Precautions (5.6)]
          Hypersensitivity Reactions [see Warnings and Precautions (5.7)]
          Suicidal Behavior and Ideation [see Warnings and Precautions (5.8)]

   6.1      Clinical Trials Experience
   Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the
   clinical trials of a drug cannot be directly compared to rates in the clinical studies of another drug and may not
   reflect the rates observed in practice.

   Saxenda was evaluated for safety in 5 double-blind, placebo controlled trials that included 3384 overweight or
   obese patients treated with Saxenda for a treatment period up to 56 weeks (3 trials), 52 weeks (1 trial), and 32
   weeks (1 trial). All patients received study drug in addition to diet and exercise counseling. In these trials,
   patients received Saxenda for a mean treatment duration of 45.9 weeks (median, 55.9 weeks). Of these, 1087
   Saxenda-treated patients and 497 placebo-treated patients have been exposed in their original randomized
   groups beyond the primary endpoint for an additional mean duration of 53.0 weeks (median, 56.9 weeks).
   Baseline characteristics included a mean age of 47 years, 71% women, 85% white, 39% with hypertension, 15%
   with type 2 diabetes, 34% with dyslipidemia, 29% with a BMI greater than 40 kg/m2, and 9% with
   cardiovascular disease. Dosing was initiated and increased weekly to reach the 3 mg dose.

   In clinical trials, 9.8% of patients treated with Saxenda and 4.3% of patients treated with placebo prematurely
   discontinued treatment as a result of adverse reactions. The most common adverse reactions leading to
   discontinuation were nausea (2.9% versus 0.2% for Saxenda and placebo, respectively), vomiting (1.7% versus
   less than 0.1%), and diarrhea (1.4% versus 0%).

   Adverse reactions reported in greater than or equal to 2% of Saxenda-treated patients and more frequently than
   in placebo-treated patients are shown in Table 3.

   Table 3.      Adverse Reactions Reported in Greater Than or Equal to 2% of Saxenda-treated Patients
                 and More Frequently than with Placebo
                                                          Placebo         Saxenda
                                                         N = 1941         N = 3384
                                                             %                %
   Gastrointestinal Disorders
     Nausea                                                 13.8             39.3
     Diarrhea                                                9.9             20.9
     Constipation                                            8.5             19.4
     Vomiting                                               3.9              15.7
     Dyspepsia                                               2.7              9.6
     Abdominal Pain                                         3.1               5.4
     Upper Abdominal Pain                                    2.7              5.1
     Gastroesophageal Reflux Disease                        1.7               4.7
     Abdominal Distension                                   3.0               4.5
     Eructation                                              0.2              4.5
     Flatulence                                              2.5              4.0
     Dry Mouth                                              1.0               2.3
   Metabolism and Nutrition Disorders
     Hypoglycemia in T2DM1                                  12.7             23.0
     Decreased Appetite                                      2.3             10.0
   Nervous System Disorders

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      Headache                                                               12.6                  13.6
      Dizziness                                                               5.0                   6.9
   General Disorders and Administration Site
   Conditions
      Fatigue                                                                 4.6                   7.5
      Injection site Erythema                                                 0.2                   2.5
      Injection Site Reaction                                                 0.6                   2.5
      Asthenia                                                                0.8                   2.1
   Infections and Infestations
      Gastroenteritis                                                         3.2                   4.7
      Urinary Tract Infection                                                 3.1                   4.3
      Viral Gastroenteritis                                                   1.6                   2.8
   Investigations
      Increased Lipase                                                        2.2                   5.3
   Psychiatric Disorders
      Insomnia                                                                1.7                   2.4
      Anxiety                                                                 1.6                   2.0
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    Documented symptomatic (defined as documented symptoms of hypoglycemia in combination with a plasma glucose less than or
   equal to 70 mg/dL) in patients with type 2 diabetes (Study 2). See text below for further information regarding hypoglycemia in
   patients with and without type 2 diabetes. T2DM = type 2 diabetes mellitus

   Hypoglycemia
   Saxenda can lower blood glucose. In a clinical trial involving patients with type 2 diabetes mellitus and
   overweight or obesity, severe hypoglycemia (defined as requiring the assistance of another person) occurred in
   3 (0.7%) of 422 Saxenda-treated patients and in none of the 212 placebo-treated patients. Each of these 3
   Saxenda-treated patients was also taking a sulfonylurea. In the same trial, among patients taking a sulfonylurea,
   documented symptomatic hypoglycemia (defined as documented symptoms of hypoglycemia in combination
   with a plasma glucose less than or equal to 70 mg/dL) occurred in 48 (43.6%) of 110 Saxenda-treated patients
   and 15 (27.3%) of 55 placebo-treated patients. The doses of sulfonylureas were reduced by 50% at the
   beginning of the trial per protocol. The frequency of hypoglycemia may be higher if the dose of sulfonylurea is
   not reduced. Among patients not taking a sulfonylurea, documented symptomatic hypoglycemia occurred in 49
   (15.7%) of 312 Saxenda-treated patients and 12 (7.6%) of 157 placebo-treated patients.

   In Saxenda clinical trials involving patients without type 2 diabetes mellitus, there was no systematic capturing
   or reporting of hypoglycemia, as patients were not provided with blood glucose meters or hypoglycemia diaries.
   Spontaneously reported symptomatic episodes of unconfirmed hypoglycemia were reported by 46 (1.6%) of
   2962 Saxenda-treated patients and 19 (1.1%) of 1729 placebo-treated patients. Fasting plasma glucose values
   obtained at routine clinic visits less than or equal to 70 mg/dL, irrespective of hypoglycemic symptoms, were
   reported as “hypoglycemia” in 92 (3.1%) Saxenda-treated patients and 13 (0.8%) placebo-treated patients.

   Gastrointestinal Adverse Reactions
   In the clinical trials, approximately 68% of Saxenda-treated patients and 39% of placebo-treated patients
   reported gastrointestinal disorders; the most frequently reported was nausea (39% and 14% of patients treated
   with Saxenda and placebo, respectively). The percentage of patients reporting nausea declined as treatment
   continued. Other common adverse reactions that occurred at a higher incidence among Saxenda-treated patients
   included diarrhea, constipation, vomiting, dyspepsia, abdominal pain, dry mouth, gastritis, gastroesophageal
   reflux disease, flatulence, eructation and abdominal distension. Most episodes of gastrointestinal events were
   mild or moderate and did not lead to discontinuation of therapy (6.2% with Saxenda versus 0.8% with placebo
   discontinued treatment as a result of gastrointestinal adverse reactions). There have been reports of


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   gastrointestinal adverse reactions, such as nausea, vomiting, and diarrhea, associated with volume depletion and
   renal impairment [see Warnings and Precautions (5.6)].

   Asthenia, Fatigue, Malaise, Dysgeusia and Dizziness
   Events of asthenia, fatigue, malaise, dysgeusia and dizziness were mainly reported within the first 12 weeks of
   treatment with Saxenda and were often co-reported with gastrointestinal events such as nausea, vomiting, and
   diarrhea.

   Immunogenicity
   Patients treated with Saxenda may develop anti-liraglutide antibodies. Anti-liraglutide antibodies were detected
   in 42 (2.8%) of 1505 Saxenda-treated patients with a post-baseline assessment. Antibodies that had a
   neutralizing effect on liraglutide in an in vitro assay occurred in 18 (1.2%) of 1505 Saxenda-treated patients.
   Presence of antibodies may be associated with a higher incidence of injection site reactions and reports of low
   blood glucose. In clinical trials, these events were usually classified as mild and resolved while patients
   continued on treatment.

   The detection of antibody formation is highly dependent on the sensitivity and specificity of the assay.
   Additionally, the observed incidence of antibody (including neutralizing antibody) positivity in an assay may be
   influenced by several factors including assay methodology, sample handling, timing of sample collection,
   concomitant medications, and underlying disease. For these reasons, the incidence of antibodies to Saxenda
   cannot be directly compared with the incidence of antibodies of other products.

   Allergic reactions
   Urticaria was reported in 0.7% of Saxenda-treated patients and 0.5% of placebo-treated patients. Anaphylactic
   reactions, asthma, bronchial hyperreactivity, bronchospasm, oropharyngeal swelling, facial swelling,
   angioedema, pharyngeal edema, type IV hypersensitivity reactions have been reported in patients treated with
   liraglutide in clinical trials. Cases of anaphylactic reactions with additional symptoms such as hypotension,
   palpitations, dyspnea, and edema have been reported with marketed use of liraglutide. Anaphylactic reactions
   may potentially be life-threatening.

   Injection site reactions
   Injection site reactions were reported in approximately 13.9% of Saxenda-treated patients and 10.5% of
   placebo-treated patients. The most common reactions, each reported by 1% to 2.5% of Saxenda-treated patients
   and more commonly than by placebo-treated patients, included erythema, pruritus, and rash at the injection site.
   0.6% of Saxenda-treated patients and 0.5% of placebo-treated patients discontinued treatment due to injection
   site reactions.

   Breast Cancer
   In Saxenda clinical trials breast cancer confirmed by adjudication was reported in 14 (0.6%) of 2379 Saxenda-
   treated women compared with 3 (0.2%) of 1300 placebo-treated women, including invasive cancer (11
   Saxenda- and 2 placebo-treated women) and ductal carcinoma in situ (3 Saxenda- and 1 placebo-treated
   woman). The majority of cancers were estrogen- and progesterone-receptor positive. There were too few cases
   to determine whether these cases were related to Saxenda. In addition, there are insufficient data to determine
   whether Saxenda has an effect on pre-existing breast neoplasia.

   Papillary Thyroid Cancer
   In Saxenda clinical trials, papillary thyroid carcinoma confirmed by adjudication was reported in 7 (0.2%) of
   3291 Saxenda-treated patients compared with no cases among 1843 placebo-treated patients. Four of these
   papillary thyroid carcinomas were less than 1 cm in greatest diameter and 4 were diagnosed in surgical
   pathology specimens after thyroidectomy prompted by findings identified prior to treatment.

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   Colorectal Neoplasms
   In Saxenda clinical trials, benign colorectal neoplasms (mostly colon adenomas) confirmed by adjudication
   were reported in 17 (0.5%) of 3291 Saxenda-treated patients compared with 4 (0.2%) of 1843 placebo-treated
   patients. Two positively adjudicated cases of malignant colorectal carcinoma were reported in Saxenda-treated
   patients (0.1%) and none in placebo-treated patients.

   Cardiac Conduction Disorders
   In Saxenda clinical trials, 11 (0.3%) of 3384 Saxenda-treated patients compared with none of the 1941 placebo-
   treated patients had a cardiac conduction disorder, reported as first degree atrioventricular block, right bundle
   branch block, or left bundle branch block.

   Hypotension
   Adverse reactions related to hypotension (that is, reports of hypotension, orthostatic hypotension, circulatory
   collapse, and decreased blood pressure) were reported more frequently with Saxenda (1.1%) compared with
   placebo (0.5%) in Saxenda clinical trials. Systolic blood pressure decreases to less than 80 mmHg were
   observed in 4 (0.1%) Saxenda-treated patients compared with no placebo-treated patients. One of the Saxenda-
   treated patients had hypotension associated with gastrointestinal adverse reactions and renal failure [see
   Warnings and Precautions (5.6)].

   Laboratory Abnormalities
   Liver Enzymes
   Increases in alanine aminotransferase (ALT) greater than or equal to 10 times the upper limit of normal were
   observed in 5 (0.15%) Saxenda-treated patients (two of whom had ALT greater than 20 and 40 times the upper
   limit of normal) compared with 1 (0.05%) placebo-treated patient during the Saxenda clinical trials. Because
   clinical evaluation to exclude alternative causes of ALT and aspartate aminotransferase (AST) increases was not
   done in most cases, the relationship to Saxenda is uncertain. Some increases in ALT and AST were associated
   with other confounding factors (such as gallstones).

   Serum Calcitonin
   Calcitonin, a biological marker of MTC, was measured throughout the clinical development program [see
   Warnings and Precautions (5.1)]. More patients treated with Saxenda in the clinical trials were observed to
   have high calcitonin values during treatment, compared with placebo. The proportion of patients with calcitonin
   greater than or equal to 2 times the upper limit of normal at the end of the trial was 1.2% in Saxenda-treated
   patients and 0.6% in placebo-treated patients. Calcitonin values greater than 20 ng/L at the end of the trial
   occurred in 0.5% of Saxenda-treated patients and 0.2% of placebo-treated patients; among patients with pre-
   treatment serum calcitonin less than 20 ng/L, none had calcitonin elevations to greater than 50 ng/L at the end
   of the trial.

   Serum Lipase and Amylase
   Serum lipase and amylase were routinely measured in the Saxenda clinical trials. Among Saxenda-treated
   patients, 2.1% had a lipase value at anytime during treatment of greater than or equal to 3 times the upper limit
   of normal compared with 1.0% of placebo-treated patients. 0.1% of Saxenda-treated patients had an amylase
   value at anytime in the trial of greater than or equal to 3 times the upper limit of normal versus 0.1% of placebo-
   treated patients. The clinical significance of elevations in lipase or amylase with Saxenda is unknown in the
   absence of other signs and symptoms of pancreatitis [see Warnings and Precautions (5.2)].

   6.2    Post-Marketing Experience



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   The following adverse reactions have been reported during post-approval use of liraglutide, the active
   ingredient of Saxenda. Because these reactions are reported voluntarily from a population of uncertain size, it is
   not always possible to reliably estimate their frequency or establish a causal relationship to drug exposure.

   Neoplasms
          Medullary thyroid carcinoma [see Warnings and Precautions (5.1)]
   Gastrointestinal Disorders
          Acute pancreatitis, hemorrhagic and necrotizing pancreatitis, sometimes resulting in death [see
          Warnings and Precautions (5.2)]
   Metabolism and Nutrition Disorders
          Dehydration resulting from nausea, vomiting and diarrhea [see Adverse Reactions (6.1)]
   Renal and Urinary Disorders
          Increased serum creatinine, acute renal failure or worsening of chronic renal failure, sometimes
          requiring hemodialysis [see Warnings and Precautions (5.6)]
   General Disorders and Administration Site Conditions
          Allergic reactions: rash and pruritus [see Adverse Reactions (6.1)]
   Immune System Disorders
          Angioedema and anaphylactic reactions [see Warnings and Precautions (5.7)]
   Hepatobiliary Disorders
          Elevations of liver enzymes, hyperbilirubinemia, cholestasis and hepatitis [see Adverse Reactions (6.1)]

   7       DRUG INTERACTIONS
   7.1     Oral Medications
   Saxenda causes a delay of gastric emptying, and thereby has the potential to impact the absorption of
   concomitantly administered oral medications. In clinical pharmacology trials, liraglutide did not affect the
   absorption of the tested orally administered medications to any clinically relevant degree. Nonetheless, monitor
   for potential consequences of delayed absorption of oral medications concomitantly administered with Saxenda.

   8     USE IN SPECIFIC POPULATIONS
   8.1   Pregnancy
   Pregnancy Category X.

   Risk Summary
   Saxenda is contraindicated during pregnancy because weight loss offers no potential benefit to a pregnant
   woman and may result in fetal harm. There are no adequate and well-controlled studies of Saxenda in pregnant
   women. Saxenda should not be used during pregnancy. If a patient wishes to become pregnant, or pregnancy
   occurs, treatment with Saxenda should be discontinued.

   Clinical Considerations
   A minimum weight gain, and no weight loss, is recommended for all pregnant women, including those who are
   already overweight or obese, due to the necessary weight gain that occurs in maternal tissues during pregnancy.

   Animal Data
   Liraglutide has been shown to be teratogenic in rats at or above 0.8-times systemic exposures in obese humans
   resulting from the maximum recommended human dose (MRHD) of 3 mg/day based on plasma area under the
   time-concentration curve (AUC) comparison. Liraglutide has been shown to cause reduced growth and
   increased total major abnormalities in rabbits at systemic exposures below exposure in obese humans at the
   MRHD based on plasma AUC comparison.



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   Female rats given subcutaneous doses of 0.1, 0.25 and 1 mg/kg/day liraglutide beginning 2 weeks before mating
   through gestation day 17 had estimated systemic exposures 0.8-, 3-, and 11-times the exposure in obese
   humans at the MRHD based on plasma AUC comparison. The number of early embryonic deaths in the 1
   mg/kg/day group increased slightly. Fetal abnormalities and variations in kidneys and blood vessels, irregular
   ossification of the skull, and a more complete state of ossification occurred at all doses. Mottled liver and
   minimally kinked ribs occurred at the highest dose. The incidence of fetal malformations in liraglutide-treated
   groups exceeding concurrent and historical controls were misshapen oropharynx and/or narrowed opening into
   larynx at 0.1 mg/kg/day and umbilical hernia at 0.1 and 0.25 mg/kg/day.

   Pregnant rabbits given subcutaneous doses of 0.01, 0.025 and 0.05 mg/kg/day liraglutide from gestation day 6
   through day 18 inclusive, had estimated systemic exposures less than the exposure in obese humans at the
   MRHD of 3 mg/day at all doses, based on plasma AUC comparison. Liraglutide decreased fetal weight and
   dose-dependently increased the incidence of total major fetal abnormalities at all doses. The incidence of
   malformations exceeded concurrent and historical controls at 0.01 mg/kg/day (kidneys, scapula), greater than or
   equal to 0.01 mg/kg/day (eyes, forelimb), 0.025 mg/kg/day (brain, tail and sacral vertebrae, major blood vessels
   and heart, umbilicus), greater than or equal to 0.025 mg/kg/day (sternum) and at 0.05 mg/kg/day (parietal
   bones, major blood vessels). Irregular ossification and/or skeletal abnormalities occurred in the skull and jaw,
   vertebrae and ribs, sternum, pelvis, tail, and scapula; and dose-dependent minor skeletal variations were
   observed. Visceral abnormalities occurred in blood vessels, lung, liver, and esophagus. Bilobed or bifurcated
   gallbladder was seen in all treatment groups, but not in the control group.

   In pregnant female rats given subcutaneous doses of 0.1, 0.25 and 1 mg/kg/day liraglutide from gestation day 6
   through weaning or termination of nursing on lactation day 24, estimated systemic exposures were 0.8-, 3-, and
   11-times exposure in obese humans at the MRHD of 3 mg/day, based on plasma AUC comparison. A slight
   delay in parturition was observed in the majority of treated rats. Group mean body weight of neonatal rats from
   liraglutide-treated dams was lower than neonatal rats from control group dams. Bloody scabs and agitated
   behavior occurred in male rats descended from dams treated with 1 mg/kg/day liraglutide. Group mean body
   weight from birth to postpartum day 14 trended lower in F2 generation rats descended from liraglutide-treated
   rats compared to F2 generation rats descended from controls, but differences did not reach statistical
   significance for any group.

   8.3      Nursing Mothers
   It is not known whether Saxenda is excreted in human milk. Because many drugs are excreted in human milk
   and because of the potential for tumorigenicity shown for liraglutide in animal studies, a decision should be
   made whether to discontinue nursing or to discontinue Saxenda, taking into account the importance of the drug
   to the mother. In lactating rats, liraglutide was excreted unchanged in milk at concentrations approximately 50%
   of maternal plasma concentrations.

   8.4    Pediatric Use
   Safety and effectiveness of Saxenda have not been established in pediatric patients. Saxenda is not
   recommended for use in pediatric patients.

   8.5     Geriatric Use
   In the Saxenda clinical trials, 232 (6.9%) of the Saxenda-treated patients were 65 years of age and over, and 17
   (0.5%) of the Saxenda-treated patients were 75 years of age and over. No overall differences in safety or
   effectiveness were observed between these patients and younger patients, but greater sensitivity of some older
   individuals cannot be ruled out.

   8.6    Renal Impairment


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   There is limited experience with Saxenda in patients with mild, moderate, and severe renal impairment,
   including end-stage renal disease. However, there have been postmarketing reports of acute renal failure and
   worsening of chronic renal failure with liraglutide, which may sometimes require hemodialysis [see Warnings
   and Precautions (5.6) and Adverse Reactions (6.2)]. Saxenda should be used with caution in this patient
   population [see Clinical Pharmacology (12.3)].

   8.7    Hepatic Impairment
   There is limited experience in patients with mild, moderate, or severe hepatic impairment. Therefore, Saxenda
   should be used with caution in this patient population [see Clinical Pharmacology (12.3)].

   8.8   Gastroparesis
   Saxenda slows gastric emptying. Saxenda has not been studied in patients with pre-existing gastroparesis.

   10      OVERDOSAGE
   Overdoses have been reported in clinical trials and post-marketing use of liraglutide. Effects have included
   severe nausea and severe vomiting. In the event of overdosage, appropriate supportive treatment should
   be initiated according to the patient’s clinical signs and symptoms.

   11      DESCRIPTION
   Saxenda contains liraglutide, an analog of human GLP-1 and acts as a GLP-1 receptor agonist. The peptide
   precursor of liraglutide, produced by a process that includes expression of recombinant DNA in Saccharomyces
   cerevisiae, has been engineered to be 97% homologous to native human GLP-1 by substituting arginine for
   lysine at position 34. Liraglutide is made by attaching a C-16 fatty acid (palmitic acid) with a glutamic acid
   spacer on the remaining lysine residue at position 26 of the peptide precursor. The molecular formula of
   liraglutide is C172H265N43O51 and the molecular weight is 3751.2 Daltons. The structural formula (Figure 1) is:




   Figure 1.      Structural Formula of liraglutide

   Saxenda is a clear, colorless solution. Each 1 mL of Saxenda solution contains 6 mg of liraglutide and the
   following inactive ingredients: disodium phosphate dihydrate, 1.42 mg; propylene glycol, 14 mg; phenol, 5.5
   mg; and water for injection. Each pre-filled pen contains a 3 mL solution of Saxenda equivalent to 18 mg
   liraglutide (free-base, anhydrous).

   12      CLINICAL PHARMACOLOGY
   12.1 Mechanism of Action
   Liraglutide is an acylated human glucagon-like peptide-1 (GLP-1) receptor agonist with 97% amino acid
   sequence homology to endogenous human GLP-1(7-37). Like endogenous GLP-1, liraglutide binds to and
   activates the GLP-1 receptor, a cell-surface receptor coupled to adenylyl cyclase activation through the
   stimulatory G-protein, Gs. Endogenous GLP-1 has a half-life of 1.5-2 minutes due to degradation by the

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   ubiquitous endogenous enzymes, dipeptidyl peptidase 4 (DPP-4) and neutral endopeptidases (NEP). Unlike
   native GLP-1, liraglutide is stable against metabolic degradation by both peptidases and has a plasma half-life
   of 13 hours after subcutaneous administration. The pharmacokinetic profile of liraglutide, which makes it
   suitable for once-daily administration, is a result of self-association that delays absorption, plasma protein
   binding, and stability against metabolic degradation by DPP-4 and NEP.

   GLP-1 is a physiological regulator of appetite and calorie intake, and the GLP-1 receptor is present in several
   areas of the brain involved in appetite regulation. In animal studies, peripheral administration of liraglutide
   resulted in the presence of liraglutide in specific brain regions regulating appetite, including the hypothalamus.
   Although liraglutide activated neurons in brain regions known to regulate appetite, specific brain regions
   mediating the effects of liraglutide on appetite were not identified in rats.

   12.2 Pharmacodynamics
   Liraglutide lowers body weight through decreased calorie intake. Liraglutide does not increase 24-hour energy
   expenditure.

   As with other GLP-1 receptor agonists, liraglutide stimulates insulin secretion and reduces glucagon secretion
   in a glucose-dependent manner. These effects can lead to a reduction of blood glucose.

   Cardiac Electrophysiology (QTc) in healthy volunteers
   The effect of liraglutide on cardiac repolarization was tested in a QTc study. Liraglutide at steady-state
   concentrations after daily doses up to 1.8 mg did not produce QTc prolongation. The maximum liraglutide
   plasma concentration (Cmax) in overweight and obese subjects treated with liraglutide 3 mg is similar to the Cmax
   observed in the liraglutide QTc study in healthy volunteers.

   12.3 Pharmacokinetics
   Absorption - Following subcutaneous administration, maximum concentrations of liraglutide are achieved at 11
   hours post dosing. The average liraglutide steady state concentration (AUCτ/24) reached approximately 116
   ng/mL in obese (BMI 30-40 kg/m2) subjects following administration of Saxenda. Liraglutide exposure
   increased proportionally in the dose range of 0.6 mg to 3 mg. The intra-subject coefficient of variation for
   liraglutide AUC was 11% following single dose administration. Liraglutide exposures were considered similar
   among three subcutaneous injection sites (upper arm, abdomen, and thigh). Absolute bioavailability of
   liraglutide following subcutaneous administration is approximately 55%.

   Distribution - The mean apparent volume of distribution after subcutaneous administration of liraglutide 3 mg is
   20-25 L (for a person weighing approximately 100 kg). The mean volume of distribution after intravenous
   administration of liraglutide is 0.07 L/kg. Liraglutide is extensively bound to plasma protein (greater than 98%).

   Metabolism - During the initial 24 hours following administration of a single [3H]-liraglutide dose to healthy
   subjects, the major component in plasma was intact liraglutide. Liraglutide is endogenously metabolized in a
   similar manner to large proteins without a specific organ as a major route of elimination.

   Elimination - Following a [3H]-liraglutide dose, intact liraglutide was not detected in urine or feces. Only a
   minor part of the administered radioactivity was excreted as liraglutide-related metabolites in urine or feces (6%
   and 5%, respectively). The majority of urine and feces radioactivity was excreted during the first 6-8 days. The
   mean apparent clearance following subcutaneous administration of a single dose of liraglutide is approximately
   0.9-1.4 L/h with an elimination half-life of approximately 13 hours, making liraglutide suitable for once daily
   administration.

   Specific Populations

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   Elderly - No dosage adjustment is required based on age. Age had no effect on the pharmacokinetics of
   liraglutide based on a pharmacokinetic study in healthy elderly subjects (65 to 83 years) and population
   pharmacokinetic analyses of data from overweight and obese patients 18 to 82 years of age [see Use in Specific
   Populations (8.5)].

   Gender - Based on the results of population pharmacokinetic analyses, females have 24% lower weight adjusted
   clearance of Saxenda compared to males. Based on the exposure response data, no dose adjustment is necessary
   based on gender.

   Race and Ethnicity - Race and ethnicity had no effect on the pharmacokinetics of liraglutide based on the results
   of population pharmacokinetic analyses that included overweight and obese patients of Caucasian, Black, Asian
   and Hispanic/Non-Hispanic groups.

   Body Weight - Body weight significantly affects the pharmacokinetics of liraglutide based on results of
   population pharmacokinetic analyses conducted in patients with body weight range of 60-234 kg. The exposure
   of liraglutide decreases as baseline body weight increases.

   Pediatric - Saxenda has not been studied in pediatric patients [see Use in Specific Populations (8.4)].

   Renal Impairment - The single-dose pharmacokinetics of liraglutide were evaluated in subjects with varying
   degrees of renal impairment. Subjects with mild (estimated creatinine clearance 50-80 mL/min) to severe
   (estimated creatinine clearance less than 30 mL/min) renal impairment and subjects with end-stage renal disease
   requiring dialysis were included in the trial. Compared to healthy subjects, liraglutide AUC in mild, moderate,
   and severe renal impairment and in end-stage renal disease was on average 35%, 19%, 29% and 30% lower,
   respectively [see Use in Specific Populations (8.6)].

   Hepatic Impairment - The single-dose pharmacokinetics of liraglutide were evaluated in subjects with varying
   degrees of hepatic impairment. Subjects with mild (Child Pugh score 5-6) to severe (Child Pugh score greater
   than 9) hepatic impairment were included in the trial. Compared to healthy subjects, liraglutide AUC in subjects
   with mild, moderate and severe hepatic impairment was on average 11%, 14% and 42% lower, respectively [see
   Use in Specific Populations (8.7)].

   Drug Interactions
   In vitro assessment of drug−drug interactions
   Liraglutide has low potential for pharmacokinetic drug-drug interactions related to cytochrome P450 (CYP) and
   plasma protein binding.

   In vivo assessment of drug−drug interactions
   The drug-drug interaction studies were performed at steady state with liraglutide 1.8 mg/day. The effect on rate
   of gastric emptying was equivalent between liraglutide 1.8 mg and 3 mg (acetaminophen AUC0-300min).
   Administration of the interacting drugs was timed so that Cmax of liraglutide (8-12 h) would coincide with the
   absorption peak of the co-administered drugs.

   Oral Contraceptives
   A single dose of an oral contraceptive combination product containing 0.03 mg ethinylestradiol and 0.15 mg
   levonorgestrel was administered under fed conditions and 7 hours after the dose of liraglutide at steady state.
   Liraglutide lowered ethinylestradiol and levonorgestrel Cmax by 12% and 13%, respectively. There was no effect
   of liraglutide on the overall exposure (AUC) of ethinylestradiol. Liraglutide increased the levonorgestrel
   AUC0-∞ by 18%. Liraglutide delayed Tmax for both ethinylestradiol and levonorgestrel by 1.5 h.


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   Digoxin
   A single dose of digoxin 1 mg was administered 7 hours after the dose of liraglutide at steady state. The
   concomitant administration with liraglutide resulted in a reduction of digoxin AUC by 16%; Cmax decreased by
   31%. Digoxin median time to maximal concentration (Tmax) was delayed from 1 h to 1.5 h.

   Lisinopril
   A single dose of lisinopril 20 mg was administered 5 minutes after the dose of liraglutide at steady state. The
   co-administration with liraglutide resulted in a reduction of lisinopril AUC by 15%; Cmax decreased by 27%.
   Lisinopril median Tmax was delayed from 6 h to 8 h with liraglutide.

   Atorvastatin
   Liraglutide did not change the overall exposure (AUC) of atorvastatin following a single dose of atorvastatin 40
   mg, administered 5 hours after the dose of liraglutide at steady state. Atorvastatin Cmax was decreased by 38%
   and median Tmax was delayed from 1 h to 3 h with liraglutide.

   Acetaminophen
   Liraglutide did not change the overall exposure (AUC) of acetaminophen following a single dose of
   acetaminophen 1000 mg, administered 8 hours after the dose of liraglutide at steady state. Acetaminophen Cmax
   was decreased by 31% and median Tmax was delayed up to 15 minutes.

   Griseofulvin
   Liraglutide did not change the overall exposure (AUC) of griseofulvin following co-administration of a single
   dose of griseofulvin 500 mg with liraglutide at steady state. Griseofulvin Cmax increased by 37% while median
   Tmax did not change.

   Insulin Detemir
   No pharmacokinetic interaction was observed between liraglutide and insulin detemir when separate
   subcutaneous injections of insulin detemir 0.5 Unit/kg (single-dose) and liraglutide 1.8 mg (steady state) were
   administered to patients with type 2 diabetes mellitus.

   13      NONCLINICAL TOXICOLOGY
   13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
   A 104-week carcinogenicity study was conducted in male and female CD-1 mice at doses of 0.03, 0.2, 1, and 3
   mg/kg/day liraglutide administered by bolus subcutaneous injection yielding systemic exposures 0.2-, 2-, 10-
   and 43-times the exposure in obese humans, respectively, at the maximum recommended human dose (MRHD)
   of 3 mg/day based on plasma AUC comparison. A dose-related increase in benign thyroid C-cell adenomas was
   seen in the 1 and the 3 mg/kg/day groups with incidences of 13% and 19% in males and 6% and 20% in
   females, respectively. C-cell adenomas did not occur in control groups or 0.03 and 0.2 mg/kg/day groups.
   Treatment-related malignant C-cell carcinomas occurred in 3% of females in the 3 mg/kg/day group. Thyroid
   C-cell tumors are rare findings during carcinogenicity testing in mice. A treatment-related increase in
   fibrosarcomas was seen on the dorsal skin and subcutis, the body surface used for drug injection, in males in the
   3 mg/kg/day group. These fibrosarcomas were attributed to the high local concentration of drug near the
   injection site. The liraglutide concentration in the clinical formulation (6 mg/mL) is 10-times higher than the
   concentration in the formulation used to administer 3 mg/kg/day liraglutide to mice in the carcinogenicity study
   (0.6 mg/mL).

   A 104-week carcinogenicity study was conducted in male and female Sprague Dawley rats at doses of 0.075,
   0.25 and 0.75 mg/kg/day liraglutide administered by bolus subcutaneous injection with exposures 0.5-, 2- and
   7-times the exposure in obese humans, respectively, resulting from the MRHD based on plasma AUC
   comparison. A treatment-related increase in benign thyroid C-cell adenomas was seen in males in 0.25 and 0.75

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   mg/kg/day liraglutide groups with incidences of 12%, 16%, 42%, and 46% and in all female liraglutide-treated
   groups with incidences of 10%, 27%, 33%, and 56% in 0 (control), 0.075, 0.25, and 0.75 mg/kg/day groups,
   respectively. A treatment-related increase in malignant thyroid C-cell carcinomas was observed in all male
   liraglutide-treated groups with incidences of 2%, 8%, 6%, and 14% and in females at 0.25 and 0.75 mg/kg/day
   with incidences of 0%, 0%, 4%, and 6% in 0 (control), 0.075, 0.25, and 0.75 mg/kg/day groups, respectively.
   Thyroid C-cell carcinomas are rare findings during carcinogenicity testing in rats.

   Studies in mice demonstrated that liraglutide-induced C-cell proliferation was dependent on the GLP-1 receptor
   and that liraglutide did not cause activation of the REarranged during Transfection (RET) proto-oncogene in
   thyroid C-cells.

   Human relevance of thyroid C-cell tumors in mice and rats is unknown and has not been determined by clinical
   studies or nonclinical studies [see Boxed Warning and Warnings and Precautions (5.1)].

   Liraglutide was negative with and without metabolic activation in the Ames test for mutagenicity and in a
   human peripheral blood lymphocyte chromosome aberration test for clastogenicity. Liraglutide was negative in
   repeat-dose in vivo micronucleus tests in rats.

   In rat fertility studies using subcutaneous doses of 0.1, 0.25 and 1 mg/kg/day liraglutide, males were treated for
   4 weeks prior to and throughout mating and females were treated 2 weeks prior to and throughout mating until
   gestation day 17. No direct adverse effects on male fertility was observed at doses up to 1 mg/kg/day, a high
   dose yielding an estimated systemic exposure 11-times the exposure in obese humans at the MRHD, based on
   plasma AUC comparison. In female rats, an increase in early embryonic deaths occurred at 1 mg/kg/day.
   Reduced body weight gain and food consumption were observed in females at the 1 mg/kg/day dose.

   14       CLINICAL STUDIES
   The safety and efficacy of Saxenda for chronic weight management in conjunction with reduced caloric intake
   and increased physical activity were studied in three 56-week, randomized, double-blind, placebo-controlled
   trials. In all studies, Saxenda was titrated to 3 mg daily during a 4-week period. All patients received instruction
   for a reduced calorie diet (approximately 500 kcal/day deficit) and exercise counseling (recommended increase
   in physical activity of minimum 150 mins/week) that began with the first dose of study medication or placebo
   and continued throughout the trial.

   Study 1 was a 56-week trial that enrolled 3731 patients with obesity (BMI greater than or equal to 30 kg/m2) or
   with overweight (BMI 27-29.9 kg/m2) and at least one weight-related comorbid condition such as treated or
   untreated dyslipidemia or hypertension; patients with type 2 diabetes mellitus were excluded. Patients were
   randomized in a 2:1 ratio to either Saxenda or placebo. The mean age was 45 years (range 18-78), 79% were
   women, 85% were Caucasian, 10% were African American, and 11% were Hispanic/Latino. Mean baseline
   body weight was 106.3 kg and mean BMI was 38.3 kg/m2.

   Study 2 was a 56-week trial that enrolled 635 patients with type 2 diabetes and with either overweight or
   obesity (as defined above). Patients were to have an HbA1c of 7-10% and be treated with metformin, a
   sulfonylurea, or a glitazone as single agent or in any combination, or with diet and exercise alone. Patients were
   randomized in a 2:1 ratio to receive either Saxenda or placebo. The mean age was 55 years (range 18-82), 50%
   were women, 83% were Caucasian, 12% were African American, and 10% were Hispanic/Latino. Mean
   baseline body weight was 105.9 kg and mean BMI was 37.1 kg/m2.

   Study 3 was a 56-week trial that enrolled 422 patients with obesity (BMI greater than or equal to 30 kg/m2) or
   with overweight (BMI 27-29.9 kg/m2) and at least one weight-related comorbid condition such as treated or
   untreated dyslipidemia or hypertension; patients with type 2 diabetes mellitus were excluded. All patients were

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   first treated with a low-calorie diet (total energy intake 1200-1400 kcal/day) in a run-in period lasting up to 12
   weeks. Patients who lost at least 5% of their screening body weight after 4 to 12 weeks during the run-in were
   then randomized, with equal allocation, to receive either Saxenda or placebo for 56 weeks. The mean age was
   46 years (range 18-73), 81% were women, 84% were Caucasian, 13% were African American, and 7% were
   Hispanic/Latino. Mean baseline body weight was 99.6 kg and mean BMI was 35.6 kg/m2.

   The proportions of patients who discontinued study drug in the 56-week trials were 27% for the Saxenda-treated
   group and 35% for the placebo-treated group. Approximately 10% of patients treated with Saxenda and 4% of
   patients treated with placebo discontinued treatment due to an adverse reaction [see Adverse Reactions (6.1)].
   The majority of patients who discontinued Saxenda due to adverse reactions did so during the first few months
   of treatment.

   Effect of Saxenda on Body Weight

   For Study 1 and Study 2, the primary efficacy parameters were mean percent change in body weight and the
   percentages of patients achieving greater than or equal to 5% and 10% weight loss from baseline to week 56.
   For Study 3, the primary efficacy parameters were mean percent change in body weight from randomization to
   week 56, the percentage of patients not gaining more than 0.5% body weight from randomization (i.e., after run-
   in) to week 56, and the percentage of patients achieving greater than or equal to 5% weight loss from
   randomization to week 56. Because losing at least 5% of fasting body weight through lifestyle intervention
   during the 4- to 12-week run-in was a condition for their continued participation in the randomized treatment
   period, the results may not reflect those expected in the general population.

   Table 4 presents the results for the changes in weight observed in Studies 1, 2, and 3. After 56 weeks, treatment
   with Saxenda resulted in a statistically significant reduction in weight compared with placebo. Statistically
   significantly greater proportions of patients treated with Saxenda achieved 5% and 10% weight loss than those
   treated with placebo. In Study 3, statistically significantly more patients randomized to Saxenda than placebo
   had not gained more than 0.5% of body weight from randomization to week 56.

   Table 4.       Changes in Weight at Week 56 for Studies 1, 2, and 3
                                    Study 1 (Obesity or         Study 2 (Type 2                 Study 3 (Obesity or
                                       overweight with       diabetes with obesity                overweight with
                                        comorbidity)             or overweight)               comorbidity following
                                                                                              at least 5% weight loss
                                                                                                     with diet)
                                       Saxenda        Placebo      Saxenda       Placebo       Saxenda      Placebo
                                       N=2487         N=1244        N=423        N=212          N=212        N=210
   Weight
         Baseline mean (SD) (kg)         106.2         106.2         105.7        106.5         100.4          98.7
                                         (21.2)        (21.7)        (21.9)       (21.3)        (20.8)        (21.2)
          Percent change from
                                          -7.4          -3.0          -5.4         -1.7          -4.9          0.3
          baseline (LSMean)
          Difference from placebo         -4.5*                      -3.7*                       -5.2*
          (LSMean) (95% CI)            (-5.2;-3.8)                (-4.7;-2.7)                 (-6.8;-3.5)
   % of Patients losing greater
   than or equal to 5% body              62.3%         34.4%        49.0%         16.4%         44.2%         21.7%
   weight
          Difference from placebo        27.9*                       32.6*                       22.6*
          (LSMean) (95% CI)           (23.9;31.9)                 (25.1;40.1)                 (13.9;31.3)

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   % of Patients losing greater
                                               33.9%          15.4%           22.4%            5.5%           25.4%            6.9%
   than 10% body weight
          Difference from placebo              18.5*                           16.9*                          18.5*
          (LSMean) (95% CI)                 (15.2;21.7)                     (11.7;22.1)                    (11.7;25.3)
   SD = Standard Deviation; CI = Confidence Interval
   * p < 0.0001 compared to placebo. Type 1 error was controlled across the three endpoints.
   Includes all randomized subjects who had a baseline body weight measurement. All available body weight data during the 56 week
   treatment period are included in the analysis. In Studies 1 and 2 missing values for week 56 were handled using multiple imputations
   analysis. In Study 3 missing values for week 56 were handled using weighted regression analysis.

   The cumulative frequency distributions of change in body weight from baseline to week 56 are shown in Figure
   2 for Studies 1 and 2. One way to interpret this figure is to select a change in body weight of interest on the
   horizontal axis and note the corresponding proportions of patients (vertical axis) in each treatment group who
   achieved at least that degree of weight loss. For example, note that the vertical line arising from -10% in Study
   1 intersects the Saxenda and placebo curves at approximately 34% and 15%, respectively, which correspond to
   the values shown in Table 4.




   Figure 2.        Change in body weight (%) from baseline to week 56 (Study 1 on left and Study 2 on right)

   The time courses of weight loss with Saxenda and placebo from baseline through week 56 are depicted in
   Figures 3 and 4.




   Figure 3.        Change from baseline (%) in body weight (Study 1 on left and Study 2 on right)




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   Figure 4.         Change from baseline (%) in body weight during Study 3

   Effect of Saxenda on Anthropometry and Cardiometabolic Parameters

   Changes in waist circumference and cardiometabolic parameters with Saxenda are shown in Table 5 for Study 1
   (patients without diabetes mellitus) and Table 6 for Study 2 (patients with type 2 diabetes). Results from Study
   3, which also enrolled patients without diabetes mellitus, were similar to Study 1.

   Table 5.       Mean Changes in Anthropometry and Cardiometabolic Parameters in Study 1 (Patients
                  without Diabetes)
                                             Saxenda               Placebo
                                             N = 2487              N = 1244
                                                   Change                Change
                                                                                  Saxenda minus
                                     Baseline       from    Baseline      from
                                                                                     Placebo
                                                  Baseline              Baseline
                                                                                    (LSMean)
                                                 (LSMean1)             (LSMean1)
   Waist Circumference (cm)            115.0         -8.2    114.5         -4.0         -4.2
   Systolic blood pressure (mmHg)      123.0         -4.3    123.3         -1.5         -2.8
   Diastolic blood pressure (mmHg)      78.7         -2.7     78.9         -1.8         -0.9
   Heart Rate (bpm)                    71.4          2.6     71.3          0.1           2.5
                                                                                     Relative
                                                  % change              % change
                                                                                   Difference of
                                     Baseline       from    Baseline      from
                                                                                    Saxenda to
                                                  Baseline              Baseline
                                                          1                     1    Placebo
                                                 (LSMean )             (LSMean )
                                                                                    (LSMean)
   Total Cholesterol (mg/dL)*          193.8         -3.2    194.4         -0.9         -2.3
   LDL Cholesterol (mg/dL)*            111.8         -3.1    112.3         -0.7         -2.4
   HDL Cholesterol (mg/dL)*             51.4         2.3      50.9         0.5           1.9
   Triglycerides (mg/dL)†              125.7        -13.0    128.3         -4.1         -7.1
   Based on last observation carried forward method while on study drug
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     Least squares mean adjusted for treatment, country, sex, pre-diabetes status at screening, baseline BMI stratum and an interaction
   between pre-diabetes status at screening and BMI stratum as fixed factors, and the baseline value as covariate.
   * Baseline value is the geometric mean
   †Values are baseline median, median % change, and the Hodges-Lehmann estimate of the median treatment difference.




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   Table 6.       Mean Changes in Anthropometry and Cardiometabolic Parameters in Study 2 (Patients
                  with Diabetes Mellitus)
                                          Saxenda               Placebo
                                          N = 423               N = 212
                                                Change               Change
                                                                                Saxenda minus
                                                 from                 from
                                  Baseline               Baseline                    Placebo
                                               Baseline              Baseline
                                                       1                     1     (LSMean)
                                              (LSMean )            (LSMean )
   Waist Circumference (cm)         118.1         -6.0    117.3        -2.8            -3.2
   Systolic Blood Pressure          128.9         -3.0    129.2        -0.4            -2.6
   (mmHg)
   Diastolic Blood Pressure          79.0         -1.0     79.3        -0.6            -0.4
   (mmHg)
   Heart Rate (bpm)                  74.0          2.0     74.0        -1.5             3.4
                                               % change             % change   Relative Difference
                                                 from                 from       of Saxenda to
                                  Baseline               Baseline
                                               Baseline              Baseline        Placebo
                                              (LSMean1)            (LSMean1)       (LSMean)
   Total Cholesterol (mg/dL)*       171.0         -1.4    169.4         2.4            -3.7
   LDL Cholesterol (mg/dL)*          86.4         0.9     85.2         3.3             -2.3
   HDL Cholesterol (mg/dL)*          45.2         4.8     45.4         1.9              2.9
   Triglycerides (mg/dL)†           156.2        -14.5    155.8        -0.7           -13.5
   Based on last observation carried forward method while on study drug
   1
    Least squares mean adjusted for treatment, country, sex, background treatment, baseline HbA1c stratum and an interaction between
   background treatment and HbA1c stratum as fixed factors, and the baseline value as covariate.
   * Baseline value is the geometric mean
   †Values are baseline median, median % change, and the Hodges-Lehmann estimate of the median treatment difference.

   16     HOW SUPPLIED/STORAGE AND HANDLING
   16.1 How Supplied
   Saxenda is available in the following package sizes containing disposable, pre-filled, multi-dose pens. Each
   individual pen delivers doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg (6 mg/mL, 3 mL).

   3 x Saxenda pen NDC 0169-2800-13
   5 x Saxenda pen NDC 0169-2800-15

   Each Saxenda pen is for use by a single patient. A Saxenda pen should never be shared between patients, even if
   the needle is changed.

   16.2 Recommended Storage
   Prior to first use, Saxenda should be stored in a refrigerator between 36ºF to 46ºF (2ºC to 8ºC) (Table 7). Do not
   store in the freezer or directly adjacent to the refrigerator cooling element. Do not freeze Saxenda and do not
   use Saxenda if it has been frozen.

   After initial use of the Saxenda pen, the pen can be stored for 30 days at controlled room temperature (59°F to
   86°F; 15°C to 30°C) or in a refrigerator (36°F to 46°F; 2°C to 8°C). Keep the pen cap on when not in use.
   Saxenda should be protected from excessive heat and sunlight. Always remove and safely discard the needle
   after each injection and store the Saxenda pen without an injection needle attached. This will reduce the
   potential for contamination, infection, and leakage while also ensuring dosing accuracy.

                       1
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   Table 7.       Recommended Storage Conditions for Saxenda
                      Prior to first use                               After first use
                        Refrigerated                    Room Temperature              Refrigerated
                        36°F to 46°F                       59°F to 86°F               36°F to 46°F
                        (2°C to 8°C)                      (15°C to 30°C)              (2°C to 8°C)
                     Until expiration date                                30 days

   17    PATIENT COUNSELING INFORMATION
   17.1 FDA-Approved Medication Guide
   See FDA-Approved Medication Guide.

   17.2 Instructions
   Saxenda is indicated for chronic weight management in conjunction with a reduced-calorie diet and increased
   physical activity.

   Advise patients to take Saxenda exactly as prescribed. Patients should be instructed to follow the dose
   escalation schedule and not to take more than the recommended dose of Saxenda.

   Instruct patients to discontinue use of Saxenda if they have not achieved 4% weight loss by 16 weeks of
   treatment.

   17.3 Risk of Thyroid C-cell Tumors
   Inform patients that liraglutide causes benign and malignant thyroid C-cell tumors in mice and rats and that the
   human relevance of this finding has not been determined. Counsel patients to report symptoms of thyroid
   tumors (e.g., a lump in the neck, hoarseness, dysphagia or dyspnea) to their physician [see Boxed Warning and
   Warnings and Precautions (5.1)].

   17.4 Acute Pancreatitis
   Patients should be informed of the potential risk for acute pancreatitis. Explain that persistent severe abdominal
   pain that may radiate to the back and which may or may not be accompanied by vomiting, is the hallmark
   symptom of acute pancreatitis. Instruct patients to discontinue Saxenda promptly and contact their physician if
   persistent severe abdominal pain occurs.

   17.5 Acute Gallbladder Disease
   Patients should be informed that substantial or rapid weight loss can increase the risk of cholelithiasis.
   Cholelithiasis may also occur in the absence of substantial or rapid weight loss. Patients should be instructed to
   contact their physician if cholelithiasis is suspected for appropriate clinical follow-up.

   17.6 Hypoglycemia in Patients with Type 2 Diabetes Mellitus on Anti-Diabetic Therapy
   Patients with type 2 diabetes mellitus on anti-diabetic therapy should be advised to monitor their blood glucose
   levels and report symptoms of hypoglycemia to their physician.

   17.7 Heart Rate Increase
   Patients should be informed to report symptoms of sustained periods of heart pounding or racing while at rest
   to their physician. For patients who experience a sustained increase in resting heart rate while taking Saxenda,
   Saxenda should be discontinued.

   17.8   Dehydration and Renal Impairment


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   Patients treated with Saxenda should be advised of the potential risk of dehydration due to gastrointestinal
   adverse reactions and take precautions to avoid fluid depletion. Patients should be informed of the potential risk
   for worsening renal function, which in some cases may require dialysis.

   17.9 Hypersensitivity Reactions
   Patients should be informed that serious hypersensitivity reactions have been reported during use of liraglutide.
   If symptoms of hypersensitivity reactions occur, patients must stop taking Saxenda and seek medical advice
   promptly.

   17.10 Suicidal Behavior and Ideation
   Patients treated with Saxenda should be advised to report emergence or worsening of depression, suicidal
   thoughts or behavior, and/or any unusual changes in mood or behavior. Patients should be informed that if they
   experience suicidal thoughts or behaviors, Saxenda should be discontinued.

   17.11 Jaundice and Hepatitis
   Inform patients that jaundice and hepatitis have been reported during postmarketing use of liraglutide. Instruct
   patients to contact their physician if they develop jaundice.

   17.12 Never Share a Saxenda Pen Between Patients
   Patients should be informed that they should never share a Saxenda pen with another person, even if the needle
   is changed. Sharing of the pen between patients may pose a risk of transmission of infection.

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   Saxenda® and Victoza® are registered trademarks of Novo Nordisk A/S.

   Saxenda® is covered by US Patent Nos. 6,268,343, 6,458,924, 7,235,627, 8,114,833 and other patents pending.

   Saxenda® pen is covered by US Patent Nos. 6,899,699, 7,686,786, 8,672,898, 8,684,969 and other patents
   pending.

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   Manufactured by:
   Novo Nordisk A/S
   DK-2880 Bagsvaerd, Denmark

   For information about Saxenda contact:
   Novo Nordisk Inc.
   800 Scudders Mill Road
   Plainsboro, NJ 08536

   1-844-363-4448




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                                             Medication Guide
                                         Saxenda® (sax-end-ah)
                                       (liraglutide [rDNA origin])
                                                 Injection

              Read this Medication Guide and Patient Instructions for Use that come with
              Saxenda before you start using Saxenda and each time you get a refill. There
              may be new information. This Medication Guide does not take the place of
              talking with your healthcare provider about your medical condition or your
              treatment. If you have questions about Saxenda after reading this
              information, ask your healthcare provider or pharmacist.

              What is the most important information I should know about
              Saxenda?
              Serious side effects may happen in people who take Saxenda, including:
              1. Possible thyroid tumors, including cancer. During the drug testing
                 process, the medicine in Saxenda caused rats and mice to develop tumors
                 of the thyroid gland. Some of these tumors were cancers. It is not known
                 if Saxenda will cause thyroid tumors or a type of thyroid cancer called
                 medullary thyroid cancer in people. If medullary thyroid cancer occurs, it
                 may lead to death if not detected and treated early. If you develop
                 tumors or cancer of the thyroid, your thyroid may have to be surgically
                 removed.
                        Before you start taking Saxenda, tell your healthcare provider if you
                        or any of your family members have had thyroid cancer, especially
                        medullary thyroid cancer, or Multiple Endocrine Neoplasia syndrome
                        type 2. Do not take Saxenda if you or any of your family members
                        have medullary thyroid cancer, or if you have Multiple Endocrine
                        Neoplasia syndrome type 2. People with these conditions already
                        have a higher chance of developing medullary thyroid cancer in
                        general and should not take Saxenda.
                        While taking Saxenda, tell your healthcare provider if you get a lump
                        or swelling in your neck, hoarseness, trouble swallowing, or
                        shortness of breath. These may be symptoms of thyroid cancer.
              2. Inflammation of the pancreas (pancreatitis), which may be severe
                 and lead to death.
                  Before taking Saxenda, tell your healthcare provider if you have
                  had:
                            pancreatitis
                            stones in your gallbladder (gallstones)
                            a history of alcoholism
                            high blood triglyceride levels

                  These medical conditions can make you more likely to get pancreatitis in
                  general. It is not known if having these conditions will lead to a higher
                  chance of getting pancreatitis while taking Saxenda.




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              While taking Saxenda:
              Stop taking Saxenda and call your healthcare provider right away if you have
              pain in your stomach area (abdomen) that is severe and will not go away.
              The pain may happen with or without vomiting. The pain may be felt going
              from your abdomen through to your back. This type of pain may be a
              symptom of pancreatitis.

              What is Saxenda?
                  Saxenda is an injectable prescription medicine that may help some obese
                  adults or overweight adults who also have weight related medical
                  problems lose weight and keep the weight off.
                  Saxenda should be used with a reduced calorie diet and increased
                  physical activity.
                  Saxenda is not for the treatment of type 2 diabetes mellitus.
                  Saxenda and Victoza® have the same active ingredient, liraglutide.
                  Saxenda and Victoza should not be used together.
                  Saxenda should not be used with other GLP-1 receptor agonist medicines.
                  Saxenda and insulin should not be used together.
                  It is not known if Saxenda is safe and effective when taken with other
                  prescription, over-the-counter, or herbal weight loss products.
                  It is not known if Saxenda changes your risk of heart problems or stroke
                  or of death due to heart problems or stroke.
                  It is not known if Saxenda can be used safely in people who have had
                  pancreatitis.
                  It is not known if Saxenda is safe and effective in children under 18 years
                  of age. Saxenda is not recommended for use in children.

              Who should not use Saxenda?
              Do not use Saxenda if:
                  you or any of your family members have a history of medullary thyroid
                  cancer.
                  you have Multiple Endocrine Neoplasia syndrome type 2 (MEN 2). This is
                  a disease where people have tumors in more than one gland in their
                  body.
                  you are allergic to liraglutide or any of the ingredients in Saxenda. See
                  the end of this Medication Guide for a complete list of ingredients in
                  Saxenda.
                  Symptoms of a serious allergic reaction may include:
                        o   swelling of your face, lips, tongue, or throat
                        o   fainting or feeling dizzy




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                        o   very rapid heartbeat
                        o   problems breathing or swallowing
                        o   severe rash or itching
                  Talk with your healthcare provider if you are not sure if you have any of
                  these conditions.
                  are pregnant or planning to become pregnant. Saxenda may harm your
                  unborn baby.

              What should I tell my healthcare provider before using Saxenda?
              Before taking Saxenda, tell your healthcare provider if you:
                 have any of the conditions listed in the section “What is the most
                 important information I should know about Saxenda?”
                  are taking certain medications called GLP-1 receptor agonists.
                 are allergic to liraglutide or any of the other ingredients in Saxenda. See
                 the end of this Medication Guide for a list of ingredients in Saxenda.
                  have severe problems with your stomach, such as slowed emptying of
                  your stomach (gastroparesis) or problems with digesting food.
                  have or have had kidney or liver problems.
                  have or have had depression or suicidal thoughts.
                  have any other medical conditions.
                  are pregnant or plan to become pregnant. Saxenda may harm your
                  unborn baby. Tell your healthcare provider if you become pregnant while
                  taking Saxenda. If you are pregnant you should stop using Saxenda.
                  are breastfeeding or plan to breastfeed. It is not known if Saxenda
                  passes into your breast milk. You and your healthcare provider should
                  decide if you will take Saxenda or breastfeed. You should not do both
                  without talking with your healthcare provider first.

              Tell your healthcare provider about all the medicines you take including
              prescription and non-prescription medicines, vitamins, and herbal
              supplements. Saxenda slows stomach emptying and can affect medicines
              that need to pass through the stomach quickly. Saxenda may affect the way
              some medicines work and some other medicines may affect the way Saxenda
              works. Tell your healthcare provider if you take other diabetes medicines,
              especially sulfonylurea medicines or insulin.

              Know the medicines you take. Keep a list of them with you to show your
              healthcare provider and pharmacist each time you get a new medicine.

              How should I use Saxenda?
                  Use Saxenda exactly as prescribed by your healthcare provider. Your
                  dose should be increased after using Saxenda for 1 week until you reach




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                  the 3 mg dose. After that, do not change your dose unless your
                  healthcare provider tells you to.
                  Saxenda is injected 1 time each day, at any time during the day.
                  You can take Saxenda with or without food.
                  Your doctor should start you on a diet and exercise program when you
                  start taking Saxenda. Stay on this program while you are taking
                  Saxenda.
                  Saxenda comes in a prefilled pen.
                  Your healthcare provider must teach you how to inject Saxenda before
                  you use it for the first time. If you have questions or do not understand
                  the instructions, talk to your healthcare provider or pharmacist. See the
                  Patient Instructions for Use that come with this Medication Guide for
                  detailed information about the right way to use your Saxenda pen.
                  Pen needles are not included. Use the Saxenda pen with Novo Nordisk
                  disposable needles. You may need a prescription to get pen needles from
                  your pharmacist. Ask your healthcare provider which needle size is best
                  for you.
                  When starting a new prefilled Saxenda pen, you must follow the “Check
                  the Saxenda flow with each new pen” (see the detailed Patient
                  Instructions for Use that comes with this Medication Guide). You only
                  need to do this 1 time with each new pen. You should also do this if you
                  drop your pen. If you do the “Check the Saxenda flow with each new
                  pen” before each injection, you will run out of medicine too soon.
                  Inject your dose of Saxenda under the skin (subcutaneous injection) in
                  your stomach area (abdomen), upper leg (thigh), or upper arm, as
                  instructed by your healthcare provider. Do not inject into a vein or
                  muscle.
                  If you take too much Saxenda, call your healthcare provider right away.
                  Too much Saxenda may cause severe nausea and vomiting.
                  If you miss your daily dose of Saxenda, use Saxenda as soon as you
                  remember. Then take your next daily dose as usual on the following day.
                  Do not take an extra dose of Saxenda or increase your dose on the
                  following day to make up for your missed dose. If you miss your dose of
                  Saxenda for 3 days or more, call your healthcare provider to talk about
                  how to restart your treatment.
                  Never share your Saxenda pen or needles with another person. You may
                  give an infection to them, or get an infection from them.

              What are the possible side effects of Saxenda?
              Saxenda may cause serious side effects, including:
                  possible thyroid tumors, including cancer. See “What is the most
                  important information I should know about Saxenda?”
                  inflammation of the pancreas (pancreatitis). See “What is the most
                  important information I should know about Saxenda?”




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                  gallbladder problems. Saxenda may cause gallbladder problems
                  including gallstones. Some gallbladder problems need surgery. Call your
                  healthcare provider if you have any of the following symptoms:
                      pain in your upper stomach (abdomen)
                      fever
                      yellowing of your skin or eyes (jaundice)
                      clay-colored stools
                 low blood sugar (hypoglycemia) in people with type 2 diabetes
                 mellitus who also take medicines to treat type 2 diabetes mellitus.
                 Saxenda can cause low blood sugar in people with type 2 diabetes mellitus
                 who also take medicines used to treat type 2 diabetes mellitus (such as
                 sulfonylureas). In some people, the blood sugar may get so low that they
                 need another person to help them. If you take a sulfonylurea medicine,
                 the dose may need to be lowered while you use Saxenda. Signs and
                 symptoms of low blood sugar may include:
                           shakiness                                  confusion
                           sweating                                   irritability
                           headache                                   hunger
                           drowsiness                                 fast heartbeat
                           weakness                                   feeling jittery
                           dizziness
                 Talk to your healthcare provider about how to recognize and treat low
                 blood sugar. Make sure that your family and other people who are around
                 you a lot know how to recognize and treat low blood sugar. You should
                 check your blood sugar before you start taking Saxenda and while you
                 take Saxenda.

                  increased heart rate. Saxenda can increase your heart rate while you
                  are at rest. Your healthcare provider should check your heart rate while
                  you take Saxenda. Tell your healthcare provider if you feel your heart
                  racing or pounding in your chest and it lasts for several minutes when
                  taking Saxenda.

                  kidney problems (kidney failure). Saxenda may cause nausea,
                  vomiting or diarrhea leading to loss of fluids (dehydration). Dehydration
                  may cause kidney failure which can lead to the need for dialysis. This can
                  happen in people who have never had kidney problems before. Drinking
                  plenty of fluids may reduce your chance of dehydration.

              Call your healthcare provider right away if you have nausea, vomiting, or
              diarrhea that does not go away, or if you cannot drink liquids by mouth.

                  serious allergic reactions. Serious allergic reactions can happen with
                  Saxenda. Stop using Saxenda, and get medical help right away if you




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                  have any symptoms of a serious allergic reaction See “Who should not
                  use Saxenda?”

                  depression or thoughts of suicide. You should pay attention to any
                  mental changes, especially sudden changes, in your mood, behaviors,
                  thoughts, or feelings. Call your healthcare provider right away if you
                  have any mental changes that are new, worse, or worry you.

              Common side effects of Saxenda include:

                 nausea
                 diarrhea
                 constipation
                 low blood sugar (hypoglycemia)
                 vomiting
                 headache
                 decreased appetite
                 upset stomach
                 tiredness
                 dizziness
                 stomach pain
                 changes in enzyme (lipase) levels in your blood

              Nausea is most common when first starting Saxenda, but decreases over
              time in most people as their body gets used to the medicine.
              Tell your healthcare provider if you have any side effect that bothers you or
              that does not go away.
              These are not all the side effects with Saxenda. For more information, ask
              your healthcare provider or pharmacist.
              Call your doctor for medical advice about side effects. You may report side
              effects to FDA at 1-800-FDA-1088.

              Keep your Saxenda pen, pen needles, and all medicines out of the
              reach of children.

              General information about the safe and effective use of Saxenda.
              Medicines are sometimes prescribed for purposes other than those listed in a
              Medication Guide. Do not use Saxenda for a condition for which it was not
              prescribed. Do not give Saxenda to other people, even if they have the same
              symptoms you have. It may harm them.

              This Medication Guide summarizes the most important information you
              should know about using Saxenda. If you would like more information, talk
              with your healthcare provider. You can ask your pharmacist or healthcare
              provider for information about Saxenda that is written for health
              professionals.
              For more information, go to saxenda.com or call 1-844-363-4448.




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              What are the ingredients in Saxenda?
              Active Ingredient: liraglutide
              Inactive Ingredients: disodium phosphate dihydrate, propylene glycol,
              phenol and water for injection




              For more information go to www.saxenda.com

              Manufactured by:
              Novo Nordisk A/S
              DK-2880 Bagsvaerd, Denmark

              For information about Saxenda contact:
              Novo Nordisk Inc.
              800 Scudders Mill Road
              Plainsboro, NJ 08536
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              Issued: December 2014
              Version: 1

              This Medication Guide has been approved by the U.S. Food and Drug
              Administration.

              Saxenda®, Victoza®, NovoFine®, and NovoTwist® are registered trademarks
              of Novo Nordisk A/S.

              Saxenda® is covered by US Patent Nos. 6,268,343, 6,458,924, 7,235,627
              and 8,114,833 and other patents pending.

              Saxenda® pen is covered by US Patent Nos. 6,899,699, 7,686,786,
              8,672,898, 8,684,969 and other patents pending.

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Reference ID: 3677762
                                          Instructions for Use
                  Read these instructions carefully before using your Saxenda® pen.
                  Do not use your pen without proper training from your healthcare
                  provider. Make sure that you know how to give yourself an injection with
                  the pen before you start your treatment.
                  If you are blind or have poor eyesight and cannot read the dose
                  counter on the pen, do not use this pen without help. Get help from
                  a person with good eyesight who is trained to use the Saxenda pen.
                  You can refresh your training at any time by watching the online
                  training video at www.saxenda.com.
                  Start by checking your pen to make sure that it contains Saxenda,
                  then look at the pictures below to get to know the different parts
                  of your pen and needle.
                  Your pen is a prefilled dial-a-dose pen. It contains 18 mg of
                  liraglutide, and you can select doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg
                  and 3 mg. Your pen is made to be used with NovoFine® or NovoTwist®
                  disposable needles up to a length of 8 mm.

          Saxenda pen and needle
          (example)
                                        NovoFine

                        Pen cap                     Outer
                                                    needle cap

                                                    Inner
                                                    needle cap


                                                    Needle

                                                    Paper
                                                    tab

                        Pen scale       NovoTwist

                        Pen window                  Outer
                                                    needle cap

                                                    Inner
                                                    needle cap

                                                    Needle

                                                    Paper
                        Dose counter                tab
                        Dose pointer
                                                    Flow
                        Dose selector               check
                        Dose button                 symbol




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          Step 1. Prepare your pen with a new needle
              Wash your hands with soap and water.
              Check the name and colored label of your pen, to make
              sure that it contains Saxenda. This is especially important if
              you take more than 1 type of medicine.
              Pull off the pen cap.




                Check that Saxenda in your pen is clear and colorless.
                Look through the pen window. If Saxenda looks cloudy, do
                not use the pen.



                Take a new needle, and tear off the paper tab.




                Push the needle straight onto the pen. Turn until it is
                on tight.




                Pull off the outer needle cap. Do not throw it away.




                Pull off the inner needle cap and throw it away.
                A drop of Saxenda may appear at the needle tip. This is
                normal, but you must still check the Saxenda flow, if you
                use a new pen for the first time.
                Always use a new needle for each injection.
                This will prevent contamination, infection, leakage of
                Saxenda, and blocked needles leading to the wrong dose.
                Never use a bent or damaged needle.
                Do not attach a new needle to your pen until you are
                ready to take your injection.




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          Step 2. Check the Saxenda flow with each new pen.
              Check the Saxenda flow before your first injection with
              each new pen.
              If your Saxenda pen is already in use, go to Step 3 “Select
              your dose”.
              Turn the dose selector until the dose counter shows the
              flow check symbol (       ).

                Hold the pen with the needle pointing up.
                Press and hold in the dose button until the dose
                counter shows 0. The 0 must line up with the dose pointer.
                A drop of Saxenda will appear at the needle tip.
                If no drop appears, repeat Step 2 above as shown in
                Figures G and H up to 6 times. If there is still no drop,
                change the needle and repeat Step 2 as shown in Figures G
                and H 1 more time.
                Do not use the pen if a drop of Saxenda still does not
                appear. Contact Novo Nordisk at 1-877-484-2869.
                Always make sure that a drop appears at the needle tip
                before you use a new pen for the first time. This makes
                sure that Saxenda flows.
                If no drop appears, you will not inject any Saxenda, even
                though the dose counter may move. This may mean that
                there is a blocked or damaged needle.
                A small drop may remain at the needle tip, but it will not be
                injected.
                Only check the Saxenda flow before your first
                injection with each new pen.
          Step 3. Select your dose
              Turn the dose selector until the dose counter shows
              your dose (0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg).
              Make sure you know the dose of Saxenda you should use.
              If you select the wrong dose, you can turn the dose
              selector forward or backwards to the correct dose.
              Always use the dose counter and the dose pointer to
              see how many mg you select.
              You will hear a “click” every time you turn the dose
              selector. Do not set the dose by counting the number
              of clicks you hear.
              Do not use the pen scale to set the dose. It does not show
              exactly how much Saxenda is left in your pen.
              Only doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg
              can be selected with the dose selector. The selected
              dose must line up exactly with the dose pointer to make
              sure that you get a correct dose.
                The dose selector changes the dose. Only the dose counter




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                and dose pointer will show how many mg you select for
                each dose.
                You can select up to 3 mg each dose. When your pen
                contains less than 3 mg the dose counter stops before 3
                mg is shown.
                The dose selector clicks differently when turned forward,
                backwards or past the number of mg left. Do not count the
                pen clicks.

              How much Saxenda is left?
               The pen scale shows you about how much Saxenda is left
               in your pen.




                To see how much Saxenda is left, use the dose counter:
                Turn the dose selector until the dose counter stops.
                If it shows 3, at least 3 mg are left in your pen. If the
                dose counter stops before 3 mg, there is not enough
                Saxenda left for a full dose of 3 mg.
               If you need more Saxenda than what is left in your
               pen
          Only if trained or told by your healthcare provider, you may split
          your dose between your current pen and a new pen. Use a
          calculator to plan the doses as instructed by your healthcare
          provider.
               Be very careful to calculate correctly.
               If you are not sure how to split your dose using 2 pens,
               then select and inject the dose you need with a new pen.
          Step 4. Inject your dose
              Insert the needle into your skin as your healthcare
              provider has shown you.
              Make sure you can see the dose counter. Do not cover
              it with your fingers. This could stop the injection.

                Press and hold down the dose button until the dose
                counter shows 0. The 0 must line up with the dose
                pointer. You may then hear or feel a click.




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                Keep the needle in your skin after the dose counter has
                returned to 0 and count slowly to 6.
                If the needle is removed earlier, you may see a stream of
                Saxenda coming from the needle tip. If this happens, the
                full dose will not be delivered.




                Remove the needle from your skin.
                If blood appears at the injection site, press lightly. Do not
                rub the area.
                Always watch the dose counter to know how many
                mg you inject. Hold the dose button down until the dose
                counter shows 0.
                How to identify a blocked or damaged needle?
                   If 0 does not appear in the dose counter after
                   continuously pressing the dose button, you may have
                   used a blocked or damaged needle.
                   If this happens you have not received any Saxenda
                   even though the dose counter has moved from the
                   original dose that you have set.
                How to handle a blocked needle?
                Change the needle as described in Step 5, and repeat all
                steps starting with Step 1: “Prepare your pen with a
                new needle”. Make sure you select the full dose you need.
                Never touch the dose counter when you inject. This
                can stop the injection.
              You may see a drop of Saxenda at the needle tip after
              injecting. This is normal and does not affect your dose.
          Step 5. After your injection

                Carefully remove the needle from the pen. Do not put
                the needle caps back on the needle, to avoid needle sticks.




              Place the needle in a sharps container right away to
              reduce the risk of needle sticks.




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                Put the pen cap on your pen after each use to protect
                Saxenda from light.




                If you do not have a sharps container, follow a 1-handed
                needle recapping method. Carefully slip the needle into the
                outer needle cap. Dispose of the needle in a sharps
                container as soon as possible.
                Never try to put the inner needle cap back on the
                needle. You may stick yourself with the needle.
                Always remove the needle from your pen.
                This prevents contamination, infection, leakage of Saxenda,
                and blocked needles leading to the wrong dose. If the
                needle is blocked, you will not inject any Saxenda.
                Always dispose of the needle after each injection.
                  Do not throw away in the household trash. Put the
                  needle and any empty Saxenda pen or any pen used for
                  30 days still containing Saxenda in a FDA-cleared sharps
                  disposal container right away after use.
                  If you do not have a FDA-cleared sharps disposal
                  container, you may use a household container that is:
                        o   made of a heavy-duty plastic
                        o   can be closed with a tight-fitting, puncture-resistant
                            lid, without sharps being able to come out upright
                            and stable during use
                        o   leak-resistant
                        o   properly labeled to warn of hazardous waste inside
                            the container
                  When your sharps disposal container is almost full, you
                  will need to follow your community guidelines for the right
                  way to dispose of your sharps disposal container. There
                  may be state or local laws about how you should throw
                  away used needles and syringes. For more information
                  about the safe sharps disposal, and for specific
                  information about sharps disposal in the state that you
                  live in, go to the FDA’s website at:
                  http://www.fda.gov/safesharpsdisposal
                  Do not dispose of your used sharps disposal container in
                  your household trash unless your community guidelines
                  permit this. Do not recycle your used sharps disposal
                  container.
                  Safely dispose of Saxenda that is out of date or no longer




Reference ID: 3677762
                  needed.


                Important
                Caregivers must be very careful when handling used
                needles to prevent needle sticks and cross infection.
                Never use a syringe to withdraw Saxenda from your pen.
                Always carry an extra pen and new needles with you,
                in case of loss or damage.
                Always keep your pen and needles out of reach of
                others, especially children.
                Do not share your Saxenda pen or needles with
                anyone else. You may give an infection to them or get an
                infection from them.
                Always keep your pen with you. Do not leave it in a car
                or other place where it can get too hot or too cold.
          Caring for your pen
              Do not drop your pen or knock it against hard surfaces.
              If you drop it or suspect a problem, attach a new needle
              and check the Saxenda flow before you inject.
                Do not try to repair your pen or pull it apart.
                Do not expose your pen to dust, dirt or liquid.
                Do not wash, soak, or lubricate your pen. If necessary,
                clean it with mild detergent on a moistened cloth.
          How should I store my Saxenda pen?
                Store your new, unused Saxenda pens in the refrigerator
                at 36°F to 46°F (2°C to 8°C).
                Store your pen in use for 30 days at 59ºF to 86ºF (15ºC
                to 30ºC) or in a refrigerator at 36°F to 46°F (2°C to 8°C).
                The Saxenda pen you are using should be thrown away
                after 30 days, even if it still has Saxenda left in it.
                Do not freeze Saxenda. Do not use Saxenda if it has been
                frozen.
                Unused Saxenda pens may be used until the expiration
                date printed on the label, if kept in the refrigerator.
                Keep Saxenda away from heat and out of the light.


          This Medication Guide and Instructions for Use have been
          approved by the U.S. Food and Drug Administration.

          December 2014




Reference ID: 3677762
     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
     JAMES P SMITH
     12/23/2014




Reference ID: 3677762
                                Exhibit B
	



    VICTOZA FDA HIGHLIGHTS OF PRESCRIBING INFORMATION AND MEDICATION
                           GUIDE - JANUARY 2010




                                Exhibit B
	
HIGHLIGHTS OF PRESCRIBING INFORMATION                                                                ········································CONTRAINDICATIONS··············································
These highlights do not include all the information needed to use Victoza                            Do not use in patients with a personal or family history of medullary thyroid
safely and effectively. See full prescribing information for Victoza.                                carcinoma or in patients with Multiple Endocrine Neoplasia syndrome type 2 (4).

Victoza® (liraglutide [rDNA origin] injection), solution for subcutaneous use                        ··································WARNINGS AND PRECAUTIONS······························
Initial U.S. Approval: 2010                                                                                   Thyroid C-cell tumors in animals: Human relevance unknown. Counsel
                                                                                                              patients regarding the risk of medullary thyroid carcinoma and the
            WARNING: RISK OF THYROID C-CELL TUMORS                                                            symptoms of thyroid tumors (5.1).
          See full prescribing information for complete boxed warning.                                        Pancreatitis: In clinical trials, there were more cases of pancreatitis among
      Liraglutide causes thyroid C-cell tumors at clinically relevant exposures                               Victoza-treated patients than among comparator-treated patients. If
      in rodents. It is unknown whether Victoza causes thyroid C-cell                                         pancreatitis is suspected, Victoza and other potentially suspect drugs
      tumors, including medullary thyroid carcinoma (MTC), in humans, as                                      should be discontinued. Victoza should not be restarted if pancreatitis is
      human relevance could not be determined by clinical or nonclinical                                      confirmed. Use with caution in patients with a history of pancreatitis (5.2).
      studies (5.1).                                                                                          Serious hypoglycemia: Can occur when Victoza is used with an insulin
      Victoza is contraindicated in patients with a personal or family history                                secretagogue (e.g. a sulfonylurea). Consider lowering the dose of the
      of MTC or in patients with Multiple Endocrine Neoplasia syndrome                                        insulin secretagogue to reduce the risk of hypoglycemia (5.3).
      type 2 (MEN 2) (5.1).                                                                                   Macrovascular outcomes: There have been no studies establishing
                                                                                                              conclusive evidence of macrovascular risk reduction with Victoza or any
·······································INDICATIONS AND USAGE······································            other antidiabetic drug (5.4).
Victoza is a glucagon-like peptide-1 (GLP-1) receptor agonist indicated as an
adjunct to diet and exercise to improve glycemic control in adults with type 2                       ········································ADVERSE REACTIONS···········································
diabetes mellitus (1).                                                                                        The most common adverse reactions, reported in 5% of patients treated
                                                                                                              with Victoza and more commonly than in patients treated with placebo,
Important Limitations of Use (1.1):                                                                           are: headache, nausea, diarrhea and anti-liraglutide antibody formation (6).
   Not recommended as first-line therapy for patients inadequately controlled                                 Immunogenicity-related events, including urticaria, were more common
   on diet and exercise (5.1).                                                                                among Victoza-treated patients (0.8%) than among comparator-treated
   Has not been studied sufficiently in patients with a history of pancreatitis.                              patients (0.4%) in clinical trials (6).
   Use caution (5.2).
   Not for treatment of type 1 diabetes mellitus or diabetic ketoacidosis.                           To report SUSPECTED ADVERSE REACTIONS, contact Novo Nordisk
   Has not been studied in combination with insulin.                                                 Inc. at 1-877-484-2869 or FDA at 1-800-FDA-1088 or
                                                                                                     www.fda.gov/medwatch.
··································DOSAGE AND ADMINISTRATION·······························
      Administer once daily at any time of day, independently of meals (2).                          ------------------------------DRUG INTERACTIONS-----------------------------------
      Inject subcutaneously in the abdomen, thigh or upper arm (2).                                         Victoza delays gastric emptying. May impact absorption of concomitantly
      The injection site and timing can be changed without dose adjustment (2).                             administered oral medications. Use caution (7).
      Initiate at 0.6 mg per day for one week. This dose is intended to reduce
      gastrointestinal symptoms during initial titration, and is not effective for                   ····································USE IN SPECIFIC POPULATIONS·····························
      glycemic control. After one week, increase the dose to 1.2 mg. If the 1.2 mg                             There are no data in patients below 18 years of age (8.4).
      dose does not result in acceptable glycemic control, the dose can be                                     Use with caution in patients with renal or hepatic impairment. Limited data
      increased to 1.8 mg (2).                                                                                 (8.6, 8.7).
      When initiating Victoza, consider reducing the dose of concomitantly-
      administered insulin secretagogues to reduce the risk of hypoglycemia (2).                     See 17 for PATIENT COUNSELING INFORMATION and FDA-Approved
                                                                                                     Medication Guide.
·······························DOSAGE FORMS AND STRENGTHS······························                                                             Revised: 1/2010
     Solution for subcutaneous injection, pre-filled, multi-dose pen that delivers
     doses of 0.6 mg, 1.2 mg, or 1.8 mg (6 mg/mL, 3 mL) (3).


FULL PRESCRIBING INFORMATION: CONTENTS*
BOXED WARNING: RISK OF THYROID C-CELL TUMORS                                                         10            OVERDOSAGE
                                                                                                     11            DESCRIPTION
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             1.1 Important Limitations of Use                                                                      12.1 Mechanism of Action
2            DOSAGE AND ADMINISTRATION                                                                             12.2 Pharmacodynamics
3            DOSAGE FORMS AND STRENGTHS                                                                            12.3 Pharmacokinetics
4            CONTRAINDICATIONS                                                                       13            NONCLINICAL TOXICOLOGY
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             5.2 Pancreatitis                                                                                      14.1 Monotherapy
             5.3 Use with Medications Known to Cause Hypoglycemia                                                  14.2 Combination Therapy
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             7.1 Oral Medications                                                                                  17.1 Risk of Thyroid C-cell Tumors
8            USE IN SPECIFIC POPULATIONS                                                                           17.2 Pancreatitis
             8.1 Pregnancy                                                                                         17.3 Never Share a Victoza Pen Between Patients
             8.3 Nursing Mothers                                                                                   17.4 Instructions
             8.4 Pediatric Use                                                                                     17.5 Laboratory Tests
             8.5 Geriatric Use                                                                                     17.6 FDA-Approved Medication Guide
             8.6 Renal Impairment
             8.7 Hepatic Impairment                                                                  *Sections or subsections omitted from the full prescribing information are not
             8.8 Gastroparesis                                                                       listed.
FULL PRESCRIBING INFORMATION

                       WARNING: RISK OF THYROID C-CELL TUMORS
Liraglutide causes dose-dependent and treatment-duration-dependent thyroid C-cell tumors at
clinically relevant exposures in both genders of rats and mice. It is unknown whether Victoza causes
thyroid C-cell tumors, including medullary thyroid carcinoma (MTC), in humans, as human relevance
could not be ruled out by clinical or nonclinical studies. Victoza is contraindicated in patients with a
personal or family history of MTC and in patients with Multiple Endocrine Neoplasia syndrome type 2
(MEN 2). Based on the findings in rodents, monitoring with serum calcitonin or thyroid ultrasound
was performed during clinical trials, but this may have increased the number of unnecessary thyroid
surgeries. It is unknown whether monitoring with serum calcitonin or thyroid ultrasound will mitigate
human risk of thyroid C-cell tumors. Patients should be counseled regarding the risk and symptoms of
thyroid tumors [see Contraindications (4), Warnings and Precautions (5.1) and Nonclinical
Toxicology (13.1)].

1      INDICATIONS AND USAGE
Victoza is indicated as an adjunct to diet and exercise to improve glycemic control in adults with type 2
diabetes mellitus.

1.1     Important Limitations of Use
  Because of the uncertain relevance of the rodent thyroid C-cell tumor findings to humans, prescribe
  Victoza only to patients for whom the potential benefits are considered to outweigh the potential risk.
  Victoza is not recommended as first-line therapy for patients who have inadequate glycemic control on
  diet and exercise.

  In clinical trials of Victoza, there were more cases of pancreatitis with Victoza than with comparators.
  Victoza has not been studied sufficiently in patients with a history of pancreatitis to determine whether
  these patients are at increased risk for pancreatitis while using Victoza. Use with caution in patients
  with a history of pancreatitis.

  Victoza is not a substitute for insulin. Victoza should not be used in patients with type 1 diabetes
  mellitus or for the treatment of diabetic ketoacidosis, as it would not be effective in these settings.

  The concurrent use of Victoza and insulin has not been studied.

2      DOSAGE AND ADMINISTRATION
Victoza can be administered once daily at any time of day, independently of meals, and can be injected
subcutaneously in the abdomen, thigh or upper arm. The injection site and timing can be changed
without dose adjustment.

For all patients, Victoza should be initiated with a dose of 0.6 mg per day for one week. The 0.6 mg dose
is a starting dose intended to reduce gastrointestinal symptoms during initial titration, and is not effective
for glycemic control. After one week at 0.6 mg per day, the dose should be increased to 1.2 mg. If the
1.2 mg dose does not result in acceptable glycemic control, the dose can be increased to 1.8 mg.

When initiating Victoza, consider reducing the dose of concomitantly administered insulin secretagogues
(such as sulfonylureas) to reduce the risk of hypoglycemia [see Warnings and Precautions (5.3) and
Adverse Reactions (6)].
Victoza solution should be inspected prior to each injection, and the solution should be used only if it is
clear, colorless, and contains no particles.

3      DOSAGE FORMS AND STRENGTHS
Solution for subcutaneous injection, pre-filled, multi-dose pen that delivers doses of 0.6 mg, 1.2 mg, or
1.8 mg (6 mg/mL, 3 mL).

4      CONTRAINDICATIONS
Victoza is contraindicated in patients with a personal or family history of medullary thyroid carcinoma
(MTC) or in patients with Multiple Endocrine Neoplasia syndrome type 2 (MEN 2).

5       WARNINGS AND PRECAUTIONS
5.1     Risk of Thyroid C-cell Tumors
Liraglutide causes dose-dependent and treatment-duration-dependent thyroid C-cell tumors (adenomas
and/or carcinomas) at clinically relevant exposures in both genders of rats and mice [see Nonclinical
Toxicology (13.1)]. Malignant thyroid C-cell carcinomas were detected in rats and mice. A statistically
significant increase in cancer was observed in rats receiving liraglutide at 8-times clinical exposure
compared to controls. It is unknown whether Victoza will cause thyroid C-cell tumors, including
medullary thyroid carcinoma (MTC), in humans, as the human relevance of liraglutide-induced rodent
thyroid C-cell tumors could not be determined by clinical or nonclinical studies [see Boxed Warning,
Contraindications (4)].

In the clinical trials, there have been 4 reported cases of thyroid C-cell hyperplasia among Victoza-treated
patients and 1 case in a comparator-treated patient (1.3 vs. 0.6 cases per 1000 patient-years). One
additional case of thyroid C-cell hyperplasia in a Victoza-treated patient and 1 case of MTC in a
comparator-treated patient have subsequently been reported. This comparator-treated patient with MTC
had pre-treatment serum calcitonin concentrations >1000 ng/L suggesting pre-existing disease. All of
these cases were diagnosed after thyroidectomy, which was prompted by abnormal results on routine,
protocol-specified measurements of serum calcitonin. Four of the five liraglutide-treated patients had
elevated calcitonin concentrations at baseline and throughout the trial. One liraglutide and one non-
liraglutide-treated patient developed elevated calcitonin concentrations while on treatment.

Calcitonin, a biological marker of MTC, was measured throughout the clinical development program. The
serum calcitonin assay used in the Victoza clinical trials had a lower limit of quantification (LLOQ) of
0.7 ng/L and the upper limit of the reference range was 5.0 ng/L for women and 8.4 ng/L for men. At
Weeks 26 and 52 in the clinical trials, adjusted mean serum calcitonin concentrations were higher in
Victoza-treated patients compared to placebo-treated patients but not compared to patients receiving
active comparator. At these timepoints, the adjusted mean serum calcitonin values (~ 1.0 ng/L) were just
above the LLOQ with between-group differences in adjusted mean serum calcitonin values of
approximately 0.1 ng/L or less. Among patients with pre-treatment serum calcitonin below the upper limit
of the reference range, shifts to above the upper limit of the reference range which persisted in subsequent
measurements occurred most frequently among patients treated with Victoza 1.8 mg/day. In trials with
on-treatment serum calcitonin measurements out to 5-6 months, 1.9% of patients treated with Victoza 1.8
mg/day developed new and persistent calcitonin elevations above the upper limit of the reference range
compared to 0.8-1.1% of patients treated with control medication or the 0.6 and 1.2 mg doses of Victoza.
In trials with on-treatment serum calcitonin measurements out to 12 months, 1.3% of patients treated with
Victoza 1.8 mg/day had new and persistent elevations of calcitonin from below or within the reference
range to above the upper limit of the reference range, compared to 0.6%, 0% and 1.0% of patients treated
with Victoza 1.2 mg, placebo and active control, respectively. Otherwise, Victoza did not produce
consistent dose-dependent or time-dependent increases in serum calcitonin.

Patients with MTC usually have calcitonin values >50 ng/L. In Victoza clinical trials, among patients
with pre-treatment serum calcitonin <50 ng/L, one Victoza-treated patient and no comparator-treated
patients developed serum calcitonin >50 ng/L. The Victoza-treated patient who developed serum
calcitonin >50 ng/L had an elevated pre-treatment serum calcitonin of 10.7 ng/L that increased to 30.7
ng/L at Week 12 and 53.5 ng/L at the end of the 6-month trial. Follow-up serum calcitonin was 22.3 ng/L
more than 2.5 years after the last dose of Victoza. The largest increase in serum calcitonin in a
comparator-treated patient was seen with glimepiride in a patient whose serum calcitonin increased from
19.3 ng/L at baseline to 44.8 ng/L at Week 65 and 38.1 ng/L at Week 104. Among patients who began
with serum calcitonin <20 ng/L, calcitonin elevations to >20 ng/L occurred in 0.7% of Victoza-treated
patients, 0.3% of placebo-treated patients, and 0.5% of active-comparator-treated patients, with an
incidence of 1.1% among patients treated with 1.8 mg/day of Victoza. The clinical significance of these
findings is unknown.

Counsel patients regarding the risk for MTC and the symptoms of thyroid tumors (e.g. a mass in the neck,
dysphagia, dyspnea or persistent hoarseness). It is unknown whether monitoring with serum calcitonin or
thyroid ultrasound will mitigate the potential risk of MTC, and such monitoring may increase the risk of
unnecessary procedures, due to low test specificity for serum calcitonin and a high background incidence
of thyroid disease. Patients with thyroid nodules noted on physical examination or neck imaging obtained
for other reasons should be referred to an endocrinologist for further evaluation. Although routine
monitoring of serum calcitonin is of uncertain value in patients treated with Victoza, if serum calcitonin is
measured and found to be elevated, the patient should be referred to an endocrinologist for further
evaluation.

5.2     Pancreatitis
In clinical trials of Victoza, there were 7 cases of pancreatitis among Victoza-treated patients and 1 case
among comparator-treated patients (2.2 vs. 0.6 cases per 1000 patient-years). Five cases with Victoza
were reported as acute pancreatitis and two cases with Victoza were reported as chronic pancreatitis. In
one case in a Victoza-treated patient, pancreatitis, with necrosis, was observed and led to death; however
clinical causality could not be established. One additional case of pancreatitis has subsequently been
reported in a Victoza-treated patient. Some patients had other risk factors for pancreatitis, such as a
history of cholelithiasis or alcohol abuse. There are no conclusive data establishing a risk of pancreatitis
with Victoza treatment. After initiation of Victoza, and after dose increases, observe patients carefully
for signs and symptoms of pancreatitis (including persistent severe abdominal pain, sometimes radiating
to the back and which may or may not be accompanied by vomiting). If pancreatitis is suspected, Victoza
and other potentially suspect medications should be discontinued promptly, confirmatory tests should be
performed and appropriate management should be initiated. If pancreatitis is confirmed, Victoza should
not be restarted. Use with caution in patients with a history of pancreatitis.

5.3     Use with Medications Known to Cause Hypoglycemia
Patients receiving Victoza in combination with an insulin secretagogue (e.g., sulfonylurea) may have an
increased risk of hypoglycemia. In the clinical trials of at least 26 weeks duration, hypoglycemia
requiring the assistance of another person for treatment occurred in 7 Victoza-treated patients and in no
comparator-treated patients. Six of these 7 patients treated with Victoza were also taking a sulfonylurea.
The risk of hypoglycemia may be lowered by a reduction in the dose of sulfonylurea or other insulin
secretagogues [see Adverse Reactions (6.1)].
5.4    Macrovascular Outcomes
There have been no clinical studies establishing conclusive evidence of macrovascular risk reduction with
Victoza or any other antidiabetic drug.

6       ADVERSE REACTIONS
6.1     Clinical Trials Experience
Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in
the clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug and
may not reflect the rates observed in practice.

The safety of Victoza was evaluated in a 52-week monotherapy trial and in four 26-week, add-on
combination therapy trials. In the monotherapy trial, patients were treated with Victoza 1.2 mg daily,
Victoza 1.8 mg daily, or glimepiride 8 mg daily. In the add-on to metformin trial, patients were treated
with Victoza 0.6 mg, Victoza 1.2 mg, Victoza 1.8 mg, placebo, or glimepiride 4 mg. In the add-on to
glimepiride trial, patients were treated with Victoza 0.6 mg, Victoza 1.2 mg, Victoza 1.8 mg, placebo, or
rosiglitazone 4 mg. In the add-on to metformin + glimepiride trial, patients were treated with Victoza 1.8
mg, placebo, or insulin glargine. In the add-on to metformin + rosiglitazone trial, patients were treated
with Victoza 1.2 mg, Victoza 1.8 mg or placebo [see Clinical Studies (14)].

Withdrawals
The incidence of withdrawal due to adverse events was 7.8% for Victoza-treated patients and 3.4% for
comparator-treated patients in the five controlled trials of 26 weeks duration or longer. This difference
was driven by withdrawals due to gastrointestinal adverse reactions, which occurred in 5.0% of Victoza-
treated patients and 0.5% of comparator-treated patients. The most common adverse reactions leading to
withdrawal for Victoza-treated patients were nausea (2.8% versus 0% for comparator) and vomiting
(1.5% versus 0.1% for comparator). Withdrawal due to gastrointestinal adverse events mainly occurred
during the first 2-3 months of the trials.

Tables 1 and 2 summarize the adverse events reported in 5% of Victoza-treated patients in the five
controlled trials of 26 weeks duration or longer.

Table 1 Adverse events reported in 5% of Victoza-treated patients or 5% of glimepiride-treated
patients: 52-week monotherapy trial
                                         All Victoza        Glimepiride
                                          N = 497            N = 248
 Adverse Event Term                          (%)               (%)
 Nausea                                      28.4               8.5
 Diarrhea                                    17.1               8.9
 Vomiting                                    10.9               3.6
 Constipation                                9.9                4.8
 Upper Respiratory Tract Infection           9.5                5.6
 Headache                                    9.1                9.3
 Influenza                                   7.4                3.6
 Urinary Tract Infection                     6.0                4.0
 Dizziness                                   5.8                5.2
 Sinusitis                                   5.6                6.0
 Nasopharyngitis                             5.2                5.2
 Back Pain                                   5.0                4.4
 Hypertension                                3.0                6.0
Table 2 Adverse events reported in 5% of Victoza-treated patients and occurring more frequently
with Victoza compared to placebo: 26-week combination therapy trials
                                      Add-on to Metformin Trial
                                         All Victoza +       Placebo +     Glimepiride +
                                          Metformin          Metformin      Metformin
                                           N = 724            N = 121         N = 242
  Adverse Event Term                          (%)               (%)             (%)
  Nausea                                     15.2               4.1             3.3
  Diarrhea                                    10.9              4.1             3.7
  Headache                                    9.0               6.6             9.5
  Vomiting                                    6.5               0.8             0.4
                                      Add-on to Glimepiride Trial
                                         All Victoza +       Placebo +     Rosiglitazone +
                                          Glimepiride       Glimepiride     Glimepiride
                                            N=695             N=114            N=231
  Adverse Event Term                          (%)               (%)             (%)
  Nausea                                      7.5               1.8              2.6
  Diarrhea                                    7.2               1.8              2.2
  Constipation                                5.3               0.9              1.7
  Dyspepsia                                   5.2               0.9              2.6
                                   Add-on to Metformin + Glimepiride
                                         Victoza 1.8+        Placebo +      Glargine +
                                         Metformin +        Metformin +     Metformin +
                                          Glimepiride       Glimepiride     Glimepiride
                                           N = 230            N = 114        N = 232
  Adverse Event Term                          (%)               (%)             (%)
  Nausea                                     13.9               3.5             1.3
  Diarrhea                                   10.0               5.3             1.3
  Headache                                    9.6               7.9             5.6
  Dyspepsia                                   6.5               0.9             1.7
  Vomiting                                    6.5               3.5             0.4
                     Add-on to Metformin + Rosiglitazone
                                         All Victoza +       Placebo +
                                         Metformin +        Metformin +
                                         Rosiglitazone     Rosiglitazone
                                           N = 355            N = 175
  Adverse Event Term                          (%)               (%)
  Nausea                                     34.6               8.6
  Diarrhea                                   14.1               6.3
  Vomiting                                   12.4               2.9
  Decreased Appetite                          9.3               1.1
  Anorexia                                    9.0               0.0
  Headache                                    8.2               4.6
  Constipation                                5.1               1.1
  Fatigue                                     5.1               1.7


Gastrointestinal adverse events
In the five clinical trials of 26 weeks duration or longer, gastrointestinal adverse events were reported in
41% of Victoza-treated patients and were dose-related. Gastrointestinal adverse events occurred in 17%
of comparator-treated patients. Events that occurred more commonly among Victoza-treated patients
included nausea, vomiting, diarrhea, dyspepsia and constipation. In clinical trials of 26 weeks duration or
longer, the percentage of patients who reported nausea declined over time. Approximately 13% of
Victoza-treated patients and 2% of comparator-treated patients reported nausea during the first 2 weeks of
treatment.
Immunogenicity
Consistent with the potentially immunogenic properties of protein and peptide pharmaceuticals, patients
treated with Victoza may develop anti-liraglutide antibodies. Approximately 50-70% of Victoza-treated
patients in the five clinical trials of 26 weeks duration or longer were tested for the presence of anti-
liraglutide antibodies at the end of treatment. Low titers (concentrations not requiring dilution of serum)
of anti-liraglutide antibodies were detected in 8.6% of these Victoza-treated patients. Sampling was not
performed uniformly across all patients in the clinical trials, and this may have resulted in an
underestimate of the actual percentage of patients who developed antibodies. Cross-reacting anti-
liraglutide antibodies to native glucagon-like peptide-1 (GLP-1) occurred in 6.9% of the Victoza-treated
patients in the 52-week monotherapy trial and in 4.8% of the Victoza-treated patients in the 26-week add-
on combination therapy trials. These cross-reacting antibodies were not tested for neutralizing effect
against native GLP-1, and thus the potential for clinically significant neutralization of native GLP-1 was
not assessed. Antibodies that had a neutralizing effect on liraglutide in an in vitro assay occurred in 2.3%
of the Victoza-treated patients in the 52-week monotherapy trial and in 1.0% of the Victoza-treated
patients in the 26-week add-on combination therapy trials.

Among Victoza-treated patients who developed anti-liraglutide antibodies, the most common category of
adverse events was that of infections, which occurred among 40% of these patients compared to 36%,
34% and 35% of antibody-negative Victoza-treated, placebo-treated and active-control-treated patients,
respectively. The specific infections which occurred with greater frequency among Victoza-treated
antibody-positive patients were primarily nonserious upper respiratory tract infections, which occurred
among 11% of Victoza-treated antibody-positive patients; and among 7%, 7% and 5% of antibody-
negative Victoza-treated, placebo-treated and active-control-treated patients, respectively. Among
Victoza-treated antibody-negative patients, the most common category of adverse events was that of
gastrointestinal events, which occurred in 43%, 18% and 19% of antibody-negative Victoza-treated,
placebo-treated and active-control-treated patients, respectively. Antibody formation was not associated
with reduced efficacy of Victoza when comparing mean HbA1c of all antibody-positive and all antibody-
negative patients. However, the 3 patients with the highest titers of anti-liraglutide antibodies had no
reduction in HbA1c with Victoza treatment.

In clinical trials of Victoza, events from a composite of adverse events potentially related to
immunogenicity (e.g. urticaria, angioedema) occurred among 0.8% of Victoza-treated patients and among
0.4% of comparator-treated patients. Urticaria accounted for approximately one-half of the events in this
composite for Victoza-treated patients. Patients who developed anti-liraglutide antibodies were not more
likely to develop events from the immunogenicity events composite than were patients who did not
develop anti-liraglutide antibodies.

Injection site reactions
Injection site reactions (e.g., injection site rash, erythema) were reported in approximately 2% of Victoza-
treated patients in the five clinical trials of at least 26 weeks duration. Less than 0.2% of Victoza-treated
patients discontinued due to injection site reactions.

Papillary thyroid carcinoma
In clinical trials of Victoza, there were 6 reported cases of papillary thyroid carcinoma in patients treated
with Victoza and 1 case in a comparator-treated patient (1.9 vs. 0.6 cases per 1000 patient-years). Most
of these papillary thyroid carcinomas were <1 cm in greatest diameter and were diagnosed in surgical
pathology specimens after thyroidectomy prompted by findings on protocol-specified screening with
serum calcitonin or thyroid ultrasound.
Hypoglycemia
In the clinical trials of at least 26 weeks duration, hypoglycemia requiring the assistance of another
person for treatment occurred in 7 Victoza-treated patients (2.6 cases per 1000 patient-years) and in no
comparator-treated patients. Six of these 7 patients treated with Victoza were also taking a sulfonylurea.
One other patient was taking Victoza in combination with metformin but had another likely explanation
for the hypoglycemia (this event occurred during hospitalization and after insulin infusion) (Table 3).
Two additional cases of hypoglycemia requiring the assistance of another person for treatment have
subsequently been reported in patients who were not taking a concomitant sulfonylurea. Both patients
were receiving Victoza, one as monotherapy and the other in combination with metformin. Both patients
had another likely explanation for the hypoglycemia (one received insulin during a frequently-sampled
intravenous glucose tolerance test, and the other had intracranial hemorrhage and uncertain food intake).

Table 3 Incidence (%) and Rate (episodes/patient year) of Hypoglycemia in the 52-Week Monotherapy Trial
and in the 26-Week Combination Therapy Trials
                                      Victoza Treatment           Active Comparator      Placebo Comparator
Monotherapy                            Victoza (N = 497)         Glimepiride (N = 248)           None
Patient not able to self-treat                  0                           0                       -
Patient able to self-treat                 9.7 (0.24)                 25.0 (1.66)                   -
Not classified                             1.2 (0.03)                  2.4 (0.04)                   -
Add-on to Metformin                         Victoza +                Glimepiride +              Placebo +
                                            Metformin                 Metformin                Metformin
                                           (N = 724)                   (N = 242)              (N = 121)
Patient not able to self-treat            0.1 (0.001)                       0                       0
Patient able to self-treat                 3.6 (0.05)                 22.3 (0.87)             2.5 (0.06)
Add-on to Glimepiride                      Victoza +                 Rosiglitazone +           Placebo +
                                          Glimepiride                 Glimepiride            Glimepiride
                                           (N = 695)                   (N = 231)              (N = 114)
Patient not able to self-treat            0.1 (0.003)                       0                       0
Patient able to self-treat                 7.5 (0.38)                  4.3 (0.12)             2.6 (0.17)
Not classified                             0.9 (0.05)                  0.9 (0.02)                   0
Add-on to Metformin +                       Victoza +                                          Placebo +
Rosiglitazone                              Metformin +                   None                Metformin +
                                          Rosiglitazone                                      Rosiglitazone
                                           (N = 355)                                          (N = 175)
Patient not able to self-treat                  0                           -                       0
Patient able to self-treat                 7.9 (0.49)                       -                  4.6 (0.15)
Not classified                             0.6 (0.01)                       -                 1.1 (0.03)
Add-on to Metformin +                       Victoza +              Insulin glargine +          Placebo +
Glimepiride                               Metformin +                Metformin +             Metformin +
                                           Glimepiride                Glimepiride             Glimepiride
                                           (N = 230)                   (N = 232)              (N = 114)
Patient not able to self-treat             2.2 (0.06)                       0                       0
Patient able to self-treat                 27.4 (1.16)                28.9 (1.29)             16.7 (0.95)
Not classified                                  0                      1.7 (0.04)                   0
In a pooled analysis of clinical trials, the incidence rate (per 1,000 patient-years) for malignant neoplasms
(based on investigator-reported events, medical history, pathology reports, and surgical reports from both
blinded and open-label study periods) was 10.9 for Victoza, 6.3 for placebo, and 7.2 for active
comparator. After excluding papillary thyroid carcinoma events [see Adverse Reactions (6.1)], no
particular cancer cell type predominated. Seven malignant neoplasm events were reported beyond 1 year
of exposure to study medication, six events among Victoza-treated patients (4 colon, 1 prostate and 1
nasopharyngeal), no events with placebo and one event with active comparator (colon). Causality has not
been established.

Laboratory Tests
In the five clinical trials of at least 26 weeks duration, mildly elevated serum bilirubin concentrations
(elevations to no more than twice the upper limit of the reference range) occurred in 4.0% of Victoza-
treated patients, 2.1% of placebo-treated patients and 3.5% of active-comparator-treated patients. This
finding was not accompanied by abnormalities in other liver tests. The significance of this isolated
finding is unknown.

7      DRUG INTERACTIONS
7.1    Oral Medications
Victoza causes a delay of gastric emptying, and thereby has the potential to impact the absorption of
concomitantly administered oral medications. In clinical pharmacology trials, Victoza did not affect the
absorption of the tested orally administered medications to any clinically relevant degree. Nonetheless,
caution should be exercised when oral medications are concomitantly administered with Victoza.

8      USE IN SPECIFIC POPULATIONS
8.1    Pregnancy
Pregnancy Category C.
There are no adequate and well-controlled studies of Victoza in pregnant women. Victoza should be used
during pregnancy only if the potential benefit justifies the potential risk to the fetus. Liraglutide has been
shown to be teratogenic in rats at or above 0.8 times the human systemic exposures resulting from the
maximum recommended human dose (MRHD) of 1.8 mg/day based on plasma area under the time-
concentration curve (AUC). Liraglutide has been shown to cause reduced growth and increased total
major abnormalities in rabbits at systemic exposures below human exposure at the MRHD based on
plasma AUC.

Female rats given subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide beginning 2 weeks
before mating through gestation day 17 had estimated systemic exposures 0.8-, 3-, and 11-times the
human exposure at the MRHD based on plasma AUC comparison. The number of early embryonic
deaths in the 1 mg/kg/day group increased slightly. Fetal abnormalities and variations in kidneys and
blood vessels, irregular ossification of the skull, and a more complete state of ossification occurred at all
doses. Mottled liver and minimally kinked ribs occurred at the highest dose. The incidence of fetal
malformations in liraglutide-treated groups exceeding concurrent and historical controls were misshapen
oropharynx and/or narrowed opening into larynx at 0.1 mg/kg/day and umbilical hernia at 0.1 and 0.25
mg/kg/day.

Pregnant rabbits given subcutaneous doses of 0.01, 0.025 and 0.05 mg/kg/day liraglutide from gestation
day 6 through day 18 inclusive, had estimated systemic exposures less than the human exposure at the
MRHD of 1.8 mg/day at all doses, based on plasma AUC. Liraglutide decreased fetal weight and dose-
dependently increased the incidence of total major fetal abnormalities at all doses. The incidence of
malformations exceeded concurrent and historical controls at 0.01 mg/kg/day (kidneys, scapula), 0.01
mg/kg/day (eyes, forelimb), 0.025 mg/kg/day (brain, tail and sacral vertebrae, major blood vessels and
heart, umbilicus), 0.025 mg/kg/day (sternum) and at 0.05 mg/kg/day (parietal bones, major blood
vessels). Irregular ossification and/or skeletal abnormalities occurred in the skull and jaw, vertebrae and
ribs, sternum, pelvis, tail, and scapula; and dose-dependent minor skeletal variations were observed.
Visceral abnormalities occurred in blood vessels, lung, liver, and esophagus. Bilobed or bifurcated
gallbladder was seen in all treatment groups, but not in the control group.

In pregnant female rats given subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide from
gestation day 6 through weaning or termination of nursing on lactation day 24, estimated systemic
exposures were 0.8-, 3-, and 11-times human exposure at the MRHD of 1.8 mg/day, based on plasma
AUC. A slight delay in parturition was observed in the majority of treated rats. Group mean body weight
of neonatal rats from liraglutide-treated dams was lower than neonatal rats from control group dams.
Bloody scabs and agitated behavior occurred in male rats descended from dams treated with 1 mg/kg/day
liraglutide. Group mean body weight from birth to postpartum day 14 trended lower in F2 generation rats
descended from liraglutide-treated rats compared to F2 generation rats descended from controls, but
differences did not reach statistical significance for any group.

8.3      Nursing Mothers
It is not known whether Victoza is excreted in human milk. Because many drugs are excreted in human
milk and because of the potential for tumorigenicity shown for liraglutide in animal studies, a decision
should be made whether to discontinue nursing or to discontinue Victoza, taking into account the
importance of the drug to the mother. In lactating rats, liraglutide was excreted unchanged in milk at
concentrations approximately 50% of maternal plasma concentrations.

8.4    Pediatric Use
Safety and effectiveness of Victoza have not been established in pediatric patients. Victoza is not
recommended for use in pediatric patients.

8.5     Geriatric Use
In the Victoza clinical trials, a total of 797 (20%) of the patients were 65 years of age and over and 113
(2.8%) were 75 years of age and over. No overall differences in safety or effectiveness were observed
between these patients and younger patients, but greater sensitivity of some older individuals cannot be
ruled out.

8.6    Renal Impairment
There is limited experience in patients with mild, moderate, and severe renal impairment, including
end-stage renal disease. Therefore, Victoza should be used with caution in this patient population. No
dose adjustment of Victoza is recommended for patients with renal impairment [see Clinical
Pharmacology (12.3)].

8.7    Hepatic Impairment
There is limited experience in patients with mild, moderate or severe hepatic impairment. Therefore,
Victoza should be used with caution in this patient population. No dose adjustment of Victoza is
recommended for patients with hepatic impairment [see Clinical Pharmacology (12.3)].

8.8    Gastroparesis
Victoza slows gastric emptying. Victoza has not been studied in patients with pre-existing gastroparesis.
10      OVERDOSAGE
In a clinical trial, one patient with type 2 diabetes experienced a single overdose of Victoza 17.4 mg
subcutaneous (10 times the maximum recommended dose). Effects of the overdose included severe
nausea and vomiting requiring hospitalization. No hypoglycemia was reported. The patient recovered
without complications. In the event of overdosage, appropriate supportive treatment should be initiated
according to the patient’s clinical signs and symptoms.

11      DESCRIPTION
Victoza contains liraglutide, an analog of human GLP-1 and acts as a GLP-1 receptor agonist. The
peptide precursor of liraglutide, produced by a process that includes expression of recombinant DNA in
Saccharomyces cerevisiae, has been engineered to be 97% homologous to native human GLP-1 by
substituting arginine for lysine at position 34. Liraglutide is made by attaching a C-16 fatty acid (palmitic
acid) with a glutamic acid spacer on the remaining lysine residue at position 26 of the peptide precursor.
The molecular formula of liraglutide is C172H265N43O51 and the molecular weight is 3751.2 Daltons. The
structural formula (Figure 1) is:




Figure 1 Structural Formula of liraglutide

Victoza is a clear, colorless solution. Each 1 mL of Victoza solution contains 6 mg of liraglutide. Each
pre-filled pen contains a 3 mL solution of Victoza equivalent to 18 mg liraglutide (free-base, anhydrous)
and the following inactive ingredients: disodium phosphate dihydrate, 1.42 mg; propylene glycol, 14 mg;
phenol, 5.5 mg; and water for injection.

12      CLINICAL PHARMACOLOGY
12.1 Mechanism of Action
Liraglutide is an acylated human Glucagon-Like Peptide-1 (GLP-1) receptor agonist with 97% amino
acid sequence homology to endogenous human GLP-1(7-37). GLP-1(7-37) represents <20% of total
circulating endogenous GLP-1. Like GLP-1(7-37), liraglutide activates the GLP-1 receptor, a membrane-
bound cell-surface receptor coupled to adenylyl cyclase by the stimulatory G-protein, Gs, in pancreatic
beta cells. Liraglutide increases intracellular cyclic AMP (cAMP) leading to insulin release in the
presence of elevated glucose concentrations. This insulin secretion subsides as blood glucose
concentrations decrease and approach euglycemia. Liraglutide also decreases glucagon secretion in a
glucose-dependent manner. The mechanism of blood glucose lowering also involves a delay in gastric
emptying.
GLP-1(7-37) has a half-life of 1.5-2 minutes due to degradation by the ubiquitous endogenous enzymes,
dipeptidyl peptidase IV (DPP-IV) and neutral endopeptidases (NEP). Unlike native GLP-1, liraglutide is
stable against metabolic degradation by both peptidases and has a plasma half-life of 13 hours after
subcutaneous administration. The pharmacokinetic profile of liraglutide, which makes it suitable for once
daily administration, is a result of self-association that delays absorption, plasma protein binding and
stability against metabolic degradation by DPP-IV and NEP.

12.2 Pharmacodynamics
Victoza’s pharmacodynamic profile is consistent with its pharmacokinetic profile observed after single
subcutaneous administration as Victoza lowered fasting, premeal and postprandial glucose throughout the
day [see Clinical Pharmacology (12.3)].

Fasting and postprandial glucose was measured before and up to 5 hours after a standardized meal after
treatment to steady state with 0.6, 1.2 and 1.8 mg Victoza or placebo. Compared to placebo, the
postprandial plasma glucose AUC0-300min was 35% lower after Victoza 1.2 mg and 38% lower after
Victoza 1.8 mg.

Glucose-dependent insulin secretion
The effect of a single dose of 7.5 mcg/kg (~ 0.7 mg) Victoza on insulin secretion rates (ISR) was
investigated in 10 patients with type 2 diabetes during graded glucose infusion. In these patients, on
average, the ISR response was increased in a glucose-dependent manner (Figure 2).




Figure 2 Mean Insulin Secretion Rate (ISR) versus Glucose Concentration Following Single-Dose
Victoza 7.5 mcg/kg (~0.7 mg) or Placebo in Patients with Type 2 Diabetes (N=10) During Graded
Glucose Infusion

Glucagon secretion
Victoza lowered blood glucose by stimulating insulin secretion and lowering glucagon secretion. A
single dose of Victoza 7.5 mcg/kg (~ 0.7 mg) did not impair glucagon response to low glucose
concentrations.
Gastric emptying
Victoza causes a delay of gastric emptying, thereby reducing the rate at which postprandial glucose
appears in the circulation.

Cardiac Electrophysiology (QTc)
The effect of Victoza on cardiac repolarization was tested in a QTc study. Victoza at steady state
concentrations with daily doses up to 1.8 mg did not produce QTc prolongation.

12.3 Pharmacokinetics
Absorption - Following subcutaneous administration, maximum concentrations of liraglutide are achieved
at 8-12 hours post dosing. The mean peak (Cmax) and total (AUC) exposures of liraglutide were 35 ng/mL
and 960 ng·h /mL, respectively, for a subcutaneous single dose of 0.6 mg. After subcutaneous single dose
administrations, Cmax and AUC of liraglutide increased proportionally over the therapeutic dose range of
0.6 mg to 1.8 mg. At 1.8 mg Victoza, the average steady state concentration of liraglutide over 24 hours
was approximately 128 ng/mL. AUC0- was equivalent between upper arm and abdomen, and between
upper arm and thigh. AUC0- from thigh was 22% lower than that from abdomen. However, liraglutide
exposures were considered comparable among these three subcutaneous injection sites. Absolute
bioavailability of liraglutide following subcutaneous administration is approximately 55%.

Distribution - The mean apparent volume of distribution after subcutaneous administration of Victoza 0.6
mg is approximately 13 L. The mean volume of distribution after intravenous administration of Victoza
is 0.07 L/kg. Liraglutide is extensively bound to plasma protein (>98%).

Metabolism - During the initial 24 hours following administration of a single [3H]-liraglutide dose to
healthy subjects, the major component in plasma was intact liraglutide. Liraglutide is endogenously
metabolized in a similar manner to large proteins without a specific organ as a major route of elimination.

Elimination - Following a [3H]-liraglutide dose, intact liraglutide was not detected in urine or feces. Only
a minor part of the administered radioactivity was excreted as liraglutide-related metabolites in urine or
feces (6% and 5%, respectively). The majority of urine and feces radioactivity was excreted during the
first 6-8 days. The mean apparent clearance following subcutaneous administration of a single dose of
liraglutide is approximately 1.2 L/h with an elimination half-life of approximately 13 hours, making
Victoza suitable for once daily administration.

Specific Populations
Elderly - Age had no effect on the pharmacokinetics of Victoza based on a pharmacokinetic study in
healthy elderly subjects (65 to 83 years) and population pharmacokinetic analyses of patients 18 to 80
years of age [see Use in Specific Populations (8.5)].

Gender - Based on the results of population pharmacokinetic analyses, females have 34% lower weight-
adjusted clearance of Victoza compared to males. Based on the exposure response data, no dose
adjustment is necessary based on gender.

Race and Ethnicity - Race and ethnicity had no effect on the pharmacokinetics of Victoza based on the
results of population pharmacokinetic analyses that included Caucasian, Black, Asian and Hispanic/Non-
Hispanic subjects.
Body Weight - Body weight significantly affects the pharmacokinetics of Victoza based on results of
population pharmacokinetic analyses. The exposure of liraglutide decreases with an increase in baseline
body weight. However, the 1.2 mg and 1.8 mg daily doses of Victoza provided adequate systemic
exposures over the body weight range of 40 – 160 kg evaluated in the clinical trials. Liraglutide was not
studied in patients with body weight >160 kg.

Pediatric - Victoza has not been studied in pediatric patients [see Use in Specific Populations (8.4)].

Renal Impairment - The single-dose pharmacokinetics of Victoza were evaluated in subjects with varying
degrees of renal impairment. Subjects with mild (estimated creatinine clearance 50-80 mL/min) to severe
(estimated creatinine clearance <30 mL/min) renal impairment and subjects with end-stage renal disease
requiring dialysis were included in the trial. Compared to healthy subjects, liraglutide AUC in mild,
moderate, and severe renal impairment and in end-stage renal disease was on average 35%, 19%, 29%
and 30% lower, respectively [see Use in Specific Populations (8.6)].

Hepatic Impairment - The single-dose pharmacokinetics of Victoza were evaluated in subjects with
varying degrees of hepatic impairment. Subjects with mild (Child Pugh score 5-6) to severe (Child Pugh
score > 9) hepatic impairment were included in the trial. Compared to healthy subjects, liraglutide AUC
in subjects with mild, moderate and severe hepatic impairment was on average 11%, 14% and 42% lower,
respectively [see Use in Specific Populations (8.7)].

Drug Interactions
In vitro assessment of drug-drug interactions
Victoza has low potential for pharmacokinetic drug-drug interactions related to cytochrome P450 (CYP)
and plasma protein binding.

In vivo assessment of drug-drug interactions
The drug-drug interaction studies were performed at steady state with Victoza 1.8 mg/day. Before
administration of concomitant treatment, subjects underwent a 0.6 mg weekly dose increase to reach the
maximum dose of 1.8 mg/day. Administration of the interacting drugs was timed so that Cmax of Victoza
(8-12 h) would coincide with the absorption peak of the co-administered drugs.

Digoxin
A single dose of digoxin 1 mg was administered 7 hours after the dose of Victoza at steady state. The
concomitant administration with Victoza resulted in a reduction of digoxin AUC by 16%; Cmax decreased
by 31%. Digoxin median time to maximal concentration (Tmax) was delayed from 1 h to 1.5 h.

Lisinopril
A single dose of lisinopril 20 mg was administered 5 minutes after the dose of Victoza at steady state.
The co-administration with Victoza resulted in a reduction of lisinopril AUC by 15%; Cmax decreased by
27%. Lisinopril median Tmax was delayed from 6 h to 8 h with Victoza.

Atorvastatin
Victoza did not change the overall exposure (AUC) of atorvastatin following a single dose of atorvastatin
40 mg, administered 5 hours after the dose of Victoza at steady state. Atorvastatin Cmax was decreased by
38% and median Tmax was delayed from 1 h to 3 h with Victoza.
Acetaminophen
Victoza did not change the overall exposure (AUC) of acetaminophen following a single dose of
acetaminophen 1000 mg, administered 8 hours after the dose of Victoza at steady state. Acetaminophen
Cmax was decreased by 31% and median Tmax was delayed up to 15 minutes.
Griseofulvin
Victoza did not change the overall exposure (AUC) of griseofulvin following co-administration of a
single dose of griseofulvin 500 mg with Victoza at steady state. Griseofulvin Cmax increased by 37%
while median Tmax did not change.

Oral Contraceptives
A single dose of an oral contraceptive combination product containing 0.03 mg ethinylestradiol and 0.15
mg levonorgestrel was administered under fed conditions and 7 hours after the dose of Victoza at steady
state. Victoza lowered ethinylestradiol and levonorgestrel Cmax by 12% and 13%, respectively. There was
no effect of Victoza on the overall exposure (AUC) of ethinylestradiol. Victoza increased the
levonorgestrel AUC0- by 18%. Victoza delayed Tmax for both ethinylestradiol and levonorgestrel by 1.5
h.

13      NONCLINICAL TOXICOLOGY
13.1 Carcinogenicity, Mutagenicity, Impairment of Fertility
A 104-week carcinogenicity study was conducted in male and female CD-1 mice at doses of 0.03, 0.2,
1.0, and 3.0 mg/kg/day liraglutide administered by bolus subcutaneous injection yielding systemic
exposures 0.2-, 2-, 10- and 45-times the human exposure, respectively, at the MRHD of 1.8 mg/day based
on plasma AUC comparison. A dose-related increase in benign thyroid C-cell adenomas was seen in the
1.0 and the 3.0 mg/kg/day groups with incidences of 13% and 19% in males and 6% and 20% in females,
respectively. C-cell adenomas did not occur in control groups or 0.03 and 0.2 mg/kg/day groups.
Treatment-related malignant C-cell carcinomas occurred in 3% of females in the 3.0 mg/kg/day group.
Thyroid C-cell tumors are rare findings during carcinogenicity testing in mice. A treatment-related
increase in fibrosarcomas was seen on the dorsal skin and subcutis, the body surface used for drug
injection, in males in the 3 mg/kg/day group. These fibrosarcomas were attributed to the high local
concentration of drug near the injection site. The liraglutide concentration in the clinical formulation (6
mg/mL) is 10-times higher than the concentration in the formulation used to administer 3 mg/kg/day
liraglutide to mice in the carcinogenicity study (0.6 mg/mL).

A 104-week carcinogenicity study was conducted in male and female Sprague Dawley rats at doses of
0.075, 0.25 and 0.75 mg/kg/day liraglutide administered by bolus subcutaneous injection with exposures
0.5-, 2- and 8-times the human exposure, respectively, resulting from the MRHD based on plasma AUC
comparison. A treatment-related increase in benign thyroid C-cell adenomas was seen in males in 0.25
and 0.75 mg/kg/day liraglutide groups with incidences of 12%, 16%, 42%, and 46% and in all female
liraglutide-treated groups with incidences of 10%, 27%, 33%, and 56% in 0 (control), 0.075, 0.25, and
0.75 mg/kg/day groups, respectively. A treatment-related increase in malignant thyroid C-cell
carcinomas was observed in all male liraglutide-treated groups with incidences of 2%, 8%, 6%, and 14%
and in females at 0.25 and 0.75 mg/kg/day with incidences of 0%, 0%, 4%, and 6% in 0 (control), 0.075,
0.25, and 0.75 mg/kg/day groups, respectively. Thyroid C-cell carcinomas are rare findings during
carcinogenicity testing in rats.

Human relevance of thyroid C-cell tumors in mice and rats is unknown and could not be determined by
clinical studies or nonclinical studies [see Boxed Warning and Warnings and Precautions (5.1)].
Liraglutide was negative with and without metabolic activation in the Ames test for mutagenicity and in a
human peripheral blood lymphocyte chromosome aberration test for clastogenicity. Liraglutide was
negative in repeat-dose in vivo micronucleus tests in rats.

In rat fertility studies using subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide, males were
treated for 4 weeks prior to and throughout mating and females were treated 2 weeks prior to and
throughout mating until gestation day 17. No direct adverse effects on male fertility was observed at
doses up to 1.0 mg/kg/day, a high dose yielding an estimated systemic exposure 11- times the human
exposure at the MRHD, based on plasma AUC. In female rats, an increase in early embryonic deaths
occurred at 1.0 mg/kg/day. Reduced body weight gain and food consumption were observed in females
at the 1.0 mg/kg/day dose.

14      CLINICAL STUDIES
A total of 3978 patients with type 2 diabetes participated in 5 double-blind (one of these trials had an
open-label active control insulin glargine arm), randomized, controlled clinical trials, one of 52 weeks
duration and four of 26 weeks duration. These multinational trials were conducted to evaluate the
glycemic efficacy and safety of Victoza in type 2 diabetes as monotherapy and in combination with one
or two oral anti-diabetic medications. The 4 add-on combination therapy trials enrolled patients who
were previously treated with anti-diabetic therapy, and approximately two-thirds of patients in the
monotherapy trial also were previously treated with anti-diabetic therapy. In total, 272 (7%) of the 3978
patients in these 5 trials were new to anti-diabetic therapy. In these 5 clinical trials, patients ranged in age
from 19-80 years old and 54% were men. Approximately 77% of patients were Caucasian, and 6% were
Black. In the 2 trials where ethnicity was captured, 27% of patients were Hispanic/Latino and 73% were
Non-Hispanic/Latino. In each of these trials, treatment with Victoza produced clinically and statistically
significant improvements in hemoglobin A1c and fasting plasma glucose (FPG) compared to placebo.
Victoza did not have adverse effects on blood pressure.

All Victoza-treated patients started at 0.6 mg/day. The dose was increased in weekly intervals by 0.6 mg
to reach 1.2 mg or 1.8 mg for patients randomized to these higher doses. Victoza 0.6 mg is not effective
for glycemic control and is intended only as a starting dose to reduce gastrointestinal intolerance [see
Dosage and Administration (2)].

14.1 Monotherapy
In this 52-week trial, 746 patients were randomized to Victoza 1.2 mg, Victoza 1.8 mg, or glimepiride 8
mg. Patients who were randomized to glimepiride were initially treated with 2 mg daily for two weeks,
increasing to 4 mg daily for another two weeks, and finally increasing to 8 mg daily. Treatment with
Victoza 1.8 mg and 1.2 mg resulted in a statistically significant reduction in HbA1c compared to
glimepiride (Table 4). The percentage of patients who discontinued due to ineffective therapy was 3.6%
in the Victoza 1.8 mg treatment group, 6.0% in the Victoza 1.2 mg treatment group, and 10.1% in the
glimepiride-treatment group.
Table 4 Results of a 52-week monotherapy triala
                                                             Victoza 1.8 mg   Victoza 1.2 mg   Glimepiride 8 mg
Intent-to-Treat Population (N)                                    246              251               248
HbA1c (%) (Mean)
    Baseline                                                       8.2              8.2               8.2
                                           b                      -1.1             -0.8              -0.5
    Change from baseline (adjusted mean)
                                                      b          -0.6**            -0.3*
    Difference from glimepiride arm (adjusted mean)
    95% Confidence Interval                                    (-0.8, -0.4)     (-0.5, -0.1)
Patients (%) achieving A1c <7%                                     51               43               28
Fasting Plasma Glucose (mg/dL) (Mean)
    Baseline                                                      172              168               172
                                           b                      -26              -15                -5
    Change from baseline (adjusted mean)
                                                      b          -20**             -10*
   Difference from glimepiride arm (adjusted mean)
   95% Confidence Interval                                     (-29, -12)        (-19, -1)
Body Weight (kg) (Mean)
   Baseline                                                       92.6             92.1              93.3
                                           b                      -2.5             -2.1              +1.1
    Change from baseline (adjusted mean)
                                                      b          -3.6**           -3.2**
    Difference from glimepiride arm (adjusted mean)
    95% Confidence Interval                                    (-4.3, -2.9)     (-3.9, -2.5)
a
Intent-to-treat population using last observation on study
b
 Least squares mean adjusted for baseline value
*p-value <0.05
**p-value <0.0001




Figure 3 Mean HbA1c for patients who completed the 52-week trial and for the Last Observation
Carried Forward (LOCF, intent-to-treat) data at Week 52 (Monotherapy)

14.2 Combination Therapy
Add-on to Metformin
In this 26-week trial, 1091 patients were randomized to Victoza 0.6 mg, Victoza 1.2 mg, Victoza 1.8 mg,
placebo, or glimepiride 4 mg (one-half of the maximal approved dose in the United States), all as add-on
to metformin. Randomization occurred after a 6-week run-in period consisting of a 3-week initial forced
metformin titration period followed by a maintenance period of another 3 weeks. During the titration
period, doses of metformin were increased up to 2000 mg/day.
Treatment with Victoza 1.2 mg and 1.8 mg as add-on to metformin resulted in a significant mean HbA1c
reduction relative to placebo add-on to metformin and resulted in a similar mean HbA1c reduction relative
to glimepiride 4 mg add-on to metformin (Table 5). The percentage of patients who discontinued due to
ineffective therapy was 5.4% in the Victoza 1.8 mg + metformin treatment group, 3.3% in the Victoza 1.2
mg + metformin treatment group, 23.8% in the placebo + metformin treatment group, and 3.7% in the
glimepiride + metformin treated group.

Table 5 Results of a 26-week trial of Victoza as add-on to metformina
                                                                                                              Placebo +                  †
                                                                        Victoza 1.8 mg +   Victoza 1.2 mg +               Glimepiride 4 mg +
                                                                           Metformin          Metformin       Metformin       Metformin
Intent-to-Treat Population (N)                                                242                240             121             242
HbA1c (%) (Mean)
      Baseline                                                                 8.4                8.3           8.4               8.4
                                             b                                -1.0               -1.0           +0.1             -1.0
      Change from baseline (adjusted mean)
                                                                b            -1.1**             -1.1**
    Difference from placebo + metformin arm (adjusted mean)
    95% Confidence Interval                                                (-1.3, -0.9)       (-1.3, -0.9)
                                                                b              0.0                0.0
    Difference from glimepiride + metformin arm (adjusted mean)
    95% Confidence Interval                                                (-0.2, 0.2)        (-0.2, 0.2)
Patients (%) achieving A1c <7%                                                 42                 35             11              36
Fasting Plasma Glucose (mg/dL) (Mean)
    Baseline                                                                  181                179             182             180
                                             b                                -30                -30             +7              -24
      Change from baseline (adjusted mean)
                                                                b            -38**              -37**
      Difference from placebo + metformin arm (adjusted mean)
      95% Confidence Interval                                              (-48, -27)         (-47, -26)
                                                                    b          -7                 -6
   Difference from glimepiride + metformin arm (adjusted mean)
   95% Confidence Interval                                                  (-16, 2)           (-15, 3)
Body Weight (kg) (Mean)
   Baseline                                                                   88.0               88.5           91.0             89.0
                                             b                                -2.8               -2.6           -1.5             +1.0
      Change from baseline (adjusted mean)
                                                                b             -1.3*              -1.1*
    Difference from placebo + metformin arm (adjusted mean)
    95% Confidence Interval                                                (-2.2, -0.4)       (-2.0, -0.2)
                                                                b            -3.8**             -3.5**
    Difference from glimepiride + metformin arm (adjusted mean)
    95% Confidence Interval                                                (-4.5, -3.0)       (-4.3, -2.8)
a
 Intent-to-treat population using last observation on study
b
    Least squares mean adjusted for baseline value
†
 For glimepiride, one-half of the maximal approved United States dose.
*p-value <0.05
**p-value <0.0001

Add-on to Sulfonylurea
In this 26-week trial, 1041 patients were randomized to Victoza 0.6 mg, Victoza 1.2 mg, Victoza 1.8 mg,
placebo, or rosiglitazone 4 mg (one-half of the maximal approved dose in the United States), all as add-on
to glimepiride. Randomization occurred after a 4-week run-in period consisting of an initial, 2-week,
forced-glimepiride titration period followed by a maintenance period of another 2 weeks. During the
titration period, doses of glimepiride were increased to 4 mg/day. The doses of glimepiride could be
reduced (at the discretion of the investigator) from 4 mg/day to 3 mg/day or 2 mg/day (minimum) after
randomization, in the event of unacceptable hypoglycemia or other adverse events.

Treatment with Victoza 1.2 mg and 1.8 mg as add-on to glimepiride resulted in a statistically significant
reduction in mean HbA1c compared to placebo add-on to glimepiride (Table 6). The percentage of
patients who discontinued due to ineffective therapy was 3.0% in the Victoza 1.8 mg + glimepiride
treatment group, 3.5% in the Victoza 1.2 mg + glimepiride treatment group, 17.5% in the placebo +
glimepiride treatment group, and 6.9% in the rosiglitazone + glimepiride treatment group.

Table 6 Results of a 26-week trial of Victoza as add-on to sulfonylureaa
                                                                                                                                         †
                                                                    Victoza 1.8 mg +   Victoza 1.2 mg +    Placebo +    Rosiglitazone 4 mg +
                                                                      Glimepiride        Glimepiride      Glimepiride       Glimepiride
Intent-to-Treat Population (N)                                             234               228             114                 231
HbA1c (%) (Mean)
  Baseline                                                                  8.5               8.5            8.4                 8.4
                                             b                             -1.1              -1.1            +0.2               -0.4
      Change from baseline (adjusted mean)
                                                                b        -1.4**             -1.3**
    Difference from placebo + glimepiride arm (adjusted mean)
    95% Confidence Interval                                            (-1.6, -1.1)       (-1.5, -1.1)
Patients (%) achieving A1c <7%                                             42                 35              7                 22
Fasting Plasma Glucose (mg/dL) (Mean)
      Baseline                                                             174               177             171                179
                                             b                             -29               -28             +18                -16
      Change from baseline (adjusted mean)
                                                                b        -47**              -46**
   Difference from placebo + glimepiride arm (adjusted mean)
   95% Confidence Interval                                             (-58, -35)         (-58, -35)
Body Weight (kg) (Mean)
      Baseline                                                             83.0              80.0            81.9               80.6
                                             b                             -0.2              +0.3            -0.1               +2.1
      Change from baseline (adjusted mean)
                                                                b         -0.1                0.4
    Difference from placebo + glimepiride arm (adjusted mean)
    95% Confidence Interval                                            (-0.9, 0.6)        (-0.4, 1.2)
a
 Intent-to-treat population using last observation on study
b
    Least squares mean adjusted for baseline value
†
 For rosiglitazone, one-half of the maximal approved United States dose.
**p-value <0.0001


Add-on to Metformin and Sulfonylurea
In this 26-week trial, 581 patients were randomized to Victoza 1.8 mg, placebo, or insulin glargine, all as
add-on to metformin and glimepiride. Randomization took place after a 6-week run-in period consisting
of a 3-week forced metformin and glimepiride titration period followed by a maintenance period of
another 3 weeks. During the titration period, doses of metformin and glimepiride were to be increased up
to 2000 mg/day and 4 mg/day, respectively. After randomization, patients randomized to Victoza 1.8 mg
underwent a 2 week period of titration with Victoza. During the trial, the Victoza and metformin doses
were fixed, although glimepiride and insulin glargine doses could be adjusted. Patients titrated glargine
twice-weekly during the first 8 weeks of treatment based on self-measured fasting plasma glucose on the
day of titration. After Week 8, the frequency of insulin glargine titration was left to the discretion of the
investigator, but, at a minimum, the glargine dose was to be revised, if necessary, at Weeks 12 and 18.
Only 20% of glargine-treated patients achieved the pre-specified target fasting plasma glucose of 100
mg/dL. Therefore, optimal titration of the insulin glargine dose was not achieved in most patients.

Treatment with Victoza as add-on to glimepiride and metformin resulted in a statistically significant mean
reduction in HbA1c compared to placebo add-on to glimepiride and metformin (Table 7). The percentage
of patients who discontinued due to ineffective therapy was 0.9% in the Victoza 1.8 mg + metformin +
glimepiride treatment group, 0.4% in the insulin glargine + metformin + glimepiride treatment group, and
11.3% in the placebo + metformin + glimepiride treatment group.
Table 7 Results of a 26-week trial of Victoza as add-on to metformin and sulfonylureaa
                                                                                         Victoza 1.8 mg +    Placebo +    Insulin glargine† +
                                                                                          Metformin +       Metformin +      Metformin +
                                                                                           Glimepiride      Glimepiride      Glimepiride
Intent-to-Treat Population (N)                                                                 230              114               232
HbA1c (%) (Mean)
      Baseline                                                                                  8.3            8.3               8.1
                                             b                                                 -1.3            -0.2              -1.1
      Change from baseline (adjusted mean)
                                                                             b                -1.1**
    Difference from placebo + metformin + glimepiride arm (adjusted mean)
    95% Confidence Interval                                                                 (-1.3, -0.9)
Patients (%) achieving A1c <7%                                                                  53              15                46
Fasting Plasma Glucose (mg/dL) (Mean)
    Baseline                                                                                   165             170               164
                                             b                                                 -28             +10               -32
   Change from baseline (adjusted mean)
                                                                         b                    -38**
   Difference from placebo + metformin + glimepiride arm (adjusted mean)
   95% Confidence Interval                                                                  (-46,- 30)
Body Weight (kg) (Mean)
   Baseline                                                                                    85.8            85.4              85.2
                                             b                                                 -1.8            -0.4              1.6
      Change from baseline (adjusted mean)
                                                                             b                 -1.4*
    Difference from placebo + metformin + glimepiride arm (adjusted mean)
    95% Confidence Interval                                                                 (-2.1, -0.7)
a
 Intent-to-treat population using last observation on study
b
    Least squares mean adjusted for baseline value
†
 For insulin glargine, optimal titration regimen was not achieved for 80% of patients.
*p-value <0.05
**p-value <0.0001


Add-on to Metformin and Thiazolidinedione
In this 26-week trial, 533 patients were randomized to Victoza 1.2 mg, Victoza 1.8 mg or placebo, all as
add-on to rosiglitazone (8 mg) plus metformin (2000 mg). Patients underwent a 9 week run-in period (3-
week forced dose escalation followed by a 6-week dose maintenance phase) with rosiglitazone (starting at
4 mg and increasing to 8 mg/day within 2 weeks) and metformin (starting at 500 mg with increasing
weekly increments of 500 mg to a final dose of 2000 mg/day). Only patients who tolerated the final dose
of rosiglitazone (8 mg/day) and metformin (2000 mg/day) and completed the 6-week dose maintenance
phase were eligible for randomization into the trial.

Treatment with Victoza as add-on to metformin and rosiglitazone produced a statistically significant
reduction in mean HbA1c compared to placebo add-on to metformin and rosiglitazone (Table 8). The
percentage of patients who discontinued due to ineffective therapy was 1.7% in the Victoza 1.8 mg +
metformin + rosiglitazone treatment group, 1.7% in the Victoza 1.2 mg + metformin + rosiglitazone
treatment group, and 16.4% in the placebo + metformin + rosiglitazone treatment group.
Table 8 Results of a 26-week trial of Victoza as add-on to metformin and thiazolidinedionea
                                                                                  Victoza 1.8 mg +   Victoza 1.2 mg +    Placebo +
                                                                                   Metformin +        Metformin +       Metformin +
                                                                                   Rosiglitazone      Rosiglitazone     Rosiglitazone
Intent-to-Treat Population (N)                                                          178                177              175
HbA1c (%) (Mean)
  Baseline                                                                               8.6                8.5              8.4
                                           b                                            -1.5               -1.5             -0.5
    Change from baseline (adjusted mean)
                                                                              b        -0.9**             -0.9**
    Difference from placebo + metformin + rosiglitazone arm (adjusted mean)
    95% Confidence Interval                                                          (-1.1, -0.8)       (-1.1, -0.8)
Patients (%) achieving A1c <7%                                                           54                 57               28
Fasting Plasma Glucose (mg/dL) (Mean)
    Baseline                                                                            185                181              179
                                           b                                            -44                -40               -8
    Change from baseline (adjusted mean)
                                                                              b        -36**              -32**
   Difference from placebo + metformin + rosiglitazone arm (adjusted mean)
   95% Confidence Interval                                                           (-44,- 27)         (-41, -23)
Body Weight (kg) (Mean)
    Baseline                                                                            94.9               95.3             98.5
                                           b                                            -2.0               -1.0             +0.6
    Change from baseline (adjusted mean)
                                                                              b        -2.6**             -1.6**
    Difference from placebo + metformin + rosiglitazone arm (adjusted mean)
    95% Confidence Interval                                                          (-3.4, -1.8)       (-2.4, -1.0)
a
 Intent-to-treat population using last observation on study
b
 Least squares mean adjusted for baseline value
**p-value <0.0001


16     HOW SUPPLIED/STORAGE HANDLING
16.1 How Supplied
Victoza is available in the following package sizes containing disposable, pre-filled, multi-dose pens.
Each individual pen delivers doses of 0.6 mg, 1.2 mg, or 1.8 mg (6 mg/mL, 3 mL).

         2 x Victoza pen         NDC 0169-4060-12
         3 x Victoza pen         NDC 0169-4060-13

Each Victoza pen is for use by a single patient. A Victoza pen should never be shared between patients,
even if the needle is changed.

16.2 Recommended Storage
Prior to first use, Victoza should be stored in a refrigerator between 36ºF to 46ºF (2ºC to 8ºC) (Table 9).
Do not store in the freezer or directly adjacent to the refrigerator cooling element. Do not freeze Victoza
and do not use Victoza if it has been frozen.

After initial use of the Victoza pen, the pen can be stored for 30 days at controlled room temperature
(59°F to 86°F; 15°C to 30°C) or in a refrigerator (36°F to 46°F; 2°C to 8°C). Keep the pen cap on when
not in use. Victoza should be protected from excessive heat and sunlight. Always remove and safely
discard the needle after each injection and store the Victoza pen without an injection needle attached.
This will reduce the potential for contamination, infection, and leakage while also ensuring dosing
accuracy.
Table 9 Recommended Storage Conditions for the Victoza Pen

                       Prior to first use                           After first use
                        Refrigerated                      Room Temperature        Refrigerated
                        36°F to 46°F                        59°F to 86°F          36°F to 46°F
                        (2°C to 8°C)                       (15°C to 30°C)         (2°C to 8°C)
                    Until expiration date                                30 days

17      PATIENT COUNSELING INFORMATION
17.1 Risk of Thyroid C-cell Tumors
Patients should be informed that liraglutide causes benign and malignant thyroid C-cell tumors in mice
and rats and that the human relevance of this finding is unknown. Patients should be counseled to report
symptoms of thyroid tumors (e.g., a lump in the neck, hoarseness, dysphagia or dyspnea) to their
physician.

17.2 Pancreatitis
Patients should be informed that persistent severe abdominal pain, that may radiate to the back and which
may (or may not) be accompanied by vomiting, is the hallmark symptom of acute pancreatitis. Patients
should be instructed to discontinue Victoza promptly, and to contact their physician, if persistent severe
abdominal pain occurs [see Warnings and Precautions (5.2)].

17.3 Never Share a Victoza Pen Between Patients
Counsel patients that they should never share a Victoza pen with another person, even if the needle is
changed. Sharing of the pen between patients may pose a risk of transmission of infection.

17.4 Instructions
Patients should be informed of the potential risks and benefits of Victoza and of alternative modes of
therapy. Patients should also be informed about the importance of adherence to dietary instructions,
regular physical activity, periodic blood glucose monitoring and A1c testing, recognition and management
of hypoglycemia and hyperglycemia, and assessment for diabetes complications. During periods of stress
such as fever, trauma, infection, or surgery, medication requirements may change and patients should be
advised to seek medical advice promptly.

Patients should be advised that the most common side effects of Victoza are headache, nausea and
diarrhea. Nausea is most common when first starting Victoza, but decreases over time in the majority of
patients and does not typically require discontinuation of Victoza.

Physicians should instruct their patients to read the Patient Medication Guide before starting Victoza
therapy and to reread each time the prescription is renewed. Patients should be instructed to inform their
doctor or pharmacist if they develop any unusual symptom, or if any known symptom persists or worsens.

17.5 Laboratory Tests
Patients should be informed that response to all diabetic therapies should be monitored by periodic
measurements of blood glucose and A1c levels, with a goal of decreasing these levels towards the normal
range. A1c is especially useful for evaluating long-term glycemic control.
17.6 FDA-Approved Medication Guide
See separate leaflet.

Rx only

Date of Issue: January 2010
Version: 1

Victoza® is a registered trademark of Novo Nordisk A/S.

Victoza® is covered by US Patent Nos. 6,268,343, 6,458,924 and 7,235,627 and other patents pending.

Victoza® Pen is covered by US Patent Nos. 6,004,297, 6,235,004, 6,582,404 and other patents pending.

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                                Medication Guide
                              Victoza® (VIC-tow-za)
                           (liraglutide [rDNA origin])
                                     Injection

Read this Medication Guide and Patient Instructions for Use that come with
Victoza before you start using Victoza and each time you get a refill. There may
be new information. This Medication Guide does not take the place of talking
with your healthcare provider about your medical condition or your treatment. If
you have questions about Victoza after reading this information, ask your
healthcare provider or pharmacist.

What is the most important information I should know about Victoza?
Serious side effects may happen in people who take Victoza, including:
1. Possible thyroid tumors, including cancer. During the drug testing
   process, the medicine in Victoza caused rats and mice to develop tumors of
   the thyroid gland. Some of these tumors were cancers. It is not known if
   Victoza will cause thyroid tumors or a type of thyroid cancer called medullary
   thyroid cancer in people. If medullary thyroid cancer occurs, it may lead to
   death if not detected and treated early. If you develop tumors or cancer of the
   thyroid, your thyroid may have to be surgically removed.
      • Before you start taking Victoza, tell your healthcare provider if you or
        any of your family members have had thyroid cancer, especially
        medullary thyroid cancer, or Multiple Endocrine Neoplasia syndrome
        type 2. Do not take Victoza if you or any of your family members have
        medullary thyroid cancer, or if you have Multiple Endocrine Neoplasia
        syndrome type 2. People with these conditions already have a higher
        chance of developing medullary thyroid cancer in general and should
        not take Victoza.
      • While taking Victoza, tell your healthcare provider if you get a lump or
        swelling in your neck, hoarseness, trouble swallowing, or shortness of
        breath. These may be symptoms of thyroid cancer.
2. Inflammation of the pancreas (pancreatitis), which may be severe and lead
   to death.
  Before taking Victoza, tell your healthcare provider if you have had:
          •   pancreatitis
          •   stones in your gallbladder (gallstones)
          •   a history of alcoholism
          •   high blood triglyceride levels

   These medical conditions can make you more likely to get pancreatitis in
   general. It is not known if having these conditions will lead to a higher chance
   of getting pancreatitis while taking Victoza.
While taking Victoza:
Stop taking Victoza and call your healthcare provider right away if you have pain
in your stomach area (abdomen) that is severe and will not go away. The pain
may happen with or without vomiting. The pain may be felt going from your
abdomen through to your back. This type of pain may be a symptom of
pancreatitis.

What is Victoza?
•   Victoza is an injectable prescription medicine that may improve blood sugar
    (glucose) in adults with type 2 diabetes mellitus, and should be used along
    with diet and exercise.
• Victoza is not recommended as the first choice of medication for treating
  diabetes.
• Victoza is not insulin.
• It is not known if Victoza is safe and effective when used with insulin.
•   Victoza is not for use in people with type 1 diabetes or people with diabetic
    ketoacidosis.
• It is not known if Victoza is safe and effective in children. Victoza is not
  recommended for use in children.

Who should not use Victoza?
Do not use Victoza if:
•   you or any of your family members have a history of medullary thyroid cancer.
•   you have Multiple Endocrine Neoplasia syndrome type 2 (MEN 2). This is a
    disease where people have tumors in more than one gland in their body.
Talk with your healthcare provider if you are not sure if you have any of these
conditions.

What should I tell my healthcare provider before using Victoza?
Before taking Victoza, tell your healthcare provider if you:
•   have any of the conditions listed in the section “What is the most important
    information I should know about Victoza?”
•   are allergic to liraglutide or any of the other ingredients in Victoza. See the
    end of this Medication Guide for a list of ingredients in Victoza.
•   have severe problems with your stomach, such as slowed emptying of your
    stomach (gastroparesis) or problems with digesting food.
•   have or have had kidney or liver problems.
•   have any other medical conditions.
•   are pregnant or plan to become pregnant. It is not known if Victoza will harm
    your unborn baby. Tell your healthcare provider if you become pregnant while
    taking Victoza.
•   are breastfeeding or plan to breastfeed. It is not known if Victoza passes into
    your breast milk. You and your healthcare provider should decide if you will
    take Victoza or breastfeed. You should not do both without talking with your
    healthcare provider first.

Tell your healthcare provider about all the medicines you take including
prescription and non-prescription medicines, vitamins, and herbal supplements.
Victoza slows stomach emptying and can affect medicines that need to pass
through the stomach quickly. Victoza may affect the way some medicines work
and some other medicines may affect the way Victoza works. Tell your
healthcare provider if you take other diabetes medicines, especially sulfonylurea
medicines or insulin.

Know the medicines you take. Keep a list of them with you to show your
healthcare provider and pharmacist each time you get a new medicine.

How should I use Victoza?
•   Use Victoza exactly as prescribed by your healthcare provider. Your dose
    should be increased after using Victoza for one week. After that, do not
    change your dose unless your healthcare provider tells you to.
•   Victoza is injected 1 time each day, at any time during the day.
•   You can take Victoza with or without food.
•   Victoza comes in a prefilled pen.
•   Your healthcare provider must teach you how to inject Victoza before you use
    it for the first time. If you have questions or do not understand the
    instructions, talk to your healthcare provider or pharmacist. See the Patient
    Instructions for Use that come with this Medication Guide for detailed
    information about the right way to use your Victoza pen.
•   Pen needles are not included. You may need a prescription to get pen
    needles from your pharmacist. Ask your healthcare provider which needle
    size is best for you.
•   When starting a new prefilled Victoza pen, you must follow the “First Time
    Use for Each New Pen” (see the detailed Patient Instructions for Use that
    comes with this Medication Guide). You only need to do this 1 time with each
    new pen. You should also do this if you drop your pen. If you do the “First
    Time Use for Each New Pen” before each injection, you will run out of
    medicine too soon.
•   Inject your dose of Victoza under the skin (subcutaneous injection) in your
    stomach area (abdomen), upper leg (thigh), or upper arm, as instructed by
    your healthcare provider. Do not inject into a vein or muscle.
•   If you take too much Victoza, call your healthcare provider right away. Too
    much Victoza may cause severe nausea and vomiting.
•   Follow your healthcare provider’s instructions for diet, exercise, how often to
    test your blood sugar, and when to get your HbA1c checked. If you stop using
    Victoza your blood sugar levels may increase. First talk to your healthcare
    provider if you want to stop taking Victoza.
•   Your dose of diabetes medicines may need to be changed if your body is
    under certain types of stress. Tell your healthcare provider if you:
              o have fever
              o have trauma
              o have an infection
              o plan to have or have had surgery
•   Never share your Victoza pen or needles with another person. You may give
    an infection to them, or get an infection from them.

What are the possible side effects of Victoza?
Victoza may cause serious side effects, including:
• See “What is the most important information I should know about Victoza?”
• Low blood sugar (hypoglycemia). Your risk for getting low blood sugar is
  higher if you take Victoza with another medicine that can cause low blood
  sugar, such as a sulfonylurea. In some people, the blood sugar may get so
  low that they need another person to help them. The dose of your
  sulfonylurea medicine may need to be lowered while you use Victoza. Signs
  and symptoms of low blood sugar may include:
      • shakiness                                 • confusion
      • sweating                                  • irritability
      • headache                                  • hunger
      • drowsiness                                • fast heartbeat
      • weakness                                  • feeling jittery
      • dizziness

Talk to your healthcare provider about how to recognize and treat low blood
sugar. Make sure that your family and other people who are around you a lot
know how to recognize and treat low blood sugar.

Common side effects of Victoza include:
• headache
• nausea
• diarrhea

Nausea is most common when first starting Victoza, but decreases over time in
most people as their body gets used to the medicine.
Tell your healthcare provider if you have any side effect that bothers you or that
does not go away.
These are not all the side effects with Victoza. For more information, ask your
healthcare provider or pharmacist.
Call your doctor for medical advice about side effects. You may report side
effects to FDA at 1-800-FDA-1088.

How should I store Victoza?
     Before use:
       •   Store your new, unused Victoza pen in the refrigerator at 36ºF to 46ºF
           (2ºC to 8ºC).
       •   Do not freeze Victoza or use Victoza if it has been frozen. Do not
           store Victoza near the refrigerator cooling element.

       Pen in use:
       •   Store your Victoza pen for 30 days either at 59ºF to 86ºF (15ºC to
           30ºC), or in a refrigerator at 36ºF to 46ºF (2°C to 8°C).
       •   When carrying the pen away from home, store the pen at a
           temperature between 59ºF to 86ºF (15ºC to 30ºC) and keep it dry.
       •   If Victoza has been exposed to temperatures above 86ºF (30ºC), it
           should be thrown away.
       •   Protect your Victoza pen from heat and sunlight.
       •   Keep the pen cap on when your Victoza pen is not in use.
       •   Use your Victoza pen within 30 days after the first day it is stored
           outside the refrigerator. After these 30 days, throw away your Victoza
           pen even if some medicine is left in the pen.
       •   Do not use Victoza after the expiration date printed on the carton.

      Do not store the Victoza pen with the needle attached. Always safely
      remove and safely throw away the needle after each injection. This may
      help prevent contamination, infection and leakage. It also helps to make
      sure that you get the correct dose of Victoza. See the Patient Instructions
      for Use for information about how to dispose of used pen needles and
      used Victoza pens.

Keep your Victoza pen, pen needles, and all medicines out of the reach of
children.

General information about Victoza
Medicines are sometimes prescribed for purposes other than those listed in a
Medication Guide. Do not use Victoza for a condition for which it was not
prescribed. Do not give Victoza to other people, even if they have the same
symptoms you have. It may harm them.
This Medication Guide summarizes the most important information you should
know about using Victoza. If you would like more information, talk with your
healthcare provider. You can ask your pharmacist or healthcare provider for
information about Victoza that is written for health professionals.
For more information, go to victoza.com or call 1-877-484-2869.

What are the ingredients in Victoza?
Active Ingredient: liraglutide
Inactive Ingredients: disodium phosphate dihydrate, propylene glycol, phenol
and water for injection

Manufactured by:
Novo Nordisk A/S
DK-2880 Bagsvaerd, Denmark

For information about Victoza contact:
Novo Nordisk Inc.
100 College Road West
Princeton, NJ 08540
1-877-484-2869

Issued: January 2010
Version: 1

This Medication Guide has been approved by the U.S. Food and Drug
Administration.

Victoza® is a registered trademark of Novo Nordisk A/S.

Victoza® is covered by US Patent Nos. 6,268,343, 6,458,924 and 7,235,627 and
other patents pending.

Victoza® pen is covered by US Patent Nos. 6,004,297, 6,235,004, 6,582,404 and
other patents pending.

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                               Exhibit C




    VICTOZA TEXAS MEDICAID FORMULARY - “ TEXAS PRIOR AUTHORIZATION
                   PROGRAM CLINICAL EDIT CRITERIA"




                               Exhibit C
	
                               Texas Prior Authorization Program
                                      Clinical Edit Criteria



Drug/Drug Class

        Victoza (Liraglutide) Solution for Injection

Clinical Edit Information Included in this Document
               Drugs requiring prior authorization: the list of drugs requiring prior
                authorization for this clinical edit
               Prior authorization criteria logic: a description of how the prior
                authorization request will be evaluated against the clinical edit criteria
                rules
               Logic diagram: a visual depiction of the clinical edit criteria logic
               Supporting tables: a collection of information associated with the steps
                within the criteria (diagnosis codes, procedure codes, and therapy codes);
                provided when applicable
               References: clinical publications and sources relevant to this clinical edit
        Note: Click the hyperlink to navigate directly to that section.


Revision Notes
               Initial publication and posting to website
               Updated to include ICD-10s




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                                               Victoza (Liraglutide) Solution for Injection

                                                               Drugs Requiring Prior Authorization


                                  Drugs Requiring Prior Authorization
  Label Name                                            GCN
  VICTOZA 2-PAK 18MG/3ML PEN                            26189
  VICTOZA 3-PAK 18MG/3ML PEN                            26189




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                                                   Victoza (Liraglutide) Solution for Injection

                                                                             Clinical Edit Criteria Logic


1. Is the client greater than or equal to (≥) 18 years of age?
       [ ] Yes (Go to #2)
       [ ] No (Deny)

2. Does the client have a diagnosis of type II diabetes in the last 365 days?
     [ ] Yes (Go to #3)
     [ ] No (Deny)

3. Does the client have a history of an oral antidiabetic agent for at least 14 days
   in the last 365 days?
       [ ] Yes (Go to #4)
       [ ] No (Deny)

4. Does the client have a diagnosis of thyroid cancer in the last 730 days?
     [ ] Yes (Deny)
     [ ] No (Go to #5)

5. Does the client have a diagnosis of type II multiple endocrine neoplasia in the
   last 730 days?
       [ ] Yes (Deny)
       [ ] No (Go to #6)

6. Does the client have a history of an HbA1c test in the last 180 days?
     [ ] Yes (Go to #7)
     [ ] No (Deny)

7. Are the requested units per day less than or equal to (≤) 0.3mL, 1.8mg, or 0.1
   pens?
      [ ] Yes (Approve – 365 days)
      [ ] No (Deny)




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                                                        Victoza (Liraglutide) Solution for Injection

                                                                           Clinical Edit Criteria Logic Diagram


          Step 1                             Step 2                          Step 3

     Is the client ≥ 18               Does the client have             Does the client have
                          Yes                                  Yes      a history of an oral    No
       years of age?                  a diagnosis of type II                                                 Deny Request
                                       diabetes in the last            antidiabetic agent in
                                           365 days?                  the1414
                                                                            ofof
                                                                               the
                                                                                 the
                                                                                   last
                                                                                     last
                                                                                        365
                                                                                          365
                                                                               days?


                No                                 No                               Yes


                                                                              Step 4
                                                                      Does the client have
                                                                                                Yes          Deny Request
                                        Deny Request                  a diagnosis of thyroid
     Deny Request
                                                                        cancer in the last
                                                                           730 days?


                                                                                     No


                                                                              Step 5
                                                                       Does the client have     Yes           Deny Request
                                                                       a diagnosis of type II
                                                                        multiple endocrine
                                                                       neoplasia in the last
                                                                            730 days?

                                                                                      No


                                                Step 7                         Step 6

                                Yes       Are the requested     Yes    Does the client have      No           Deny Request
       Approve Request                      units per day ≤              a history of an
          (365 days)                     0.3mL,1.8mg, or 0.1           HbA1c test in the last
                                                 pens?                     180 days?



                                                      No




                                           Deny Request




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                                               Victoza (Liraglutide) Solution for Injection

                                                           Clinical Edit Criteria Supporting Tables


                                 Step 2 (diagnosis of type II diabetes)
                                            Required diagnosis: 1
                                      Look back timeframe: 365 days
  ICD-9 Code           Description
  25000                DIABETES MELLITUS WITHOUT MENTION OF COMPLICATION, TYPE II OR
                       UNSPECIFIED TYPE, NOT STATED AS UNCONTROLLED
  25002                DIABETES MELLITUS WITHOUT MENTION OF COMPLICATION, TYPE II OR
                       UNSPECIFIED TYPE, UNCONTROLLED
  25010                DIABETES WITH KETOACIDOSIS, TYPE II OR UNSPECIFIED TYPE, NOT
                       STATED AS UNCONTROLLED
  25012                DIABETES WITH KETOACIDOSIS, TYPE II OR UNSPECIFIED TYPE,
                       UNCONTROLLED
  25020                DIABETES WITH HYPEROSMOLARITY, TYPE II OR UNSPECIFIED TYPE,
                       NOT STATED AS UNCONTROLLED
  25022                DIABETES WITH HYPEROSMOLARITY, TYPE II OR UNSPECIFIED TYPE,
                       UNCONTROLLED
  25030                DIABETES WITH OTHER COMA, TYPE II OR UNSPECIFIED TYPE, NOT
                       STATED AS UNCONTROLLED
  25032                DIABETES WITH OTHER COMA, TYPE II OR UNSPECIFIED TYPE,
                       UNCONTROLLED
  25040                DIABETES WITH RENAL MANIFESTATIONS, TYPE II OR UNSPECIFIED
                       TYPE, NOT STATED AS UNCONTROLLED
  25042                DIABETES WITH RENAL MANIFESTATIONS, TYPE II OR UNSPECIFIED
                       TYPE, UNCONTROLLED
  25050                DIABETES WITH OPHTHALMIC MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE, NOT STATED AS UNCONTROLLED
  25052                DIABETES WITH OPHTHALMIC MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE UNCONTROLLED
  25060                DIABETES WITH NEUROLOGICAL MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE, NOT STATED AS UNCONTROLLED
  25062                DIABETES WITH NEUROLOGICAL MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE, UNCONTROLLED
  25070                DIABETES WITH PERIPHERAL CIRCULATORY DISORDERS, TYPE II OR
                       UNSPECIFIED TYPE, NOT STATED AS UNCONTROLLED
  25072                DIABETES WITH PERIPHERAL CIRCULATORY DISORDERS, TYPE II OR
                       UNSPECIFIED TYPE, UNCONTROLLED
  25080                DIABETES WITH OTHER SPECIFIED MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE, NOT STATED AS UNCONTROLLED
  25082                DIABETES WITH OTHER SPECIFIED MANIFESTATIONS, TYPE II OR
                       UNSPECIFIED TYPE UNCONTROLLED




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                                 Step 2 (diagnosis of type II diabetes)
                                            Required diagnosis: 1
                                      Look back timeframe: 365 days
  25090                DIABETES WITH UNSPECIFIED COMPLICATION, TYPE II OR UNSPECIFIED
                       TYPE, NOT STATED AS UNCONTROLLED
  25092                DIABETES WITH UNSPECIFIED COMPLICATION, TYPE II OR
                       UNSPECIFIED TYPE, UNCONTROLLED
  ICD-10 Code          Description
  E1100                TYPE 2 DIABETES MELLITUS WITH HYPEROSMOLARITY WITHOUT
                       NONKETOTIC HYPERGLYCEMIC-HYPEROSMOLAR COMA (NKHHC)
  E1101                TYPE 2 DIABETES MELLITUS WITH HYPEROSMOLARITY WITH COMA
  E1121                TYPE 2 DIABETES MELLITUS WITH DIABETIC NEPHROPATHY
  E1122                TYPE 2 DIABETES MELLITUS WITH DIABETIC CHRONIC KIDNEY DISEASE
  E1129                TYPE 2 DIABETES MELLITUS WITH OTHER DIABETIC KIDNEY
                       COMPLICATION
  E11311               TYPE 2 DIABETES MELLITUS WITH UNSPECIFIED DIABETIC RETINOPATHY
                       WITH MACULAR EDEMA
  E11319               TYPE 2 DIABETES MELLITUS WITH UNSPECIFIED DIABETIC RETINOPATHY
                       WITHOUT MACULAR EDEMA
  E11321               TYPE 2 DIABETES MELLITUS WITH MILD NONPROLIFERATIVE DIABETIC
                       RETINOPATHY WITH MACULAR EDEMA
  E11329               TYPE 2 DIABETES MELLITUS WITH MILD NONPROLIFERATIVE DIABETIC
                       RETINOPATHY WITHOUT MACULAR EDEMA
  E11331               TYPE 2 DIABETES MELLITUS WITH MODERATE NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITH MACULAR EDEMA
  E11339               TYPE 2 DIABETES MELLITUS WITH MODERATE NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITHOUT MACULAR EDEMA
  E11341               TYPE 2 DIABETES MELLITUS WITH SEVERE NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITH MACULAR EDEMA
  E11349               TYPE 2 DIABETES MELLITUS WITH SEVERE NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITHOUT MACULAR EDEMA
  E11351               TYPE 2 DIABETES MELLITUS WITH PROLIFERATIVE DIABETIC
                       RETINOPATHY WITH MACULAR EDEMA
  E11359               TYPE 2 DIABETES MELLITUS WITH PROLIFERATIVE DIABETIC
                       RETINOPATHY WITHOUT MACULAR EDEMA
  E1136                TYPE 2 DIABETES MELLITUS WITH DIABETIC CATARACT
  E1139                TYPE 2 DIABETES MELLITUS WITH OTHER DIABETIC OPHTHALMIC
                       COMPLICATION
  E1140                TYPE 2 DIABETES MELLITUS WITH DIABETIC NEUROPATHY,
                       UNSPECIFIED
  E1141                TYPE 2 DIABETES MELLITUS WITH DIABETIC MONONEUROPATHY
  E1142                TYPE 2 DIABETES MELLITUS WITH DIABETIC POLYNEUROPATHY
  E1143                TYPE 2 DIABETES MELLITUS WITH DIABETIC AUTONOMIC
                       (POLY)NEUROPATHY
  E1144                TYPE 2 DIABETES MELLITUS WITH DIABETIC AMYOTROPHY




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                                 Step 2 (diagnosis of type II diabetes)
                                            Required diagnosis: 1
                                      Look back timeframe: 365 days
  E1149                TYPE 2 DIABETES MELLITUS          WITH OTHER DIABETIC NEUROLOGICAL
                       COMPLICATION
  E1151                TYPE 2 DIABETES MELLITUS          WITH DIABETIC PERIPHERAL ANGIOPATHY
                       WITHOUT GANGRENE
  E1152                TYPE 2 DIABETES MELLITUS          WITH DIABETIC PERIPHERAL ANGIOPATHY
                       WITH GANGRENE
  E1159                TYPE 2 DIABETES MELLITUS          WITH OTHER CIRCULATORY
                       COMPLICATIONS
  E11610               TYPE 2 DIABETES MELLITUS          WITH DIABETIC NEUROPATHIC
                       ARTHROPATHY
  E11618               TYPE 2 DIABETES MELLITUS          WITH OTHER DIABETIC ARTHROPATHY
  E11620               TYPE 2 DIABETES MELLITUS WITH DIABETIC DERMATITIS
  E11621               TYPE 2 DIABETES MELLITUS WITH FOOT ULCER
  E11622               TYPE 2 DIABETES MELLITUS WITH OTHER SKIN ULCER
  E11628               TYPE 2 DIABETES MELLITUS WITH OTHER SKIN COMPLICATIONS
  E11630               TYPE 2 DIABETES MELLITUS WITH PERIODONTAL DISEASE
  E11638               TYPE 2 DIABETES MELLITUS WITH OTHER ORAL COMPLICATIONS
  E11641               TYPE 2 DIABETES MELLITUS WITH HYPOGLYCEMIA WITH COMA
  E11649               TYPE 2 DIABETES MELLITUS WITH HYPOGLYCEMIA WITHOUT COMA
  E1165                TYPE 2 DIABETES MELLITUS WITH HYPERGLYCEMIA
  E1169                TYPE 2 DIABETES MELLITUS WITH OTHER SPECIFIED COMPLICATION
  E118                 TYPE 2 DIABETES MELLITUS WITH UNSPECIFIED COMPLICATIONS
  E119                 TYPE 2 DIABETES MELLITUS WITHOUT COMPLICATIONS
  E1300                OTHER SPECIFIED DIABETES MELLITUS WITH HYPEROSMOLARITY
                       WITHOUT NONKETOTIC HYPERGLYCEMIC-HYPEROSMOLAR COMA
                       (NKHHC)
  E1301                OTHER SPECIFIED DIABETES MELLITUS WITH HYPEROSMOLARITY WITH
                       COMA
  E1310                OTHER SPECIFIED DIABETES MELLITUS WITH KETOACIDOSIS WITHOUT
                       COMA
  E1311                OTHER SPECIFIED DIABETES MELLITUS WITH KETOACIDOSIS WITH
                       COMA
  E1321                OTHER SPECIFIED DIABETES MELLITUS WITH DIABETIC NEPHROPATHY
  E1322                OTHER SPECIFIED DIABETES MELLITUS WITH                 DIABETIC CHRONIC
                       KIDNEY DISEASE
  E1329                OTHER SPECIFIED DIABETES MELLITUS WITH                 OTHER DIABETIC KIDNEY
                       COMPLICATION
  E13311               OTHER SPECIFIED DIABETES MELLITUS WITH                 UNSPECIFIED DIABETIC
                       RETINOPATHY WITH MACULAR EDEMA
  E13319               OTHER SPECIFIED DIABETES MELLITUS WITH                 UNSPECIFIED DIABETIC
                       RETINOPATHY WITHOUT MACULAR EDEMA




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                                 Step 2 (diagnosis of type II diabetes)
                                            Required diagnosis: 1
                                      Look back timeframe: 365 days
  E13321               OTHER SPECIFIED DIABETES MELLITUS WITH MILD NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITH MACULAR EDEMA
  E13329               OTHER SPECIFIED DIABETES MELLITUS WITH MILD NONPROLIFERATIVE
                       DIABETIC RETINOPATHY WITHOUT MACULAR EDEMA
  E13331               OTHER SPECIFIED DIABETES MELLITUS WITH MODERATE
                       NONPROLIFERATIVE DIABETIC RETINOPATHY WITH MACULAR EDEMA
  E13339               OTHER SPECIFIED DIABETES MELLITUS WITH MODERATE
                       NONPROLIFERATIVE DIABETIC RETINOPATHY WITHOUT MACULAR EDEMA
  E13341               OTHER SPECIFIED DIABETES MELLITUS WITH SEVERE
                       NONPROLIFERATIVE DIABETIC RETINOPATHY WITH MACULAR EDEMA
  E13349               OTHER SPECIFIED DIABETES MELLITUS WITH SEVERE
                       NONPROLIFERATIVE DIABETIC RETINOPATHY WITHOUT MACULAR EDEMA
  E13351               OTHER SPECIFIED DIABETES MELLITUS WITH PROLIFERATIVE DIABETIC
                       RETINOPATHY WITH MACULAR EDEMA
  E13359               OTHER SPECIFIED DIABETES MELLITUS WITH PROLIFERATIVE DIABETIC
                       RETINOPATHY WITHOUT MACULAR EDEMA
  E1336                OTHER SPECIFIED DIABETES MELLITUS WITH DIABETIC CATARACT
  E1339                OTHER SPECIFIED DIABETES MELLITUS              WITH OTHER DIABETIC
                       OPHTHALMIC COMPLICATION
  E1340                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC NEUROPATHY,
                       UNSPECIFIED
  E1341                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC
                       MONONEUROPATHY
  E1342                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC
                       POLYNEUROPATHY
  E1343                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC AUTONOMIC
                       (POLY)NEUROPATHY
  E1344                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC AMYOTROPHY
  E1349                OTHER SPECIFIED DIABETES MELLITUS              WITH OTHER DIABETIC
                       NEUROLOGICAL COMPLICATION
  E1351                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC PERIPHERAL
                       ANGIOPATHY WITHOUT GANGRENE
  E1352                OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC PERIPHERAL
                       ANGIOPATHY WITH GANGRENE
  E1359                OTHER SPECIFIED DIABETES MELLITUS              WITH OTHER CIRCULATORY
                       COMPLICATIONS
  E13610               OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC NEUROPATHIC
                       ARTHROPATHY
  E13618               OTHER SPECIFIED DIABETES MELLITUS              WITH OTHER DIABETIC
                       ARTHROPATHY
  E13620               OTHER SPECIFIED DIABETES MELLITUS              WITH DIABETIC DERMATITIS
  E13621               OTHER SPECIFIED DIABETES MELLITUS WITH FOOT ULCER
  E13622               OTHER SPECIFIED DIABETES MELLITUS WITH OTHER SKIN ULCER




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                                 Step 2 (diagnosis of type II diabetes)
                                            Required diagnosis: 1
                                      Look back timeframe: 365 days
  E13628               OTHER SPECIFIED DIABETES MELLITUS WITH OTHER SKIN
                       COMPLICATIONS
  E13630               OTHER SPECIFIED DIABETES MELLITUS WITH PERIODONTAL DISEASE
  E13638               OTHER SPECIFIED         DIABETES MELLITUS WITH OTHER ORAL
                       COMPLICATIONS
  E13641               OTHER SPECIFIED         DIABETES MELLITUS WITH HYPOGLYCEMIA WITH
                       COMA
  E13649               OTHER SPECIFIED         DIABETES MELLITUS WITH HYPOGLYCEMIA WITHOUT
                       COMA
  E1365                OTHER SPECIFIED         DIABETES MELLITUS WITH HYPERGLYCEMIA
  E1369                OTHER SPECIFIED DIABETES MELLITUS WITH OTHER SPECIFIED
                       COMPLICATION
  E138                 OTHER SPECIFIED DIABETES MELLITUS WITH UNSPECIFIED
                       COMPLICATIONS
  E139                 OTHER SPECIFIED DIABETES MELLITUS WITHOUT COMPLICATIONS



                              Step 3 (history of oral anti-diabetic agent)
                                              Number of claims: 1
                                       Look back timeframe: 365 days
  Description                                                   GCN
  ACARBOSE 25 MG TABLET                                         08070
  ACARBOSE 50 MG TABLET                                         02319
  ACARBOSE 100 MG TABLET                                        02318
  ACTOPLUS MET 15 MG-500 MG TAB                                 25444
  ACTOPLUS MET 15 MG-850 MG TAB                                 25445
  ACTOPLUS MET XR 15-1,000 MG TB                                28620
  ACTOPLUS MET XR 30-1,000 MG TB                                28622
  ACTOS 15 MG TABLET                                            92991
  ACTOS 30 MG TABLET                                            93001
  ACTOS 45 MG TABLET                                            93011
  AMARYL 1 MG TABLET                                            05830
  AMARYL 2 MG TABLET                                            05832
  AMARYL 4 MG TABLET                                            05833
  AVANDAMET 2 MG-500 MG TABLET                                  91742
  AVANDAMET 2 MG-1,000 MG TAB                                   20313
  AVANDAMET 4 MG-500 MG TABLET                                  91743
  AVANDAMET 4 MG-1,000 MG TABLET                                20314
  AVANDARYL 4 MG-1 MG TABLET                                    26125




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                              Step 3 (history of oral anti-diabetic agent)
                                              Number of claims: 1
                                       Look back timeframe: 365 days
  Description                                                   GCN
  AVANDARYL 4 MG-2 MG TABLET                                    26126
  AVANDARYL 4 MG-4 MG TABLET                                    26127
  AVANDARYL 8 MG-2 MG TABLET                                    98489
  AVANDARYL 8 MG-4 MG TABLET                                    97648
  AVANDIA 2 MG TABLET                                           93193
  AVANDIA 4 MG TABLET                                           93203
  AVANDIA 8 MG TABLET                                           93363
  CHLORPROPAMIDE 100 MG TABLET                                  05731
  CHLORPROPAMIDE 250 MG TABLET                                  05732
  DIABETA 1.25 MG TABLET                                        05710
  DIABETA 2.5 MG TABLET                                         05711
  DIABETA 5 MG TABLET                                           05712
  DUETACT 30-2 MG TABLET                                        97181
  DUETACT 30-4 MG TABLET                                        97180
  FORTAMET ER 500 MG TABLET                                     21832
  FORTAMET ER 1,000 MG TABLET                                   21831
  GLIMEPIRIDE 1 MG TABLET                                       05830
  GLIMEPIRIDE 2 MG TABLET                                       05832
  GLIMEPIRIDE 4 MG TABLET                                       05833
  GLIPIZIDE 5 MG TABLET                                         10840
  GLIPIZIDE 10 MG TABLET                                        10841
  GLIPIZIDE ER 2.5 MG TABLET                                    50638
  GLIPIZIDE ER 5 MG TABLET                                      10844
  GLIPIZIDE ER 10 MG TABLET                                     10843
  GLIPIZIDE XL 2.5 MG TABLET                                    50638
  GLIPIZIDE XL 5 MG TABLET                                      10844
  GLIPIZIDE XL 10 MG TABLET                                     10843
  GLIPIZIDE-METFORMIN 2.5-250 MG                                18366
  GLIPIZIDE-METFORMIN 2.5-500 MG                                18367
  GLIPIZIDE-METFORMIN 5-500 MG                                  18368
  GLUCOPHAGE 500 MG TABLET                                      10810
  GLUCOPHAGE 850 MG TABLET                                      10811
  GLUCOPHAGE 1,000 MG TABLET                                    10857
  GLUCOPHAGE XR 500 MG TAB                                      89863
  GLUCOPHAGE XR 750 MG TAB                                      19578
  GLUCOTROL 5 MG TABLET                                         10840



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                              Step 3 (history of oral anti-diabetic agent)
                                              Number of claims: 1
                                       Look back timeframe: 365 days
  Description                                                   GCN
  GLUCOTROL 10 MG TABLET                                        10841
  GLUCOTROL XL 2.5 MG TABLET                                    50638
  GLUCOTROL XL 5 MG TABLET                                      10844
  GLUCOTROL XL 10 MG TABLET                                     10843
  GLUCOVANCE 2.5-500 MG TABLET                                  92889
  GLUCOVANCE 5-500 MG TABLET                                    89879
  GLUMETZA ER 500 MG TABLET                                     97061
  GLUMETZA ER 1,000 MG TABLET                                   97067
  GLYBURIDE 1.25 MG TABLET                                      05710
  GLYBURIDE 2.5 MG TABLET                                       05711
  GLYBURIDE 5 MG TABLET                                         05712
  GLYBURIDE MICRO 1.5 MG TAB                                    05713
  GLYBURIDE MICRO 3 MG TABLET                                   05714
  GLYBURIDE MICRO 6 MG TABLET                                   05715
  GLYBURIDE-METFORMIN 2.5-500 MG                                92889
  GLYBURIDE-METFORMIN 5-500 MG                                  89879
  GLYBURID-METFORMIN 1.25-250 MG                                89878
  GLYNASE 1.5 MG PRESTAB                                        05713
  GLYNASE 3 MG PRESTAB                                          05714
  GLYNASE 6 MG PRESTAB                                          05715
  GLYSET 25 MG TABLET                                           95252
  GLYSET 50 MG TABLET                                           95253
  GLYSET 100 MG TABLET                                          95254
  JANUMET 50-500 MG TABLET                                      98306
  JANUMET 50-1,000 MG TABLET                                    98307
  JANUVIA 25 MG TABLET                                          97398
  JANUVIA 50 MG TABLET                                          97399
  JANUVIA 100 MG TABLET                                         97400
  KOMBIGLYZE XR 2.5-1,000 MG TAB                                29225
  KOMBIGLYZE XR 5-500 MG TABLET                                 29118
  KOMBIGLYZE XR 5-1,000 MG TAB                                  29224
  METAGLIP 2.5-250 MG TABLET                                    18366
  METFORMIN HCL 500 MG TABLET                                   10810
  METFORMIN HCL 850 MG TABLET                                   10811
  METFORMIN HCL 1,000 MG TABLET                                 10857
  METFORMIN HCL ER 500 MG TABLET                                21832



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                              Step 3 (history of oral anti-diabetic agent)
                                              Number of claims: 1
                                       Look back timeframe: 365 days
  Description                                                   GCN
  METFORMIN HCL ER 500 MG TABLET                                89863
  METFORMIN HCL ER 750 MG TABLET                                19578
  METFORMIN HCL ER 1,000 MG TAB                                 21831
  NATEGLINIDE 60 MG TABLET                                      12277
  NATEGLINIDE 120 MG TABLET                                     34027
  ONGLYZA 2.5 MG TABLET                                         27393
  ONGLYZA 5 MG TABLET                                           27394
  PRANDIMET 1 MG-500 MG TABLET                                  16084
  PRANDIMET 2 MG-500 MG TABLET                                  16085
  PRANDIN 0.5 MG TABLET                                         26311
  PRANDIN 1 MG TABLET                                           26312
  PRANDIN 2 MG TABLET                                           26313
  PRECOSE 25 MG TABLET                                          08070
  PRECOSE 50 MG TABLET                                          02319
  PRECOSE 100 MG TABLET                                         02318
  RIOMET 500 MG/5 ML SOLUTION                                   20808
  STARLIX 60 MG TABLET                                          12277
  STARLIX 120 MG TABLET                                         34027
  TOLAZAMIDE 250 MG TABLET                                      05741
  TOLAZAMIDE 500 MG TABLET                                      05742
  TOLBUTAMIDE 500 MG TABLET                                     05724
  TRADJENTA 5 MG TABLET                                         29890



                                  Step 4 (diagnosis of thyroid cancer)
                                            Required diagnosis: 1
                                      Look back timeframe: 730 days
  ICD-9 Code           Description
  193                  MALIGN NEOPL THYROID
  ICD-10 Code          Description
  C73                  MALIGNANT NEOPLASM OF THYROID GLAND




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Texas Prior Authorization Program Clinical Edits                        Victoza (Liraglutide) Solution for Injection

                  Step 5 (diagnosis of type II multiple endocrine neoplasia)
                                            Required diagnosis: 1
                                      Look back timeframe: 730 days
  ICD-9 Code           Description
  25802                MULTIPLE ENDOCRINE NEOPLASIA [MEN] TYPE IIA
  ICD-10 Code          Description
  E3122                MULTIPLE ENDOCRINE NEOPLASIA [MEN] TYPE IIA



                                     Step 6 (history of an HbA1c test)
                                              Number of claims: 1
                                       Look back timeframe: 180 days
  CPT                   Description
  83036                 GLYCOSYLATED HEMOGLOBIN TEST




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                                                   Victoza (Liraglutide) Solution for Injection

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Publication History
         The Publication History records the publication iterations and revisions to this
         document. Notes for the most current revision are also provided in the
         Revision Notes on the first page of this document.

          Publication        Notes
             Date

          07/18/2012         Initial publication and posting to website
          04/03/2015         Updated to include ICD-10s




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                       Exhibit D



    TABLE OF VICTOZA & SEXENDA SALES VOLUME BY YEAR




                        Exhibit D
	
                                           Exhibit D




    $1,800,000,000.00	

    $1,600,000,000.00	

    $1,400,000,000.00	

    $1,200,000,000.00	

    $1,000,000,000.00	
                                                                         Victoza	
     $800,000,000.00	                                                    Saxenda	
     $600,000,000.00	

     $400,000,000.00	

     $200,000,000.00	

                $0.00	
                         2010	   2011	   2012	   2013	   2014	   2015	




                                           Exhibit D
	
                                Exhibit E




    LIST OF MEDICAL DEPARTMENT REPRESENTATIVES WHO INFORMED RELATOR
                                 HOUCK




                                Exhibit E
	
                          Exhibit E




     1. Sales Manager Chuck Dent               2009-2012
     2. Regional Sales Manager Trevor Landry   2009-2012
     3. Sales Manager Shawnee Lewis            2013-2015
    4. Regional Sales Manager Greg Reilly      2013-2015
    5. Regional Sales Manager Mike Powell      2013-2015




                          Exhibit E
	
                                Exhibit F

     RELATOR SMITH’S 2013 NOVO NORDISK EMPLOYMENT REVIEW ACE YEAR END
2013 GSMI FINAL




                                Exhibit F
	
                                                         accountability collaboration execution (ace)
                                                             Endocrinologist Diabetes Care Specialist (EDCS)
                                                                          2013 End-Year Review
                                                                      SMITH,GREGORY - 00642404 | GSMI | SR EDCS | D1EA0F51 - VIRGINIA BEACH, VA


                           Customer & Society                   Business Processes                  People & Organization            Overall Performance
                                 (70%)                                (10%)                                (20%)
                                                       +                                     +                                 =
                                    AE                                    EE                                   AE                           AE

                       Customer & Society (70%)*                                                                                                 AE
                       ACE Component                            POA1 A                POA1 B                 POA2            YTD Attain.       Rating
                           IC % Attainment                      99.75%                90.62%                94.21%            94.86%             AE
                           Percent in Nation                    79.74%                97.39%                89.54%            96.08%

                       Business Processes (10%)**                                                                                                EE
                       ACE Component                                                  Weight                  Goal           YTD Attain.       Rating
                       Call Plan Compliance                                           100.0%             80% - 81.9%          82.39%             EE

                       People & Organization (20%)                                                                                               AE
                       ACE Component                                                                                                           Rating
                       Ensure Corporate Compliance (0%)                                                                                          ME
                       Leadership
                           Collaborates Across Boundaries                                                                                        EE
                           Drives Performance                                                                                                    AE
                           Lives the Novo Nordisk Way                                                                                            ME
                       Functional
                           Masters Product & Disease State Knowledge                                                                             AE
                           Understands the Market                                                                                                ME
                           Builds Business Relevant Relationships                                                                                ME
                           Sells the Novo Nordisk Way                                                                                            AE
                           Manages Territory/Account Plans                                                                                       NM

                       P&O Comments
                       Collaborates Across Boundaries: DE communication & collaboration is consistent as it has been in previous years - working with
                       some of the highest impact customers & overcoming office challenges in the Richmond area as well as working through
                       challenges in the VA Beach territory; partner communication is consistent; Greg is diligent in his follow up with business partners
                       & supports any/all opportunities to share his knowledge of the market with his territory colleagues; Opportunity = higher quality
                       communication between Greg & partner to ensure better call continuity; AE collaboration in order to stay ahead of MHC
                       situations; work with DCS teams to come together with a cohesive plan
                       Drives Performance: This is an area of opportunity & focus for Greg which we discussed in great detail through the first half of
                       the year specifically focused on setting ambitious goals for the territory & ensuring accountability toward meeting/exceeding
                       those goals. It is important for Greg to look ahead of current trends & continually identify ways to grow. Aligning strategy &
                       tactics within the territory to achieve self & company set goals. Leveraging additional people resources to assist within the areas
                       of their expertise (ie AEs with any manged care challenges)
                       Lives the Novo Nordisk Way: Greg works with an ethical behavior & treats others with respect; at the beginng of the Sunshine
                       Act changes we reviewed new Sunshine Act Policy to ensure 100% knowledge on the specific NNI policies
                       Masters Product & Disease State Knowledge: Greg understands the disease state & NNI products through his tenure at the
                       company; Opportunity = incorporating knowledge into sales calls with his Endos & diving deeper into the patient impact &
                       building on the impact from call to call (for example, when discussing the importance of behavior modification, dig into what this
                       means and what happens when patients don't take this part of their disease management seriously)
                       Understands the Market: Greg has a thorough understanding of the market and continually learns through his customers what's
                       changing in their environment & stays on top of what's happening to local market changes - managed care, hospital changes,
                       etc; Opportunity = while Greg is on top of what’s changing in the current market it is important for him to pro-actively adapt his
                       approach & use company approved tools to overcome any changes or challenges either before or upon receiving company or
                       manager direction
                       Builds Business Relevant Relationships: actively listens to customers & tries to help them overcome challenges; Opportunity =
                       setting up unique selling proposition that is in line with customer needs & respectfully challenging them to think outside their
                       current treatment process
                       Selling the Novo Nordisk Way: Consistently pre-call plans prior to each call, two way dialogue, actively listens; Opportunity =
                       adapting approach to adjust in time sensitive situations & being confident in clinical selling using the patient focused approach to
                       open discussions & ask questions to further uncover needs of customers; post-call analysis to revise approach on the next call
                       Manages Territory & Account Plans: This is a significant area of opportunity for Greg as there is little to no pro-active territory
                       planning; Expectation moving forward will be to evaluate & prioritize each customer, develop patient- & physician-centric
                       strategies & solutions to meet the needs of each customer and utilize appropriate data tools to measure results & adjust

                     * Source: Jan - Nov'13 Composite IC Attainment
                     ** Measures: Jan - Nov'13 OSS, SAP/AHM
                       Manager Name:                                                             Employee Name:
                       Manager Signature:                                                        Employee Signature:


                       Date:                                                                     Date:


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                                                accountability collaboration execution (ace)
                                                    Endocrinologist Diabetes Care Specialist (EDCS)
                                                                 2013 End-Year Review
                                                          SMITH,GREGORY - 00642404 | GSMI | SR EDCS | D1EA0F51 - VIRGINIA BEACH, VA


                           Customer & Society         Business Processes                People & Organization        Overall Performance
                                 (70%)                      (10%)                              (20%)
                                                +                                +                               =
                                  AE                          EE                                   AE                       AE




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                                                     accountability collaboration execution (ace)
                                                        Endocrinologist Diabetes Care Specialist (EDCS)
                                                                     2013 End-Year Review
                                                                SMITH,GREGORY - 00642404 | GSMI | SR EDCS | D1EA0F51 - VIRGINIA BEACH, VA


                           Customer & Society              Business Processes                 People & Organization           Overall Performance
                                 (70%)                           (10%)                               (20%)
                                                   +                                   +                               =
                                  AE                                EE                                   AE                             AE

                       Performance Summary and Recommended Action Steps
                       Performance Overview: Through Mid-Year, performance in the VA Beach territory has been on the decline with Victoza volume &
                       market share, NovoLog market share and flat with Levemir. There is a definite need for a focused & aligned approach (between
                       Greg & his partner) with each customer based on their current needs & thoughts of treating diabetes. We have met several
                       times as a territory team to discuss what the focus must be for the Top potential customers within the territory & the need to
                       measure progress & make adjustments where necessary.
                       Mid-Year Action Steps: All actions moving forward must be focused on Driving Performance - not only delivering on goals set by
                       the company but also being accountable & making adjustments where necessary to make a bigger impact within the territory
                       1. Building Business Relevant Relationships – focusing on the patient & clinical discussions in order to generate unique insights
                       by your customers toward treating their patients differently - clinical first, managed care & cost 2nd
                       2. Mastering Product & Disease State Knowledge – application of product & disease state in your openings of the Clinical Story in
                       order to generate more relevance of our products & in turn greater utilization across more patient types
                       Year-End Overview: 2013 performance within the VA Beach Territory fell below expectations of the company with contributing
                       factors such as limited territory planning, not adapting to a changing environment and not pro-actively taking ownership of the
                       business dynamics across the territory. The territory ended the year ranked #38/38 in the East Area & #85/87 in the Nation.
                       Moving forward heightened focus on a customized strategy of the different geographies & customers will be important with
                       emphasis on execution of Endo Excellence with a 3P approach and balancing the needs of the customers & selling the value of
                       our products to meet their needs.




                       Employee Comments


                      *
                      *




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ACE	Review	employee	comments:	

	

The	Virginia	Beach	territory	is	a	unique	territory	having	two	very	different	markets.	The	Richmond	area	
were	no	real	Managed	care	challenges	exist,	represents	half	of	the	total	territories	volume.			The	
Tidewater	area	is	predominately	run	by	a	Health	Care	System	and	a	heavy	population	of	Military/Tricare.		
Sentara	Health	System	is	similar	to	the	Kaiser	Health	System	were	the	doctors,	hospitals,	long-term	care	
facilities,	health	plan,	etc.	are	all	owned	and	operated	by	the	system.		Novo	Nordisk	products	continue	
to	be	disadvantaged	on	this	plan.		All	of	our	insulin’s	and	Victoza	are	on	a	non-	formulary	higher	cost	to	
the	patient.		April	2013	Sentara	added	a	PA	to	Victoza	as	well	to	try	and	slow	the	growth	of	this	product.		
The	company	also	faced	in	2013	a	big	challenge	were	the	safety	of	Victoza	was	in	question.		It	is	very	
hard	to	look	at	this	territory	and	determine	if	it	is	preforming	or	underperforming	due	to	its	extreme	
differences	between	the	two	markets.		For	example	2012	the	Virginia	Beach	territory	Exceeded	
Expectations	for	performance	and	all	other	competencies.		During	that	year	Victoza	did	not	have	a	PA	
and	Endocrinologist	prescribed	even	though	it	had	a	higher	cost	to	the	patient.		This	was	achieved	by	
selling	clinically	in	a	challenged	market.		Victoza	market	shares	and	breadth	were	some	of	the	highest	in	
the	country	and	continue	to	be	as	well.			

DeEtte	and	I	have	always	had	a	focused	plan	and	sell	clinically	year	after	year.		Due	to	the	complexities	
in	this	territory	you	cannot	sit	back	and	let	the	territory	run	on	auto	pilot.		We	did	adapt	our	approach	
throughout	the	year	meeting	with	our	manager	and	at	POA	coming	up	with	a	focused	message.		
Together	we	all	thought	we	had	the	right	message.		If	you	look	at	the	numbers	for	the	different	POA’s	
you	can	see	were	the	business	fell	off	due	to	the	PA	of	Victoza,	not	because	of	the	message.		POA1	A	
99.75	composite,	POA2	B	90.62	(PA	Victoza	April),	POA	2	94.21	and	YTD	94.86	(.14	from	a	95	composite	
which	ME	of	the	company).		We	did	manage	our	territory	and	nothing	has	changed	with	our	
competencies	from	2012	to	2013.		Unfortunately	through	all	the	hard	work	we	did	not	meet	the	
company’s	goals	for	2013.	

	

	I	do	not	agree	with	the	current	competency	ratings	for	2013.		We	look	at	2013	as	a	bad	year	for	us	as	
far	as	performance.	However	we	are	refocused	on	2014.		The	trends	for	our	business	are	improving	and	
we	believe	that	with	our	positive	attitudes,	hard	work,	knowledge	of	the	business,	and	new	focus	we	will	
move	us	back	to	Exceeding	Expectations	with	the	company.	
                               Exhibit G

EMAIL CONFIRMING SALES PROGRAM FOR PEDIATRIC PROMOTION OF NOVOLOG MIX
70/30.




                               Exhibit G
	
                                Exhibit H

    LIST OF THE SALES MANAGERS WHO INSTRUCTED RELATOR SHIRKEY.




                                Exhibit H
	
                  Exhibit H

    1. Sales Manager Chuck Dent               2009-2012
    2. Regional Sales Manager Trevor Landry   2009-2012
    3. Sales Manager Shawnee Lewis            2013-2015
    4. Regional Sales Manager Greg Reilly     2013-2015
    5. Regional Sales Manager Mike Powell     2013-2015




                  Exhibit H
	
                                  Exhibit I



    MODEL OF FIVE POUNDS OF FAT




                                  Exhibit I
	
                               Exhibit J

    VICTOZA EXECUTIVE TRAINING CAMP




                               Exhibit J
	
                                   August 2009




Victoza® Standard Presentation
[Insert Name of Presenter, Title
Occasion]
                                    Victoza® update   August 2009   Slide no 2




Agenda of today


1   Why Victoza® is a significant opportunity
2   Why Victoza® is a different challenge
3   What we need to do to be successful




                  … our beautiful molecule
                             Victoza® update   August 2009   Slide no 3




The unmet needs in type 2 diabetes



       As type 2 diabetes progresses:
       HbA1c, PPG and FPG deteriorate
         Beta-cell function declines
  Treatments increase risk of hypoglycaemia
            Patients gain weight



             Is there a solution?
                                       Victoza® update   August 2009   Slide no 4



                        ®
  FAQs on Victoza and GLP-1


•  What is Victoza®?
               ®
    •  Victoza is a glucagon-like peptide 1 (GLP-1) analogue, a
       naturally-occurring hormone in the human gut
•  How does Victoza® compare to native GLP-1?
    •  Victoza is the first human GLP-1 analogue (97% homology
             ®


       to native GLP-1) developed for the treatment of type 2
       diabetes and to resist enzymatic breakdown. It therefore
       provides full-day therapeutic levels of GLP-1 to people with
       type 2 diabetes
•  Why not treat type 2 diabetes with native GLP-1?
    •  Native GLP-1 is degraded too quickly in the body by
       enzymes
                                                   Victoza® update   August 2009    Slide no 5



   Victoza® has many direct effects on human
   physiology

Victoza® effects on human physiology                    Victoza® clinical summary*
                                                        •  Decrease in HbA1c blood
 Pancreas                              Brain               sugar levels
  Insulin secretion                      Energy         •  Weight loss
  (glucose-                              intake
  dependent)                                            •  Low risk of hypoglycaemia
                                                        •  24-hour glucose coverage
  Insulin                              Liver
  synthesis
                                                        •  Low adverse event rate
                                         Hepatic
                                         glucose        •  Potential to modify disease
  Glucagon                               output            progression
  secretion
  (glucose-
  dependent)
                                       GI tract
  Improvement                            Decreased
  in beta-cell                           motility
  function




                 * LEAD 2
                                                                    Victoza® update   August 2009         Slide no 6




            Victoza® monotherapy shows immediate,
            substantial and sustained glycaemic control

  LEAD 3, previous diet and exercise*

                                                                                               Victoza® 1.2 mg
            9.0
                                                                                               Victoza® 1.8 mg
                         2-year completers                                                     Glimepiride 8 mg
            8.5
HbA1c (%)




            8.0

            7.5

            7.0

            6.5
                  0     8 12      20     28         40       52      64               76             92          104
                                                         Time (week)

                      *Change in HbA1c from baseline for add-on population: diet and
                      exercise failure or up to half of maximum dose of 1 OAD; mean (SD);
                      *sulfonylurea LEAD 3; data on file
                                                                                                      Victoza® update      August 2009              Slide no 7


                         The clinical programme: reductions in
                         HbA1c when adding Victoza®


                                  Mono-               +Met                 +SU           +Met+TZD            +Met+SU        +Met+/or      +Met
                                 therapy                                                                       com             SU      sitagliptin
                                  LEAD 3             LEAD 2               LEAD 1           LEAD 4             LEAD 5         LEAD 6 vs liraglutide**
      Baseline
       A1c % 8.4 8.6 8.6                          8.4 8.2 8.2           8.5 8.6 8.3       8.5 8.6 8.4         8.3 8.1       8.2 8.1            ∼8.5
                      0.0
                      -0.2
Change in HbA1c (%)




                               58%51%
                                   62% 31%
                                         43% 53% 66% 56%               57% 56% 36%         58% 54% 36%         53% 46%      54% 43%        58% 40% 20%
                      -0.4
                                                                                                                                                              % to
                      -0.6                                                                            -0.5                                                    ADA
                                                                                                                                                             target
                      -0.8                                                        -0.8                                            -0.8                0.9**
                                         -0.9
                      -1.0
                      -1.2 -1.2*                              -1.1                                                  -1.1* -1.1                 1.2**
                                                 -1.3 -1.3                                                    -1.3*
                      -1.4                                           -1.4*
                      -1.6                                               -1.5*           -1.5* -1.5*                                     -1.5**
                 -1.6*
    Victoza®1.2 mg Victoza® 1.8 mg                                 Glimepiride      Rosiglitazone       Glargine        Placebo   Exenatide       Sitagliptin

                      Change in HbA1c from baseline for: overall population (LEAD-4,5); add-on to diet and exercise failure (LEAD-3); add-
                      on to previous OAD monotherapy (LEAD-2,1); or add-on to met and/or SU (LEAD-6). *Significant vs. comparator.

                      Marre M, et al. Diabetic Medicine 2009; 10.1111/j.1464-5491.2009.02666.x (LEAD-1); Nauck MA, et al. Diabetes Care 2009; 32; 84–90
                      (LEAD-2); Garber A, et al. Lancet 2009; 373 (9662): 473–481 (LEAD-3); Zinman B, et al. Diabetologia 2008; 51 (Suppl. 1): S359
                      (Abstract 898) (LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD 5); Blonde et al. Can J Diabetes 2008; 32 (Suppl.):
                      Abstract 107 (LEAD-6); ** Preliminary, topline data from Novo Nordisk Interim financial report, 6 Aug 2009
                                                        August 2009




        Reductions                              Reductions in

         in weight                              blood pressure




                     Grab diabetes by the
                     roots with Victoza®
Reductions in                                        Improvements in
    blood
 sugar levels                                       beta-cell function




                     For patients with type 2
                     diabetes who need more
                       than metformin, early
                     treatment with Victoza®
                     provides significant and
                         sustained benefits
Victoza® update   August 2009   Slide no 9
                           Victoza® update   August 2009   Slide no 10




Driving early usage of Victoza® is key


             ®




                       ®
                                                                          Victoza® update     August 2009   Slide no 11



  Victoza® expands Novo Nordisk leadership in
  diabetes

    Obesity           Pre-diabetes             Diabetes


           Diet and exercise                            OADs                                 Insulin




                                                 Early use based on
                                                           …
                                                  clinical evidence
                                                       for better
                                                 diabetes outcomes




Victoza®, if approved by the regulatory authorities, will serve as the brand name for Victoza®.
Until that time, the name is for internal use only.
                                    Victoza® update    August 2009          Slide no 12



We have a strong foundation in the treatment
algorithm from ADA and EASD




                         Adapted from Nathan et al., Diabetes Care 2008;31:1-11.
                                    Victoza® update   August 2009   Slide no 13




Agenda of today


1   Why Victoza® is a significant opportunity
2   Why Victoza® is a different challenge
3   What we need to do to be successful




                  … our beautiful molecule
                                       Victoza® update   August 2009   Slide no 14


                         ®
Launching Victoza presents new challenges
for Novo Nordisk

     •  First truly global launch in Novo Nordisk



     •  Most value is in few top markets


     •  Directly into primary care market



     •  Head on versus Byetta with good data – short
        window to Byetta LAR - and versus other
        alternative type 2 treatments

     •  Generate access and reimbursement for a
        new emerging treatment class (GLP-1)
                                    Victoza® update   August 2009   Slide no 15




Agenda of today

1   Why Victoza® is a significant opportunity
2   Why Victoza® is a different challenge
3   What we need to do to be successful




                  … our beautiful molecule
                                  Victoza® update   August 2009   Slide no 16



Significant cross-functional efforts behind the
launch are key to success



 1   Obtain label, supporting maximum value capture
 2   Accelerate launch timing and allow for
     simultaneous multi-country launches
 3   Prepare the organisation for blockbuster launch
 4   Build superior brand value
 5   Create strong advocacy
 6   Optimise market access
 7   Prepare the sales force
                                   Victoza® update   August 2009   Slide no 17




               The Seven Tracks Movie
Download from the Brand Manual Download Centre:
 Media Bin: DiabetesCare\GLP-1\liraglutide\Videos\internal\
                                    Victoza® update   August 2009   Slide no 18




1   Obtain label, supporting maximum value capture




               Our ambition
               • Achieve strongly competitive label expressing the full
               potential of Victoza®

               2008 achievements
               ü US and EU filing 23 May; Japan 14 July; several other
               countries filed – representing +95% of Victoza® sales

               2009 priorities
               ü Market authorisation in Europe, announced 3 July
               • Continue to build clinical data
               • Prepare for cardiovascular outcome study
               • Market authorisation in US
                                             Victoza® update   August 2009   Slide no 19




2          Accelerate launch timing and allow for
           simultaneous multi-country launches




    Our ambition
    •  Set a new standard for launch speed
       and reliability

    2008 achievements
    ü  Significant production ramp-up on track
    ü  Launch acceleration planned for key markets
    ü  Packaging line ready
    ü  First marketed Victoza® pen batches produced
    2009 priorities
    ü  Deliver and launch product in UK and Germany
    •  Launch from mid 2009 in selected countries
                                              Victoza® update   August 2009   Slide no 20




 3         Prepare the organisation for blockbuster
           launch




Our ambition
•  Build a shared sense of ambition, purpose and
   urgency… with capabilities and resources to
   execute

2008 achievements
ü  Launch business plans, sales force sizing and
   forecasts prepared in key markets

2009 priorities
ü  Onboard sales force expansions in UK and
   Germany
•  Launch Business plans for 2010 countries
                                            Victoza® update   August 2009   Slide no 21




4       Build superior brand value




Our ambition
•  Build a competitive and differentiated brand with high awareness at launch
2008 achievements
ü  Selling messages, creative and Victoza® brand name decided
ü  Global portfolio messaging guidance established
2009 priorities
ü  Local sales aid produced, UK, DE, DK based on shared global standard
•  Continue disease awareness program
•  Execute global campaign in launch markets
•  Launch Victoza at international congresses
•  Initiate lifecycle management
                                       Victoza® update   August 2009   Slide no 22




One world, one voice, one brand


•  Global brands connect with customers across continents,
   countries, and cultures
•  Novo Nordisk is committed to building the Victoza® brand on a
   global scale with a singular identity
•  To build this singular brand we have uncovered insights,
   validated messages and tested brand concepts that resonate
   around the world
•  As a result, we have one shared standard for global brand
   implementation
                                                Victoza® update   August 2009       Slide no 23




5        Create strong advocacy



Our ambition
•  Achieve strong advocacy in the medical community through interactions
   and KOL advocates

2008 achievements
ü  170 abstracts and 63 publications completed
ü  100 global KOL speakers
ü  17,000+ HCPs reached in the US; 46,000+ in EU
2009 priorities
ü  World class conferences and publications; All 6 LEAD trials published/in
   print in leading journals*
•  Ramp-up HCP interactions to include GP scope
•  Reach unaided awareness of 70% for specialists at launch and 60% for
   GPs 3 months after launch

                                     *Lancet (LEAD-3, LEAD-6), Diabetes Care (LEAD-2,
                                     LEAD-4), Diabetologia (LEAD-5), Diabetic Medicine
                                     (LEAD-1)
                                                                                    Victoza® update         August 2009                  Slide no 24




Specialists unaided awareness increased in all
countries significantly


Main findings:                                   Liraglutide specialists unaided awareness (%), June/
                                                                        July 2009
• High increase in
 awareness levels            80%                                                            Blockbuster benchmark –: 70% target: US/UK/DE/
                                                                                                              CA/NL at launch & SP year-end
 across all countries        70%
                                                    70%

                                         61%
• Spain and UK               60%
                                                                                      72%
                                                                                                  53%        54%
 reaching 70%                                                   47%
                             50%                                                                                                         45% IT, FR
 benchmark                                                                 41%                                                             year-end
                             40%                                                                                        36%
• UK reached launch                                                                                                                          30% JP
 target                      30%                                                                                                   40% mid-year

                             20%
• Spain and Italy
 above year-end              10%
 target                       0%
                                        US         UK         DE         FR         ES*         IT*        NL           JP        Can
• Canada – included
 for the first time –                                                                 Country
 reaches 40%                              June 2008                November 2008                   July 2009                 JP target




               * In wave 6 specialists in Spain and Italy comprise endocrinologists and diabetologists only. IMs were
               treated as a separate group.
                   Results for W5 had to be adjusted accordingly (minor adjustment).
                Note: sample size - US 107, UK 80, DE 78, FR 80, ES 60, IT 64, NL 21
                Source: Victoza® – Awareness Tracker Wave 6, awareness levels. ZS Associates. August 2009.
                                          Victoza® update   August 2009   Slide no 25




6       Optimise market access



Our ambition
•  Achieve strong market access and reimbursement in key
   markets matching the pricing strategy

Achievements
ü  Core Value Dossier launched and continuously updated
ü  Health economic toolbox developed
ü  Market access plans prepared in key markets
ü  Training provided
ü  Payer dialogue initiated
2009 priorities
ü  Submit pricing and reimbursement dossiers in key markets
ü  Market access plans and tools implemented in key markets;
   communication training implemented
•  Achieve favourable market access conditions
•  Prepare for market access life cycle management
                                            Victoza® update   August 2009   Slide no 26




7       Prepare the sales force


Our ambition
•  Ensure that expanded sales force is optimally prepared

2008 achievements
ü  First modules of global training program developed
ü  Sales force training plan in place in most key markets
2009 priorities
ü  Complete global training modules
ü  Victoza® Launch Meetings held in DE and UK
ü  Sales force trained for Victoza® messaging in Wave 1 countries
ü  Finalise incentive plans
                                    Victoza® update   August 2009   Slide no 27




Victoza success is dependent on all of us




 1    Obtain label, supporting maximum value capture
 2    Accelerate launch timing and allow for
      simultaneous multi-country launches
  3    Prepare the organisation for blockbuster launch
 4     Build superior brand value
 5     Create strong advocacy
 6     Optimise market access
 7     Prepare the sales force
                           Victoza® update   August 2009   Slide no 28




We all have a role to lead the launch
                 Victoza® update   August 2009   Slide no 29




Back-up slides
                                                       Victoza® update       August 2009   Slide no 30



Victoza® phase 3 programme — LEAD:
Victoza® Effect and Action in Diabetes


  Diet &                                                                     OADs
                      1 OAD              2 OAD
 exercise                                                                 and/or insulin


             LEAD 3             LEAD 2           LEAD 4
              Mono-            Metformin        Met + TZD
             therapy          combination      combination
              62%                66%              54%                       % reaching ADA
                                                                               targets*
                                LEAD 1           LEAD 5
 SU               SU              SU            Met + SU
31%              56%          combination      combination
                                 56%              52%

                 TZD                     LEAD 6                          glargine
                 36%                Met, SU, met+SU                       44%
                                      combination
                 exenatide                ongoing


            *LEAD 1, 2: numbers reflect previous monotherapy groups;
             LEAD 3: numbers reflect previous diet and exercise group
                                                                                    Victoza® update    August 2009         Slide no 31


               A quarter of patients lose more
               than 7.5 kg with Victoza®


                      2
                      1
Weight change (kg)




                      0
                     -1
                     -2
                     -3
                     -4
                     -5
                     -6
                     -7
                     -8
                     -9
                                  ≤Q1                     Q1-Q2                       Q2-Q3                          >Q3

                          Victoza® 1.8 mg + met + SU

                 0–Q1: mean weight change for the 25% of subjects who had the largest weight loss
                Q1–Q2: mean weight change for the 25–50% weight loss quartile
                Q2–Q3: mean weight change for the 50–75% weight loss quartile
                Q3–Q4: mean weight change for the 75–100% weight loss quartile, that is, the 25% who had the
                smallest weight loss




                                      Russell-Jones et al. Diabetes 2008; 57 (Suppl. 1): Abstract 2147-PO
                                                                                      Victoza® update   August 2009   Slide
                                                                                                                         Slide
                                                                                                                             noNo
                                                                                                                                3232




              Effect of Victoza® on body weight



                             2
Change in body weight (kg)




                             1                                                               •  Waist circumference
                                                                                                   was reduced from
                             0                                                                     baseline by 2.7 cm
                                                                                                   (1.06 inches) with
                             -1                                                                    Victoza® (p<0.0001)

                             -2                                                              •  Waist circumference
                                                                                                   increased by 0.3 cm
                             -3                                                                    (0.12 inches) with
                                                                                                   glimepiride
                             -4     Victoza®     Victoza®   Glimepiride**
                                     1.2 mg       1.8 mg    + metformin
                                  + metformin* + metformin*


                                        *p≤0.01 vs glimepiride + metformin
                                        ** sulfonylurea
                                         Nauck et al. Diabetes 2008; 57 (Suppl. 1): Abstract 504-P;
                                Exhibit K

VICTOZA USB DRIVE MEDICAL SLIDE DECK CONTAINING OFF-LABEL WEIGHT LOSS
PROMOTION INFORMATION.




                                Exhibit K
	
Liraglutide

                     A once-daily human
      GLP-1 analogue for the treatment of
                          type 2 diabetes
  Presentation outline

•  Key challenges of type 2 diabetes
•  The incretin effect and liraglutide
•  Liraglutide: mechanism of glucose-
   lowering action
•  The LEAD programme
•  Comparison to other incretin-based
   therapies
  Presentation outline

•  Key challenges of type 2 diabetes
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•  Liraglutide: mechanism of glucose-
   lowering action
•  The LEAD programme
•  Comparison to other incretin-based
   therapies
  Key challenges of type 2 diabetes

1.  Diabetes is a progressive disease characterised by:
    •  Declining beta-cell function
    •  Deterioration of glycaemic control
    •  Increased risk of cardiovascular disease
2.  As diabetes treatments are added to control glucose,
    physicians and patients face trade-offs such as:
    •  Hypoglycaemia
    •  Weight gain
    •  Complex treatment regimens (multiple daily dosing and
       need for self-monitoring of blood glucose)
     Key challenges of type 2 diabetes:
     outcome




                             43% of patients
                                 do not
                        achieve glycaemic targets
                              (HbA1c<7%)




Ford et al (NHANES). Diabetes Care 2008;31:102–4
      Beta-cell function progressively
      declines

                                   100
                                                                Diabetes diagnosis
    Beta-cell function (%, HOMA)




                                   80


                                   60


                                   40


                                   20
                                                 Extrapolation of beta-cell function prior to diagnosis
                                    0
                                    –12   –10   –8   –6   –4    –2     0    2        4    6     8
                                                           Years from diagnosis




HOMA: homeostasis model assessment
Lebovitz. Diabetes Reviews 1999;7:139–53 (data are from the UKPDS population: UKPDS 16.
Diabetes 1995;44:1249–58)
                   Over time, glycaemic control
                   deteriorates
                                         Conventional*                                    Rosiglitazone
                   UKPDS                 Glibenclamide                ADOPT
                                                                                          Metformin
                                         Metformin                                        Glibenclamide
                   9                     Insulin
                                                                 8
              8.5
Median HbA1c (%)




                   8                                            7.5


              7.5
                                                                 7
                   7
                                           Recommended
                                             treatment          6.5
              6.5                          target <7.0%†

                   6                                             6
                           6.2% – upper limit of normal range
                       0      2       4     6       8      10         0       1     2       3       4     5
                           Years from randomisation                               Time (years)
    *Diet initially then sulphonylureas, insulin and/or
    metformin if FPG>15 mmol/L; †ADA clinical practice
    recommendations. UKPDS 34, n=1704




UKPDS 34. Lancet 1998:352:854–65; Kahn et al. (ADOPT). NEJM 2006;355:2427–43
                                   Systolic blood pressure and mortality
                                   from heart disease increase
                                                   White Caucasian                            10-year age-adjusted mortality from
Δ systolic blood pressure (mmHg)




                                                   Afro-Caribbean                             coronary heart disease (CHD) according
                                   12              Asian of Indian origin                     to blood glucose at baseline
                                   10
                                                                                                                                  Males
                                    8
                                                                                                      20                          Females




                                                                                  % mortality (CHD)
                                    6
                                    4
                                    2
                                    0                                                                 10

                                   -2        3                6              9
                                   -4              Years of diabetes

                                                                                                          Control    Borderline     Diabetes
                                   Mean (bars) and 99% CIs (vertical lines) for
                                                                                                       (no diabetes) diabetes
                                   cross-sectional changes




Davis et al. Diabetes Care 2001;24:1167–74; Jarrett et al. Diabetologia 1982;22:79–84
                Current treatments increase risk of
                hypoglycaemia
                                                                                                    45
    Hypoglycaemia, events/patient/year*



                                          20




                                                                Patients with hypoglycaemia** (%)
                                                                                                                                 39
                                                                                                    40

                                                                                                    35   p<0.05 glibenclamide
                                          15                                                             vs. rosiglitazone
                                                                                                    30

                                                                                                    25
                                          10
                                                                                                    20

                                                                                                    15                 12
                                                                                                           10
                                          5                                                         10

                                                                                                    5

                                           0                                                        0

                                               Glargine   NPH                                       Rosiglitazone Metformin Glibenclamide
  *All symptomatic hypoglycaemic events                          ** Patients self-reporting (unconfirmed) hypoglycaemia




Riddle et al. Diabetes Care 2003;26:3080; Kahn et al. (ADOPT). NEJM 2006;355:2427–43
                            Most therapies result in weight gain over
                            time
                        UKPDS: up to 8 kg in 12 years                                        ADOPT: up to 4.8 kg in 5 years
                        8                                                            100

                        7                       Insulin (n=409)
Change in weight (kg)




                        6
                                                                                             96
                        5




                                                                               Weight (kg)
                                                 Glibenclamide (n=277)
                        4
                                                                                             92
                        3

                        2
                                                                                             88
                        1
                                                    Metformin (n=342)
                        0
                            0           3          6          9          12                  0
                                                                                                  0        1      2   3       4       5
                                         Years from randomisation
                                                                                                                              Years
                            Conventional treatment (n=411);                                       Rosiglitazone
                            diet initially then sulphonylureas, insulin and/                      Metformin
                            or metformin if FPG >15 mmol/L                                        Glibenclamide




 UKPDS 34. Lancet 1998:352:854–65. n=at baseline; Kahn et al. (ADOPT). NEJM 2006;355:2427–43
The unmet need in type 2 diabetes


      As type 2 diabetes progresses:
        Beta-cell function declines

     HbA1c, FPG and PPG deteriorate

   Current therapies are associated with
    weight gain and/or hypoglycaemia

     Systolic blood pressure increases


       Is there a solution?
  Presentation outline

•  Key challenges of type 2 diabetes
•  The incretin effect and liraglutide
•  Liraglutide: mechanism of glucose-
   lowering action
•  The LEAD programme
•  Comparison to other incretin-based
   therapies
                           The incretin hormones play a crucial
                           role in a healthy insulin response

                          Plasma glucose                                                                  Insulin response
Plasma glucose (mmol/L)




                          15                              270                                             80




                                                                Plasma glucose (mg/dL)


                                                                                         Insulin (mU/L)
                                                                                                          60
                          10                              180
                                                                                                                    Incretin
                                                                                                          40
                                                                                                                     effect
                           5
                                                          90
                                                                                                          20

                           0                               0                                               0
                          –10 –5     60     120     180                                                    –10 –5
                                                                                                              60     120       180
                                   Time (min)                                                                Time (min)
                                      Oral glucose load (50 g)                             iv glucose infusion


           •  Insulin response is greater following oral glucose than iv glucose, despite
              similar plasma glucose concentration


Nauck et al. Diabetologia 1986;29:46–52, healthy volunteers (n=8)
                     In type 2 diabetes, GLP-1 infusion
                     markedly increases insulin secretion
         GLP-1 (but not GIP) increases both early and late-stage insulin secretion

                     3000
                              Continuous iv infusion during hyperglycaemic
                              clamp (15 mmol/L)
                     2500

                     2000           GLP-1 (1 pmol)
  Insulin (pmol/L)




                                    GIP (16 pmol)
                     1500

                     1000

                      500

                        0
                        –20     0             30                 80          120
                                                    Time (min)



Data are mean±SEM
Vilsbøll et al. Diabetologia 2002:45:1111–9
                   Insulin responses to physiological levels of GLP-1
                   are severely impaired in T2D but are restored by
                   pharmacological doses

                       Physiological levels of GLP-11                           Pharmacological levels of GLP-12
                           (15 mM hyperglycaemic clamp)                                             (15 mM hyperglycaemic clamp)
                                  GLP-1 infusion period                                                       GLP-1 infusion period
                   6000                                                                            6000
                                    (0.5 pmol/kg/min)                                                         (1.0 pmol/kg/min)
Insulin (pmol/L)




                                                                                Insulin (pmol/L)
                   5000                                                                            5000
                                          Plasma GLP-1:                                                        Plasma GLP-1:
                   4000                       46 pmol/L                                            4000           126 pmol/L
                                                 Healthy                                                       Type 2 diabetes

                   3000                                                                            3000

                   2000                                                                            2000
                                                        Plasma GLP-1:
                   1000                                     41 pmol/L                              1000
                                                        Type 2 diabetes

                       0                                                                              0
                             0        30   60     90           120                                        0    30      60    90      120
                                       Time (min)                                                                   Time (min)



                   1. Højberg et al. Diabetologia 2008 [Epub ahead of print].       2. Vilsbøll et al. Diabetologia 2002;45:1111–9
                    GLP-1 increases insulin, and reduces
                    glucagon; lowering glucose levels

                                  Infusion                                      Infusion                                     Infusion
                                   PBO                                               PBO                                         PBO
                                  GLP-1                                             GLP-1                                       GLP-1
                   300                                                                                              15




                                                                                                 Glucose (mmol/L)
                                                                         20


                                                     Glucagon (pmol/L)
Insulin (pmol/L)




                   200                                                                                              10      *
                                                                                                                                *
                                                                                                                                    *
                                                                         10     *                                                       *
                                                                                    * **                                                    * *
                   100               * *                                                                            5                           *
                                   *
                            * *              * *
                                                 *
                     0                                                    0                                         0
                    -30 0   60 120 180 240                                -30 0 60 120 180 240                      -30 0   60 120 180 240
                              Time (min)                                         Time (min)                                  Time (min)

                                                                                                             Placebo (PBO)
                                                                                                             Native human GLP-1



 Mean (SE); n=10; *p<0.05; type 2 diabetes patients (n=10)
 Nauck et al. Diabetologia 1993;36:741–4
                            24-hour GLP-1 presence is required
                            for 24-hour glucose control


                            25                                              25
  Plasma glucose (mmol/L)




                            20                                              20


                            15                                              15


                            10                                              10


                             5                                                5
                                            16-h GLP-1 infusion                            24-h GLP-1 infusion

                             04        08     12     16    20   00     04      04     08     12     16    20   00   04
                                                                                                  Time (h)
                                 Blood glucose profiles:   Before native human GLP-1 treatment
                                                           After 7 days’ native human GLP-1 treatment




Larsen et al. Diabetes Care 2001;24:1416–21 (n=8)
The family of incretin-based
therapies

  Human GLP-1      Exendin-based
 analogues, e.g.   therapies, e.g.
   liraglutide       exenatide

                                             DPP-4
                                        inhibitors, e.g.
                     GLP-1                sitagliptin,
                    receptor              vildagliptin
                    agonists



                           Incretin-based
                              therapies
     Liraglutide is a once-daily, human
     GLP-1 analogue

  Native human GLP-1                                           Liraglutide
    7         9                                                        7         9
  His Ala Glu Gly Thr Phe Thr Ser Asp                               His Ala Glu Gly Thr Phe Thr Ser Asp
                                     Val                   C-16 fatty acid (palmitoyl)                 Val
                                              Ser                  Glu                                 Ser
   Lys Ala Ala Gln Gly Glu Leu Tyr Ser                                 Lys Ala Ala Gln Gly Glu Leu Tyr Ser
Glu                                                                 Glu
Phe                           36                                    Phe                           36
   Ile Ala Trp Leu Val Lys Gly Arg Gly                                Ile Ala Trp Leu Val Arg Gly Arg Gly


        Enzymatic degradation by                         97% amino acid homology to human GLP-1;
                 DPP-4                                     improved PK: albumin binding through
                                                                 acylation; self-association

                                                               •  Slow absorption from subcutis
             T½=1.5–2.1 min                                    •  Resistant to DPP-4
                                                               •  Long plasma half-life (T½=13 h)




Knudsen et al. J Med Chem 2000;43:1664–9; Degn et al. Diabetes 2004;53:1187–94
                              Once-daily liraglutide produces
                              high pharmacological levels of GLP-1

                              8000       Single individual profile: steady-state reached after three doses
Plasma liraglutide (pmol/L)




                              6000


                              4000


                              2000



                                     1     2    3     4    5     6    7    8       9    10    11    12       13
                                                                  Time (days)

    Model curve fitted to 30 data points


  Agersø et al. Diabetologia 2002;45:195–202
  Presentation outline

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   lowering action
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•  Comparison to other incretin-based
   therapies
     A single dose of liraglutide restores
     beta-cell glucose sensitivity
•  Type 2 diabetes                                                                                 Healthy controls (n=10)
                                                                                     14
   patients received a




                                              Insulin secretion rate (pmol/min/kg)
                                                                                                   Liraglutide 7.5 µg/kg
   single liraglutide or                                                             12
                                                                                                   Placebo
   placebo injection 9 h                                                             10
   before (crossover)
   trial                                                                             8

•  Insulin secretion was                                                             6

   measured                                                                          4

•  Liraglutide restored                                                              2
   beta-cell                                                                                                                       mmol/L
   responsiveness to                                                                 0
                                                                                          4              6          8        10      12
   elevated glucose to
                                                                                              80   100       120   140 160   180 200 220
   the level of healthy                                                                                            Glucose          mg/dL
   volunteers

Data are mean±SEM; type 2 diabetes patients (n=10).
Chang et al. Diabetes 2003;52:1786–91
                          Liraglutide improves first-phase insulin secretion and
                          maximal beta-cell insulin secretory capacity

       Mean clamp profiles for insulin                                                                                                       Maximal beta-cell
                                                                                                                                                secretory
                          2716                                                       Figure 8.1
                                                                       Mean First Phase Insulin (Clamp) Profiles                                 capacity
                          2477
                                              256

                                              241

                                              226

                          2238                211
 Concentration (pmol/L)




                                      Concentration (pmol/L)




                                              195
                                                                                                                              Liraglutide
                          1999                180

                                              165
                                                                                                                              Placebo
                          1761                150

                                              135


                          1522                119

                                              104



                          1283
                                                       89
                                                               0   2       4     6     8     10    12    14    16   18   20




                          1044
                           805          First-phase
                                     insulin response
                           567
                           328
                            89
                                 0   15                                         30                            45    60    75         90     105 Arginine 135     150
                                                                                                               Time (min)                        bolus



As measured by first-phase insulin response and maximal beta-cell secretory capacity. Mean insulin profiles
during glucose bolus (insert), hyperglycaemic clamp and arginine stimulation test; type 2 diabetes patients
(n=39); Vilsbøll et al. Diabet Med 2008;25:152–6
              Liraglutide does not induce insulin
              secretion at low glucose levels


                                     4.3         3.7          3.0      2.3
                                    (77)        (67)         (54)     (41)
                                                                                   Controlled plasma glucose
                                                                                   plateau mmol/L (mg/dL)
   Insulin secretion rate




                            1
      (pmol/kg/min)




                                                                                   Liraglutide (n=11)

                                                                                   Placebo (n=11)

                            0

                                0          60          120          180      240
                                                  Time (min)




Data are mean±SEM.
Nauck et al. Diabetes 2003;52(Suppl. 1):A128
                   Effect on alpha cells: liraglutide
                   suppresses glucagon secretion
                                                                              Placebo (n=13)
                             140
                                                                              Liraglutide (6 µg/kg OD) (n=13)
   Plasma glucagon (pg/mL)




                             120
                                                                                   24-h glucagon AUC
                                                                                   after 5 days (ng/L/h)

                             100                                                      2371±135
                                                                                      2179±118
                                                                                      (p=0.04)
                              80
                                                                                    •  In addition, there
                              0                                                        is no suppression
                                   0     4        8       12      16     20   24       of glucagon
                                             Time after injection (hours)              secretion during
                             Injection
                              (08.00)                                                  hypoglycaemia



Data are mean±SEM; type 2 diabetes patients (n=13)
Degn et al. Diabetes 2004;53:1187–94
      Liraglutide has multiple direct effects on
      human physiology



     Pancreas                          Brain
    Insulin secretion                  Energy intake*
    (glucose-dependent)
    and beta-cell sensitivity
                                       Liver
                                       Hepatic glucose output
      Insulin synthesis
       Glucagon secretion
      (glucose-dependent)
                                       GI tract
      Beta-cell mass*                  Decreased
                                       motility



*in animal studies
  Presentation outline

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   therapies
    LEAD covers the continuum of T2D care,
    compared with standard treatments
Liraglutide
monotherapy vs. SU
LEAD-3                                                                                 Add a third oral
                                                                                       or start insulin
            Liraglutide+MET vs.
            SU+MET
            LEAD-2

            Liraglutide+SU vs.                                 Add another                                Liraglutide+MET+TZD
                                                                                                          vs. MET+TZD
            TZD+ SU                                             oral agent                                LEAD-4
            LEAD-1
                                                                                                          Liraglutide+MET+SU
                                                                                                          vs. glargine+MET+SU
                                                                                                          LEAD-5
                            Start an oral agent

                                                                                  Liraglutide+MET and/or SU
                                                                                  vs. exenatide+MET and/or SU
                                                                                  LEAD-6
      Diet/exercise

LEAD: Liraglutide Effect and Action in Diabetes. All studies 26 weeks’ duration (LEAD 3=52 weeks); all RCT; Marre et al.
Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2); Garber et al. Lancet
2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4); Russell-Jones et al.
Diabetes 2008;57(Suppl. 1):A159 (LEAD-5); Buse et al. Lancet 2009; in press (LEAD-6).
       LEAD: demographics
                             LEAD-3            LEAD-2                LEAD-1            LEAD-4               LEAD-5          LEAD-6
                              Mono-           Met combi-               SU             Met + TZD            Met + SU        Met +/or
                             therapy            nation               combi-            combi-               combi-         SU combi-
                                                                     nation            nation               nation          nation


Patients
                                746                1091                1041                533                 581           464
randomised
Study duration
                                 52                  26                  26                 26                  26            26
(weeks)
Age (yrs)                       53.0               56.8                56.1                55.1                57.5          56.7

Duration of
                                 5.4                7.4                 7.9                 9.2                 9.4           8.2
diabetes (yrs)

FPG (mM)                         9.5               10.0                 9.8                10.1                 9.2           9.6

HbA1c (%)                        8.3                8.4                 8.4                 8.3                 8.2           8.2

BMI (kg/m2)                     33.1               31.0                30.0                33.5                30.5          32.9
Weight (kg)                     98.8               88.6                81.6                96.3                85.4          93.1




LEAD: Liraglutide Effect and Action in Diabetes. All studies 26 weeks’ duration (LEAD 3=52 weeks); all RCT; Marre et al.
Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2); Garber et al. Lancet
2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4); Russell-Jones et al.
Diabetes 2008;57(Suppl. 1):A159 (LEAD-5); Buse et al. Lancet 2009; in press (LEAD-6).
            Sustained HbA1c <7.0% for 52
            weeks with liraglutide monotherapy
 LEAD-3, previous diet and exercise-treated




                                                                    Change in HbA1c (%)*
                                                                                           -0.2
 patients                                                                                  -0.4
                                                                                           -0.6
                                                                                                                        -0.9
            9.0           Glimepiride 8 mg                                                 -0.8
                                                                                           -1.0
                          Liraglutide 1.2 mg monotherapy                                               -1.2
                                                                                           -1.2
                          Liraglutide 1.8 mg monotherapy                                   -1.4                -1.6
            8.5                                                                            -1.6
HbA1c (%)




            8.0


            7.5


            7.0


            6.5
                  0   4    8    12   16     20      24     28         32                          36    40    44   48   52 Weeks




Garber et al. Lancet 2009;373:473–81 (LEAD-3). Data are mean (SD)
            LEAD programme: reductions in
            HbA1c with liraglutide
                       Monotherapy          Metformin             SU                  Met + TZD           Met + SU
                         LEAD-3            combination        combination            combination         combination
                                             LEAD-2             LEAD-1                 LEAD-4              LEAD-5
     Baseline
      A1c %             8.4    8.6 8.6    8.4 8.2    8.2      8.5     8.6     8.3    8.5   8.6     8.4     8.3 8.1
                0.0
                -0.2
 in HbA1c (%)




                          51%     43%
                -0.4
                -0.6                                                                             -0.5

                -0.8
                                                                              -0.8
                                  -0.9
 #Change




                -1.0
                -1.2                                 -1.1                                                         -1.1
                       -1.2*
                -1.4                                                                                      -1.3*
                                         -1.3 -1.3            -1.4*
                -1.6                                                  -1.5*          -1.5* -1.5*
                             -1.6*
                  Liraglutide 1.2 mg     Liraglutide 1.8 mg    Glimepiride 8 mg         Rosiglitazone 4 mg         Glargine

Significant *vs. comparator; #Change in HbA1c from baseline for overall population (LEAD-4,-5) add-on to diet
and exercise failure (LEAD-3); or add-on to previous OAD monotherapy (LEAD-2,-1).
Marre et al. Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2);
Garber et al. Lancet 2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124
(LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
                      Liraglutide reduces HbA1c further in
                      very poorly controlled patients
                              Baseline              Baseline        Baseline     Baseline
                               HbA1c                 HbA1c           HbA1c        HbA1c
                             Quartile 1            Quartile 2      Quartile 3   Quartile 4
                               <7.4                 7.4–8.3          8.3–9.2      ≥9.2
                        0


                      -0.5
Change in HbA1c (%)




                      -1.0


                      -1.5


                      -2.0

                             Liraglutide + met + rosiglitazone
                      -2.5                                                           2.3%
                                          1.2 mg     1.8 mg




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
                 Percentage of patients reaching
                 ADA targets when adding liraglutide
                                Monotherapy          Metformin             SU           Met + TZD             Met + SU
                                  LEAD-3            combination        combination     combination           combination
                                                      LEAD-2             LEAD-1          LEAD-4                LEAD-5
                          70
                                      ***                66%
                          60     **   62%
                                                                       *** ***             ***
                                                                                                 ***
  % reaching ADA target




                                                                                           58%
                                58%                            56%     57% 56%                                ***
                          50                       53%
                                                                                                 54%          53%

                                                                                                                    46%
                          40
                                   51%      43%                                  36%
                          30                31%
                                                                                                       28%
                          20

                          10

                          -0
                           Liraglutide 1.2 mg     Liraglutide 1.8 mg    Glimepiride 8 mg    Rosiglitazone 4 mg      Glargine

***p<0.0001 **p<0.001 vs. comparator; Patients reaching HbA1c ADA targets for overall population (LEAD 4,5) add-
on to diet and exercise failure (LEAD-3); or add-on to monotherapy (LEAD-2,-1).

Marre et al. Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2);
Garber et al. Lancet 2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124
(LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
                Liraglutide reduces both FPG
                and PPG
   Liraglutide reduces FPG (before 2 weeks)                            Mean PPG reduction over 3 meals
                10                                                                          Mono     Met       SU    Met      Met
                                                                                           LEAD-3   combi    combi + TZD      + SU
                           Liraglutide 1.8 mg + met + SU                                            LEAD-2   LEAD-1 combi    combi
                                                                                                                    LEAD-4   LEAD-5
                           Insulin glargine + met + SU                                 0
                 9




                                                              PPG reduction (mmol/L)
 FPG (mmol/L)




                                                                                       1
                8

                                                                                       2

                 7

                                                                                       3

                     0 2      8    12      18            26
                                                                                           Liraglutide 1.2 mg
      LEAD-5                      Week                                                     Liraglutide 1.8 mg


Marre et al. Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2);
Garber et al. Lancet 2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124
(LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
    Liraglutide improves beta-cell function as
    measured by HOMA-B and pro-insulin:insulin
    ratio
 Treatment differences in changes:
 *p<0.05, ***p<0.0001 vs. placebo;
  †p<0.05, †††p<0.01 vs. rosiglitazone; NS for all other treatment comparisons




Darker bars = baseline values
Lighter bars = 26 weeks (LOCF)
(Statistical analysis [ANCOVA] performed on change in beta-cell function)

Data are mean±2SE
Marre et al. Diabetic Medicine 2009;26:268–78 (LEAD-1)
     Liraglutide in combination with metformin
     presents a low risk of hypoglycaemia

                                     ***p<0.0001 for treatment differences in changes versus glimepiride




•  Minor hypoglycaemic events are at the placebo level (LEAD-2, above)
•  There is a small but increased risk of minor hypoglycaemia when combined
     with SUs (1.0 events per subject every second year; LEAD-1)
Marre et al. Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009; 32; 84–90
(LEAD-2)
                        When used to treat T2D, liraglutide
                        consistently reduces systolic blood pressure

                               Mono-                 Met                    SU                  Met + TZD   Met + SU
                              therapy             combination           combination            combination combination
                       1       LEAD-3               LEAD-2                LEAD-1                 LEAD-4      LEAD-5

                       0
                                                                  0.4                                                   0.5
Change in SBP (mmHg)




                       -1                  -0.7
                                                                                        -0.9

                       -2
                             -2.1
                                                           -2.3
                       -3                                                 -2.6
                                                    -2.8
                                                            *                    -2.8

                       -4           -3.6            *
                                                                                                                -4.0
                                     *                                                                            *
                       -5
                                                                                                         -5.5
                       -6
                                                                                                          **
                                                                                                  -6.6
                       -7
                                                                                                  ***
                            Liraglutide 1.2 mg       Liraglutide 1.8 mg     Glimepiride 8 mg       Rosiglitazone 4 mg     Glargine



 ***p<0.0001 **p<0.001 *p<0.05 vs. baseline
 Data originally presented as Colagiuri et al. Diabetes 2008;57(Suppl. 1):A16
     When used to treat T2D, liraglutide reduces
     SBP before any major effect on weight
     occurs
      **p<0.001 and ***p<0.0001 for change from baseline




Mean±2SE
Zinman et al. Diabetes Care 2009;DOI:10.2337/dc08-2124 (LEAD-4)
     Sustained weight reduction over
     52 weeks with liraglutide
      ***p<0.0001 for change from baseline




Garber et al. Lancet 2009;373:473–81 (LEAD-3)
       Weight loss with liraglutide
       increases with higher baseline BMI




Statistical analysis not performed
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
     A quarter of patients lose an
     average of 7.7 kg with liraglutide




   0–Q1: mean weight change for the 25% of subjects who had the largest weight loss
  Q1–Q2: mean weight change for the 25–50% weight loss quartile
  Q2–Q3: mean weight change for the 50–75% weight loss quartile
  Q3–Q4: mean weight change for the 75–100% weight loss quartile, that is, the 25% who had the
  smallest weight loss




Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2)
     Liraglutide reduces visceral body fat




•  Two thirds of weight lost was fat tissue (liraglutide 1.8 mg)

Data are mean±SEM; *p<0.05 vs. glim+met; n=160.
LEAD-2 substudy, originally presented as Jendle et al. Diabetes 2008;57(Suppl. 1):A32
     Nausea with liraglutide is transient

   Proportion of subjects with nausea by week and treatment – safety population




Garber et al. Lancet 2009;373:473–81 (LEAD-3)
       Few patients withdrew due to
       nausea
                                                                                                 Withdrawals due to
                                                                       Nausea
                                                                                                      nausea
                                                                        (%)
                                                                                                    (n/total patients)

          LEAD-3                Liraglutide 1.8 mg                         29                               5/246
           Mono
                                Glimepiride                                 9                               0/248
        LEAD-2                  Liraglutide 1.8 mg                         19                              15/242
       Metformin
      combination               Glimepiride                                 3                               0/242

        LEAD-1                  Liraglutide 1.8 mg                          7                               2/234
          SU
      combination               Rosiglitazone                               3                               0/231

        LEAD-4                  Liraglutide 1.8 mg                         40                              16/178
       Met +TZD
      combination               Placebo                                     9                               0/175

        LEAD-5                  Liraglutide 1.8 mg                         14                               2/230
       Met + SU
      combination               Glargine                                    1                               0/232

Marre et al. Diabetic Medicine 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2); Garber et al.
Lancet 2009;373:473–81 (LEAD-3); Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4); Russell-Jones et
al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5). Studies 26 weeks (LEAD 3=52 weeks)
  Presentation outline

•  Key challenges of type 2 diabetes
•  The incretin effect and liraglutide
•  Liraglutide: mechanism of glucose-
   lowering action
•  The LEAD programme
•  Comparison to other incretin-based
   therapies
    Concentration of active liraglutide is higher than
    GLP-1 concentration with a DPP-4 inhibitor

    GLP-1 levels after 7 days’ liraglutide                         GLP-1 levels after 28 days’ vildagliptin
    6 µg/kg OD* (n=13)                                             100 mg BD (n=9)

               120                                                   120
                           Liraglutide dose
     GLP-1 (pmol/L)




                      90                                               90

                                                                             DPP-4 inhibitor
                      60                                               60     (vildagliptin)
                                                                                   dose

                      30                                               30


                      0                                                 0
                            8    12     16    20   24                          8     12 16     20   24
                                      Time (h)                                        Time (h)
 *GLP-1 levels for liraglutide calculated as 1.5% free liraglutide




Degn et al. Diabetes 2004;53:1187–94. Mari et al. J Clin Endocrinol Metab 2005;90:4888–94
        Liraglutide: greater homology to native
        human GLP-1, less antibody formation

                                                                             Percentage of patients
                       Native human GLP-1                                    with increase in
                                                                             antibodies

                                                                            100
                                                  Liraglutide
                                                                            80
  97% amino
 acid homology
                                                                            60
to human GLP-1
                                                                            40                   43%
                                                                            20    8.6%
                                                                Exenatide
                                                                             0
                        53% amino acid                                        Liraglutide1    Exenatide +
                          homology to                                                         metformin2
                         human GLP-1
                                                                              •  There was no blunting
                                                                              of efficacy by liraglutide
                                                                              antibodies




   Study duration: Liraglutide 26 weeks; exenatide 30 weeks.
   1Data on file; 2DeFronzo et al. Diabetes Care 2005;28:1092
             Steady state levels of liraglutide
             and exenatide

                                                 exenatide BD            liraglutide OD               pM nM
                                                     T½ 2.4 h                T½ 13 h




                                                                                                                28
    Normalised concentration (%)




                                                                                                    50
                                   100
                                                                                                            24




                                                                                                                     Absolute concentration
                                    80                                                              40
                                                                                                            20

                                    60                                                              30
                                                                                                            16

                                    40                                                              20      12

                                                                                                                8
                                    20                                                              10


                                     0                                                                0         0

                                     4.0   4.5       5.0        5.5        6.0       6.5        7.0
                                                    Time after first dose (days)



Modelling of plasma concentration of active drug vs. maximal concentration at steady state achieved following
clinically relevant doses OD or BD. Based on published exenatide data and modelled liraglutide data.
Jonker et al. Diabetes 56(Suppl. 1):A160
       Liraglutide in direct comparison with exenatide:
       significantly greater reduction in HbA1c




      Both liraglutide and exenatide was combined with met and/or SU
Mean (2SE)

Buse et al. Lancet 2009; in press (LEAD-6)
       Liraglutide improves beta-cell
       function more than exenatide




 Darker bars = baseline values
 Lighter bars = change from baseline




  •    HOMA-B cannot be assessed in patients on insulin

Data are mean (2SE)

Buse et al. Lancet 2009; in press (LEAD-6)
      Liraglutide and exenatide both reduce body
      weight (subjects receiving metformin only)
       Treatment difference in changes NS




Mean (2SE)

Buse et al. Lancet 2009; in press (LEAD-6)
       Nausea with liraglutide is transient

     Proportion of subjects with nausea by week and treatment




Buse et al. Lancet 2009; in press (LEAD-6)
Addressing unmet needs in type 2
diabetes: summary

When used to treat T2D, liraglutide improves:

              Beta-cell function

All glucose parameters, with a sustained effect
   on HbA1c and a low risk of hypoglycaemia

                 Body weight

           Systolic blood pressure
      ADA and EASD algorithm for the
      management of type 2 diabetes
•     Reinforce lifestyle interventions at every visit and check HbA1C every 3 months until HbA1C
      is <7% and then at least every 6 months. The interventions should be changed if HbA1C is
      ≥7%. Tier 1: Well validated core therapies

                                  Lifestyle and metformin                                    Lifestyle and metformin
      At diagnosis:
                                       + basal insulin                                          + intensive insulin
        Lifestyle
            +
       metformin
                                 Lifestyle and metformin
                                     + sulphonylureaa

        Step 1                           Step 2                                       Step 3

                Tier 2:   Less well validated studies

                                 Lifestyle and metformin
                                      + pioglitazone               Lifestyle and metformin
                                      No hypoglycaemia                  + pioglitazone
                                       Oedema/CHF                      + sulphonylureaa
                                         Bone loss


                               Lifestyle and metformin
                                   + GLP-1 agonistb                Lifestyle and metformin
                                     No hypoglycaemia
                                       Weight loss
                                                                        + basal insulin
                                     Nausea/vomiting

aSulfonylureas  other than glybenclamide (glyburide) or chlorpropamide.
bInsufficientclinical use to be confident regarding safety.
Nathan et al. Diabetes Care 2008;31:1–11
Liraglutide

                     A once-daily human
      GLP-1 analogue for the treatment of
                          type 2 diabetes
                                 Exhibit L

FOUR FREE STANDING WEIGHT LOSS SLIDES WHICH DEALT SOLELY WITH THE OFF-
LABEL WEIGHT LOSS FOR VICTOZA.




                                 Exhibit L
	
     Sustained weight reduction over
     52 weeks with liraglutide
      ***p<0.0001 for change from baseline




Garber et al. Lancet 2009;373:473–81 (LEAD-3)
       Weight loss with liraglutide
       increases with higher baseline BMI




Statistical analysis not performed
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
     A quarter of patients lose an
     average of 7.7 kg with liraglutide




   0–Q1: mean weight change for the 25% of subjects who had the largest weight loss
  Q1–Q2: mean weight change for the 25–50% weight loss quartile
  Q2–Q3: mean weight change for the 50–75% weight loss quartile
  Q3–Q4: mean weight change for the 75–100% weight loss quartile, that is, the 25% who had the
  smallest weight loss




Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2)
     Liraglutide reduces visceral body fat




•  Two thirds of weight lost was fat tissue (liraglutide 1.8 mg)

Data are mean±SEM; *p<0.05 vs. glim+met; n=160.
LEAD-2 substudy, originally presented as Jendle et al. Diabetes 2008;57(Suppl. 1):A32
                                      Exhibit M

    Lead	4/5	MEDICAL	SLIDES	CONTAIN	OFF-LABEL	WEIGHT	LOSS	PROMOTIONAL	INFORMATION.




                                      Exhibit M
	
LEAD-4


Liraglutide plus metformin and rosiglitazone
versus placebo plus rosiglitazone and metformin
in patients with type 2 diabetes
    LEAD covers the continuum of T2D care,
    compared with standard treatments
Liraglutide
monotherapy vs. SU
LEAD-3                                                                              Add a third oral
                                                                                    or start insulin
            Liraglutide+MET vs.
            SU+MET
            LEAD-2

            Liraglutide+SU vs.                               Add another                               Liraglutide+MET+TZD
                                                                                                       vs. MET+TZD
            TZD+ SU                                           oral agent                               LEAD-4
            LEAD-1
                                                                                                       Liraglutide+MET+SU
                                                                                                       vs. glargine+MET+SU
                                                                                                       LEAD-5
                           Start an oral agent

                                                                               Liraglutide+MET and/or SU
                                                                               vs. exenatide+MET and/or SU
                                                                               LEAD-6
      Diet/exercise

 LEAD: Liraglutide Effect and Action in Diabetes. All studies 26 weeks’ duration (LEAD 3=52 weeks); all RCT; Marre et al. Diabetic Medicine
 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2); Garber et al. Lancet 2009;373:473–81 (LEAD-3); Zinman et
 al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5); Buse et al. Lancet
 2009; in press (LEAD-6).
       LEAD-4: Design

Adults 18–80 years with            type
2 diabetes                                                              Liraglutide 1.2 mg once daily (n=178)

OAD therapy
                                                                        Liraglutide 1.8 mg once daily (n=178)
HbA1c
>7.0%
≤10.0% (two OADs)
≤11.0% (one OAD)                                                        Placebo once daily (n=177)

FPG                                           –12 –9 –7 –6          0     2                                26
7.5–12.8 mmol/L                                                                        Time (weeks)


BMI ≤45 kg/m2
                                           Rosiglitazone
                                           titration
                                           (4 mg)                   Liraglutide
                                                                    dose escalation

Randomised, double-blind,
parallel-group study at 96                          Metformin
sites in Canada and the USA                         titration
                                                    (2000 mg)


 Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Endpoints

•  Primary:
    •  HbA1c change after 26 weeks
•  Key secondary:
    •  Plasma glucose profile
    •  Body weight change
    •  Beta-cell function
    •  Blood pressure
    •  Hypoglycaemia
    •  Adverse events




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Demographics and baseline characteristics

                                                          Liraglutide    Liraglutide
                                                                                       Placebo
                                                            1.2 mg         1.8 mg

 Patients randomised, number                                       178       178          177

 Sex: male/female, number                                    102/76        87/91        109/68

 Age, years                                                55.2 (10.2)   55.1 (10.7)   54.9 (9.8)

 BMI, kg/m2                                                 33.2 (5.4)    33.5 (5.1)   33.9 (5.2)

 Duration of diabetes, years                                8.9 (5.5)     9.1 (5.6)    8.9 (5.5)

 Previous treatment, number (%):
      Monotherapy                                            29 (16)       29 (16)      32 (18)
      Combination therapy                                   149 (84)      149 (84)     145 (82)

 HbA1c %                                                    8.5 (1.2)     8.6 (1.2)    8.4 (1.2)

 FPG, mmol/L                                                10.1 (2.4)    10.3 (2.4)   10.0 (2.6)

 Blood pressure, mmHg:
      Systolic                                             129 (14.8)    126 (14.2)    128 (14.5)
      Diastolic                                             76 (9.0)      75 (8.4)      76 (9.2)


Data are mean (SD) unless stated otherwise

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Participant flow


         Liraglutide 1.2 mg                        Liraglutide 1.8 mg      Placebo


            Randomised                                 Randomised        Randomised
                  178                                        178            177




              Exposed                                    Exposed          Exposed
                  177                                        178            175

                                   24                               45                54

             Completed                                  Completed        Completed
             153 (86%)                                  133 (75%)        121 (68%)




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      HbA1c change over 26 weeks




       p-values relate to estimated treatment difference for changes from baseline.
       ***p<0.0001

Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      HbA1c change from baseline




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Subjects achieving HbA1c targets




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      FPG change over 26 weeks

       ***p<0.0001 for change from baseline




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      FPG change from baseline




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
     Subjects achieving FPG ≤7.2 mmol/L




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Seven-point glucose profiles

           * p<0.05 for treatment differences in changes after breakfast.
           p=NS for lunch and dinner




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      PPG change from baseline




 PPG is mean across three meals

Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
   Subjects achieving PPG <7.8 mmol/L




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Hypoglycaemia definitions


                                                                                       Classification
                                                                   No plasma
                                                                   glucose measure      Symptoms
                                                                   or plasma glucose    only
                                 Subject able to Yes               ≥ 3.1 mmol/L
  Hypoglycaemic
                                 treat the episode
  episode
                                 him/herself?
                                                                   Plasma glucose
                                                                                        Minor
                                                                   < 3.1 mmol/L
                                                  No*


                                                                                       Major


 *If food, glucagon or iv glucose needed to be administered
 by another person




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Minor hypoglycaemia
      (confirmed <3.1 mmol/L)




•     No major hypoglycaemic events
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Body weight change from baseline over
      26 weeks




p-values relate to estimated treatment difference for changes from baseline:
***p<0.0001; **p=0.011
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Body weight change from baseline




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Body weight change by BMI baseline
      subgroup




Statistical analysis not performed
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Body weight change by quartile of weight
      loss (liraglutide 1.8 mg)




Statistical analysis not performed
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      HbA1c change by quartile of weight loss
      (liraglutide 1.8 mg)




                                                                   Quartile 1: most weight loss
                                                                   Quartile 4: least weight loss

Statistical analysis not performed
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
   Liraglutide and beta-cell function as measured by
   HOMA-B and pro-insulin:insulin ratio (LEAD-4)




Darker bars = baseline values
Lighter bars = change from baseline


Data are mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      SBP change over 26 weeks




p-values relate to estimated treatment difference for changes from baseline:
***p<0.0001; **p<0.001
Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      SBP change from baseline




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      DBP change over 26 weeks

       Changes from baseline NS




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      DBP change from baseline

      Changes from baseline NS




Mean (SE)

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Efficacy summary

•  Significant HbA1c reduction compared with placebo
       •  54–58% of patients receiving liraglutide achieved HbA1c <7.0%
•  Sustained HbA1c reduction over 26 weeks
•  Significant FPG reduction compared with placebo
•  FPG reduction evident after only 2 weeks and sustained for
   26 weeks
•  Clinically-relevant weight reduction
        •  >3 kg weight reduction in subjects with highest BMI
•  Significant reduction in SBP compared with placebo
•  SBP reduction sustained over 26 weeks
        •  SBP effect precedes changes in body weight




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Withdrawals


                                     Liraglutide                   Liraglutide
                                     1.2 mg/day                    1.8 mg/day    Placebo       Total
                                       (n=178)                      (n=178)      (n=177)     (n=533)

 Adverse events                          11 (6.2)                   27 (15.2)     6 (3.4)     44 (8.3)


 Ineffective therapy                      3 (1.7)                    3 (1.7)     29 (16.4)    35 (6.6)

 Noncompliance
                                          4 (2.2)                    4 (2.2)      5 (2.8)     13 (2.4)
 with protocol

 Other                                    7 (3.9)                   11 (6.2)     16 (9.0)     34 (6.4)


 Total                                  25 (14.0)                   45 (25.3)    56 (31.6)   126 (23.6)




Data are number (%) of patients randomised

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
 Subjects with treatment-emergent adverse
 events leading to withdrawal
                                                              Liraglutide   Liraglutide
                                                                                          Placebo
                                                              1.2 mg/day    1.8 mg/day
                                                                                          (n=175)
                                                                (n=177)       (n=178)
 Overall                                                           14           27           7
 Gastrointestinal disorders                                        6            22           1
  Nausea                                                           3            16           0
 Metabolism and nutrition disorders                                4             4           1
 Investigations                                                    4             2           1
 Nervous system disorders                                          3             1           2
 Renal and urinary disorders                                       3             0           3
 Skin and subcutaneous tissue disorders                            1             4           0
 Infections and infestations                                       3             0           0
 Cardiac disorders                                                 2             0           1
 Respiratory, thoracic and mediastinal disorders                   2             0           1
 General and administration-site disorders                         0             1           1
 Neoplasm                                                          0             0           2
 Hepatobiliary disorders                                           0             1           0
 Psychiatric disorders                                             0             1           0
 Blood and lymphatic disorders                                     0             0           1
 Immune/allergy to metals                                          0             1           0
 Injury, poisoning and procedural complications                    0             1           0


Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      All adverse events occurring in >5% of
      subjects
                                                           Liraglutide        Liraglutide
                                                           1.2 mg/day         1.8 mg/day      Placebo
                                                            (n=177)             (n=178)       (n=175)
 Overall                                                      149 (84.2)       148 (83.1)      123 (70.3)
 Gastrointestinal disorders
       Constipation                                              9 (5.1)         9   (5.1)       2 (1.1)
       Diarrhoea                                               18 (10.2)        32   (18.0)     11 (6.3)
       Dyspepsia                                                 8 (4.5)         9   (5.1)       4 (2.3)
       Nausea                                                  52 (29.4)        71   (39.9)     15 ( 8.6)
       Vomiting                                                 13 (7.3)        31   (17.4)      5 (2.9)
 Infections and infestations                                   62 (35.0)        60 (33.7)      64 (36.6)
 Metabolism and nutrition disorders                            33 (18.6)        38 (21.3)       12 (6.9)
 General and administration-site disorders                     29 (16.4)        32 (18.0)      28 (16.0)
 Nervous system disorders                                      26 (14.7)        32 (18.0)      21 (12.0)
 Musculoskeletal and connective tissue
                                                               21 (11.9)        29 (16.3)      23 (13.1)
 disorders
 Respiratory, thoracic and mediastinal disorders               18 (10.2)        15 (8.4)       21 (12.0)
 Skin and subcutaneous tissue disorders                            14 (7.9)     13 (7.3)        13 (7.4)
 Eye disorders                                                     13 (7.3)      7 (3.9)        5 (2.9)




 Subjects with serious adverse events                        8/177 (4.5)       7/178 (3.9)    12/175 (6.9)



Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Frequency of nausea

    Proportion of subjects with nausea by week and treatment – safety population.
                           Statistical analysis not performed.




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Liraglutide antibodies




                                                                   Liraglutide   Liraglutide
                                                                   1.2 mg/day    1.8 mg/day
               Subjects with antibodies,
                                                                   6/147 (4.1)   9/135 (6.7)
               number (%)



               Presence of antibodies did not neutralise efficacy of HbA1c reduction




Data are number (%) of patients with antibody data

Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Safety summary

•  No major hypoglycaemia

•  Nausea is the most frequent adverse event

        •  Incidence declines with treatment duration

        •  Few discontinuations due to nausea

•  Very few subjects developed liraglutide antibodies




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
      Overall summary

In patients previously treated with OAD monotherapy or OAD
combination therapy, liraglutide achieved:
•  Sustained HbA1c reductions of up to 1.5%
•  Sustained reductions in fasting and postprandial plasma glucose
•  Sustained weight reduction: >3 kg in high-BMI subjects
•  No major hypoglycaemia
•  Sustained reductions in SBP
•  Incidence of nausea low and transient
•  Negligible antibody formation




Zinman et al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4)
LEAD-5


Liraglutide plus glimepiride versus insulin
glargine plus metformin plus sulphonylurea in
patients with type 2 diabetes
    LEAD covers the continuum of T2D care,
    compared with standard treatments
Liraglutide
monotherapy vs. SU
LEAD-3                                                                              Add a third oral
                                                                                    or start insulin
            Liraglutide+MET vs.
            SU+MET
            LEAD-2

            Liraglutide+SU vs.                               Add another                               Liraglutide+MET+TZD
                                                                                                       vs. MET+TZD
            TZD+ SU                                           oral agent                               LEAD-4
            LEAD-1
                                                                                                       Liraglutide+MET+SU
                                                                                                       vs. glargine+MET+SU
                                                                                                       LEAD-5
                           Start an oral agent

                                                                               Liraglutide+MET and/or SU
                                                                               vs. exenatide+MET and/or SU
                                                                               LEAD-6
      Diet/exercise

 LEAD: Liraglutide Effect and Action in Diabetes. All studies 26 weeks’ duration (LEAD 3=52 weeks); all RCT; Marre et al. Diabetic Medicine
 2009;26;268–78 (LEAD-1); Nauck et al. Diabetes Care 2009;32;84–90 (LEAD-2); Garber et al. Lancet 2009;373:473–81 (LEAD-3); Zinman et
 al. Diabetes Care 2009; DOI:10.2337/dc08-2124 (LEAD-4); Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5); Buse et al. Lancet
 2009; in press (LEAD-6).
      LEAD-5: Design

Adults 18–80 years with type
2 diabetes                                                 Liraglutide 1.8 mg once daily (n=232)†

≥3 months
OAD therapy
                                                           Placebo (n=115)†
HbA1c
>7.0% (two OADs)
≥7.5% (one OAD)                                            Insulin glargine once-daily (n=234)
≤10.0%

FPG                                  –6    –4    –2    0    2   4   6   8   10   12   14     16   18   20   22 24 26
7.5–12.8 mmol/L                                                                                              Time (weeks)
                                                            Dose escalation of liraglutide

BMI ≤45 kg/m2                                               Dose titration of glargine

                                                  Discontinue OADs, start and
                                                  titrate metformin (2000 mg)
                                                  and glimepiride (4 mg)

Study conducted at 107 sites in 17 countries

†Double-blind        treatments
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
       Insulin glargine titration

 •  Starting dose equivalent to FPG value (in mmol/L) to nearest 2U
 •  Dose titrated twice-weekly based on FPG (protocol adapted from
    Davies et al):
     ≤5.5mmol/L: no adjustment
     >5.5 and ≤6.7 mmol/L: add 0-2U
     ≥6.7 mmol/L: add 2U




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
Davies et al. Diabetes Care 2005;28:1282-8.
      Endpoints

•  Primary:
    •  HbA1c change after 26 weeks
•  Key secondary:
    •  Plasma glucose profile
    •  Body weight change
    •  Body composition
    •  Beta-cell function
    •  Blood pressure
    •  Hypoglycaemia
    •  Adverse events




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Demographics and baseline characteristics

                                                                Liraglutide                Insulin
                                                                              Placebo
                                                                  1.8 mg                   glargine

 Number randomised                                                  232          115          234

 Sex, male/female                                                132/100        56/59       140/94

 Age, years                                                      57.6 (9.5)   57.5 (9.6)   57.5 (10.5)

 BMI, kg/m2                                                      30.4 (5.3)   31.3 (5.0)   30.3 (5.3)

 Duration of diabetes, years                                     9.2 (5.8)    9.4 (6.2)     9.7 (6.4)

 Previous treatment:
      One OAD                                                    15 (7%)        6 (5%)      12 (5%)
      Two OADs                                                  217 (94%)     109 (95%)    212 (95%)

 HbA1c, %                                                        8.3 (0.9)    8.3 (0.9)     8.2 (0.6)

 FPG, mmol/L                                                     9.1 (2.1)    9.4 (2.0)     9.1 (2.0)

 Blood pressure, mmHg:
      Systolic                                                  135 (15.0)    133 (14.0)   133 (14.7)
      Diastolic                                                  81 (9.1)      80 (9.3)     81 (8.0)

Data are mean (SD) unless stated otherwise

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Participant flow


         Liraglutide 1.8 mg                                     Placebo        Insulin glargine


             Randomised                                   Randomised            Randomised
                    232                                           115               234




                Exposed                                         Exposed           Exposed
                   230                                           114                232

                                     25                                   19                      15

              Completed                                    Completed             Completed
              207 (89%)                                     96 (84%)             219 (94%)




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      HbA1c change over 26 weeks




Mean±2SE; p values relate to estimated treatment difference for changes from baseline.
*p<0.05 ***p<0.0001
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      HbA1c change from baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Subjects achieving HbA1c targets




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      FPG change over 26 weeks




 Mean±2SE; p values relate to estimated treatment difference for changes from baseline.
 ***p<0.0001
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Fasting glucose change from baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Subjects achieving FPG ≤7.2 mmol/L




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Eight-point glucose profiles




Statistical analysis not performed



Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      PPG change from baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Hypoglycaemia definitions


                                                                                    Classification
                                                                No plasma
                                                                glucose measure      Symptoms
                                                                or plasma glucose    only
                                    Subject able to Yes         ≥ 3.1 mmol/L
   Hypoglycaemic
                                    treat the episode
   episode
                                    him/herself?
                                                                Plasma glucose
                                                                                     Minor
                                                                < 3.1 mmol/L
                                                     No*


                                                                                    Major


 *If food, glucagon or iv glucose needed to be administered
 by another person




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Minor hypoglycaemia
      (confirmed <3.1 mmol/L)




 •     Five subjects had six major hypoglycaemic events
 •     No coma or seizure
Treatment difference in changes: p=NS for all comparisons
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Body weight change over 26 weeks




Mean±2SE; P values relate to estimated treatment difference for changes from baseline: ** p<0.01
***p<0.0001
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Body weight change from baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Body weight change by BMI baseline
      subgroup




Statistical analysis not performed
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Body weight change by quartile of weight
      loss (liraglutide 1.8 mg)




Statistical analysis not performed
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      HbA1c change by quartile of weight loss
      (liraglutide 1.8 mg)




                                                                Quartile 1: most weight loss
                                                                Quartile 4: least weight loss


Statistical analysis not performed
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
   Liraglutide and beta-cell function as measured by
   HOMA-B and pro-insulin:insulin ratio (LEAD-5)




 Darker bars = baseline values
 Lighter bars = change from baseline



 •    HOMA-B cannot be assessed in patients on insulin

Data are mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Pro-insulin:C-peptide change from
      baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      SBP change over 26 weeks

        ***p<0.001 for change from baseline




 p-values relate to estimated treatment difference for changes from baseline. ***p<0.0001
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      SBP change from baseline




Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      DBP change over 26 weeks




Treatment difference in changes: p=NS for all comparisons
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      DBP change from baseline




Treatment difference in changes: p=NS for all comparisons
Mean±2SE

Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Efficacy summary

•  Significant and sustained HbA1c reduction
       •  Reduction significantly greater than insulin glargine
       •  Subjects significantly more likely to achieve glycaemia targets than
          with insulin glargine
       •  More than 80% of monotherapy-treated subjects achieved HbA
          <7.0%
•  Rapid, sustained FPG reduction
•  Clinically-relevant weight reduction
       •  Mean 5.8 kg weight loss in highest quartile of weight loss
       •  Significant difference versus weight increase with insulin glargine
•  Significant reduction in systolic blood pressure
       •  Sustained 3.4 mmHg reduction with 1.8 mg/day liraglutide
       •  SBP effect precedes changes in body weight




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Withdrawals

                                          Number of patients (%)

                                          Liraglutide                        Insulin
                                                                 Placebo                   Total
                                          1.8 mg/day                         glargine

 Adverse events                             11 (4.7%)            1 (0.9%)    5 (2.1%)    17 (2.9%)


 Ineffective therapy                         2 (0.9%)           13 (11.3%)   1 (0.4%)    16 (2.8%)

 Noncompliance with
                                             1 (0.4%)            1 (0.9%)    5 (2.1%)     7 (1.2%)
 protocol

 Other                                      11 (4.7%)            4 (3.5%)    4 (1.7%)    19 (3.3%)


 Total                                     25 (10.8%)           19 (16.5%)   15 (6.4%)   59 (10.2%)




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      All adverse events occurring in >5% of
      subjects
                                                                Liraglutide                     Insulin
                                                                                Placebo
                                                                  1.8 mg                        glargine
 Overall                                                         151 (66%)      64 (56%)       127 (55%)

 Gastrointestinal disorders
      Diarrhoea                                                  23 (10%)        6   (5%)        3   (1%)
      Dyspepsia                                                   15 (7%)        1   (1%)        4   (2%)
      Nausea                                                     32 (14%)        4   (4%)        3   (1%)
      Vomiting                                                    15 (7%)        4   (4%)        1   (0%)

 Infection and infestation                                       51 (22%)       36 (32%)        63 (27%)

 Nervous system disorders                                        29 (13%)       11 (10%)        24 (10%)

 General and administration site
                                                                  13 (6%)        4 (4%)         10 (4%)
 disorders
 Musculoskeletal, conn. tissue
                                                                 22 (10%)       15 (13%)        34 (15%)
 disorders
 Metabolism and nutrition disorders                               20 (9%)        7 (6%)          5 (2%)

 Psychiatric disorders                                            4 (2%)         7 (6%)

 Respiratory disorders                                            7 (3%)         6 (5%)         10 (4%)



 Number of subjects with SAE (%)                                8/230 (3.5%)   7/114 (6.1%)   18/232 (7.8%)
Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Frequency of nausea

           Proportion of subjects with nausea by week and treatment – safety population




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Liraglutide antibodies




                                                                   Liraglutide 1.8 mg/day


 Number of subjects with antibodies                                    20/204 (9.8%)




                 Presence of antibodies did not neutralise efficacy of HbA1c reduction




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Safety summary

•  Low rate of serious adverse events (3.5%)

•  Nausea is the most frequent adverse event

       •  Low incidence declines with treatment duration




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
      Overall summary

In comparison to insulin glargine, liraglutide achieved:
•  Significantly greater HbA1c reduction without increased minor
   hypoglycaemia
•  Significant and substantial weight reduction
•  Reduction of more than 3 mmHg in systolic blood pressure


Liraglutide was well tolerated with:
•  Low rate of SAEs
•  Declining incidence of nausea




Russell-Jones et al. Diabetes 2008;57(Suppl. 1):A159 (LEAD-5)
                             Exhibit N

    EARLY DECK OF MEDICAL SLIDES EMPHASIZING WEIGHT QUESTION




                             Exhibit N
	
Diabetes Management

   In the Hospital


   Harold I. Daniel, MD, MSc, PhD
     Medical Scientific Director
         Novo Nordisk, Inc

        Please see prescribing information.
Henry R Has a Question
     Will I gain weight?
Comparison of Once-Daily Insulin Detemir                                                               Type 2
With Once-Daily NPH in Poorly Controlled
Patients on OAD Therapy
•  504 insulin-naive patients uncontrolled on OAD therapy
•  91 centers, Europe and the United States
•  Multicenter, randomized, open-label, 3-arm, parallel-group
   trial

                                  Insulin detemir PM, n=170

                                  NPH PM, n=166

                                  Insulin detemir AM, n=168

                                  Existing OADs continued

                          0                                                                       20
                                                            Weeks
                                                              Insulin titrated to target:
                                                              predinner PG <108 mg/dL*
OADs=oral antidiabetic drugs.
* Patients taking insulin detemir in the morning titrated to target prebreakfast PG <108 mg/dL.
Philis-Tsimikas A et al. Clin Ther. 2006;28:1569-1581.

                                             Please see prescribing information.
                                                                                                                           Type 2
Once-Daily Insulin Detemir With OAD Therapy:
Improved Glycemic Control With Less Weight Gain


                     10                Insulin detemir PM + OAD                                                    4
                                                                                                 +3.5 lb
                                       NPH PM + OAD




                                                                                                                        weight change (lb)
                     9.5
                      9                                                                                            3
           A1C (%)




                                                                                                                             Average
                     8.5                                                                         +1.5 lb
                                                                                                                   2
                      8
                     7.5                                                                                           1
                      7
                     6.5                                                                                           0
                           0                                  Weeks                                             20


             57% less weight gain was observed in patients taking insulin detemir
                     in the evening than in patients taking NPH insulin1*

Whether these observed differences represent true differences in the effects of insulin detemir and NPH insulin is not known, since
these trials were not blinded and the protocols (eg, diet and exercise instructions and monitoring) were not specifically directed at
exploring hypotheses related to weight effects of the treatments compared.
The clinical significance of the observed differences in weight has not been established.
*P=.005 vs NPH.
Philis-Tsimikas A et al. Clin Ther. 2006;28:1569-1581.
                                               Please see prescribing information.
Henry R Has a Question
  What about hypoglycemia?




     Please see prescribing information.
                                                                                                           Type 2
Once-Daily Insulin Detemir With OAD
Therapy: A Low Rate of Hypoglycemia


                                                                                               Detemir PM + OAD
                                   0.5                                     0.47                NPH PM + OAD
            Rate of hypoglycemic
            events/patient/year




                                   0.4               0.36

                                   0.3

                                   0.2

                                   0.1

                                    0
                                                              Overall
The rates of overall hypoglycemia and major hypoglycemia were comparable with those for NPH insulin.


Philis-Tsimikas A et al. Clin Ther. 2006;28:1569-1581. Data on file, Novo Nordisk, Inc.
                                              Please see prescribing information.
                                                                                           Type 2
Treating to Target: Insulin Detemir in Addition to
OADs in Patients With Type 2 Diabetes

•  475 insulin-naïve patients
•  58 centers, 10 countries


                    2-week
                                     Insulin detemir twice daily, n=237
                     run-in
                                     NPH twice daily, n=238

                                     Existing OADs continued (both groups)

                      -2         0                             12                     24
                                                            Weeks

                                                       Insulin titrated to target:
                                                       prebreakfast and predinner PG ≤108 mg/dL

OADs=oral antidiabetic drugs; PG=plasma glucose.
Hermansen K et al. Diabetes Care. 2006;29:1269-1274.
NPH insulin, Novo Nordisk Inc., Bagsvaerd, Denmark.

                                          Please see prescribing information.
                                                                                                                        Type 2
Glycemic Control With Less Weight Gain
vs. NPH

                                      Detemir                                                                    190
                10.0
                                                                                              +6.2 lb
                                      NPH                                                                        187
                 9.5




                                                                                                                          Average body
                 9.0




                                                                                                                           weight (lb)
                                                                                              +2.6 lb*           185
      A1C (%)




                 8.5
                 8.0                                                                                             183

                 7.5                                                                                             180
                 7.0
                 6.5
                                                                                                                 0
                       -2   0                        12                      24
                                                   Weeks
                        At least 70% of subjects in each group achieved A1C ≤7%
*P<.001.

The clinical significance of the observed differences has not been established. Whether these observed differences represent
true differences in the effects of insulin detemir and NPH insulin is not known since these trials were not blinded and the
protocols (eg, diet and exercise instructions and monitoring) were not specifically directed at exploring hypotheses related to
weight effects of the treatments compared.
Hermansen K et al. Diabetes Care. 2006;29:1269-1274.
NPH insulin, Novo Nordisk Inc., Bagsvaerd, Denmark.

                                              Please see prescribing information.
                                                                                                          Type 2
  Treatment With Insulin Detemir Is
  Associated With a Low Rate of Hypoglycemia

                       18          P<.001                                                      Detemir + OAD
                                                                                      0.010    NPH + OAD
Hypoglycemic events/




                       16




                                                               Hypoglycemic events/
                       14
                                                                                      0.008




                                                                  patient/month
    patient/year




                       12
                                                                                                      0.006
                       10                                                             0.006
                       8
                       6
                                                                                      0.004

                       4
                                                                                      0.002   0.001
                       2
                       0                                                                 0
                                  Overall                                                       Major
   N=476 patients with type 2 diabetes.
   Adapted from Hermansen K et al. Diabetes Care. 2006;29:1269-1274.
   Levemir [package insert]. Princeton, NJ: Novo Nordisk Inc.; 2005.

                                                Please see prescribing information.
                                                                                   Type 1
Efficacy of Once-Daily Insulin Detemir
in Basal-Bolus Therapy
•  747 patients with type 1 diabetes
•  92 sites



                                                  Detemir at bedtime
                                            + regular human insulin (n=491)
                3-week
               screening
                                                    NPH at bedtime
                                            + regular human insulin (n=256)
                                1-month
                                titration

                                                              6 months


NPH insulin, Novo Nordisk Inc., Bagsvaerd, Denmark.
Levemir [package insert]. Princeton, NJ: Novo Nordisk Inc.; 2005.
Russell-Jones D et al. Clin Ther. 2004;26:724-736.

                                             Please see prescribing information.
                                                                                                                        Type 1
Less Weight Gain Associated With Once-
Daily Insulin Detemir


                                               1.65
                                                                                                    Detemir
                          Mean weight Δ (lb)
                                                                         P=.024
                                                                                                    NPH
                            over 6 months

                                               1.10
                                                                                  +.68

                                               0.55


                                                  0


                                               -0.55
                                                                   -0.51



The clinical significance of the observed differences has not been established. Whether these observed differences represent
true differences in the effects of insulin detemir and NPH insulin is not known, since these trials were not blinded and the
protocols (eg, diet and exercise instructions and monitoring) were not specifically directed at exploring hypotheses related to
weight effects of the treatments compared.
Russell-Jones D et al. Clin Ther. 2004;26:724-736.

                                                       Please see prescribing information.
                                                                                                                       Type 2
Consistent Weight Results With Insulin
Detemir in Patients With Type 2 Diabetes

           9                                                                                      Detemir
                                                                                                  NPH
           8
                                               P<.001
           7
Weight ∆




                                                     6.2
  (lb)




           6
                    P=.005                                                                    P=.017
           5
                                                                                                    4.0
           4              3.5                                         P=.038

           3                                   2.6                          2.5
                                                                                              2.2
           2        1.5
                                                                      1.1
           1
           0                                                                                  Haak4
                Philis-Tsimikas1             Hermansen2               Rašlová3
                   20 weeks                   24 weeks                22 weeks               26 weeks

The clinical significance of the observed differences has not been established. Whether these observed differences represent true
differences in the effects of insulin detemir and NPH insulin is not known because these trials were not blinded and the protocols
were not specifically directed at exploring hypotheses related to weight effects of the treatments compared.
1.  Philis-Tsimikas A et al. Clin Ther. 2006;28:1569-1581.
2. Hermansen K et al. Diabetes Care. 2006;29:1269-1274.
3. Rašlová K et al. Diabetes Res Clin Pract. 2004;66:193-201.
4. Haak T et al. Diabetes Obes Metab. 2005;7:56-64.
                                             Please see prescribing information.
                                                                                                                                          Type 1

Consistent Weight Results With Insulin
Detemir in Patients With Type 1 Diabetes
                                5.0
                                                                                                                                        Detemir
                                4.0                                                                                                     NPH
                                       P=.002
                                3.0                       P<.001
                Weight ∆ (lb)




                                2.0                                     P<.001 P=.050
                                                 P<.001                                  P=.018 P=.018

                                                                                                               P=.024
                                1.0
                                                                                                                          P<.001

                                0.0




                                                                                         Home Q12h




                                                                                                                            Hermansen
                                                           De Leeuw



                                -1.0




                                                                                                               Russell-
                                                                               AM + hs




                                                                                                     AM + hs
                                                                               Pieber
                                                                      dinner
                                                                      Pieber
                                        Standl


                                                 Vague




                                                                                                     Home




                                                                                                               Jones
                                                                      AM +




                                -2.0




The clinical significance of the observed differences has not been established. Whether these observed differences represent
true differences in the effects of insulin detemir and NPH insulin is not known because these trials were not blinded
and the protocols were not specifically directed at exploring hypotheses related to weight effects of the treatments
compared.

                                                 Please see prescribing information.
The US PREDICTIVE™ 303 Study:
Trial Design

                                                               303 Algorithm group
N=5619 patients
with type 2 diabetes                                           n=2794 (542 sites)
Main Inclusion Criteria:
•  Type 2 diabetes
•  Variety of treatment
                                                               Standard-of-Care group
   backgrounds                                                 n=2825 (541 sites)
•  A1C ≤12%
•  BMI ≤45 kg/m2
•  Age ≥18 y             Week 0                                                    12
                                                26
                                           Visit 1               2
                                          Insulin
                                            3      Dose Titration:
                                          Week 0–12:                  Only basal can be titrated
                                          Week 12–26:                 Any glucose-lowering
                                                                      medication can be adjusted

Data on file.
Meneghini L et al. Presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                              Please see prescribing information.
The US PREDICTIVE™ 303 Study:                    Type 2
Simplified Insuiln Detemir Dose Titration Guidelines
for 303 Algorithm Arm



•  Dose adjustments made every third day based on an
   average of 3 consecutive FPG levels
                FPG
                                                             Dose Titration
              (mg/dL)
                                             Reduce insulin detemir dose
                   <80
                                                      by 3 units                                  3
               80–110                                            No change
                                            Increase insulin detemir dose
                                                                                                  0
                  >110
                                                      by 3 units                                  3
Data on file.
Meneghini L et al. Presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                             Please see prescribing information.
                                                                                                                   Type 2
The US PREDICTIVE™ 303 Study:
Analysis Sets

                                                         Total Type 2
                                                            5619


      Dropouts/Exclusions                                                                            Dropouts/Exclusions
                                      303 Algorithm group Standard-of-Care group
                                             2794                 2825

             No detemir therapy                                                                   No detemir therapy
                     7                                                                                    8

                                        Safety Analysis                Safety Analysis
 Follow-up time <18 or >36 weeks
                                             2787                           2817                    Follow-up time <18 or >36 weeks
                41                                                                                                 40


No efficacy data and follow-up time                                                                No efficacy data and follow-up time
         <18 or >36 weeks                                                                                   <18 or >36 weeks
                 4                                                                                                  4


No efficacy data at weeks 12 and 26                                                                No efficacy data at weeks 12 and 26
                277                                                                                                301

                                       Efficacy Analysis              Efficacy Analysis
                                         2465 (88%)                     2472 (88%)
Data on file.
Meneghini L et al. Presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                             Please see prescribing information.
                                                                                                                         Type 2
 The US PREDICTIVE™ 303 Study Insulin-Naïve Subgroup
 Analysis: Insulin Detemir Significantly Reduced A1C and
 FPG When Added to OAD Therapy


                                    A1C                                                             FPG
                                                                                                          †

                                    NS
                                                                                           *                       *
           10                                                                                    -55.4                   -44.5
                                                                               200    190.1                    190.9
          9.5             *                      *
                                                                               190




                                                                 FPG (mg/dL)
            9       8.7        -1.1                   -1.0
                                           8.6                                 180
A1C (%)




          8.5                                                                  170
            8                 7.6                    7.7                       160
          7.5                                                                  150                                     145.3
                                                                               140             133.9
            7                                                                  130
          6.5                                                                  120
            6                                                                  110
                     303               Standard-of-                                      303                  Standard-of-
                  Algorithm                Care                                       Algorithm                   Care
                n=802         n=737      n=809 n=742                                 n=795 n=732              n=803 n=739

                                                Baseline                        6 months
  *P<.0001.
  †P=.0001.

  Data on file.
  Selam JL et al. Abstract presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                               Please see prescribing information.
                                                                                                         Type 2
The US PREDICTIVE™ 303 Study Insulin-Naïve Subgroup
Analysis: Change in Rate of Hypoglycemia in Patients Who Added
Insulin Detemir to OAD Therapy
           Change in events per patient-month



                                                                          NS
                                                0.5
                                                0.4
                                                0.3
                                                0.2
                                                0.1     0.03                              0.04
                                                  0
                                                                -0.02                            -0.02
                                                -0.1
                                                -0.2
                                                -0.3
                                                -0.4
                                                -0.5
                                                       303 Algorithm                  Standard-of-Care

                                                               Overall                Major
Data on file.
Selam JL et al. Abstract presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                                           Please see prescribing information.
                                                                                                             Type 2
The US PREDICTIVE™ 303 Study Insulin-Naïve Subgroup
Analysis: 93% of Patients Remained on Once-Daily Dosing With
Insulin Detemir When Added to OAD Therapy


                                                                         Insulin
                 Insulin detemir more                                    detemir more
                                                                                                 5%
                 than once daily                                         than once
                                                                         daily
                                                                           Once-
                                         7%                                daily
                                                                          insulin             95%
                                                                          detemir

                                                                                        303 Algorithm
                                                                                           n=757         Insulin detemir
   Once-                                                                                                 more
   daily                                                                                                 than once daily
  Insulin                           93%                                                           8%

  detemir
                                                                           Once-
                                                                           daily
                                                                          Insulin             92%
                                                                          detemir
                              Total sample
                               (n=1526)                                               Standard-of-Care
                                                                                          (n=769)
Data on file.
Selam JL et al. Abstract presented at: 67th Scientific Session of ADA; June 22-26, 2007; Chicago, IL.
                                              Please see prescribing information.
Getting Started With Insulin Detemir Is Easy

                      Patients with type 2 diabetes uncontrolled on OAD therapy.

  When to dose               Once daily in the evening or at bedtime


  How to dose                Start at 10 units* or 0.1-0.2 units/kg


  How to titrate             Adjust the dosage according to the needs of the patient until desired
                             FPG has been achieved


  Blood glucose              FPG <110 mg/dL1-3
  goal

                  Unit-to-unit conversion in patients currently taking basal insulin.†
*Once or twice daily; 1 kg=2.2 lb.
†Thedose of insulin detemir should then be adjusted to achieve glycemic targets.
Any change of insulin should be made cautiously and only under medical supervision. Concomitant oral antidiabetes treatment
may require adjustment.
1. Lebovitz HE et al. Endocr Pract. 2006;12(suppl 1):6-12.
2. Philis-Tsimikas A et al. Clin Ther. 2006;28:1569-1581.
3. Selam JL et al. Abstract presented at: 67th Scientific Session of ADA; June 22-26; 2007. Chicago, IL.
   Levemir [package insert]. Princeton, NJ: Novo Nordisk Inc.; 2005.
                                            Please see prescribing information.
                              Exhibit O

RELATOR SMITH 2011-YEAR END ACE REVIEW




                              Exhibit O
	
                             Exhibit P

EMAILS   DOCUMENTING   RELATOR   SMITH’S   WORK   TO   BRING   MEDICAL

DEPARTMENT PERSONNEL ON RIDE ALONG PROGRAMS




                             Exhibit P
	
                      Exhibit	Q	


VICTOZA FDA FULL PRESCRIBING INFORMATION
	




                      EXHIBIT Q
	
HIGHLIGHTS OF PRESCRIBING INFORMATION                                                                                                      ——— CONTRAINDICATIONS ———
These highlights do not include all the information needed to use VICTOZA® safely and                          VICTOZA® is contraindicated in patients with a personal or family history of medullary thyroid
effectively. See full prescribing information for VICTOZA®.                                                    carcinoma or in patients with Multiple Endocrine Neoplasia syndrome type 2 (4).
VICTOZA® (liraglutide) injection, for subcutaneous use                                                         VICTOZA® is contraindicated in patients with a prior serious hypersensitivity reaction to VICTOZA® or
Initial U.S. Approval: 2010                                                                                    any of the product components (4).

                       WARNING: RISK OF THYROID C−CELL TUMORS                                                                         ——— WARNINGS AND PRECAUTIONS ———
                See full prescribing information for complete boxed warning.                                   • Thyroid C-cell Tumors: See Boxed Warning (5.1).
    • Liraglutide causes thyroid C-cell tumors at clinically relevant exposures in both                        • Pancreatitis: Postmarketing reports, including fatal and non-fatal hemorrhagic or necrotizing
      genders of rats and mice. It is unknown whether VICTOZA® causes thyroid C-cell                             pancreatitis. Discontinue promptly if pancreatitis is suspected. Do not restart if pancreatitis is
      tumors, including medullary thyroid carcinoma (MTC), in humans, as the human                               confirmed. Consider other antidiabetic therapies in patients with a history of pancreatitis (5.2).
      relevance of liraglutide-induced rodent thyroid C-cell tumors has not been                               • Never share a VICTOZA® pen between patients, even if the needle is changed (5.3).
      determined (5.1, 13.1).                                                                                  • Serious Hypoglycemia: When VICTOZA® is used with an insulin secretagogue (e.g. a sulfonylurea)
    • VICTOZA® is contraindicated in patients with a personal or family history of                               or insulin, consider lowering the dose of the insulin secretagogue or insulin to reduce the risk of
      MTC or in patients with Multiple Endocrine Neoplasia syndrome type 2 (MEN 2).                              hypoglycemia (5.4).
      Counsel patients regarding the potential risk of MTC and the symptoms of thyroid                         • Renal Impairment: Postmarketing, usually in association with nausea, vomiting, diarrhea, or
      tumors (4, 5.1).                                                                                           dehydration which may sometimes require hemodialysis. Use caution when initiating or escalating
                                                                                                                 doses of VICTOZA® in patients with renal impairment (5.5).
                                                                                                               • Hypersensitivity: Postmarketing reports of serious hypersensitivity reactions (e.g., anaphylactic
                           ——— INDICATIONS AND USAGE ———
                                                                                                                 reactions and angioedema). Discontinue VICTOZA® and other suspect medications and promptly
VICTOZA® is a glucagon−like peptide−1 (GLP−1) receptor agonist indicated as an adjunct to diet and               seek medical advice (5.6).
exercise to improve glycemic control in adults with type 2 diabetes mellitus (1).                              • Macrovascular Outcomes: There have been no studies establishing conclusive evidence of
Important Limitations of Use (1.1):                                                                              macrovascular risk reduction with VICTOZA® or any other antidiabetic drug (5.7).
• Not recommended as first-line therapy for patients inadequately controlled on diet and exercise                                         ——— ADVERSE REACTIONS ———
  (5.1).
                                                                                                               • The most common adverse reactions, reported in ≥5% of patients treated with VICTOZA® are:
• Has not been studied in patients with a history of pancreatitis. Consider other antidiabetic therapies         nausea, diarrhea, headache and vomiting (6.1).
  in patients with a history of pancreatitis (5.2).
                                                                                                               • Immunogenicity-related events, including urticaria, were more common among VICTOZA®-treated
• Not for treatment of type 1 diabetes mellitus or diabetic ketoacidosis.                                        patients (0.8%) than among comparator-treated patients (0.4%) in clinical trials (6.2).
• Has not been studied in combination with prandial insulin.                                                   To report SUSPECTED ADVERSE REACTIONS, contact Novo Nordisk Inc. at
                       ——— DOSAGE AND ADMINISTRATION ———                                                       1−877−484−2869 or FDA at 1−800−FDA−1088 or www.fda.gov/medwatch.
• Inject subcutaneously in the abdomen, thigh or upper arm (2.1).                                                                        ——— DRUG INTERACTIONS ———
• Administer once daily at any time of day, independently of meals (2.2).                                      • VICTOZA® delays gastric emptying. May impact absorption of concomitantly administered oral
• Initiate at 0.6 mg per day for one week then increase to 1.2 mg. Dose can be increased to 1.8 mg for           medications. (7).
  additional glycemic control (2.2).
                                                                                                                                    ——— USE IN SPECIFIC POPULATIONS ———
                    ——— DOSAGE FORMS AND STRENGTHS ———                                                         • Renal Impairment: No dose adjustment recommended (2.3, 8.6, 12.3).
• Injection: 6 mg/mL solution in a pre-filled, multi-dose pen that delivers doses of 0.6 mg, 1.2 mg, or
  1.8 mg (3).                                                                                                  See 17 for PATIENT COUNSELING INFORMATION and FDA-Approved Medication Guide.
                                                                                                                                                                           Revised: 04/2016




FULL PRESCRIBING INFORMATION: CONTENTS*                                 6     ADVERSE REACTIONS                                                   13    NONCLINICAL TOXICOLOGY
WARNING: RISK OF THYROID C−CELL TUMORS                                        6.1 Clinical Trials Experience                                            13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
1       INDICATIONS AND USAGE                                                 6.2 Immunogenicity                                                  14    CLINICAL STUDIES
        1.1 Important Limitations of Use                                      6.3 Post-Marketing Experience                                             14.1 Monotherapy
2       DOSAGE AND ADMINISTRATION                                       7     DRUG INTERACTIONS                                                         14.2 Combination Therapy
        2.1 Important Administration Instructions                             7.1 Oral Medications                                                      14.3 Patients with Moderate Renal Impairment
        2.2 General Dosing and Administration                           8     USE IN SPECIFIC POPULATIONS                                         16    HOW SUPPLIED/STORAGE AND HANDLING
        2.3 Concomitant Use with an Insulin Secretagogue                      8.1 Pregnancy                                                             16.1 How Supplied
            (e.g. Sulfonylurea) or with Insulin                               8.3 Nursing Mothers                                                       16.2 Recommended Storage
        2.4 Dosage in Patients with Renal Impairment                          8.4 Pediatric Use                                                   17 PATIENT COUNSELING INFORMATION
3       DOSAGE FORMS AND STRENGTHS                                            8.5 Geriatric Use                                                   *Sections or subsections omitted from the full prescribing
4       CONTRAINDICATIONS                                                     8.6 Renal Impairment                                                information are not listed.

5       WARNINGS AND PRECAUTIONS                                              8.7 Hepatic Impairment
        5.1 Risk of Thyroid C-cell Tumors                                     8.8 Gastroparesis
        5.2 Pancreatitis                                                10    OVERDOSAGE
        5.3 Never Share a VICTOZA® Pen Between Patients                 11    DESCRIPTION
        5.4 Use with Medications Known to Cause Hypoglycemia            12    CLINICAL PHARMACOLOGY
        5.5 Renal Impairment                                                  12.1 Mechanism of Action
        5.6 Hypersensitivity Reactions                                        12.2 Pharmacodynamics
        5.7 Macrovascular Outcomes                                            12.3 Pharmacokinetics


                                                                                                           1
                                                                          VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                              2
FULL PRESCRIBING INFORMATION                                                                                 in humans, as the human relevance of liraglutide-induced rodent thyroid C-cell tumors has not been
                                                                                                             determined.
                      WARNING: RISK OF THYROID C−CELL TUMORS
                                                                                                             Cases of MTC in patients treated with VICTOZA® have been reported in the postmarketing period; the
 • Liraglutide causes dose-dependent and treatment-duration-dependent thyroid                                data in these reports are insufficient to establish or exclude a causal relationship between MTC and
   C-cell tumors at clinically relevant exposures in both genders of rats and mice.                          VICTOZA® use in humans.
   It is unknown whether VICTOZA® causes thyroid C-cell tumors, including medullary
   thyroid carcinoma (MTC), in humans, as the human relevance of liraglutide-                                VICTOZA® is contraindicated in patients with a personal or family history of MTC or in patients
   induced rodent thyroid C-cell tumors has not been determined [see Warnings and                            with MEN 2. Counsel patients regarding the potential risk for MTC with the use of VICTOZA® and
   Precautions (5.1) and Nonclinical Toxicology (13.1)].                                                     inform them of symptoms of thyroid tumors (e.g. a mass in the neck, dysphagia, dyspnea, persistent
 • VICTOZA® is contraindicated in patients with a personal or family history of MTC                          hoarseness). Routine monitoring of serum calcitonin or using thyroid ultrasound is of uncertain value
   and in patients with Multiple Endocrine Neoplasia syndrome type 2 (MEN 2).                                for early detection of MTC in patients treated with VICTOZA®. Such monitoring may increase the risk
   Counsel patients regarding the potential risk for MTC with the use of VICTOZA®                            of unnecessary procedures, due to low test specificity for serum calcitonin and a high background
   and inform them of symptoms of thyroid tumors (e.g. a mass in the neck,                                   incidence of thyroid disease. Significantly elevated serum calcitonin may indicate MTC and patients
   dysphagia, dyspnea, persistent hoarseness). Routine monitoring of serum                                   with MTC usually have calcitonin values >50 ng/L. If serum calcitonin is measured and found to be
   calcitonin or using thyroid ultrasound is of uncertain value for early detection of                       elevated, the patient should be further evaluated. Patients with thyroid nodules noted on physical
   MTC in patients treated with VICTOZA® [see Contraindications (4) and Warnings                             examination or neck imaging should also be further evaluated.
   and Precautions (5.1)].                                                                                   5.2 Pancreatitis
                                                                                                             Based on spontaneous postmarketing reports, acute pancreatitis, including fatal and non-fatal
1      INDICATIONS AND USAGE                                                                                 hemorrhagic or necrotizing pancreatitis, has been observed in patients treated with VICTOZA®. After
VICTOZA® is indicated as an adjunct to diet and exercise to improve glycemic control in adults with          initiation of VICTOZA®, observe patients carefully for signs and symptoms of pancreatitis (including
type 2 diabetes mellitus.                                                                                    persistent severe abdominal pain, sometimes radiating to the back and which may or may not be
                                                                                                             accompanied by vomiting). If pancreatitis is suspected, VICTOZA® should promptly be discontinued
1.1 Important Limitations of Use                                                                             and appropriate management should be initiated. If pancreatitis is confirmed, VICTOZA® should not be
 • VICTOZA® is not recommended as first-line therapy for patients who have inadequate glycemic               restarted. Consider antidiabetic therapies other than VICTOZA® in patients with a history of pancreatitis.
   control on diet and exercise because of the uncertain relevance of the rodent C-cell tumor findings
   to humans. Prescribe VICTOZA® only to patients for whom the potential benefits are considered to          In clinical trials of VICTOZA®, there have been 13 cases of pancreatitis among VICTOZA®-treated
   outweigh the potential risk [see Warnings and Precautions (5.1)].                                         patients and 1 case in a comparator (glimepiride) treated patient (2.7 vs. 0.5 cases per 1000 patient-
                                                                                                             years). Nine of the 13 cases with VICTOZA® were reported as acute pancreatitis and four were reported
 • Based on spontaneous postmarketing reports, acute pancreatitis, including fatal and non-fatal             as chronic pancreatitis. In one case in a VICTOZA®-treated patient, pancreatitis, with necrosis, was
   hemorrhagic or necrotizing pancreatitis has been observed in patients treated with VICTOZA®.              observed and led to death; however clinical causality could not be established. Some patients had other
   VICTOZA® has not been studied in patients with a history of pancreatitis. It is unknown whether           risk factors for pancreatitis, such as a history of cholelithiasis or alcohol abuse.
   patients with a history of pancreatitis are at increased risk for pancreatitis while using VICTOZA®.
   Other antidiabetic therapies should be considered in patients with a history of pancreatitis.             5.3 Never Share a VICTOZA® Pen Between Patients
 • VICTOZA® is not a substitute for insulin. VICTOZA® should not be used in patients with type 1             VICTOZA® pens must never be shared between patients, even if the needle is changed. Pen-sharing
   diabetes mellitus or for the treatment of diabetic ketoacidosis, as it would not be effective in these    poses a risk for transmission of blood-borne pathogens.
   settings.                                                                                                 5.4 Use with Medications Known to Cause Hypoglycemia
• The concurrent use of VICTOZA® and prandial insulin has not been studied.                                  Patients receiving VICTOZA® in combination with an insulin secretagogue (e.g., sulfonylurea) or
2       DOSAGE AND ADMINISTRATION                                                                            insulin may have an increased risk of hypoglycemia. The risk of hypoglycemia may be lowered by a
                                                                                                             reduction in the dose of sulfonylurea (or other concomitantly administered insulin secretagogues) or
2.1 Important Administration Instructions                                                                    insulin [see Dosage and Administration (2.2), Adverse Reactions (6.1)].
• Inspect visually prior to each injection. Only use if solution is clear, colorless, and contains no
  particles.                                                                                                 5.5 Renal Impairment
• Inject VICTOZA® subcutaneously in the abdomen, thigh or upper arm. No dose adjustment is                   VICTOZA® has not been found to be directly nephrotoxic in animal studies or clinical trials. There have
  needed if changing the injection site and/or timing.                                                       been postmarketing reports of acute renal failure and worsening of chronic renal failure, which may
                                                                                                             sometimes require hemodialysis in VICTOZA®-treated patients [see Adverse Reactions (6.2)]. Some
• When using VICTOZA® with insulin, administer as separate injections. Never mix.                            of these events were reported in patients without known underlying renal disease. A majority of the
• It is acceptable to inject VICTOZA® and insulin in the same body region but the injections should          reported events occurred in patients who had experienced nausea, vomiting, diarrhea, or dehydration
  not be adjacent to each other.                                                                             [see Adverse Reactions (6.1)]. Some of the reported events occurred in patients receiving one or more
2.2 General Dosing and Administration                                                                        medications known to affect renal function or hydration status. Altered renal function has been reversed
                                                                                                             in many of the reported cases with supportive treatment and discontinuation of potentially causative
• Inject VICTOZA® subcutaneously once-daily at any time of day, independently of meals.
                                                                                                             agents, including VICTOZA®. Use caution when initiating or escalating doses of VICTOZA® in patients
• Initiate VICTOZA® with a dose of 0.6 mg per day for one week. The 0.6 mg dose is a starting dose           with renal impairment [see Use in Specific Populations (8.6)].
  intended to reduce gastrointestinal symptoms during initial titration, and is not effective for glycemic
  control. After one week at 0.6 mg per day, the dose should be increased to 1.2 mg. If the 1.2 mg           5.6 Hypersensitivity Reactions
  dose does not result in acceptable glycemic control, the dose can be increased to 1.8 mg. If a dose        There have been postmarketing reports of serious hypersensitivity reactions (e.g., anaphylactic
  is missed, resume the once-daily regimen as prescribed with the next scheduled dose. Do not                reactions and angioedema) in patients treated with VICTOZA®. If a hypersensitivity reaction occurs,
  administer an extra dose or increase in dose to make up for the missed dose.                               the patient should discontinue VICTOZA® and other suspect medications and promptly seek medical
• If more than 3 days have elapsed since the last VICTOZA® dose, reinitiate VICTOZA® at 0.6 mg to            advice.
  mitigate any gastrointestinal symptoms associated with reinitiation of treatment. Upon reinitiation,       Angioedema has also been reported with other GLP-1 receptor agonists. Use caution in a patient with
  VICTOZA® should be titrated at the discretion of the prescriber.                                           a history of angioedema with another GLP-1 receptor agonist because it is unknown whether such
2.3 Concomitant Use with an Insulin Secretagogue (e.g., Sulfonylurea) or with                                patients will be predisposed to angioedema with VICTOZA®.
       Insulin                                                                                               5.7 Macrovascular Outcomes
When initiating VICTOZA®, consider reducing the dose of concomitantly administered insulin secre-            There have been no clinical studies establishing conclusive evidence of macrovascular risk reduction
tagogues (such as sulfonylureas) to reduce the risk of hypoglycemia [see Warnings and Precautions            with VICTOZA® or any other antidiabetic drug.
(5.4) and Adverse Reactions (6)].
                                                                                                             6      ADVERSE REACTIONS
2.4 Dosage in Patients with Renal Impairment
                                                                                                             The following serious adverse reactions are described below or elsewhere in the prescribing information:
No dose adjustment is recommended for patients with renal impairment.
                                                                                                             • Risk of Thyroid C-cell Tumors [see Warnings and Precautions (5.1)]
3      DOSAGE FORMS AND STRENGTHS                                                                            • Pancreatitis [see Warnings and Precautions (5.2)]
Injection: 6 mg/mL solution in a pre-filled, multi-dose pen that delivers doses of 0.6 mg, 1.2 mg, or        • Use with Medications Known to Cause Hypoglycemia [see Warnings and Precautions (5.4)]
1.8 mg.
                                                                                                             • Renal Impairment [see Warnings and Precautions (5.5)]
4      CONTRAINDICATIONS                                                                                     • Hypersensitivity Reactions [see Warnings and Precautions (5.6)]
• Medullary Thyroid Carcinoma                                                                                6.1 Clinical Trials Experience
  VICTOZA® is contraindicated in patients with a personal or family history of medullary thyroid
  carcinoma (MTC) or in patients with Multiple Endocrine Neoplasia syndrome type 2 (MEN 2).                  Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed
                                                                                                             in the clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug
• Hypersensitivity                                                                                           and may not reflect the rates observed in practice.
  VICTOZA® is contraindicated in patients with a prior serious hypersensitivity reaction to VICTOZA®
  or to any of the product components.                                                                       Common Adverse Reactions
                                                                                                             The data in Table 1 are derived from 5 placebo-controlled clinical trials [see Clinical Studies (14)]. These
5      WARNINGS AND PRECAUTIONS                                                                              data reflect exposure of 1673 patients to VICTOZA® and a mean duration of exposure to VICTOZA® of
5.1 Risk of Thyroid C-cell Tumors                                                                            37.3 weeks. The mean age of patients was 58 years, 4% were 75 years or older and 54% were male.
Liraglutide causes dose-dependent and treatment-duration-dependent thyroid C-cell tumors (adenomas           The population was 79% White, 6% Black or African American, 13% Asian; 4% were of Hispanic or
and/or carcinomas) at clinically relevant exposures in both genders of rats and mice [see Nonclinical        Latino ethnicity. At baseline the population had diabetes for an average of 9.1 years and a mean HbA1c
Toxicology (13.1)]. Malignant thyroid C-cell carcinomas were detected in rats and mice. It is unknown        of 8.4%. Baseline estimated renal function was normal or mildly impaired in 88.1% and moderately
whether VICTOZA® will cause thyroid C-cell tumors, including medullary thyroid carcinoma (MTC),              impaired in 11.9% of the pooled population.
                                                                              VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                               3
Table 1 shows common adverse reactions, excluding hypoglycemia, associated with the use of                         in surgical pathology specimens after thyroidectomy prompted by findings on protocol-specified
VICTOZA®. These adverse reactions occurred more commonly on VICTOZA® than on placebo and                           screening with serum calcitonin or thyroid ultrasound.
occurred in at least 5% of patients treated with VICTOZA®.                                                         Cholelithiasis and cholecystitis
Table 1 Adverse reactions reported in ≥ 5% of VICTOZA®-treated patients                                            In clinical trials of Saxenda® (liraglutide at doses up to 3 mg), 1.5% and 0.6% of Saxenda®-treated
                                                                                                                   patients reported adverse events of cholelithiasis and cholecystitis versus 0.5% and 0.2% of placebo-
                                   Placebo   Liraglutide 1.2 mg Liraglutide 1.8 mg                                 treated patients. The majority of Saxenda®-treated patients with adverse events of cholelithiasis and
                                   N = 661         N = 645            N = 1024                                     cholecystitis required cholecystectomy. In clinical trials of VICTOZA®, the incidence of cholelithiasis
 Adverse Reaction                    (%)             (%)                (%)                                        was 0.3% in both VICTOZA®-treated and placebo-treated patients. The incidence of cholecystitis was
 Nausea                               5               18                 20                                        0.2% in both VICTOZA®-treated and placebo-treated patients.
 Diarrhea                             4               10                 12                                        Laboratory Tests
 Headache                             7               11                 10                                        Bilirubin
 Nasopharyngitis                      8                9                 10                                        In the five clinical trials of at least 26 weeks duration, mildly elevated serum bilirubin concentra-
                                                                                                                   tions (elevations to no more than twice the upper limit of the reference range) occurred in 4.0% of
 Vomiting                             2                6                  9                                        VICTOZA®-treated patients, 2.1% of placebo-treated patients and 3.5% of active-comparator-treated
 Decreased appetite                   1               10                  9                                        patients. This finding was not accompanied by abnormalities in other liver tests. The significance of
 Dyspepsia                            1                4                  7                                        this isolated finding is unknown.
 Upper Respiratory Tract Infection    6                7                  6                                        Calcitonin
 Constipation                         1                5                  5                                        Calcitonin, a biological marker of MTC, was measured throughout the clinical development program. At
                                                                                                                   the end of the clinical trials, adjusted mean serum calcitonin concentrations were higher in VICTOZA®-
 Back Pain                            3                4                  5                                        treated patients compared to placebo-treated patients but not compared to patients receiving active
Cumulative proportions were calculated combining studies using Cochran-Mantel-Haenszel weights                     comparator. Between group differences in adjusted mean serum calcitonin values were approximately
In an analysis of placebo- and active-controlled trials, the types and frequency of common adverse                 0.1 ng/L or less. Among patients with pretreatment calcitonin <20 ng/L, calcitonin elevations to >20
                                                                                                                   ng/L occurred in 0.7% of VICTOZA®-treated patients, 0.3% of placebo-treated patients, and 0.5% of
reactions, excluding hypoglycemia, were similar to those listed in Table 1.
                                                                                                                   active-comparator-treated patients. The clinical significance of these findings is unknown.
Other Adverse Reactions                                                                                            Lipase and Amylase
Gastrointestinal Adverse Reactions                                                                                 In one placebo-controlled trial in renal impairment patients, a mean increase of 33% for lipase and 15%
In the pool of 5 placebo-controlled clinical trials, withdrawals due to gastrointestinal adverse reactions,        for amylase from baseline was observed for VICTOZA®-treated patients while placebo-treated patients
occurred in 4.3% of VICTOZA®-treated patients and 0.5% of placebo-treated patients. Withdrawal due                 had a mean decrease in lipase of 3% and a mean increase in amylase of 1%.The clinical significance
to gastrointestinal adverse events mainly occurred during the first 2-3 months of the trials.                      of these changes is unknown.
Injection site reactions                                                                                           Vital signs
Injection site reactions (e.g., injection site rash, erythema) were reported in approximately 2% of                VICTOZA® did not have adverse effects on blood pressure. Mean increases from baseline in heart rate
VICTOZA®-treated patients in the five double-blind clinical trials of at least 26 weeks duration. Less             of 2 to 3 beats per minute have been observed with VICTOZA® compared to placebo. The long-term
than 0.2% of VICTOZA®-treated patients discontinued due to injection site reactions.                               clinical effects of the increase in pulse rate have not been established [see Warnings and Precautions
Hypoglycemia                                                                                                       (5.7)].
Hypoglycemia requiring the assistance of another person in placebo-controlled trials                               6.2 Immunogenicity
In 5 placebo-controlled clinical trials of at least 26 weeks duration, hypoglycemia requiring the                  Consistent with the potentially immunogenic properties of protein and peptide pharmaceuticals,
assistance of another person for treatment occurred in 8 VICTOZA®-treated patients (7.5 events per                 patients treated with VICTOZA® may develop anti-liraglutide antibodies. Approximately 50-70% of
1000 patient-years). Of these 8 VICTOZA®-treated patients, 7 patients were concomitantly using a                   VICTOZA®-treated patients in five double-blind clinical trials of 26 weeks duration or longer were tested
sulfonylurea.                                                                                                      for the presence of anti-liraglutide antibodies at the end of treatment. Low titers (concentrations not
                                                                                                                   requiring dilution of serum) of anti-liraglutide antibodies were detected in 8.6% of these VICTOZA®-
Table 2 Incidence (%) and Rate (episodes/patient year) of Hypoglycemia in 26-Week
                                                                                                                   treated patients. Sampling was not performed uniformly across all patients in the clinical trials, and this
Combination Therapy Placebo-controlled Trials                                                                      may have resulted in an underestimate of the actual percentage of patients who developed antibodies.
                                  Placebo Comparator        VICTOZA® Treatment                                     Cross-reacting anti-liraglutide antibodies to native glucagon-like peptide-1 (GLP-1) occurred in 6.9%
 Add-on to                        Placebo + Metformin      VICTOZA® + Metformin                                    of the VICTOZA®-treated patients in the double-blind 52-week monotherapy trial and in 4.8% of the
 Metformin                              (N = 121)                 (N = 724)                                        VICTOZA®-treated patients in the double-blind 26-week add-on combination therapy trials. These
  Patient not able to self-treat             0                   0.1 (0.001)                                       cross-reacting antibodies were not tested for neutralizing effect against native GLP-1, and thus the
                                                                                                                   potential for clinically significant neutralization of native GLP-1 was not assessed. Antibodies that had a
  Patient able to self-treat            2.5 (0.06)                3.6 (0.05)                                       neutralizing effect on liraglutide in an in vitro assay occurred in 2.3% of the VICTOZA®-treated patients
 Add-on to                       Placebo + Glimepiride VICTOZA® + Glimepiride                                      in the double-blind 52-week monotherapy trial and in 1.0% of the VICTOZA®-treated patients in the
 Glimepiride                            (N = 114)                 (N = 695)                                        double-blind 26-week add-on combination therapy trials.
  Patient not able to self-treat             0                   0.1 (0.003)                                       Among VICTOZA®-treated patients who developed anti-liraglutide antibodies, the most common
  Patient able to self-treat            2.6 (0.17)                7.5 (0.38)                                       category of adverse events was that of infections, which occurred among 40% of these patients
  Not classified                             0                    0.9 (0.05)                                       compared to 36%, 34% and 35% of antibody-negative VICTOZA®-treated, placebo-treated and active-
                                                                                                                   control-treated patients, respectively. The specific infections which occurred with greater frequency
                                 Placebo + Metformin + VICTOZA® + Metformin +                                      among VICTOZA®-treated antibody-positive patients were primarily nonserious upper respiratory
 Add-on to
                                     Rosiglitazone             Rosiglitazone                                       tract infections, which occurred among 11% of VICTOZA®-treated antibody-positive patients; and
 Metformin + Rosiglitazone
                                        (N = 175)                 (N = 355)                                        among 7%, 7% and 5% of antibody-negative VICTOZA®-treated, placebo-treated and active-control-
  Patient not able to self-treat             0                         0                                           treated patients, respectively. Among VICTOZA®-treated antibody-negative patients, the most common
  Patient able to self-treat            4.6 (0.15)                7.9 (0.49)                                       category of adverse events was that of gastrointestinal events, which occurred in 43%, 18% and 19%
                                                                                                                   of antibody-negative VICTOZA®-treated, placebo-treated and active-control-treated patients, respec-
  Not classified                        1.1 (0.03)                0.6 (0.01)
                                                                                                                   tively. Antibody formation was not associated with reduced efficacy of VICTOZA® when comparing
                                 Placebo + Metformin + VICTOZA® + Metformin +                                      mean HbA1c of all antibody-positive and all antibody-negative patients. However, the 3 patients with
 Add-on to
                                      Glimepiride               Glimepiride                                        the highest titers of anti-liraglutide antibodies had no reduction in HbA1c with VICTOZA® treatment.
 Metformin + Glimepiride
                                        (N = 114)                 (N = 230)
                                                                                                                   In five double-blind clinical trials of VICTOZA®, events from a composite of adverse events potentially
  Patient not able to self-treat             0                    2.2 (0.06)                                       related to immunogenicity (e.g. urticaria, angioedema) occurred among 0.8% of VICTOZA®-treated
  Patient able to self-treat           16.7 (0.95)               27.4 (1.16)                                       patients and among 0.4% of comparator-treated patients. Urticaria accounted for approximately one-half
  Not classified                             0                         0                                           of the events in this composite for VICTOZA®-treated patients. Patients who developed anti-liraglutide
                                                                                                                   antibodies were not more likely to develop events from the immunogenicity events composite than were
“Patient not able to self-treat” is defined as an event requiring the assistance of another person for treatment   patients who did not develop anti-liraglutide antibodies.
Malignancy
                                                                                                                   6.3 Post-Marketing Experience
In a pooled analysis of clinical trials, the incidence rate (per 1,000 patient-years) for malignant
neoplasms (based on investigator-reported events, medical history, pathology reports, and surgical                 The following additional adverse reactions have been reported during post-approval use of VICTOZA®.
reports from both blinded and open-label study periods) was 10.9 for VICTOZA®, 6.3 for placebo, and                Because these events are reported voluntarily from a population of uncertain size, it is generally not
                                                                                                                   possible to reliably estimate their frequency or establish a causal relationship to drug exposure.
7.2 for active comparator. After excluding papillary thyroid carcinoma events [see Adverse Reactions
(6.1)], no particular cancer cell type predominated. Seven malignant neoplasm events were reported                 • Medullary thyroid carcinoma [see Warnings and Precautions (5.1)]
beyond 1 year of exposure to study medication, six events among VICTOZA®-treated patients (4 colon,                • Dehydration resulting from nausea, vomiting and diarrhea. [see Warnings and Precautions (5.5) and
1 prostate and 1 nasopharyngeal), no events with placebo and one event with active comparator (colon).               Patient Counseling Information (17)]
Causality has not been established.                                                                                • Increased serum creatinine, acute renal failure or worsening of chronic renal failure, sometimes
Papillary thyroid carcinoma                                                                                          requiring hemodialysis. [see Warnings and Precautions (5.5) and Patient Counseling Information
In clinical trials of VICTOZA®, there were 7 reported cases of papillary thyroid carcinoma in patients               (17)]
treated with VICTOZA® and 1 case in a comparator-treated patient (1.5 vs. 0.5 cases per 1000 patient-              • Angioedema and anaphylactic reactions. [see Contraindications (4), Warnings and Precautions
years). Most of these papillary thyroid carcinomas were <1 cm in greatest diameter and were diagnosed                (5.6), Patient Counseling Information (17)]
                                                                            VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                                                 4
• Allergic reactions: rash and pruritus                                                                          8.8 Gastroparesis
• Acute pancreatitis, hemorrhagic and necrotizing pancreatitis sometimes resulting in death [see                 VICTOZA® slows gastric emptying. VICTOZA® has not been studied in patients with pre−existing
  Warnings and Precautions (5.2)]                                                                                gastroparesis.
• Hepatobiliary disorders: elevations of liver enzymes, hyperbilirubinemia, cholestasis, hepatitis [see          10     OVERDOSAGE
  Adverse Reactions (6.1)]
                                                                                                                 Overdoses have been reported in clinical trials and post-marketing use of VICTOZA®. Effects have
7      DRUG INTERACTIONS                                                                                         included severe nausea and severe vomiting. In the event of overdosage, appropriate supportive
7.1 Oral Medications                                                                                             treatment should be initiated according to the patient’s clinical signs and symptoms.
VICTOZA® causes a delay of gastric emptying, and thereby has the potential to impact the absorption              11 DESCRIPTION
of concomitantly administered oral medications. In clinical pharmacology trials, VICTOZA® did not                VICTOZA® contains liraglutide, an analog of human GLP-1 and acts as a GLP-1 receptor agonist. The
affect the absorption of the tested orally administered medications to any clinically relevant degree.           peptide precursor of liraglutide, produced by a process that includes expression of recombinant DNA
Nonetheless, caution should be exercised when oral medications are concomitantly administered with               in Saccharomyces cerevisiae, has been engineered to be 97% homologous to native human GLP-1
VICTOZA®.                                                                                                        by substituting arginine for lysine at position 34. Liraglutide is made by attaching a C-16 fatty acid
8      USE IN SPECIFIC POPULATIONS                                                                               (palmitic acid) with a glutamic acid spacer on the remaining lysine residue at position 26 of the peptide
                                                                                                                 precursor. The molecular formula of liraglutide is C172H265N43O51 and the molecular weight is 3751.2
8.1 Pregnancy                                                                                                    Daltons. The structural formula (Figure 1) is:
Pregnancy Category C.
                                                                                                                                               His         Ala       Glu     Gly    Thr     Phe    Thr    Ser     Asp
There are no adequate and well-controlled studies of VICTOZA® in pregnant women. VICTOZA® should                                                                                                                        Val
be used during pregnancy only if the potential benefit justifies the potential risk to the fetus. Liraglutide       C-16 fatty acid                                                                                     Ser
                                                                                                                                               Glu
has been shown to be teratogenic in rats at or above 0.8 times the human systemic exposures resulting                 (palmitoyl)
                                                                                                                                                     Lys       Ala     Ala    Gln     Gly    Glu    Leu     Tyr     Ser
from the maximum recommended human dose (MRHD) of 1.8 mg/day based on plasma area under the                                                  Glu
time-concentration curve (AUC). Liraglutide has been shown to cause reduced growth and increased
                                                                                                                                             Phe
total major abnormalities in rabbits at systemic exposures below human exposure at the MRHD based
on plasma AUC.                                                                                                                                     Ile     Ala       Trp     Leu    Val     Arg    Gly    Arg     Gly

Female rats given subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide beginning 2 weeks                                                                                                  Lys
before mating through gestation day 17 had estimated systemic exposures 0.8-, 3-, and 11-times the
human exposure at the MRHD based on plasma AUC comparison. The number of early embryonic                         Figure 1 Structural Formula of liraglutide
deaths in the 1 mg/kg/day group increased slightly. Fetal abnormalities and variations in kidneys and
blood vessels, irregular ossification of the skull, and a more complete state of ossification occurred           VICTOZA® is a clear, colorless or almost colorless solution. Each 1 mL of VICTOZA® solution contains
at all doses. Mottled liver and minimally kinked ribs occurred at the highest dose. The incidence of             6 mg of liraglutide and the following inactive ingredients: disodium phosphate dihydrate, 1.42 mg;
fetal malformations in liraglutide-treated groups exceeding concurrent and historical controls were              propylene glycol, 14 mg; phenol, 5.5 mg; and water for injection. Each pre-filled pen contains a 3 mL
misshapen oropharynx and/or narrowed opening into larynx at 0.1 mg/kg/day and umbilical hernia at                solution of VICTOZA® equivalent to 18 mg liraglutide (free-base, anhydrous).
0.1 and 0.25 mg/kg/day.                                                                                          12 CLINICAL PHARMACOLOGY
Pregnant rabbits given subcutaneous doses of 0.01, 0.025 and 0.05 mg/kg/day liraglutide from                     12.1 Mechanism of Action
gestation day 6 through day 18 inclusive, had estimated systemic exposures less than the human
                                                                                                                 Liraglutide is an acylated human Glucagon-Like Peptide-1 (GLP-1) receptor agonist with 97% amino
exposure at the MRHD of 1.8 mg/day at all doses, based on plasma AUC. Liraglutide decreased fetal
                                                                                                                 acid sequence homology to endogenous human GLP-1(7-37). GLP-1(7-37) represents <20% of
weight and dose-dependently increased the incidence of total major fetal abnormalities at all doses. The
                                                                                                                 total circulating endogenous GLP-1. Like GLP-1(7-37), liraglutide activates the GLP-1 receptor, a
incidence of malformations exceeded concurrent and historical controls at 0.01 mg/kg/day (kidneys,
                                                                                                                 membrane-bound cell-surface receptor coupled to adenylyl cyclase by the stimulatory G-protein, Gs,
scapula), ≥ 0.01 mg/kg/day (eyes, forelimb), 0.025 mg/kg/day (brain, tail and sacral vertebrae, major
                                                                                                                 in pancreatic beta cells. Liraglutide increases intracellular cyclic AMP (cAMP) leading to insulin release
blood vessels and heart, umbilicus), ≥ 0.025 mg/kg/day (sternum) and at 0.05 mg/kg/day (parietal
                                                                                                                 in the presence of elevated glucose concentrations. This insulin secretion subsides as blood glucose
bones, major blood vessels). Irregular ossification and/or skeletal abnormalities occurred in the skull
                                                                                                                 concentrations decrease and approach euglycemia. Liraglutide also decreases glucagon secretion in a
and jaw, vertebrae and ribs, sternum, pelvis, tail, and scapula; and dose-dependent minor skeletal
                                                                                                                 glucose-dependent manner. The mechanism of blood glucose lowering also involves a delay in gastric
variations were observed. Visceral abnormalities occurred in blood vessels, lung, liver, and esophagus.
                                                                                                                 emptying.
Bilobed or bifurcated gallbladder was seen in all treatment groups, but not in the control group.
                                                                                                                 GLP-1(7-37) has a half-life of 1.5-2 minutes due to degradation by the ubiquitous endogenous
In pregnant female rats given subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide from
                                                                                                                 enzymes, dipeptidyl peptidase IV (DPP-IV) and neutral endopeptidases (NEP). Unlike native GLP-1,
gestation day 6 through weaning or termination of nursing on lactation day 24, estimated systemic
                                                                                                                 liraglutide is stable against metabolic degradation by both peptidases and has a plasma half-life of
exposures were 0.8-, 3-, and 11-times human exposure at the MRHD of 1.8 mg/day, based on plasma
                                                                                                                 13 hours after subcutaneous administration. The pharmacokinetic profile of liraglutide, which makes
AUC. A slight delay in parturition was observed in the majority of treated rats. Group mean body weight
                                                                                                                 it suitable for once daily administration, is a result of self-association that delays absorption, plasma
of neonatal rats from liraglutide-treated dams was lower than neonatal rats from control group dams.
                                                                                                                 protein binding and stability against metabolic degradation by DPP-IV and NEP.
Bloody scabs and agitated behavior occurred in male rats descended from dams treated with 1 mg/kg/
day liraglutide. Group mean body weight from birth to postpartum day 14 trended lower in F2 generation           12.2 Pharmacodynamics
rats descended from liraglutide-treated rats compared to F2 generation rats descended from controls,             VICTOZA®’s pharmacodynamic profile is consistent with its pharmacokinetic profile observed after
but differences did not reach statistical significance for any group.                                            single subcutaneous administration as VICTOZA® lowered fasting, premeal and postprandial glucose
8.3 Nursing Mothers                                                                                              throughout the day [see Clinical Pharmacology (12.3)].
It is not known whether VICTOZA® is excreted in human milk. Because many drugs are excreted in                   Fasting and postprandial glucose was measured before and up to 5 hours after a standardized meal
human milk and because of the potential for tumorigenicity shown for liraglutide in animal studies,              after treatment to steady state with 0.6, 1.2 and 1.8 mg VICTOZA® or placebo. Compared to placebo,
a decision should be made whether to discontinue nursing or to discontinue VICTOZA®, taking into                 the postprandial plasma glucose AUC0-300min was 35% lower after VICTOZA® 1.2 mg and 38% lower
account the importance of the drug to the mother. In lactating rats, liraglutide was excreted unchanged          after VICTOZA® 1.8 mg.
in milk at concentrations approximately 50% of maternal plasma concentrations.                                   Glucose−dependent insulin secretion
8.4 Pediatric Use                                                                                                The effect of a single dose of 7.5 mcg/kg (~ 0.7 mg) VICTOZA® on insulin secretion rates (ISR) was
Safety and effectiveness of VICTOZA® have not been established in pediatric patients. VICTOZA® is not            investigated in 10 patients with type 2 diabetes during graded glucose infusion. In these patients, on
recommended for use in pediatric patients.                                                                       average, the ISR response was increased in a glucose-dependent manner (Figure 2).
8.5 Geriatric Use                                                                                                   14
                                                                                                                                         VICTOZA®           Placebo
In the VICTOZA® clinical trials, a total of 797 (20%) of the patients were 65 years of age and over                 12
and 113 (2.8%) were 75 years of age and over. No overall differences in safety or effectiveness were
observed between these patients and younger patients, but greater sensitivity of some older individuals                         10
                                                                                                                ISR (pmol/kg/min)




cannot be ruled out.
                                                                                                                                    8
8.6 Renal Impairment
No dose adjustment of VICTOZA® is recommended for patients with renal impairment [see Clinical                                      6
Pharmacology (12.3)]. The safety and efficacy of VICTOZA® was evaluated in a 26-week clinical study
                                                                                                                                    4
that included patients with moderate renal impairment (eGFR 30 to 60 mL/min/1.73 m2) [see Clinical
Studies (14.3)]. There is limited experience with VICTOZA® in patients with severe renal impairment                                 2
including end stage renal disease. There have been postmarketing reports of acute renal failure and
worsening of chronic renal failure, which may sometimes require hemodialysis [see Warnings and                                      0
Precautions (5.5) and Adverse Reactions (6.2)]. Use caution in patients who experience dehydration.                                     80               100                 120              140         160                 180   200   220
                                                                                                                                                                                          Plasma Glucose (mg/dL)
8.7 Hepatic Impairment
There is limited experience in patients with mild, moderate or severe hepatic impairment. Therefore,             Figure 2 Mean Insulin Secretion Rate (ISR) versus Glucose Concentration Following
VICTOZA® should be used with caution in this patient population. No dose adjustment of VICTOZA® is               Single-Dose VICTOZA® 7.5 mcg/kg (~ 0.7 mg) or Placebo in Patients with Type 2
recommended for patients with hepatic impairment [see Clinical Pharmacology (12.3)].                             Diabetes (N=10) During Graded Glucose Infusion
                                                                           VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                              5
Glucagon secretion                                                                                             Atorvastatin
VICTOZA® lowered blood glucose by stimulating insulin secretion and lowering glucagon secretion.               VICTOZA® did not change the overall exposure (AUC) of atorvastatin following a single dose of atorv-
A single dose of VICTOZA® 7.5 mcg/kg (~ 0.7 mg) did not impair glucagon response to low glucose                astatin 40 mg, administered 5 hours after the dose of VICTOZA® at steady state. Atorvastatin Cmax was
concentrations.                                                                                                decreased by 38% and median Tmax was delayed from 1 h to 3 h with VICTOZA®.
Gastric emptying                                                                                               Acetaminophen
VICTOZA® causes a delay of gastric emptying, thereby reducing the rate at which postprandial glucose           VICTOZA® did not change the overall exposure (AUC) of acetaminophen following a single dose of
appears in the circulation.                                                                                    acetaminophen 1000 mg, administered 8 hours after the dose of VICTOZA® at steady state. Acetamino-
                                                                                                               phen Cmax was decreased by 31% and median Tmax was delayed up to 15 minutes.
Cardiac Electrophysiology (QTc)
The effect of VICTOZA® on cardiac repolarization was tested in a QTc study. VICTOZA® at steady state           Griseofulvin
concentrations with daily doses up to 1.8 mg did not produce QTc prolongation.                                 VICTOZA® did not change the overall exposure (AUC) of griseofulvin following co-administration of a
                                                                                                               single dose of griseofulvin 500 mg with VICTOZA® at steady state. Griseofulvin Cmax increased by 37%
12.3 Pharmacokinetics                                                                                          while median Tmax did not change.
Absorption - Following subcutaneous administration, maximum concentrations of liraglutide are
achieved at 8-12 hours post dosing. The mean peak (Cmax) and total (AUC) exposures of liraglutide              Oral Contraceptives
were 35 ng/mL and 960 ng·h/mL, respectively, for a subcutaneous single dose of 0.6 mg. After subcu-            A single dose of an oral contraceptive combination product containing 0.03 mg ethinylestradiol and
taneous single dose administrations, Cmax and AUC of liraglutide increased proportionally over the             0.15 mg levonorgestrel was administered under fed conditions and 7 hours after the dose of VICTOZA®
therapeutic dose range of 0.6 mg to 1.8 mg. At 1.8 mg VICTOZA®, the average steady state concentra-            at steady state. VICTOZA® lowered ethinylestradiol and levonorgestrel Cmax by 12% and 13%, respec-
tion of liraglutide over 24 hours was approximately 128 ng/mL. AUC0-∞ was equivalent between upper             tively. There was no effect of VICTOZA® on the overall exposure (AUC) of ethinylestradiol. VICTOZA®
arm and abdomen, and between upper arm and thigh. AUC0-∞ from thigh was 22% lower than that from               increased the levonorgestrel AUC0-∞ by 18%. VICTOZA® delayed Tmax for both ethinylestradiol and
abdomen. However, liraglutide exposures were considered comparable among these three subcuta-                  levonorgestrel by 1.5 h.
neous injection sites. Absolute bioavailability of liraglutide following subcutaneous administration is        Insulin Detemir
approximately 55%.                                                                                             No pharmacokinetic interaction was observed between VICTOZA® and insulin detemir when separate
Distribution - The mean apparent volume of distribution after subcutaneous administration of                   subcutaneous injections of insulin detemir 0.5 Unit/kg (single-dose) and VICTOZA® 1.8 mg (steady
VICTOZA® 0.6 mg is approximately 13 L. The mean volume of distribution after intravenous adminis-              state) were administered in patients with type 2 diabetes.
tration of VICTOZA® is 0.07 L/kg. Liraglutide is extensively bound to plasma protein (>98%).
                                                                                                               13 NONCLINICAL TOXICOLOGY
Metabolism - During the initial 24 hours following administration of a single [3H]-liraglutide dose to
healthy subjects, the major component in plasma was intact liraglutide. Liraglutide is endogenously            13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
metabolized in a similar manner to large proteins without a specific organ as a major route of elimination.    A 104-week carcinogenicity study was conducted in male and female CD-1 mice at doses of 0.03, 0.2,
                                                                                                               1.0, and 3.0 mg/kg/day liraglutide administered by bolus subcutaneous injection yielding systemic
Elimination - Following a [3H]-liraglutide dose, intact liraglutide was not detected in urine or feces. Only   exposures 0.2-, 2-, 10- and 45-times the human exposure, respectively, at the MRHD of 1.8 mg/day
a minor part of the administered radioactivity was excreted as liraglutide-related metabolites in urine or     based on plasma AUC comparison. A dose-related increase in benign thyroid C-cell adenomas was
feces (6% and 5%, respectively). The majority of urine and feces radioactivity was excreted during the         seen in the 1.0 and the 3.0 mg/kg/day groups with incidences of 13% and 19% in males and 6% and
first 6-8 days. The mean apparent clearance following subcutaneous administration of a single dose             20% in females, respectively. C-cell adenomas did not occur in control groups or 0.03 and 0.2 mg/
of liraglutide is approximately 1.2 L/h with an elimination half-life of approximately 13 hours, making        kg/day groups. Treatment-related malignant C-cell carcinomas occurred in 3% of females in the 3.0
VICTOZA® suitable for once daily administration.                                                               mg/kg/day group. Thyroid C-cell tumors are rare findings during carcinogenicity testing in mice. A
Specific Populations                                                                                           treatment-related increase in fibrosarcomas was seen on the dorsal skin and subcutis, the body surface
Elderly - Age had no effect on the pharmacokinetics of VICTOZA® based on a pharmacokinetic study in            used for drug injection, in males in the 3 mg/kg/day group. These fibrosarcomas were attributed to
healthy elderly subjects (65 to 83 years) and population pharmacokinetic analyses of patients 18 to 80         the high local concentration of drug near the injection site. The liraglutide concentration in the clinical
years of age [see Use in Specific Populations (8.5)].                                                          formulation (6 mg/mL) is 10-times higher than the concentration in the formulation used to administer
                                                                                                               3 mg/kg/day liraglutide to mice in the carcinogenicity study (0.6 mg/mL).
Gender - Based on the results of population pharmacokinetic analyses, females have 25% lower
weight-adjusted clearance of VICTOZA® compared to males. Based on the exposure response data, no               A 104-week carcinogenicity study was conducted in male and female Sprague Dawley rats at doses
dose adjustment is necessary based on gender.                                                                  of 0.075, 0.25 and 0.75 mg/kg/day liraglutide administered by bolus subcutaneous injection with
                                                                                                               exposures 0.5-, 2- and 8-times the human exposure, respectively, resulting from the MRHD based on
Race and Ethnicity - Race and ethnicity had no effect on the pharmacokinetics of VICTOZA® based on             plasma AUC comparison. A treatment-related increase in benign thyroid C-cell adenomas was seen in
the results of population pharmacokinetic analyses that included Caucasian, Black, Asian and Hispanic/         males in 0.25 and 0.75 mg/kg/day liraglutide groups with incidences of 12%, 16%, 42%, and 46%
Non-Hispanic subjects.                                                                                         and in all female liraglutide-treated groups with incidences of 10%, 27%, 33%, and 56% in 0 (control),
Body Weight - Body weight significantly affects the pharmacokinetics of VICTOZA® based on results              0.075, 0.25, and 0.75 mg/kg/day groups, respectively. A treatment-related increase in malignant thyroid
of population pharmacokinetic analyses. The exposure of liraglutide decreases with an increase in              C-cell carcinomas was observed in all male liraglutide-treated groups with incidences of 2%, 8%, 6%,
baseline body weight. However, the 1.2 mg and 1.8 mg daily doses of VICTOZA® provided adequate                 and 14% and in females at 0.25 and 0.75 mg/kg/day with incidences of 0%, 0%, 4%, and 6% in 0
systemic exposures over the body weight range of 40 – 160 kg evaluated in the clinical trials. Liraglutide     (control), 0.075, 0.25, and 0.75 mg/kg/day groups, respectively. Thyroid C-cell carcinomas are rare
was not studied in patients with body weight >160 kg.                                                          findings during carcinogenicity testing in rats.
Pediatric - VICTOZA® has not been studied in pediatric patients [see Use in Specific Populations (8.4)].       Studies in mice demonstrated that liraglutide-induced C-cell proliferation was dependent on the GLP-1
Renal Impairment - The single-dose pharmacokinetics of VICTOZA® were evaluated in subjects with                receptor and that liraglutide did not cause activation of the REarranged during Transfection (RET) proto-
varying degrees of renal impairment. Subjects with mild (estimated creatinine clearance 50-80 mL/min)          oncogene in thyroid C-cells.
to severe (estimated creatinine clearance <30 mL/min) renal impairment and subjects with end-stage             Human relevance of thyroid C-cell tumors in mice and rats is unknown and has not been determined
renal disease requiring dialysis were included in the trial. Compared to healthy subjects, liraglutide         by clinical studies or nonclinical studies [see Boxed Warning and Warnings and Precautions (5.1)].
AUC in mild, moderate, and severe renal impairment and in end-stage renal disease was on average               Liraglutide was negative with and without metabolic activation in the Ames test for mutagenicity and in
35%, 19%, 29% and 30% lower, respectively [see Use in Specific Populations (8.6)].                             a human peripheral blood lymphocyte chromosome aberration test for clastogenicity. Liraglutide was
Hepatic Impairment - The single-dose pharmacokinetics of VICTOZA® were evaluated in subjects with              negative in repeat-dose in vivo micronucleus tests in rats.
varying degrees of hepatic impairment. Subjects with mild (Child Pugh score 5-6) to severe (Child              In rat fertility studies using subcutaneous doses of 0.1, 0.25 and 1.0 mg/kg/day liraglutide, males
Pugh score > 9) hepatic impairment were included in the trial. Compared to healthy subjects, liraglutide       were treated for 4 weeks prior to and throughout mating and females were treated 2 weeks prior to and
AUC in subjects with mild, moderate and severe hepatic impairment was on average 11%, 14% and                  throughout mating until gestation day 17. No direct adverse effects on male fertility was observed at
42% lower, respectively [see Use in Specific Populations (8.7)].                                               doses up to 1.0 mg/kg/day, a high dose yielding an estimated systemic exposure 11- times the human
Drug Interactions                                                                                              exposure at the MRHD, based on plasma AUC. In female rats, an increase in early embryonic deaths
In vitro assessment of drug−drug interactions                                                                  occurred at 1.0 mg/kg/day. Reduced body weight gain and food consumption were observed in females
VICTOZA® has low potential for pharmacokinetic drug-drug interactions related to cytochrome P450               at the 1.0 mg/kg/day dose.
(CYP) and plasma protein binding.                                                                              14 CLINICAL STUDIES
In vivo assessment of drug−drug interactions                                                                   A total of 6367 patients with type 2 diabetes participated in 9 phase 3 trials. There were 6 double-blind
The drug-drug interaction studies were performed at steady state with VICTOZA® 1.8 mg/day. Before              (one of these trials had an open-label active control insulin glargine arm), randomized, controlled
administration of concomitant treatment, subjects underwent a 0.6 mg weekly dose increase to reach             clinical trials, one of 52 weeks duration and five of 26 weeks duration (including one 26 week trial in
the maximum dose of 1.8 mg/day. Administration of the interacting drugs was timed so that Cmax of              patients with T2DM and moderate renal impairment). There were also three 26 week open-label trials;
VICTOZA® (8-12 h) would coincide with the absorption peak of the co-administered drugs.                        one comparing VICTOZA® to twice-daily exenatide, one comparing VICTOZA® to sitagliptin and one
Digoxin                                                                                                        comparing VICTOZA®+metformin+insulin detemir to VICTOZA®+metformin alone. These multinational
A single dose of digoxin 1 mg was administered 7 hours after the dose of VICTOZA® at steady state.             trials were conducted to evaluate the glycemic efficacy and safety of VICTOZA® in type 2 diabetes as
The concomitant administration with VICTOZA® resulted in a reduction of digoxin AUC by 16%; Cmax               monotherapy and in combination with one or two oral anti-diabetic medications or insulin detemir. The
decreased by 31%. Digoxin median time to maximal concentration (Tmax) was delayed from 1 h to 1.5 h.           8 add-on combination therapy trials enrolled patients who were previously treated with anti-diabetic
                                                                                                               therapy, and approximately two-thirds of patients in the monotherapy trial also were previously treated
Lisinopril                                                                                                     with anti-diabetic therapy. In total, 272 (4%) of the 6367 patients in these 9 trials were new to anti-
A single dose of lisinopril 20 mg was administered 5 minutes after the dose of VICTOZA® at steady              diabetic therapy. In these 9 clinical trials, patients ranged in age from 18-80 years old and 54% were
state. The co-administration with VICTOZA® resulted in a reduction of lisinopril AUC by 15%; Cmax              men. Approximately 82% of patients were Caucasian, and 6% were Black. In the 6 trials where ethnicity
decreased by 27%. Lisinopril median Tmax was delayed from 6 h to 8 h with VICTOZA®.                            was captured, 10% of patients were Hispanic/Latino (n=650).
                                                                         VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                                   6
 In each of the placebo controlled trials, treatment with VICTOZA® produced clinically and statistically    Table 4 Results of a 26-week trial of VICTOZA® as add−on to metformina
 significant improvements in hemoglobin A1c and fasting plasma glucose (FPG) compared to placebo.
                                                                                                                                             VICTOZA® 1.8 mg VICTOZA® 1.2 mg              Placebo +   Glimepiride 4 mg†
 All VICTOZA®-treated patients started at 0.6 mg/day. The dose was increased in weekly intervals by                                             + Metformin     + Metformin               Metformin      + Metformin
 0.6 mg to reach 1.2 mg or 1.8 mg for patients randomized to these higher doses. VICTOZA® 0.6 mg            Intent−to−Treat Population (N)            242             240                    121             242
 is not effective for glycemic control and is intended only as a starting dose to reduce gastrointestinal
 intolerance [see Dosage and Administration (2)].                                                           HbA1c (%) (Mean)
 14.1 Monotherapy                                                                                            Baseline                                  8.4             8.3                    8.4             8.4
 In this 52-week trial, 746 patients were randomized to VICTOZA® 1.2 mg, VICTOZA® 1.8 mg, or                 Change from baseline (adjusted
                                                                                                                                                      -1.0            -1.0                    +0.1            -1.0
 glimepiride 8 mg. Patients who were randomized to glimepiride were initially treated with 2 mg daily        mean)b
 for two weeks, increasing to 4 mg daily for another two weeks, and finally increasing to 8 mg daily.        Difference from placebo +
                                                                                                                                                    -1.1**          -1.1**
 Treatment with VICTOZA® 1.8 mg and 1.2 mg resulted in a statistically significant reduction in HbA1c        metformin arm (adjusted mean)b
                                                                                                                                                 (-1.3, -0.9)    (-1.3, -0.9)
 compared to glimepiride (Table 3). The percentage of patients who discontinued due to ineffective           95% Confidence Interval
 therapy was 3.6% in the VICTOZA® 1.8 mg treatment group, 6.0% in the VICTOZA® 1.2 mg treatment              Difference from glimepiride +
 group, and 10.1% in the glimepiride-treatment group.                                                                                                  0.0             0.0
                                                                                                             metformin arm (adjusted mean)b
                                                                                                                                                  (-0.2, 0.2)     (-0.2, 0.2)
                                                                                                             95% Confidence Interval
 Table 3 Results of a 52-week monotherapy triala
                                                                                                            Percentage of patients achieving
                                    VICTOZA® 1.8 mg  VICTOZA® 1.2 mg               Glimepiride 8 mg                                                    42              35                      11             36
                                                                                                            A1c <7%
  Intent−to−Treat Population (N)            246              251                         248                Fasting Plasma Glucose (mg/dL) (Mean)
  HbA1c (%) (Mean)                                                                                           Baseline                                 181             179                     182             180
    Baseline                                 8.2             8.2                             8.2             Change from baseline (adjusted
    Change from baseline                                                                                                                              -30             -30                      +7             -24
                                            -1.1             -0.8                            -0.5            mean)b
    (adjusted mean)b
                                                                                                             Difference from placebo +
    Difference from glimepiride arm                                                                                                                 -38**           -37**
                                           -0.6**           -0.3*                                            metformin arm (adjusted mean)b
    (adjusted mean)b                                                                                                                              (-48, -27)      (-47, -26)
                                        (-0.8, -0.4)     (-0.5, -0.1)                                        95% Confidence Interval
    95% Confidence Interval
                                                                                                             Difference from glimepiride +
  Percentage of patients achieving                                                                                                                     -7              -6
                                             51               43                             28              metformin arm (adjusted mean)b
  A1c <7%                                                                                                                                          (-16, 2)        (-15, 3)
                                                                                                             95% Confidence Interval
  Fasting Plasma Glucose (mg/dL) (Mean)                                                                     Body Weight (kg) (Mean)
    Baseline                                172              168                             172             Baseline                                88.0            88.5                     91.0           89.0
    Change from baseline                                                                                     Change from baseline (adjusted
                                            -26              -15                             -5                                                       -2.8            -2.6                    -1.5           +1.0
    (adjusted mean)b                                                                                         mean)b
    Difference from glimepiride arm
                                           -20**            -10*                                             Difference from placebo +
    (adjusted mean)b                                                                                                                                 -1.3*           -1.1*
                                         (-29, -12)       (-19, -1)                                          metformin arm (adjusted mean)b
    95% Confidence Interval                                                                                                                      (-2.2, -0.4)    (-2.0, -0.2)
                                                                                                             95% Confidence Interval
  Body Weight (kg) (Mean)
                                                                                                             Difference from glimepiride +
    Baseline                                92.6             92.1                            93.3                                                   -3.8**          -3.5**
                                                                                                             metformin arm (adjusted mean)b
                                                                                                                                                 (-4.5, -3.0)    (-4.3, -2.8)
    Change from baseline                                                                                     95% Confidence Interval
                                            -2.5             -2.1                            +1.1
    (adjusted mean)b                                                                                        aIntent−to−treat
                                                                                                                           population using last observation on study
    Difference from glimepiride arm                                                                         bLeast squares mean adjusted for baseline value
                                           -3.6**          -3.2**
    (adjusted mean)b
                                        (-4.3, -2.9)     (-3.9, -2.5)                                       †For glimepiride, one-half of the maximal approved United States dose.
    95% Confidence Interval
                                                                                                            *p−value <0.05
 aIntent−to−treat
                population using last observation on study
 bLeast
                                                                                                            **p−value <0.0001
       squares mean adjusted for baseline value
 *p−value <0.05                                                                                             VICTOZA® Compared to Sitagliptin, Both as Add-on to Metformin
 **p−value <0.0001                                                                                          In this 26–week, open-label trial, 665 patients on a background of metformin ≥1500 mg per day were
                                                                                                            randomized to VICTOZA® 1.2 mg once-daily, VICTOZA® 1.8 mg once-daily or sitagliptin 100 mg
                 9.0                                                                                        once-daily, all dosed according to approved labeling. Patients were to continue their current treatment
                                                                    Glimepiride
                                                                                                            on metformin at a stable, pre-trial dose level and dosing frequency.
                 8.5                                                VICTOZA® 1.2 mg
                                                                    VICTOZA® 1.8 mg                         The primary endpoint was the change in HbA1c from baseline to Week 26. Treatment with VICTOZA®
Mean HbA1c (%)




                                                                                                            1.2 mg and VICTOZA® 1.8 mg resulted in statistically significant reductions in HbA1c relative to
                 8.0
                                                                                                            sitagliptin 100 mg (Table 5). The percentage of patients who discontinued due to ineffective therapy
                                                                                                            was 3.1% in the VICTOZA® 1.2 mg group, 0.5% in the VICTOZA® 1.8 mg treatment group, and
                 7.5                                                                     *                  4.1% in the sitagliptin 100 mg treatment group. From a mean baseline body weight of 94 kg, there
                                                                                         †                  was a mean reduction of 2.7 kg for VICTOZA® 1.2 mg, 3.3 kg for VICTOZA® 1.8 mg, and 0.8 kg for
                 7.0                                                                                        sitagliptin 100 mg.
                                                                                                            Table 5 Results of a 26-week open-label trial of VICTOZA® Compared to Sitagliptin
                 6.5
                       0   4   8
                           12 16 20 24 28 32 36 40 44 48 52 LOCF                                            (both in combination with metformin)a
                                          Time (weeks)                                                                                                          VICTOZA® 1.8 mg   VICTOZA® 1.2 mg     Sitagliptin 100 mg
 *p-value = 0.0014 for VICTOZA® 1.2 mg compared to glimepiride                                                                                                     + Metformin       + Metformin         + Metformin
 †p-value < 0.0001 for VICTOZA® 1.8 mg compared to glimepiride
                                                                                                            Intent−to−Treat Population (N)                             218               221                  219
 P values derived from change from baseline ANCOVA model.
                                                                                                            HbA1c (%) (Mean)
 Figure 3 Mean HbA1c for patients who completed the 52-week trial and for the Last
                                                                                                             Baseline                                                   8.4               8.4                 8.5
 Observation Carried Forward (LOCF, intent-to-treat) data at Week 52 (Monotherapy)
                                                                                                             Change from baseline (adjusted mean)                      -1.5              -1.2                -0.9
 14.2 Combination Therapy                                                                                    Difference from sitagliptin arm (adjusted mean)b        -0.6**            -0.3**
 Add−on to Metformin                                                                                         95% Confidence Interval                               (-0.8, -0.4)      (-0.5, -0.2)
 In this 26-week trial, 1091 patients were randomized to VICTOZA® 0.6 mg, VICTOZA® 1.2 mg,                  Percentage of patients achieving A1c <7%                    56                44                  22
 VICTOZA® 1.8 mg, placebo, or glimepiride 4 mg (one-half of the maximal approved dose in the United
                                                                                                            Fasting Plasma Glucose (mg/dL) (Mean)
 States), all as add-on to metformin. Randomization occurred after a 6-week run-in period consisting of
 a 3-week initial forced metformin titration period followed by a maintenance period of another 3 weeks.     Baseline                                                  179               182                 180
 During the titration period, doses of metformin were increased up to 2000 mg/day. Treatment with            Change from baseline (adjusted mean)                      -39               -34                 -15
 VICTOZA® 1.2 mg and 1.8 mg as add-on to metformin resulted in a significant mean HbA1c reduction
                                                                                                             Difference from sitagliptin arm (adjusted mean)b         -24**             -19**
 relative to placebo add-on to metformin and resulted in a similar mean HbA1c reduction relative to          95% Confidence Interval                                (-31, -16)        (-26, -12)
 glimepiride 4 mg add-on to metformin (Table 4). The percentage of patients who discontinued due
                                                                                                            aIntent−to−treat
                                                                                                                          population using last observation on study
 to ineffective therapy was 5.4% in the VICTOZA® 1.8 mg + metformin treatment group, 3.3% in the
                                                                                                            bLeastsquares mean adjusted for baseline value
 VICTOZA® 1.2 mg + metformin treatment group, 23.8% in the placebo + metformin treatment group,
 and 3.7% in the glimepiride + metformin treated group.                                                     **p−value <0.0001
                                                                                 VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                               7
                 9.0                                                                                              Table 7 Results of a 26-week trial of VICTOZA® as add−on to sulfonylureaa
                                                                         VICTOZA® 1.2 mg                                                                       VICTOZA®       VICTOZA®                 Rosiglitazone
                                                                         VICTOZA® 1.8 mg                                                                                                    Placebo +
                 8.5                                                                                                                                             1.8 mg         1.2 mg                    4 mg† +
                                                                                                                                                                                           Glimepiride
                                                                         Sitagliptin 100 mg                                                                  + Glimepiride + Glimepiride                Glimepiride
Mean HbA1c (%)




                 8.0                                                                                               Intent−to−Treat Population (N)                  234            228          114          231
                                                                                                                    HbA1c (%) (Mean)
                 7.5                                                                                                 Baseline                                       8.5            8.5          8.4          8.4
                                                                                                                     Change from baseline (adjusted mean)b         -1.1           -1.1         +0.2         -0.4
                                                                                               *
                 7.0                                                                           *                     Difference from placebo + glimepiride
                                                                                                                                                                  -1.4**         -1.3**
                                                                                                                     arm (adjusted mean)b
                                                                                                                                                               (-1.6, -1.1)   (-1.5, -1.1)
                                                                                                                     95% Confidence Interval
                 6.5
                       0   2   4   6   8
                                      10 12 14 16 18 20 22 24 26 LOCF                                               Percentage of patients achieving A1c <7%        42             35            7           22
                                          Time (weeks)                                                              Fasting Plasma Glucose (mg/dL) (Mean)
 *p-value <0.0001 for VICTOZA® compared to sitagliptin                                                               Baseline                                      174            177          171          179
                                                                                                                     Change from baseline (adjusted mean)b         -29            -28          +18          -16
 P values derived from change from baseline ANCOVA model.
                                                                                                                     Difference from placebo + glimepiride
 Figure 4 Mean HbA1c for patients who completed the 26-week trial and for the Last                                                                                -47**          -46**
                                                                                                                     arm (adjusted mean)b
 Observation Carried Forward (LOCF, intent-to-treat) data at Week 26                                                                                            (-58, -35)     (-58, -35)
                                                                                                                     95% Confidence Interval
 Combination Therapy with Metformin and Insulin                                                                     Body Weight (kg) (Mean)
 This 26-week open-label trial enrolled 988 patients with inadequate glycemic control (HbA1c 7-10%)                  Baseline                                      83.0           80.0         81.9         80.6
 on metformin (≥1500 mg/day) alone or inadequate glycemic control (HbA1c 7-8.5%) on metformin                        Change from baseline (adjusted mean)b         -0.2           +0.3         -0.1         +2.1
 (≥1500 mg/day) and a sulfonylurea. Patients who were on metformin and a sulfonylurea discontinued                   Difference from placebo + glimepiride
                                                                                                                                                                   -0.1            0.4
 the sulfonylurea then all patients entered a 12-week run-in period during which they received add-on                arm (adjusted mean)b
                                                                                                                                                                (-0.9, 0.6)    (-0.4, 1.2)
 therapy with VICTOZA® titrated to 1.8 mg once-daily. At the end of the run-in period, 498 patients                  95% Confidence Interval
 (50%) achieved HbA1c <7% with VICTOZA® 1.8 mg and metformin and continued treatment in a non-                    aIntent−to−treat population using last observation on study

 randomized, observational arm. Another 167 patients (17%) withdrew from the trial during the run-in              bLeast squares mean adjusted for baseline value
                                                                                                                  †For rosiglitazone, one-half of the maximal approved United States dose.
 period with approximately one-half of these patients doing so because of gastrointestinal adverse
 reactions [see Adverse Reactions (6.1)]. The remaining 323 patients with HbA1c ≥7% (33% of those                 **p−value <0.0001
 who entered the run-in period) were randomized to 26 weeks of once-daily insulin detemir administered            Add−on to Metformin and Sulfonylurea
 in the evening as add-on therapy (N=162) or to continued, unchanged treatment with VICTOZA® 1.8                  In this 26-week trial, 581 patients were randomized to VICTOZA® 1.8 mg, placebo, or insulin glargine,
 mg and metformin (N=161). The starting dose of insulin detemir was 10 units/day and the mean dose at             all as add-on to metformin and glimepiride. Randomization took place after a 6-week run-in period
 the end of the 26-week randomized period was 39 units/day. During the 26 week randomized treatment               consisting of a 3-week forced metformin and glimepiride titration period followed by a maintenance
 period, the percentage of patients who discontinued due to ineffective therapy was 11.2% in the group            period of another 3 weeks. During the titration period, doses of metformin and glimepiride were to be
 randomized to continued treatment with VICTOZA® 1.8 mg and metformin and 1.2% in the group                       increased up to 2000 mg/day and 4 mg/day, respectively. After randomization, patients randomized
 randomized to add-on therapy with insulin detemir.                                                               to VICTOZA® 1.8 mg underwent a 2 week period of titration with VICTOZA®. During the trial, the
 Treatment with insulin detemir as add-on to VICTOZA® 1.8 mg + metformin resulted in statistically                VICTOZA® and metformin doses were fixed, although glimepiride and insulin glargine doses could
 significant reductions in HbA1c and FPG compared to continued, unchanged treatment with VICTOZA®                 be adjusted. Patients titrated glargine twice-weekly during the first 8 weeks of treatment based on
 1.8 mg + metformin alone (Table 6). From a mean baseline body weight of 96 kg after randomization,               self-measured fasting plasma glucose on the day of titration. After Week 8, the frequency of insulin
                                                                                                                  glargine titration was left to the discretion of the investigator, but, at a minimum, the glargine dose was
 there was a mean reduction of 0.3 kg in the patients who received insulin detemir add-on therapy
                                                                                                                  to be revised, if necessary, at Weeks 12 and 18. Only 20% of glargine-treated patients achieved the
 compared to a mean reduction of 1.1 kg in the patients who continued on unchanged treatment with                 pre-specified target fasting plasma glucose of ≤100 mg/dL. Therefore, optimal titration of the insulin
 VICTOZA® 1.8 mg + metformin alone.                                                                               glargine dose was not achieved in most patients.
 Table 6 Results of a 26-week open label trial of Insulin detemir as add on to VICTOZA®                           Treatment with VICTOZA® as add-on to glimepiride and metformin resulted in a statistically significant
 + metformin compared to continued treatment with VICTOZA® + metformin alone in                                   mean reduction in HbA1c compared to placebo add-on to glimepiride and metformin (Table 8). The
 patients not achieving HbA1c < 7% after 12 weeks of Metformin and VICTOZA®a                                      percentage of patients who discontinued due to ineffective therapy was 0.9% in the VICTOZA® 1.8 mg
                                                                                                                  + metformin + glimepiride treatment group, 0.4% in the insulin glargine + metformin + glimepiride
                                                         Insulin detemir + VICTOZA® +         VICTOZA® +
                                                                                                                  treatment group, and 11.3% in the placebo + metformin + glimepiride treatment group.
                                                                   Metformin                   Metformin
  Intent−to−Treat Population (N)                                      162                         157             Table 8 Results of a 26-week trial of VICTOZA® as add−on to metformin and
                                                                                                                  sulfonylureaa
  HbA1c (%) (Mean)
   Baseline (week 0)                                                   7.6                         7.6                                                         VICTOZA® 1.8 mg             Placebo +       Insulin glargine†
                                                                                                                                                                 + Metformin +            Metformin +       + Metformin +
   Change from baseline (adjusted mean)                               -0.5                          0                                                             Glimepiride             Glimepiride        Glimepiride
   Difference from VICTOZA® + metformin arm (LS mean)b              -0.5**                                         Intent−to−Treat Population (N)                     230                     114                 232
   95% Confidence Interval                                        (-0.7, -0.4)
                                                                                                                   HbA1c (%) (Mean)
  Percentage of patients achieving A1c <7%                             43                          17               Baseline                                              8.3                   8.3               8.1
  Fasting Plasma Glucose (mg/dL) (Mean)                                                                             Change from baseline (adjusted mean)b                -1.3                  -0.2              -1.1
   Baseline (week 0)                                                  166                          159              Difference from placebo + metformin +
                                                                                                                                                                       -1.1**
   Change from baseline (adjusted mean)                               -39                           -7              glimepiride arm (adjusted mean)b
                                                                                                                                                                    (-1.3, -0.9)
   Difference from VICTOZA® + metformin arm (LS mean)b               -31**                                          95% Confidence Interval
   95% Confidence Interval                                         (-39, -23)                                      Percentage of patients achieving A1c <7%               53                    15                46
 aIntent−to−treat population using last observation on study                                                       Fasting Plasma Glucose (mg/dL) (Mean)
 bLeast squares mean adjusted for baseline value                                                                    Baseline                                             165                   170                164
 **p−value <0.0001                                                                                                  Change from baseline (adjusted mean)b                -28                   +10                -32
 Add−on to Sulfonylurea                                                                                             Difference from placebo + metformin +
                                                                                                                                                                       -38**
                                                                                                                    glimepiride arm (adjusted mean)b
 In this 26-week trial, 1041 patients were randomized to VICTOZA® 0.6 mg, VICTOZA® 1.2 mg,                                                                           (-46, -30)
                                                                                                                    95% Confidence Interval
 VICTOZA® 1.8 mg, placebo, or rosiglitazone 4 mg (one-half of the maximal approved dose in the United
                                                                                                                   Body Weight (kg) (Mean)
 States), all as add-on to glimepiride. Randomization occurred after a 4-week run-in period consisting
 of an initial, 2-week, forced-glimepiride titration period followed by a maintenance period of another             Baseline                                            85.8                  85.4               85.2
 2 weeks. During the titration period, doses of glimepiride were increased to 4 mg/day. The doses of                Change from baseline (adjusted mean)b                -1.8                  -0.4              1.6
 glimepiride could be reduced (at the discretion of the investigator) from 4 mg/day to 3 mg/day or 2 mg/            Difference from placebo + metformin +
                                                                                                                                                                        -1.4*
 day (minimum) after randomization, in the event of unacceptable hypoglycemia or other adverse events.              glimepiride arm (adjusted mean)b
                                                                                                                                                                    (-2.1, -0.7)
                                                                                                                    95% Confidence Interval
 Treatment with VICTOZA® 1.2 mg and 1.8 mg as add-on to glimepiride resulted in a statistically                   aIntent−to−treat population using last observation on study
 significant reduction in mean HbA1c compared to placebo add-on to glimepiride (Table 7). The                     bLeast squares mean adjusted for baseline value
 percentage of patients who discontinued due to ineffective therapy was 3.0% in the VICTOZA® 1.8 mg               †For insulin glargine, optimal titration regimen was not achieved for 80% of patients.
 + glimepiride treatment group, 3.5% in the VICTOZA® 1.2 mg + glimepiride treatment group, 17.5% in               *p−value <0.05
 the placebo + glimepiride treatment group, and 6.9% in the rosiglitazone + glimepiride treatment group.          **p−value <0.0001
                                                                                        VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                                                    8
VICTOZA® Compared to Exenatide, Both as Add-on to Metformin and/or Sulfonylurea Therapy                                  14.3 Type 2 Diabetes Mellitus Patients with Moderate Renal Impairment
In this 26–week, open-label trial, 464 patients on a background of metformin monotherapy, sulfonylurea                   VICTOZA® Compared to Placebo Both With or Without metformin and/or Sulfonylurea and/or
monotherapy or a combination of metformin and sulfonylurea were randomized to once daily VICTOZA®                        Pioglitazone and/or Basal or Premix insulin
1.8 mg or exenatide 10 mcg twice daily. Maximally tolerated doses of background therapy were to                          In this 26-week, double-blind, randomized, placebo-controlled, parallel-group trial, 279 patients with
remain unchanged for the duration of the trial. Patients randomized to exenatide started on a dose of                    moderate renal impairment, as per MDRD formula (eGFR 30−59 mL/min/1.73 m2), were randomized
5 mcg twice-daily for 4 weeks and then were escalated to 10 mcg twice daily.                                             to VICTOZA® or placebo once daily. VICTOZA® was added to the patient’s stable pre-trial antidiabetic
Treatment with VICTOZA® 1.8 mg resulted in statistically significant reductions in HbA1c and FPG                         regimen (insulin therapy and/or metformin, pioglitazone, or sulfonylurea). The dose of VICTOZA® was
relative to exenatide (Table 9). The percentage of patients who discontinued for ineffective therapy                     escalated according to approved labeling to achieve a dose of 1.8 mg per day. The insulin dose was
was 0.4% in the VICTOZA® treatment group and 0% in the exenatide treatment group. Both treatment                         reduced by 20% at randomization for patients with baseline HbA1c ≤ 8% and fixed until liraglutide dose
groups had a mean decrease from baseline in body weight of approximately 3 kg.                                           escalation was complete. Dose reduction of insulin and SU was allowed in case of hypoglycemia; up
                                                                                                                         titration of insulin was allowed but not beyond the pre-trial dose.
Table 9 Results of a 26-week open-label trial of VICTOZA® versus Exenatide (both in
combination with metformin and/or sulfonylurea)a                                                                         The mean age of participants was 67 years, and the mean duration of diabetes was 15 years. Partici-
                                                                                                                         pants were 50.5% male, 92.3% White, 6.6% Black or African American, and 7.2% of Hispanic ethnicity.
                                                                    VICTOZA®  1.8 mg      Exenatide 10 mcg
                                                                                                                         The mean BMI was 33.9 kg/m2. Approximately half of patients had an eGFR between 30 and <45 mL/
                                                                once daily + metformin twice daily + metformin
                                                                  and/or sulfonylurea    and/or sulfonylurea             min/1.73 m2.
Intent−to−Treat Population (N)                                              233                         231              Treatment with VICTOZA® resulted in a statistically significant reduction in HbA1c from baseline at Week
                                                                                                                         26 compared to placebo (see Table 11). 123 patients reached the 1.8 mg dose of VICTOZA®.
HbA1c (%) (Mean)
 Baseline                                                                     8.2                        8.1             Table 11 Results of a 26-week trial of VICTOZA® compared to placebo in Patients with
 Change from baseline (adjusted mean)b                                       -1.1                       -0.8             Renal Impairmenta
 Difference from exenatide arm (adjusted mean)b                            -0.3**                                                                                             VICTOZA® 1.8 mg + insulin               Placebo + insulin
 95% Confidence Interval                                                 (-0.5, -0.2)                                                                                               and/or OAD                           and/or OAD
Percentage of patients achieving A1c <7%                                      54                         43              Intent to Treat Population (N)                                 140                                  137
Fasting Plasma Glucose (mg/dL) (Mean)                                                                                    HbA1c (%)
 Baseline                                                                   176                         171               Baseline (mean)                                                  8.1                               8.0
 Change from baseline (adjusted mean)b                                      -29                         -11               Change from baseline (estimated mean)b,c                        -0.9                              -0.4
 Difference from exenatide arm (adjusted mean)b                            -18**                                          Difference from placebob,c                                     -0.6*
 95% Confidence Interval                                                 (-25, -12)                                       95% Confidence Interval                                     (-0.8, -0.3)
aIntent−to−treat
              population using last observation carried forward                                                          Proportion achieving HbA1c < 7%d                                 39.3                              19.7
bLeastsquares mean adjusted for baseline value                                                                           FPG (mg/dL)
**p−value <0.0001                                                                                                         Baseline (mean)                                                 171                                167
Add−on to Metformin and Thiazolidinedione                                                                                 Change from baseline (estimated mean)e                           -22                               -10
In this 26-week trial, 533 patients were randomized to VICTOZA® 1.2 mg, VICTOZA® 1.8 mg or                                Difference from placeboe                                       -12**
placebo, all as add-on to rosiglitazone (8 mg) plus metformin (2000 mg). Patients underwent a 9 week                      95% Confidence Interval                                      (-23, -0.8)
run-in period (3-week forced dose escalation followed by a 6-week dose maintenance phase) with                           aIntent-to-treatpopulation
rosiglitazone (starting at 4 mg and increasing to 8 mg/day within 2 weeks) and metformin (starting at                    bEstimated
500 mg with increasing weekly increments of 500 mg to a final dose of 2000 mg/day). Only patients                                    using a mixed model for repeated measurement with treatment, country, stratification groups as
who tolerated the final dose of rosiglitazone (8 mg/day) and metformin (2000 mg/day) and completed                        factors and baseline as a covariate, all nested within visit. Multiple imputation method modeled “wash out” of
                                                                                                                          the treatment effect for patients having missing data who discontinued treatment.
the 6-week dose maintenance phase were eligible for randomization into the trial.                                        cEarly treatment discontinuation, before week 26, occurred in 25% and 22% of VICTOZA® and placebo patients,
Treatment with VICTOZA® as add-on to metformin and rosiglitazone produced a statistically significant                     respectively.
reduction in mean HbA1c compared to placebo add-on to metformin and rosiglitazone (Table 10). The                        dBased on the known number of subjects achieving HbA < 7%. When applying the multiple imputation method
                                                                                                                                                                                    1c
percentage of patients who discontinued due to ineffective therapy was 1.7% in the VICTOZA® 1.8 mg +                      described in b) above, the estimated percents achieving HbA1c < 7% are 47.6% and 24.9% for VICTOZA® and
metformin + rosiglitazone treatment group, 1.7% in the VICTOZA® 1.2 mg + metformin + rosiglitazone                        placebo, respectively.
treatment group, and 16.4% in the placebo + metformin + rosiglitazone treatment group.                                   eEstimated using a mixed model for repeated measurement with treatment, country, stratification groups as

Table 10 Results of a 26-week trial of VICTOZA® as add−on to metformin and                                                factors and baseline as a covariate, all nested within visit.
thiazolidinedionea                                                                                                       *p-value <0.0001
                                                                                                                         **p-value <0.05
                                                       VICTOZA® 1.8 mg VICTOZA® 1.2 mg                 Placebo +
                                                         + Metformin +   + Metformin +                Metformin +        16     HOW SUPPLIED/STORAGE AND HANDLING
                                                         Rosiglitazone   Rosiglitazone                Rosiglitazone
                                                                                                                         16.1 How Supplied
Intent−to−Treat Population (N)                                178             177                          175           VICTOZA® is available in the following package sizes containing disposable, pre-filled, multi-dose
HbA1c (%) (Mean)                                                                                                         pens. Each individual pen delivers doses of 0.6 mg, 1.2 mg, or 1.8 mg (6 mg/mL, 3 mL).
 Baseline                                                     8.6                        8.5                8.4                 2 x VICTOZA® pen                      NDC 0169-4060-12
 Change from baseline (adjusted mean)b                       -1.5                       -1.5               -0.5
                                                                                                                                3 x VICTOZA® pen                      NDC 0169-4060-13
 Difference from placebo + metformin + rosiglitazone
                                                            -0.9**                   -0.9**                              Each VICTOZA® pen is for use by a single patient. A VICTOZA® pen must never be shared between
 arm (adjusted mean)b
                                                          (-1.1, -0.8)             (-1.1, -0.8)                          patients, even if the needle is changed.
 95% Confidence Interval
Percentage of patients achieving A1c <7%                      54                         57                   28         16.2 Recommended Storage
Fasting Plasma Glucose (mg/dL) (Mean)                                                                                    Prior to first use, VICTOZA® should be stored in a refrigerator between 36ºF to 46ºF (2ºC to 8ºC)
 Baseline                                                    185                        181                179           (Table 12). Do not store in the freezer or directly adjacent to the refrigerator cooling element. Do not
                                                                                                                         freeze VICTOZA® and do not use VICTOZA® if it has been frozen.
 Change from baseline (adjusted mean)b                       -44                        -40                 -8
 Difference from placebo + metformin + rosiglitazone                                                                     After initial use of the VICTOZA® pen, the pen can be stored for 30 days at controlled room temperature
                                                            -36**                    -32**                               (59°F to 86°F; 15°C to 30°C) or in a refrigerator (36°F to 46°F; 2°C to 8°C). Keep the pen cap on
 arm (adjusted mean)b
                                                          (-44, -27)               (-41, -23)                            when not in use. VICTOZA® should be protected from excessive heat and sunlight. Always remove and
 95% Confidence Interval
Body Weight (kg) (Mean)                                                                                                  safely discard the needle after each injection and store the VICTOZA® pen without an injection needle
                                                                                                                         attached. This will reduce the potential for contamination, infection, and leakage while also ensuring
 Baseline                                                    94.9                       95.3              98.5           dosing accuracy. Always use a new needle for each injection to prevent contamination.
 Change from baseline (adjusted mean)b                       -2.0                       -1.0              +0.6
                                                                                                                         Table 12 Recommended Storage Conditions for the VICTOZA® Pen
 Difference from placebo + metformin + rosiglitazone
                                                            -2.6**                   -1.6**
 arm (adjusted mean)b                                                                                                              Prior to first use                                        After first use
                                                          (-3.4, -1.8)             (-2.4, -1.0)
 95% Confidence Interval
aIntent−to−treat
                                                                                                                                      Refrigerated                       Room Temperature                             Refrigerated
              population using last observation on study                                                                       36°F to 46°F (2°C to 8°C)             59°F to 86°F (15°C to 30°C)               36°F to 46°F (2°C to 8°C)
bLeastsquares mean adjusted for baseline value
**p−value <0.0001                                                                                                                 Until expiration date                                              30 days
                                                                        VICTOZA® (liraglutide) injection, solution for subcutaneous use                                                      9
17 PATIENT COUNSELING INFORMATION
FDA-Approved Medication Guide
See separate leaflet.
Risk of Thyroid C-cell Tumors
Inform patients that liraglutide causes benign and malignant thyroid C-cell tumors in mice and rats and
that the human relevance of this finding has not been determined. Counsel patients to report symptoms
of thyroid tumors (e.g., a lump in the neck, hoarseness, dysphagia, or dyspnea) to their physician [see
Boxed Warning and Warnings and Precautions (5.1)].
Dehydration and Renal Failure
Patients treated with VICTOZA® should be advised of the potential risk of dehydration due to gastroin-
testinal adverse reactions and take precautions to avoid fluid depletion. Patients should be informed of
the potential risk for worsening renal function, which in some cases may require dialysis.
Pancreatitis
Patients should be informed of the potential risk for pancreatitis. Explain that persistent severe
abdominal pain that may radiate to the back and which may or may not be accompanied by vomiting,
is the hallmark symptom of acute pancreatitis. Instruct patients to discontinue VICTOZA® promptly
and contact their physician if persistent severe abdominal pain occurs [see Warnings and Precautions
(5.2)].
Never Share a VICTOZA® Pen Between Patients
Advise patients that they must never share a VICTOZA® pen with another person, even if the needle is
changed, because doing so carries a risk for transmission of blood-borne pathogens.
Hypersensitivity Reactions
Patients should be informed that serious hypersensitivity reactions have been reported during post-
marketing use of VICTOZA®. If symptoms of hypersensitivity reactions occur, patients must stop taking
VICTOZA® and seek medical advice promptly [see Warnings and Precautions (5.6)].
Jaundice and Hepatitis
Inform patients that jaundice and hepatitis have been reported during postmarketing use of liraglutide.
Instruct patients to contact their physician if they develop jaundice.
Instructions
Patients should be informed of the potential risks and benefits of VICTOZA® and of alternative modes
of therapy. Patients should also be informed about the importance of adherence to dietary instruc-
tions, regular physical activity, periodic blood glucose monitoring and A1c testing, recognition and
management of hypoglycemia and hyperglycemia, and assessment for diabetes complications. During
periods of stress such as fever, trauma, infection, or surgery, medication requirements may change and
patients should be advised to seek medical advice promptly.
Patients should be advised that the most common side effects of VICTOZA® are headache, nausea
and diarrhea. Nausea is most common when first starting VICTOZA®, but decreases over time in the
majority of patients and does not typically require discontinuation of VICTOZA®.
Physicians should instruct their patients to read the Patient Medication Guide before starting VICTOZA®
therapy and to reread each time the prescription is renewed. Patients should be instructed to inform
their doctor or pharmacist if they develop any unusual symptom, or if any known symptom persists or
worsens.
Inform patients not to take an extra dose of VICTOZA® to make up for a missed dose. If a dose is missed,
the once-daily regimen should be resumed as prescribed with the next scheduled dose.
If more than 3 days have elapsed since the last dose, the patient should be advised to reinitiate
VICTOZA® at 0.6 mg to mitigate any gastrointestinal symptoms associated with reinitiation of treatment.
VICTOZA® should be titrated at the discretion of the prescribing physician [see Dosage and Administra-
tion (2)].




                                                                                                           Date of Issue: April 21, 2016
                                                                                                           Version: 9
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                                                                                                           PATENT Information: http://novonordisk-us.com/patients/products/product-patents.html
                                                                                                           Manufactured by:
                                                                                                           Novo Nordisk A/S
                                                                                                           DK-2880 Bagsvaerd, Denmark
                                                                                                           For information about VICTOZA® contact:
                                                                                                           Novo Nordisk Inc.
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                                                                                                           Plainsboro, NJ 08536
                                                                                                           1-877-484-2869
                                                                                                           © 2010-2016 Novo Nordisk
                                                                                                           USA16VIM02769 6/2016
                                                       Victoza® (liraglutide) injection solution, for subcutaneous use Medication Guide                                                                      10


                                                                                             Medication Guide
                                                                                           Victoza® (VIC-tow-za)
                                                                                           (liraglutide) injection
                                                                                      solution, for subcutaneous use

Read this Medication Guide before you start using Victoza® and each time you get a refill. There may be new information. This information does not take the place of talking to your healthcare provider about
your medical condition or your treatment.

What is the most important information I should know about Victoza®?
Victoza® may cause serious side effects, including:
• Possible thyroid tumors, including cancer. Tell your healthcare provider if you get a lump or swelling in your neck, hoarseness, trouble swallowing, or shortness of breath. These may be symp-
   toms of thyroid cancer. In studies with rats and mice, Victoza® and medicines that work like Victoza® caused thyroid tumors, including thyroid cancer. It is not known if Victoza® will cause thyroid tumors
   or a type of thyroid cancer called medullary thyroid carcinoma (MTC) in people.
• Do not use Victoza® if you or any of your family have ever had a type of thyroid cancer called medullary thyroid carcinoma (MTC), or if you have an endocrine system condition called Multiple Endocrine
   Neoplasia syndrome type 2 (MEN 2).

What is Victoza®?
Victoza® is an injectable prescription medicine that may improve blood sugar (glucose) in adults with type 2 diabetes mellitus, and should be used along with diet and exercise.
• Victoza® is not recommended as the first choice of medicine for treating diabetes.
• It is not known if Victoza® can be used in people who have had pancreatitis.
• Victoza® is not a substitute for insulin and is not for use in people with type 1 diabetes or people with diabetic ketoacidosis.
• It is not known if Victoza® can be used with mealtime insulin.
• It is not known if Victoza® is safe and effective for use in children.

Who should not use Victoza®?
Do not use Victoza® if:
• you or any of your family have ever had a type of thyroid cancer called medullary thyroid carcinoma (MTC) or if you have an endocrine system condition called Multiple Endocrine Neoplasia syndrome
  type 2 (MEN 2).
• you are allergic to liraglutide or any of the ingredients in Victoza®. See the end of this Medication Guide for a complete list of ingredients in Victoza®.

What should I tell my healthcare provider before using Victoza®?
Before using Victoza®, tell your healthcare provider if you:
 • have or have had problems with your pancreas, kidneys, or liver
 • have severe problems with your stomach, such as slowed emptying of your stomach (gastroparesis) or problems with digesting food
 • have any other medical conditions
 • are pregnant or plan to become pregnant. It is not known if Victoza® will harm your unborn baby. Tell your healthcare provider if you become pregnant while using Victoza®.
 • are breastfeeding or plan to breastfeed. It is not known if Victoza® passes into your breast milk. You should not use Victoza® while breastfeeding without first talking with your healthcare provider.
Tell your healthcare provider about all the medicines you take, including prescription and over-the-counter medicines, vitamins, and herbal supplements. Victoza® may affect the way some
medicines work and some medicines may affect the way Victoza® works.
Before using Victoza®, talk to your healthcare provider about low blood sugar and how to manage it. Tell your healthcare provider if you are taking other medicines to treat diabetes,
including insulin or sulfonylureas.
Know the medicines you take. Keep a list of them to show your healthcare provider and pharmacist when you get a new medicine.

How should I use Victoza®?
• Read the Instructions for Use that comes with Victoza®.
• Use Victoza® exactly as your healthcare provider tells you to.
• Your healthcare provider should show you how to use Victoza® before you use it for the first time.
• Victoza® is injected under the skin (subcutaneously) of your stomach (abdomen), thigh, or upper arm. Do not inject Victoza® into a muscle (intramuscularly) or vein (intravenously).
• Use Victoza® 1 time each day, at any time of the day.
• If you miss a dose of Victoza®, take the missed dose at the next scheduled dose. Do not take 2 doses of Victoza® at the same time.
• Victoza® may be taken with or without food.
• Do not mix insulin and Victoza® together in the same injection.
• You may give an injection of Victoza® and insulin in the same body area (such as your stomach area), but not right next to each other.
• Change (rotate) your injection site with each injection. Do not use the same site for each injection.
• Do not share your Victoza® pen with other people, even if the needle has been changed. You may give other people a serious infection, or get a serious infection from them.
Your dose of Victoza® and other diabetes medicines may need to change because of:
• change in level of physical activity or exercise, weight gain or loss, increased stress, illness, change in diet, or because of other medicines you take.

What are the possible side effects of Victoza®?
Victoza® may cause serious side effects, including:
• See “What is the most important information I should know about Victoza®?”
• inflammation of your pancreas (pancreatitis). Stop using Victoza® and call your healthcare provider right away if you have severe pain in your stomach area (abdomen) that will not go away, with
   or without vomiting. You may feel the pain from your abdomen to your back.
• low blood sugar (hypoglycemia). Your risk for getting low blood sugar may be higher if you use Victoza® with another medicine that can cause low blood sugar, such as a sulfonylurea or insulin.
   Signs and symptoms of low blood sugar may include:
    • dizziness or light-headedness                         • blurred vision                               • anxiety, irritability, or mood changes
    • sweating                                              • slurred speech                               • hunger
    • confusion or drowsiness                               • shakiness                                    • weakness
    • headache                                              • fast heartbeat                               • feeling jittery
• kidney problems (kidney failure). In people who have kidney problems, diarrhea, nausea, and vomiting may cause a loss of fluids (dehydration) which may cause kidney problems to get worse.
• serious allergic reactions. Stop using Victoza® and get medical help right away, if you have any symptoms of a serious allergic reaction including itching, rash, or difficulty breathing.
                                                         Victoza® (liraglutide) injection solution, for subcutaneous use Medication Guide                                                               11


 The most common side effects of Victoza® may include headache, nausea, diarrhea, vomiting, anti-liraglutide antibodies in your blood.
 Talk to your healthcare provider about any side effect that bothers you or does not go away. These are not all the possible side effects of Victoza®.
 Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.

 General information about the safe and effective use of Victoza®.
 Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide. Do not use Victoza® for a condition for which it was not prescribed. Do not give Victoza® to other people,
 even if they have the same symptoms that you have. It may harm them.
 This Medication Guide summarizes the most important information about Victoza®. If you would like more information, talk with your healthcare provider. You can ask your pharmacist or healthcare provider
 for information about Victoza® that is written for health professionals.
 For more information, go to victoza.com or call 1-877-484-2869.

 What are the ingredients in Victoza®?
 Active Ingredient: liraglutide
 Inactive Ingredients: disodium phosphate dihydrate, propylene glycol, phenol and water for injection

This Medication Guide has been approved by the U.S. Food and Drug Administration.




Manufactured by:
Novo Nordisk A/S
DK-2880 Bagsvaerd, Denmark
Victoza® is a registered trademark of Novo Nordisk A/S.
PATENT Information: http://novonordisk-us.com/patients/products/product-patents.html.
Revised: May 28, 2016
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USA16VIM02769 6/2016
                                                      Victoza® (liraglutide) injection solution, for subcutaneous use Instructions For Use                                                           12

Instructions for Use                                                                                   Continue to Step G under “Routine Use” a                                       E
Victoza® (liraglutide) injection                                                                       Routine Use
                                                                                                       Step E. Check the Pen
   Victoza® Pen     Rubber    Cartridge       Cartridge      Dose                 Dose Flow check
                    stopper      tip Cartridge scale        display   Pointer    button  symbol        • Take your Victoza® pen from where it is stored.
          Pen cap                                                                                      • Wash hands with soap and water before use.
                                                                                                       • Check pen label before each use to make sure it is your Victoza® pen.        F
                                                                                                       • Pull off pen cap.
                                                                                                       • Check Victoza® in the cartridge. The liquid should be clear, colorless
                                               Dose selector                                              and free of particles. If not, do not use.
  Needle (example)                                                                                     • Wipe the rubber stopper with an alcohol swab.
    Outer      Inner           Protective                                                              Step F. Attach the Needle
  needle cap needle cap Needle    tab              If you are having problems using your               • Remove protective tab from outer needle cap.
                                                   Victoza® pen, call toll-free 1-877-484-2869         • Push outer needle cap containing the needle straight onto the pen, then
                                                   or visit victoza.com                                   screw needle on until secure.
                                                                                                       • Pull off outer needle cap. Do not throw away.
                                                                                                       • Pull off inner needle cap and throw away. A small drop of liquid may
First read the Medication Guide that comes with your Victoza® pen and then read these Patient             appear. This is normal.
Instructions for Use for information about how to use your Victoza® pen the right way.
These instructions do not take the place of talking with your healthcare provider about your medical   Step G. Dial the Dose
condition or your treatment.                                                                           • Victoza® pen can give a dose of 0.6 mg (starting dose), 1.2 mg or
                                                                                                          1.8 mg. Be sure that you know the dose of Victoza® that is prescribed
Do not share your Victoza® Pen with other people, even if the needle has been                             for you.
changed. You may give other people a serious infection, or get a serious infection from
them.                                                                                                  • Turn the dose selector until your needed dose lines up with the pointer      G
                                                                                 A                        (0.6 mg, 1.2 mg or 1.8 mg).
Your Victoza® pen contains 3 mL of Victoza® and will deliver doses of                                  • You will hear a “click” every time you turn the dose selector. Do not set
0.6 mg, 1.2 mg or 1.8 mg. The number of doses that you can take with a                                    the dose by counting the number of clicks you hear.
Victoza® pen depends on the dose of medicine that is prescribed for you.
Your healthcare provider will tell you how much Victoza® to take.                                      • If you select a wrong dose, change it by turning the dose selector
                                                                                                          backwards or forwards until the correct dose lines up with the pointer.
Victoza® pen should be used with Novo Nordisk disposable needles. Talk                                    Be careful not to press the dose button when turning the dose selector.
to your healthcare provider or pharmacist for more information about             B                        This may cause Victoza® to come out.
needles for your Victoza® pen.                                                                                                                                                                 0.6 mg
                                                                                                       Step H. Injecting the Dose                                                     0.6 mg
Important Information                                                                                                                                                                          selected
                                                                                                       • Insert needle into your skin in the stomach, thigh or upper arm. Use the
  Do not share your Victoza® pen with other people, even if the needle                                    injection technique shown to you by your healthcare provider. Do not
  has been changed. You may give other people a serious infection, or                                     inject Victoza® into a vein or muscle.                                               1.2 mg
  get a serious infection from them.                                                                   • Press down on the center of the dose button to inject until 0 mg lines up    1.2 mg   selected
  Always use a new needle for each injection. Do not reuse or share                                       with the pointer.
  your needles with other people. You may give other people a serious                                  • Be careful not to touch the dose display with your other fingers. This
  infection, or get a serious infection from them.                                                        may block the injection.                                                    1.8 mg   1.8 mg
  Keep your Victoza® pen and all medicines out of the reach of children.                                                                                                                       selected
                                                                                                       • Keep the dose button pressed down and make sure that you keep the
  If you drop your Victoza® pen, repeat “First Time Use For Each New                                      needle under the skin for a full count of 6 seconds to make sure the
  Pen” (steps A through D).                                                                               full dose is injected. Keep your thumb on the injection button until you    H
  Be careful not to bend or damage the needle.                                                            remove the needle from your skin.
  Do not use the cartridge scale to measure how much Victoza® to inject.                               • Change (rotate) your injection sites within the area you choose for each
  Be careful when handling used needles to avoid needle stick injuries.                                   dose. Do not use the same injection site for each injection.
  You can use your Victoza® pen for up to 30 days after you use it the                                 Step I. Withdraw Needle
  first time.                                                                                          • You may see a drop of Victoza® at the needle tip. This is normal and




                                                                                                                                                                                        1.8 mg
First Time Use for Each New Pen                                                 C                         it does not affect the dose you just received. If blood appears after you
                                                                                                          take the needle out of your skin, apply light pressure, but do not rub
Step A. Check the Pen                                                                                     the area.
• Take your new Victoza® pen out of the refrigerator.                                                  Step J. Remove and Dispose of the Needle
• Wash hands with soap and water before use.                                                           • Carefully put the outer needle cap over the needle. Unscrew the needle.




                                                                                                                                                                                            0 mg
• Check pen label before each use to make sure it is your Victoza® pen.                                • Safely remove the needle from your Victoza® pen after each use.
• Pull off pen cap.                                                             Flow                   • Put your used VICTOZA® pen and needles in a FDA-cleared sharps
• Check Victoza® in the cartridge. The liquid should be clear, colorless        check                     disposal container right away after use. Do not throw away (dispose of)
   and free of particles. If not, do not use.                                   symbol                    loose needles and pens in your household trash.
                                                                                selected
• Wipe the rubber stopper with an alcohol swab.                                                        • If you do not have a FDA-cleared sharps disposal container, you may                        6
                                                                                                          use a household container that is:
Step B. Attach the Needle                                                       D                           o made of a heavy-duty plastic
• Remove protective tab from outer needle cap.
                                                                                                            o can be closed with a tight-fitting, puncture-resistant lid, without     I
• Push outer needle cap containing the needle straight onto the pen,                                          sharps being able to come out
   then screw needle on until secure.
                                                                                                            o upright and stable during use
• Pull off outer needle cap. Do not throw away.
                                                                                                            o leak-resistant
• Pull off inner needle cap and throw away. A small drop of liquid may
                                                                                                            o properly labeled to warn of hazardous waste inside the container
   appear. This is normal.
Step C. Dial to the Flow Check Symbol                                                                  • When your sharps disposal container is almost full, you will need to         J
                                                                                                          follow your community guidelines for the right way to dispose of your
   This step is done only ONCE for each new pen and is ONLY required                                      sharps disposal container. There may be state or local laws about how
   the first time you use a new pen.                                                                      you should throw away used needles and syringes. Do not reuse or
• Turn dose selector until flow check symbol (--) lines up with pointer.                                  share your needles with other people. For more information about the
   The flow check symbol does not administer the dose as prescribed by                                    safe sharps disposal, and for specific information about sharps disposal
   your healthcare provider.                                                                              in the state that you live in, go to the FDA’s website at: http://www.fda.
• To select the dose prescribed by your healthcare provider, continue to                                  gov/safesharpsdisposal.
   Step G under “Routine Use”.                                                                         • Do not dispose of your used sharps disposal container in your
                                                                                                          household trash unless your community guidelines permit this. Do not
Step D. Prepare the Pen                                                                                   recycle your used sharps disposal container.
 • Hold pen with needle pointing up.
 • Tap cartridge gently with your finger a few times to bring any air                                  Caring for your Victoza® pen
    bubbles to the top of the cartridge.                                                               • After removing the needle, put the pen cap on your Victoza® pen and store your Victoza® pen
                                                                                                          without the needle attached.
 • Keep needle pointing up and press dose button until 0 mg lines up with
    pointer. Repeat steps C and D, up to 6 times, until a drop of Victoza®                             • Do not try to refill your Victoza® pen – it is prefilled and is disposable.
    appears at the needle tip.                                                                         • Do not try to repair your pen or pull it apart.
If you still see no drop of Victoza®, use a new pen and contact                                        • Keep your Victoza® pen away from dust, dirt and liquids.
Novo Nordisk at 1-877-484-2869.                                                                        • If cleaning is needed, wipe the outside of the pen with a clean, damp cloth.
                                                       Victoza® (liraglutide) injection solution, for subcutaneous use Instructions For Use   13

How should I store    Victoza®?
Before use:
• Store your new, unused Victoza® pen in the refrigerator at 36ºF to 46ºF (2ºC to 8ºC).
• If Victoza® is stored outside of refrigeration (by mistake) prior to first use, it should be used or
  thrown away within 30 days.
• Do not freeze Victoza® or use Victoza® if it has been frozen. Do not store Victoza® near the
  refrigerator cooling element.
Pen in use:
• Store your Victoza® pen for 30 days at 59ºF to 86ºF (15ºC to 30ºC), or in a refrigerator at 36ºF to
  46ºF (2°C to 8°C).
• When carrying the pen away from home, store the pen at a temperature between 59ºF to 86ºF (15ºC
  to 30ºC).
• If Victoza® has been exposed to temperatures above 86ºF (30°C), it should be thrown away.
• Protect your Victoza® pen from heat and sunlight.
• Keep the pen cap on when your Victoza® pen is not in use.
• Use a Victoza® pen for only 30 days. Throw away a used Victoza® pen after 30 days, even if some
  medicine is left in the pen.
                     EXHIBIT	R	


SAXENDA FDA FULL PRESCRIBING INFORMATION
	




                     EXHIBIT	R	
	
HIGHLIGHTS OF PRESCRIBING INFORMATION                                • The effects of Saxenda® on cardiovascular morbidity and               initiating or escalating doses of Saxenda® in patients with renal
These highlights do not include all the information                    mortality have not been established (1).                              impairment (5.6).
needed to use SAXENDA® safely and effectively.                       • The safety and efficacy of coadministration with other products     • Hypersensitivity Reactions: Postmarketing reports of serious
See full prescribing information for SAXENDA®.                         for weight loss have not been established (1).                        hypersensitivity reactions (e.g., anaphylactic reactions and
SAXENDA® (liraglutide [rDNA origin] injection),                      • Saxenda® has not been studied in patients with a history of           angioedema). Discontinue Saxenda ® and other suspect
solution for subcutaneous use                                          pancreatitis (1, 5.2).                                                medications and promptly seek medical advice (5.7).
Initial U.S. Approval: 2010                                                                                                                • Suicidal Behavior and Ideation: Monitor for depression or
                                                                         ——— DOSAGE AND ADMINISTRATION ———                                   suicidal thoughts. Discontinue Saxenda® if symptoms develop
                                                                     • Recommended dose of Saxenda® is 3 mg daily. Administer at             (5.8).
     WARNING: RISK OF THYROID C-CELL TUMORS                            any time of day, without regard to the timing of meals (2).
       See full prescribing information for complete                                                                                                 ——— ADVERSE REACTIONS ———
                                                                     • Initiate at 0.6 mg per day for one week. In weekly intervals,
                      boxed warning.                                   increase the dose until a dose of 3 mg is reached (2).              • Most common adverse reactions, reported in greater than or
  • Liraglutide causes thyroid C-cell tumors at                                                                                              equal to 5% are: nausea, hypoglycemia, diarrhea, constipation,
                                                                     • Inject subcutaneously in the abdomen, thigh or upper arm (2).
    clinically relevant exposures in both genders of                                                                                         vomiting, headache, decreased appetite, dyspepsia, fatigue,
    rats and mice. It is unknown whether Saxenda ®                   • The injection site and timing can be changed without dose             dizziness, abdominal pain, and increased lipase (6.1).
    causes thyroid C-cell tumors, including medullary                  adjustment (2).
                                                                                                                                           To report SUSPECTED ADVERSE REACTIONS, contact
    thyroid carcinoma (MTC), in humans, as the                          ——— DOSAGE FORMS AND STRENGTHS ———                                 Novo Nordisk Inc. at 1-877-484-2869 or FDA at 1-800-
    human relevance of liraglutide-induced rodent                    • Solution for subcutaneous injection, pre-filled, multi-dose pen     FDA-1088 or www.fda.gov/medwatch.
    thyroid C-cell tumors has not been determined                      that delivers doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg
    (5.1).                                                                                                                                         ——— DRUG INTERACTIONS ———
                                                                       (6 mg/mL, 3 mL) (3).
  • Saxenda® is contraindicated in patients with a                                                                                         • Saxenda® delays gastric emptying. May impact absorption of
    personal or family history of MTC or in patients                          ——— CONTRAINDICATIONS ———                                      concomitantly administered oral medications. Use with caution
    with Multiple Endocrine Neoplasia syndrome type                  • Personal or family history of medullary thyroid carcinoma or          (7).
    2 (MEN 2). Counsel patients regarding the risk of                  Multiple Endocrine Neoplasia syndrome type 2 (4, 5.1).                  ——— USE IN SPECIFIC POPULATIONS ———
    MTC and the symptoms of thyroid tumors (4, 5.1,                  • Hypersensitivity to liraglutide or any product components (4,       • Nursing Mothers: Discontinue drug or nursing (8.3).
    13.1).                                                             5.7).
                                                                                                                                           • Pediatric Use: Safety and effectiveness not established and use
                                                                     • Pregnancy (4, 8.1).                                                   not recommended (8.4).
        ——— INDICATIONS AND USAGE ———                                    ——— WARNINGS AND PRECAUTIONS ———                                  See 17 for PATIENT COUNSELING INFORMATION and
Saxenda® is a glucagon-like peptide-1 (GLP-1) receptor agonist       • Thyroid C-cell Tumors: Counsel patients regarding the risk          Medication Guide.
indicated as an adjunct to a reduced-calorie diet and increased        of medullary thyroid carcinoma and the symptoms of thyroid          Revised: 1/2015
physical activity for chronic weight management in adult patients      tumors (5.1).
with an initial body mass index (BMI) of                             • Acute Pancreatitis: Discontinue promptly if pancreatitis is
• 30 kg/m2 or greater (obese) (1) or                                   suspected. Do not restart if pancreatitis is confirmed (5.2).
• 27 kg/m2 or greater (overweight) in the presence of at least one   • Acute Gallbladder Disease: If cholelithiasis or cholecystitis are
  weight-related comorbid condition (e.g. hypertension, type 2         suspected, gallbladder studies are indicated (5.3).
  diabetes mellitus, or dyslipidemia) (1).                           • Serious Hypoglycemia: Can occur when Saxenda® is used
Limitations of Use:                                                    with an insulin secretagogue (e.g. a sulfonylurea). Consider
• Saxenda® is not indicated for the treatment of type 2 diabetes       lowering the dose of anti-diabetic drugs to reduce the risk of
  (1).                                                                 hypoglycemia (2, 5.4).
• Saxenda® should not be used in combination with any other          • Heart Rate Increase: Monitor heart rate at regular intervals
  GLP-1 receptor agonist (1).                                          (5.5).
• Saxenda® should not be used with insulin (1, 5.4).                 • Renal Impairment: Has been reported postmarketing, usually
                                                                       in association with nausea, vomiting, diarrhea, or dehydration
                                                                       which may sometimes require hemodialysis. Use caution when


FULL PRESCRIBING INFORMATION: CONTENTS*                              8    USE IN SPECIFIC POPULATIONS                                          17.2    Instructions
BOXED WARNING: RISK OF THYROID C−CELL TUMORS                              8.1   Pregnancy                                                      17.3    Risk of Thyroid C-cell Tumors
1 INDICATIONS AND USAGE                                                   8.3   Nursing Mothers                                                17.4    Acute Pancreatitis
2 DOSAGE AND ADMINISTRATION                                               8.4   Pediatric Use                                                  17.5    Acute Gallbladder Disease
3 DOSAGE FORMS AND STRENGTHS                                              8.5   Geriatric Use                                                  17.6    Hypoglycemia in Patients with Type 2 Diabetes
                                                                          8.6   Renal Impairment                                                       Mellitus on Anti-Diabetic Therapy
4 CONTRAINDICATIONS                                                                                                                             17.7 Heart Rate Increase
                                                                          8.7   Hepatic Impairment
5 WARNINGS AND PRECAUTIONS                                                                                                                      17.8 Dehydration and Renal Impairment
                                                                          8.8   Gastroparesis
   5.1  Risk of Thyroid C-cell Tumors                                                                                                           17.9 Hypersensitivity Reactions
                                                                     10   OVERDOSAGE
   5.2  Acute Pancreatitis                                                                                                                      17.10 Suicidal Behavior and Ideation
                                                                     11   DESCRIPTION
   5.3  Acute Gallbladder Disease                                                                                                               17.11 Jaundice and Hepatitis
                                                                     12   CLINICAL PHARMACOLOGY
   5.4  Risk for Hypoglycemia with Concomitant Use of                                                                                           17.12 Never Share a Saxenda® Pen Between Patients
                                                                          12.1 Mechanism of Action
        Anti-Diabetic Therapy                                                                                                              *Sections or subsections omitted from the full prescribing
                                                                          12.2 Pharmacodynamics                                            information are not listed.
   5.5  Heart Rate Increase
                                                                          12.3 Pharmacokinetics
   5.6  Renal Impairment
                                                                     13   NONCLINICAL TOXICOLOGY
   5.7  Hypersensitivity Reactions                                        13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
   5.8  Suicidal Behavior and Ideation                               14   CLINICAL STUDIES
6 ADVERSE REACTIONS                                                  16   HOW SUPPLIED/STORAGE AND HANDLING
   6.1  Clinical Trials Experience                                        16.1 How Supplied
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7 DRUG INTERACTIONS                                                  17   PATIENT COUNSELING INFORMATION
   7.1  Oral Medications                                                  17.1 FDA-Approved Medication Guide

                                                                                                      1
                                                                                  Saxenda ® (liraglutide [rDNA origin] injection)                                                                                 2

FULL PRESCRIBING INFORMATION                                            • Saxenda® and Victoza® both contain the same active ingredient,
                                                                                                                                       timing can be changed without dose adjustment. Saxenda® must
                                                                           liraglutide, and therefore should not be used together. Saxenda®
                                                                                                                                       not be administered intravenously or intramuscularly.
        WARNING: RISK OF THYROID C-CELL TUMORS                             should not be used in combination with any other GLP-1
                                                                           receptor agonist.                                           When initiating Saxenda® in patients taking insulin secreta-
  • Liraglutide causes dose-dependent and treatment-                                                                                   gogues (such as sulfonylureas), consider reducing the dose of
    duration-dependent thyroid C-cell tumors at                         • Saxenda® has not been studied in patients taking insulin.
    clinically relevant exposures in both genders of                       Saxenda® and insulin should not be used together [see       the insulin secretagogue (for example, by one-half) to reduce the
    rats and mice. It is unknown whether Saxenda ®                         Warnings and Precautions (5.4)].                            risk for hypoglycemia, and monitor blood glucose. Saxenda ® and
    causes thyroid C-cell tumors, including medullary                   • The effects of Saxenda® on cardiovascular morbidity and      insulin should not be used together [see Warnings and Precautions
    thyroid carcinoma (MTC), in humans, as the                             mortality have not been established.                        (5.4) and Adverse Reactions (6.1)]. Conversely, if discontinuing
    human relevance of liraglutide-induced rodent                       • The safety and effectiveness of Saxenda® in combination with Saxenda® in patients with type 2 diabetes, monitor for an increase
    thyroid C-cell tumors has not been determined                                                                                      in blood glucose.
                                                                           other products intended for weight loss, including prescription
    [see Warnings and Precautions (5.1) and                                drugs, over-the-counter drugs, and herbal preparations, have
    Nonclinical Toxicology (13.1)].                                                                                                    Evaluate the change in body weight 16 weeks after initiating
                                                                           not been established.                                       Saxenda® and discontinue Saxenda® if the patient has not lost
  • Saxenda® is contraindicated in patients with a                      • Saxenda® has not been studied in patients with a history of
    personal or family history of MTC and in patients                                                                                  at least 4% of baseline body weight, since it is unlikely that the
                                                                           pancreatitis [see Warnings and Precautions (5.2)] .
    with Multiple Endocrine Neoplasia syndrome type                                                                                    patient will achieve and sustain clinically meaningful weight loss
    2 (MEN 2). Counsel patients regarding the risk                      2        DOSAGE AND ADMINISTRATION                             with continued treatment.
    of MTC with use of Saxenda and inform them of
                                     ®                                  The recommended dosage of Saxenda® is 3 mg daily. The dose
                                                                        escalation schedule in Table 1 should be used to reduce the    If a dose is missed, the once-daily regimen should be resumed as
    symptoms of thyroid tumors (e.g., a mass in the
    neck, dysphagia, dyspnea, persistent hoarseness).                                                                                  prescribed with the next scheduled dose. An extra dose or increase
                                                                        likelihood of gastrointestinal symptoms. If patients do not tolerate
    Routine monitoring of serum calcitonin or using                     an increased dose during dose escalation, consider delaying    in dose should not be taken to make up for the missed dose. If more
    thyroid ultrasound is of uncertain value for                        dose escalation for approximately one additional week. Saxenda®than 3 days have elapsed since the last Saxenda ® dose, patients
    early detection of MTC in patients treated with                     should be discontinued, however, if a patient cannot tolerate the 3
                                                                                                                                       should reinitiate Saxenda® at 0.6 mg daily and follow the dose
    Saxenda® [see Contraindications (4), Warnings and                   mg dose, as efficacy has not been established at lower doses (0.6,
                                                                        1.2, 1.8, and 2.4 mg).                                         escalation schedule in Table 1, which may reduce the occurrence of
    Precautions (5.1)].                                                                                                                gastrointestinal symptoms associated with reinitiation of treatment.
                                                                   Table 1. Dose Escalation Schedule
1       INDICATIONS AND USAGE                                                                                                          Prior to initiation of Saxenda ®, patients should be trained by their
                                                                                   Week                          Daily  Dose           healthcare professional on proper injection technique. Training
Saxenda® is indicated as an adjunct to a reduced-calorie diet and
increased physical activity for chronic weight management in adult                   1                              0.6 mg             reduces the risk of administration errors such as needle sticks and
patients with an initial body mass index (BMI) of                                    2                              1.2 mg             incomplete dosing. Refer to the accompanying Instructions for Use
• 30 kg/m2 or greater (obese), or                                                                                                      for complete administration instructions with illustrations.
                                                                                     3                              1.8 mg
• 27 kg/m or greater (overweight) in the presence of at least one
           2                                                                                                                           Saxenda® solution should be inspected prior to each injection,
  weight-related comorbid condition (e.g., hypertension, type 2                      4                              2.4 mg             and the solution should be used only if it is clear, colorless, and
  diabetes mellitus, or dyslipidemia)                                         5 and onward                           3 mg              contains no particles.
Limitations of Use                                                 Saxenda should be taken once daily at any time of day, without BMI is calculated by dividing weight in (kilograms) by height (in
                                                                            ®

• Saxenda® is not indicated for the treatment of type 2 diabetes   regard to the timing of meals. Saxenda ® can be injected subcutane- meters) squared. A chart for determining BMI based on height and
  mellitus.                                                        ously in the abdomen, thigh, or upper arm. The injection site and weight is provided in Table 2.
Table 2. BMI Conversion Chart
          (lb) 125           130      135      140      145       150       155      160      165      170      175      180        185    190        195      200      205      210      215      220   225
Weight
          (kg) 56.8          59.1     61.4     63.6     65.9      68.2      70.5     72.7     75.0     77.3     79.5     81.8       84.1   86.4       88.6     90.9     93.2     95.5     97.7    100.0 102.3
     Height
  (in) (cm)
   58    147.3 26              27       28       29       30       31        32       34       35        36       37       38       39         40      41       42       43       44       45       46       47
   59    149.9 25              26       27       28       29       30        31       32       33        34       35       36       37         38      39       40       41       43       44       45       46
   60    152.4 24              25       26       27       28       29        30       31       32        33       34       35       36         37      38       39       40       41       42       43       44
   61    154.9 24              25       26       27       27       28        29       30       31        32       33       34       35         36      37       38       39       40       41       42       43
   62    157.5 23              24       25       26       27       27        28       29       30        31       32       33       34         35      36       37       38       38       39       40       41
   63    160.0 22              23       24       25       26       27        28       28       29        30       31       32       33         34      35       36       36       37       38       39       40
   64    162.6 22              22       23       24       25       26        27       28       28        29       30       31       32         33      34       34       35       36       37       38       39
   65    165.1 21              22       23       23       24       25        26       27       28        28       29       30       31         32      33       33       34       35       36       37       38
   66    167.6 20              21       22       23       23       24        25       26       27        27       28       29       30         31      32       32       33       34       35       36       36
   67    170.2 20              20       21       22       23       24        24       25       26        27       27       28       29         30      31       31       32       33       34       35       35
   68    172.7 19              20       21       21       22       23        24       24       25        26       27       27       28         29      30       30       31       32       33       34       34
   69    175.3 18              19       20       21       21       22        23       24       24        25       26       27       27         28      29       30       30       31       32       33       33
   70    177.8  18             19       19       20       21       22        22       23       24        24       25       26       27         27      28       29       29       30       31       32       32
   71    180.3 17              18       19       20       20       21        22       22       23        24       24       25       26         27      27       28       29       29       30       31       31
   72    182.9 17              18       18       19       20       20        21       22       22        23       24       24       25         26      27       27       28       29       29       30       31
   73    185.4 17              17       18       19       19       20        20       21       22        22       23       24       24         25      26       26       27       28       28       29       30
   74    188.0 16              17       17       18       19       19        20       21       21        22       23       23       24         24      25       26       26       27       28       28       29
   75    190.5 16              16       17       18       18       19        19       20       21        21       22       23       23         24      24       25       26       26       27       28       28
   76    193.0 15              16       16       17       18       18        19       20       20        21       21       22       23         23      24       24       25       26       26       27       27

3       DOSAGE FORMS AND STRENGTHS                                      • Pregnancy [see Use in Specific Populations (8.1)]                     Cases of MTC in patients treated with liraglutide have been
Solution for subcutaneous injection, pre-filled, multi-dose pen that    5       WARNINGS AND PRECAUTIONS                                        reported in the postmarketing period; the data in these reports are
delivers doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg, or 3 mg (6 mg/mL,                                                                             insufficient to establish or exclude a causal relationship between
                                                                        5.1 Risk of Thyroid C-cell Tumors                                       MTC and liraglutide use in humans.
3 mL).
                                                                        Liraglutide causes dose-dependent and treatment-duration-
4       CONTRAINDICATIONS                                                                                                                       Saxenda® is contraindicated in patients with a personal or family
                                                                        dependent thyroid C-cell tumors (adenomas and/or carcinomas)            history of MTC or in patients with MEN 2. Counsel patients
Saxenda® is contraindicated in the following conditions:                at clinically relevant exposures in both genders of rats and mice       regarding the risk for MTC and inform them of symptoms of thyroid
• Patients with a personal or family history of medullary thyroid       [see Nonclinical Toxicology (13.1)] . Malignant thyroid C-cell          tumors (e.g., a mass in the neck, dysphagia, dyspnea, persistent
  carcinoma (MTC) or patients with Multiple Endocrine Neoplasia         carcinomas were detected in rats and mice. It is unknown whether        hoarseness).
  syndrome type 2 (MEN 2) [see Warnings and Precautions (5.1)]          Saxenda® will cause thyroid C-cell tumors, including medullary          Routine monitoring of serum calcitonin or using thyroid ultrasound
• Patients with a prior serious hypersensitivity reaction to            thyroid carcinoma (MTC), in humans, as the human relevance              is of uncertain value for early detection of MTC in patients
  liraglutide or to any of the product components [see Warnings         of liraglutide-induced rodent thyroid C-cell tumors has not been        treated with Saxenda®. Such monitoring may increase the risk
  and Precautions (5.7)]                                                determined.                                                             of unnecessary procedures, due to low test specificity for serum
                                                                                   Saxenda ® (liraglutide [rDNA origin] injection)                                                                                    3

calcitonin and a high background incidence of thyroid disease.           worsening of chronic renal failure, sometimes requiring hemodi-          Table 3. Adverse Reactions Reported in Greater Than
Significantly elevated serum calcitonin may indicate MTC, and            alysis [see Adverse Reactions (6.2)] . Some of these events were         or Equal to 2% of Saxenda®-treated Patients and More
patients with MTC usually have calcitonin values greater than 50         reported in patients without known underlying renal disease.             Frequently than with Placebo
ng/L. If serum calcitonin is measured and found to be elevated, the      A majority of the reported events occurred in patients who had                                           Placebo      Saxenda
patient should be further evaluated. Patients with thyroid nodules       experienced nausea, vomiting, or diarrhea leading to volume                                              N = 1941     N = 3384
noted on physical examination or neck imaging should also be             depletion. Some of the reported events occurred in patients                                                 %            %
further evaluated.
                                                                         receiving one or more medications known to affect renal function or       Gastrointestinal Disorders
5.2 Acute Pancreatitis                                                   volume status. Altered renal function has been reversed in many of
Based on spontaneous postmarketing reports, acute pancreatitis,                                                                                      Nausea                         13.8         39.3
                                                                         the reported cases with supportive treatment and discontinuation
including fatal and non-fatal hemorrhagic or necrotizing pancre-                                                                                     Diarrhea                        9.9         20.9
atitis, has been observed in patients treated with liraglutide. After    of potentially causative agents, including liraglutide. Use caution
                                                                         when initiating or escalating doses of Saxenda® in patients with            Constipation                    8.5         19.4
initiation of Saxenda®, observe patients carefully for signs and
symptoms of pancreatitis (including persistent severe abdominal          renal impairment [see Use in Specific Populations (8.6)] .                  Vomiting                        3.9         15.7
pain, sometimes radiating to the back and which may or may not be        5.7 Hypersensitivity Reactions                                              Dyspepsia                       2.7          9.6
accompanied by vomiting). If pancreatitis is suspected, Saxenda®         There have been reports of serious hypersensitivity reactions (e.g.,        Abdominal Pain                  3.1          5.4
should promptly be discontinued and appropriate management               anaphylactic reactions and angioedema) in patients treated with
should be initiated. If pancreatitis is confirmed, Saxenda® should                                                                                   Upper Abdominal Pain            2.7          5.1
                                                                         liraglutide [see Adverse Reactions (6.1, 6.2)] . If a hypersensitivity
not be restarted.                                                        reaction occurs, the patient should discontinue Saxenda® and                Gastroesophageal Reflux
                                                                                                                                                                                     1.7          4.7
In Saxenda® clinical trials, acute pancreatitis was confirmed by         other suspect medications and promptly seek medical advice.                 Disease
adjudication in 9 (0.3%) of 3291 Saxenda ® -treated patients and                                                                                     Abdominal Distension            3.0          4.5
1 (0.1%) of 1843 placebo-treated patients. In addition, there were       Angioedema has also been reported with other GLP-1 receptor
                                                                         agonists. Use caution in a patient with a history of angioedema with        Eructation                      0.2          4.5
2 cases of acute pancreatitis in Saxenda® -treated patients who
prematurely withdrew from these clinical trials, occurring 74 and        another GLP-1 receptor agonist because it is unknown whether                Flatulence                      2.5          4.0
124 days after the last dose, and 1 additional case in a Saxenda® -      such patients will be predisposed to angioedema with Saxenda®.              Dry Mouth                       1.0          2.3
treated patient during an off-treatment follow-up period within 2        5.8 Suicidal Behavior and Ideation                                        Metabolism and Nutrition Disorders
weeks of discontinuing Saxenda®.                                         In Saxenda® clinical trials, 6 (0.2%) of 3384 Saxenda ® -treated
It is unknown whether patients with a history of pancreatitis are at                                                                                 Hypoglycemia in T2DM1          12.7         23.0
                                                                         patients and none of the 1941 placebo-treated patients reported
increased risk for pancreatitis while using Saxenda®, since these        suicidal ideation; one of these Saxenda® -treated patients                  Decreased Appetite              2.3         10.0
patients were excluded from clinical trials.                             attempted suicide. Patients treated with Saxenda® should be               Nervous System Disorders
5.3 Acute Gallbladder Disease                                            monitored for the emergence or worsening of depression, suicidal            Headache                       12.6         13.6
In Saxenda® clinical trials, 1.5% of Saxenda ® -treated patients         thoughts or behavior, and/or any unusual changes in mood or
reported adverse events of cholelithiasis versus 0.5% of placebo-                                                                                    Dizziness                       5.0          6.9
                                                                         behavior. Discontinue Saxenda ® in patients who experience
treated patients. The incidence of cholecystitis was 0.6% in             suicidal thoughts or behaviors. Avoid Saxenda® in patients with a         General Disorders and Administration Site Conditions
Saxenda® -treated patients versus 0.2% in placebo-treated                history of suicidal attempts or active suicidal ideation.                   Fatigue                         4.6          7.5
patients. The majority of Saxenda ® -treated patients with adverse
events of cholelithiasis and cholecystitis required cholecystec-         6        ADVERSE REACTIONS                                                  Injection Site Erythema         0.2          2.5
tomy. Substantial or rapid weight loss can increase the risk of          The following serious adverse reactions are described below or              Injection Site Reaction         0.6          2.5
cholelithiasis; however, the incidence of acute gallbladder disease      elsewhere in the prescribing information:                                   Asthenia                        0.8          2.1
was greater in Saxenda ® -treated patients than in placebo-treated       • Risk of Thyroid C-Cell Tumors [see Warnings and Precautions             Infections and Infestations
patients even after accounting for the degree of weight loss. If
cholelithiasis is suspected, gallbladder studies and appropriate            (5.1)]                                                                   Gastroenteritis                 3.2          4.7
clinical follow-up are indicated.                                        • Acute Pancreatitis [see Warnings and Precautions (5.2)]                   Urinary Tract Infection         3.1          4.3
5.4 Risk for Hypoglycemia with Concomitant Use of                        • Acute Gallbladder Disease [see Warnings and Precautions                   Viral Gastroenteritis           1.6          2.8
         Anti-Diabetic Therapy                                              (5.3)]
The risk for serious hypoglycemia is increased when Saxenda®                                                                                       Investigations
                                                                         • Risk for Hypoglycemia with Concomitant Use of Anti-Diabetic
is used in combination with insulin secretagogues (for example,                                                                                      Increased Lipase                2.2          5.3
                                                                            Therapy [see Warnings and Precautions (5.4)]
sulfonylureas) in patients with type 2 diabetes mellitus. Therefore,                                                                               Psychiatric Disorders
patients may require a lower dose of sulfonylurea (or other              • Heart Rate Increase [see Warnings and Precautions (5.5)]
concomitantly administered insulin secretagogues) in this setting                                                                                    Insomnia                        1.7          2.4
                                                                         • Renal Impairment [see Warnings and Precautions (5.6)]
[see Dosage and Administration (2) and Adverse Reactions (6.1)] .                                                                                    Anxiety                         1.6          2.0
                                                                         • Hypersensitivity Reactions [see Warnings and Precautions
Saxenda® should not be used in patients taking insulin.                                                                                           1 Documented symptomatic (defined as documented symptoms
                                                                            (5.7)]
Saxenda® can lower blood glucose [see Clinical Pharmacology                                                                                         of hypoglycemia in combination with a plasma glucose less than
(12.2)] . Monitor blood glucose parameters prior to starting             • Suicidal Behavior and Ideation [see Warnings and Precautions             or equal to 70 mg/dL) in patients with type 2 diabetes (Study 2).
Saxenda® and during Saxenda® treatment in patients with type                (5.8)]                                                                  See text below for further information regarding hypoglycemia
2 diabetes. If needed, adjust co-administered anti-diabetic drugs        6.1 Clinical Trials Experience                                             in patients with and without type 2 diabetes. T2DM = type 2
based on glucose monitoring results and risk of hypoglycemia.            Because clinical trials are conducted under widely varying                 diabetes mellitus
5.5 Heart Rate Increase                                                  conditions, adverse reaction rates observed in the clinical trials of    Hypoglycemia
Mean increases in resting heart rate of 2 to 3 beats per minute          a drug cannot be directly compared to rates in the clinical studies      Saxenda® can lower blood glucose. In a clinical trial involving
(bpm) were observed with routine clinical monitoring in Saxenda ® -      of another drug and may not reflect the rates observed in practice.      patients with type 2 diabetes mellitus and overweight or obesity,
treated patients compared to placebo in clinical trials. More patients
                                                                         Saxenda® was evaluated for safety in 5 double-blind, placebo             severe hypoglycemia (defined as requiring the assistance of
treated with Saxenda®, compared with placebo, had changes from
                                                                         controlled trials that included 3384 overweight or obese patients        another person) occurred in 3 (0.7%) of 422 Saxenda ® -treated
baseline at two consecutive visits of more than 10 bpm (34% versus
                                                                         treated with Saxenda® for a treatment period up to 56 weeks              patients and in none of the 212 placebo-treated patients. Each
19%, respectively) and 20 bpm (5% versus 2%, respectively). At
least one resting heart rate exceeding 100 bpm was recorded for          (3 trials), 52 weeks (1 trial), and 32 weeks (1 trial). All patients     of these 3 Saxenda® -treated patients was also taking a sulfo-
6% of Saxenda® -treated patients compared with 4% of placebo-            received study drug in addition to diet and exercise counseling.         nylurea. In the same trial, among patients taking a sulfonylurea,
treated patients, with this occurring at two consecutive study visits    In these trials, patients received Saxenda® for a mean treatment         documented symptomatic hypoglycemia (defined as documented
for 0.9% and 0.3%, respectively. Tachycardia was reported as an          duration of 45.9 weeks (median, 55.9 weeks). Of these, 1087              symptoms of hypoglycemia in combination with a plasma glucose
adverse reaction in 0.6% of Saxenda ® -treated patients and in 0.1%                                                                               less than or equal to 70 mg/dL) occurred in 48 (43.6%) of 110
                                                                         Saxenda® -treated patients and 497 placebo-treated patients have         Saxenda® -treated patients and 15 (27.3%) of 55 placebo-treated
of placebo-treated patients.                                             been exposed in their original randomized groups beyond the              patients. The doses of sulfonylureas were reduced by 50% at the
In a clinical pharmacology trial that monitored heart rate continu-      primary endpoint for an additional mean duration of 53.0 weeks           beginning of the trial per protocol. The frequency of hypoglycemia
ously for 24 hours, Saxenda ® treatment was associated with a heart      (median, 56.9 weeks). Baseline characteristics included a mean           may be higher if the dose of sulfonylurea is not reduced. Among
rate that was 4 to 9 bpm higher than that observed with placebo.         age of 47 years, 71% women, 85% white, 39% with hypertension,            patients not taking a sulfonylurea, documented symptomatic hypo-
The clinical significance of the heart rate elevation with Saxenda®      15% with type 2 diabetes, 34% with dyslipidemia, 29% with a              glycemia occurred in 49 (15.7%) of 312 Saxenda® -treated patients
treatment is unclear, especially for patients with cardiac and cere-     BMI greater than 40 kg/m2, and 9% with cardiovascular disease.           and 12 (7.6%) of 157 placebo-treated patients.
brovascular disease as a result of limited exposure in these patients    Dosing was initiated and increased weekly to reach the 3 mg dose.        In Saxenda® clinical trials involving patients without type 2 diabetes
in clinical trials.                                                                                                                               mellitus, there was no systematic capturing or reporting of hypo-
                                                                         In clinical trials, 9.8% of patients treated with Saxenda® and
Heart rate should be monitored at regular intervals consistent           4.3% of patients treated with placebo prematurely discontinued           glycemia, as patients were not provided with blood glucose meters
with usual clinical practice. Patients should inform health care         treatment as a result of adverse reactions. The most common              or hypoglycemia diaries. Spontaneously reported symptomatic
providers of palpitations or feelings of a racing heartbeat while                                                                                 episodes of unconfirmed hypoglycemia were reported by 46
at rest during Saxenda® treatment. For patients who experience           adverse reactions leading to discontinuation were nausea (2.9%
                                                                         versus 0.2% for Saxenda® and placebo, respectively), vomiting            (1.6%) of 2962 Saxenda® -treated patients and 19 (1.1%) of 1729
a sustained increase in resting heart rate while taking Saxenda ®,                                                                                placebo-treated patients. Fasting plasma glucose values obtained
Saxenda® should be discontinued.                                         (1.7% versus less than 0.1%), and diarrhea (1.4% versus 0%).             at routine clinic visits less than or equal to 70 mg/dL, irrespec-
5.6 Renal Impairment                                                     Adverse reactions reported in greater than or equal to 2% of             tive of hypoglycemic symptoms, were reported as “hypoglycemia”
In patients treated with GLP-1 receptor agonists, including              Saxenda® -treated patients and more frequently than in placebo-          in 92 (3.1%) Saxenda® -treated patients and 13 (0.8%) placebo-
Saxenda®, there have been reports of acute renal failure and             treated patients are shown in Table 3.                                   treated patients.
                                                                                  Saxenda ® (liraglutide [rDNA origin] injection)                                                                                     4

Gastrointestinal Adverse Reactions                                      (0.5%) of 3291 Saxenda® -treated patients compared with 4 (0.2%)          Immune System Disorders
In the clinical trials, approximately 68% of Saxenda® -treated          of 1843 placebo-treated patients. Two positively adjudicated cases             Angioedema and anaphylactic reactions [see Warnings and
patients and 39% of placebo-treated patients reported gastrointes-      of malignant colorectal carcinoma were reported in Saxenda® -                  Precautions (5.7)]
tinal disorders; the most frequently reported was nausea (39% and       treated patients (0.1%) and none in placebo-treated patients.             Hepatobiliary Disorders
14% of patients treated with Saxenda® and placebo, respectively).       Cardiac Conduction Disorders                                                   Elevations of liver enzymes, hyperbilirubinemia, cholestasis
The percentage of patients reporting nausea declined as treatment                                                                                      and hepatitis [see Adverse Reactions (6.1)]
                                                                        In Saxenda® clinical trials, 11 (0.3%) of 3384 Saxenda® -treated
continued. Other common adverse reactions that occurred at
                                                                        patients compared with none of the 1941 placebo-treated patients          7        DRUG INTERACTIONS
a higher incidence among Saxenda® -treated patients included
diarrhea, constipation, vomiting, dyspepsia, abdominal pain, dry        had a cardiac conduction disorder, reported as first degree atrio-        7.1 Oral Medications
mouth, gastritis, gastroesophageal reflux disease, flatulence,          ventricular block, right bundle branch block, or left bundle branch       Saxenda® causes a delay of gastric emptying, and thereby has the
eructation and abdominal distension. Most episodes of gastroin-         block.                                                                    potential to impact the absorption of concomitantly administered
testinal events were mild or moderate and did not lead to discontin-    Hypotension                                                               oral medications. In clinical pharmacology trials, liraglutide did not
uation of therapy (6.2% with Saxenda® versus 0.8% with placebo                                                                                    affect the absorption of the tested orally administered medications
                                                                        Adverse reactions related to hypotension (that is, reports of             to any clinically relevant degree. Nonetheless, monitor for potential
discontinued treatment as a result of gastrointestinal adverse          hypotension, orthostatic hypotension, circulatory collapse, and
reactions). There have been reports of gastrointestinal adverse                                                                                   consequences of delayed absorption of oral medications concomi-
                                                                        decreased blood pressure) were reported more frequently with              tantly administered with Saxenda ®.
reactions, such as nausea, vomiting, and diarrhea, associated           Saxenda® (1.1%) compared with placebo (0.5%) in Saxenda ®
with volume depletion and renal impairment [see Warnings and            clinical trials. Systolic blood pressure decreases to less than 80        8        USE IN SPECIFIC POPULATIONS
Precautions (5.6)] .                                                    mmHg were observed in 4 (0.1%) Saxenda ® -treated patients                8.1 Pregnancy
Asthenia, Fatigue, Malaise, Dysgeusia and Dizziness                     compared with no placebo-treated patients. One of the Saxenda® -          Pregnancy Category X.
Events of asthenia, fatigue, malaise, dysgeusia and dizziness           treated patients had hypotension associated with gastrointestinal         Risk Summary
were mainly reported within the first 12 weeks of treatment with        adverse reactions and renal failure [see Warnings and Precautions         Saxenda® is contraindicated during pregnancy because weight
Saxenda® and were often co-reported with gastrointestinal events        (5.6)] .                                                                  loss offers no potential benefit to a pregnant woman and may result
such as nausea, vomiting, and diarrhea.                                 Laboratory Abnormalities                                                  in fetal harm. There are no adequate and well-controlled studies of
Immunogenicity                                                          Liver Enzymes                                                             Saxenda® in pregnant women. Saxenda® should not be used during
                                                                                                                                                  pregnancy. If a patient wishes to become pregnant, or pregnancy
Patients treated with Saxenda ® may develop anti-liraglutide            Increases in alanine aminotransferase (ALT) greater than or equal         occurs, treatment with Saxenda® should be discontinued.
antibodies. Anti-liraglutide antibodies were detected in 42             to 10 times the upper limit of normal were observed in 5 (0.15%)
(2.8%) of 1505 Saxenda® -treated patients with a post-baseline          Saxenda® -treated patients (two of whom had ALT greater than 20           Clinical Considerations
assessment. Antibodies that had a neutralizing effect on liraglutide    and 40 times the upper limit of normal) compared with 1 (0.05%)           A minimum weight gain, and no weight loss, is recommended for
in an in vitro assay occurred in 18 (1.2%) of 1505 Saxenda ® -          placebo-treated patient during the Saxenda ® clinical trials.             all pregnant women, including those who are already overweight
treated patients. Presence of antibodies may be associated with a       Because clinical evaluation to exclude alternative causes of ALT          or obese, due to the necessary weight gain that occurs in maternal
higher incidence of injection site reactions and reports of low blood   and aspartate aminotransferase (AST) increases was not done               tissues during pregnancy.
glucose. In clinical trials, these events were usually classified as    in most cases, the relationship to Saxenda® is uncertain. Some            Animal Data
mild and resolved while patients continued on treatment.                increases in ALT and AST were associated with other confounding           Liraglutide has been shown to be teratogenic in rats at or above
The detection of antibody formation is highly dependent on the          factors (such as gallstones).                                             0.8-times systemic exposures in obese humans resulting from
sensitivity and specificity of the assay. Additionally, the observed    Serum Calcitonin                                                          the maximum recommended human dose (MRHD) of 3 mg/day
incidence of antibody (including neutralizing antibody) positivity      Calcitonin, a biological marker of MTC, was measured throughout           based on plasma area under the time-concentration curve (AUC)
in an assay may be influenced by several factors including assay                                                                                  comparison. Liraglutide has been shown to cause reduced growth
                                                                        the clinical development program [see Warnings and Precautions
methodology, sample handling, timing of sample collection,                                                                                        and increased total major abnormalities in rabbits at systemic
concomitant medications, and underlying disease. For these              (5.1)] . More patients treated with Saxenda® in the clinical trials
                                                                        were observed to have high calcitonin values during treatment,            exposures below exposure in obese humans at the MRHD based
reasons, the incidence of antibodies to Saxenda ® cannot be directly                                                                              on plasma AUC comparison.
compared with the incidence of antibodies of other products.            compared with placebo. The proportion of patients with calcitonin
                                                                        greater than or equal to 2 times the upper limit of normal at the end     Female rats given subcutaneous doses of 0.1, 0.25 and 1 mg/kg/
Allergic reactions                                                      of the trial was 1.2% in Saxenda® -treated patients and 0.6% in           day liraglutide beginning 2 weeks before mating through gestation
Urticaria was reported in 0.7% of Saxenda® -treated patients and        placebo-treated patients. Calcitonin values greater than 20 ng/L at       day 17 had estimated systemic exposures 0.8-, 3-, and 11-times
0.5% of placebo-treated patients. Anaphylactic reactions, asthma,       the end of the trial occurred in 0.5% of Saxenda ® -treated patients      the exposure in obese humans at the MRHD based on plasma AUC
bronchial hyperreactivity, bronchospasm, oropharyngeal swelling,        and 0.2% of placebo-treated patients; among patients with pre-            comparison. The number of early embryonic deaths in the 1 mg/
facial swelling, angioedema, pharyngeal edema, type IV hyper-           treatment serum calcitonin less than 20 ng/L, none had calcitonin         kg/day group increased slightly. Fetal abnormalities and variations
sensitivity reactions have been reported in patients treated with       elevations to greater than 50 ng/L at the end of the trial.               in kidneys and blood vessels, irregular ossification of the skull, and
liraglutide in clinical trials. Cases of anaphylactic reactions with    Serum Lipase and Amylase                                                  a more complete state of ossification occurred at all doses. Mottled
additional symptoms such as hypotension, palpitations, dyspnea,                                                                                   liver and minimally kinked ribs occurred at the highest dose. The
and edema have been reported with marketed use of liraglutide.          Serum lipase and amylase were routinely measured in the                   incidence of fetal malformations in liraglutide-treated groups
Anaphylactic reactions may potentially be life-threatening.             Saxenda® clinical trials. Among Saxenda® -treated patients, 2.1%          exceeding concurrent and historical controls were misshapen
                                                                        had a lipase value at anytime during treatment of greater than or         oropharynx and/or narrowed opening into larynx at 0.1 mg/kg/day
Injection site reactions                                                equal to 3 times the upper limit of normal compared with 1.0% of          and umbilical hernia at 0.1 and 0.25 mg/kg/day.
Injection site reactions were reported in approximately 13.9%           placebo-treated patients. 0.1% of Saxenda ® -treated patients had
of Saxenda® -treated patients and 10.5% of placebo-treated              an amylase value at anytime in the trial of greater than or equal to      Pregnant rabbits given subcutaneous doses of 0.01, 0.025 and
patients. The most common reactions, each reported by 1% to                                                                                       0.05 mg/kg/day liraglutide from gestation day 6 through day
                                                                        3 times the upper limit of normal versus 0.1% of placebo-treated
2.5% of Saxenda® -treated patients and more commonly than by                                                                                      18 inclusive, had estimated systemic exposures less than the
                                                                        patients. The clinical significance of elevations in lipase or amylase
placebo-treated patients, included erythema, pruritus, and rash at                                                                                exposure in obese humans at the MRHD of 3 mg/day at all doses,
                                                                        with Saxenda® is unknown in the absence of other signs and                based on plasma AUC comparison. Liraglutide decreased fetal
the injection site. 0.6% of Saxenda ® -treated patients and 0.5% of     symptoms of pancreatitis [see Warnings and Precautions (5.2)] .
placebo-treated patients discontinued treatment due to injection                                                                                  weight and dose-dependently increased the incidence of total
                                                                        6.2 Post-Marketing Experience                                             major fetal abnormalities at all doses. The incidence of malforma-
site reactions.                                                         The following adverse reactions have been reported during post-           tions exceeded concurrent and historical controls at 0.01 mg/kg/
Breast Cancer                                                           approval use of liraglutide, the active ingredient of Saxenda ®.          day (kidneys, scapula), greater than or equal to 0.01 mg/kg/day
In Saxenda® clinical trials breast cancer confirmed by adjudica-        Because these reactions are reported voluntarily from a population        (eyes, forelimb), 0.025 mg/kg/day (brain, tail and sacral vertebrae,
tion was reported in 14 (0.6%) of 2379 Saxenda® -treated women          of uncertain size, it is not always possible to reliably estimate their   major blood vessels and heart, umbilicus), greater than or equal
compared with 3 (0.2%) of 1300 placebo-treated women, including         frequency or establish a causal relationship to drug exposure.            to 0.025 mg/kg/day (sternum) and at 0.05 mg/kg/day (parietal
invasive cancer (11 Saxenda® - and 2 placebo-treated women) and         Neoplasms                                                                 bones, major blood vessels). Irregular ossification and/or skeletal
ductal carcinoma in situ (3 Saxenda® - and 1 placebo-treated                 Medullary thyroid carcinoma [see Warnings and Precautions            abnormalities occurred in the skull and jaw, vertebrae and ribs,
woman). The majority of cancers were estrogen- and proges-                   (5.1)]                                                               sternum, pelvis, tail, and scapula; and dose-dependent minor
terone-receptor positive. There were too few cases to determine                                                                                   skeletal variations were observed. Visceral abnormalities occurred
whether these cases were related to Saxenda®. In addition, there        Gastrointestinal Disorders                                                in blood vessels, lung, liver, and esophagus. Bilobed or bifurcated
are insufficient data to determine whether Saxenda ® has an effect           Acute pancreatitis, hemorrhagic and necrotizing pancreatitis,        gallbladder was seen in all treatment groups, but not in the control
on pre-existing breast neoplasia.                                            sometimes resulting in death [see Warnings and Precautions           group.
                                                                             (5.2)]                                                               In pregnant female rats given subcutaneous doses of 0.1, 0.25 and
Papillary Thyroid Cancer
In Saxenda® clinical trials, papillary thyroid carcinoma confirmed      Metabolism and Nutrition Disorders                                        1 mg/kg/day liraglutide from gestation day 6 through weaning or
by adjudication was reported in 7 (0.2%) of 3291 Saxenda® -                  Dehydration resulting from nausea, vomiting and diarrhea             termination of nursing on lactation day 24, estimated systemic
treated patients compared with no cases among 1843 placebo-                  [see Adverse Reactions (6.1)]                                        exposures were 0.8-, 3-, and 11-times exposure in obese humans
treated patients. Four of these papillary thyroid carcinomas were       Renal and Urinary Disorders                                               at the MRHD of 3 mg/day, based on plasma AUC comparison. A
less than 1 cm in greatest diameter and 4 were diagnosed in                                                                                       slight delay in parturition was observed in the majority of treated
                                                                             Increased serum creatinine, acute renal failure or worsening
surgical pathology specimens after thyroidectomy prompted by                                                                                      rats. Group mean body weight of neonatal rats from liraglutide-
                                                                             of chronic renal failure, sometimes requiring hemodialysis           treated dams was lower than neonatal rats from control group
findings identified prior to treatment.                                      [see Warnings and Precautions (5.6)]                                 dams. Bloody scabs and agitated behavior occurred in male rats
Colorectal Neoplasms                                                    General Disorders and Administration Site Conditions                      descended from dams treated with 1 mg/kg/day liraglutide. Group
In Saxenda® clinical trials, benign colorectal neoplasms (mostly             Allergic reactions: rash and pruritus [see Adverse Reactions         mean body weight from birth to postpartum day 14 trended lower
colon adenomas) confirmed by adjudication were reported in 17                (6.1)]                                                               in F2 generation rats descended from liraglutide-treated rats
                                                                                                       Saxenda ® (liraglutide [rDNA origin] injection)                                                                                    5

compared to F2 generation rats descended from controls, but                                  12       CLINICAL PHARMACOLOGY                                           macokinetic analyses that included overweight and obese patients
differences did not reach statistical significance for any group.                            12.1 Mechanism of Action                                                 of Caucasian, Black, Asian and Hispanic/Non-Hispanic groups.
8.3 Nursing Mothers                                                                          Liraglutide is an acylated human glucagon-like peptide-1 (GLP-1)         Body Weight - Body weight significantly affects the pharmacoki-
                                                                                             receptor agonist with 97% amino acid sequence homology to                netics of liraglutide based on results of population pharmacoki-
It is not known whether Saxenda ® is excreted in human milk.                                 endogenous human GLP-1(7-37). Like endogenous GLP-1,                     netic analyses conducted in patients with body weight range of
Because many drugs are excreted in human milk and because of                                 liraglutide binds to and activates the GLP-1 receptor, a cell-           60-234 kg. The exposure of liraglutide decreases as baseline body
the potential for tumorigenicity shown for liraglutide in animal                             surface receptor coupled to adenylyl cyclase activation through          weight increases.
studies, a decision should be made whether to discontinue nursing                            the stimulatory G-protein, Gs. Endogenous GLP-1 has a half-life
                                                                                                                                                                      Pediatric - Saxenda® has not been studied in pediatric patients
or to discontinue Saxenda®, taking into account the importance of                            of 1.5-2 minutes due to degradation by the ubiquitous endogenous
                                                                                             enzymes, dipeptidyl peptidase 4 (DPP-4) and neutral endopep-
                                                                                                                                                                      [see Use in Specific Populations (8.4)] .
the drug to the mother. In lactating rats, liraglutide was excreted                                                                                                   Renal Impairment - The single-dose pharmacokinetics of
                                                                                             tidases (NEP). Unlike native GLP-1, liraglutide is stable against
unchanged in milk at concentrations approximately 50% of                                     metabolic degradation by both peptidases and has a plasma                liraglutide were evaluated in subjects with varying degrees of renal
maternal plasma concentrations.                                                              half-life of 13 hours after subcutaneous administration. The             impairment. Subjects with mild (estimated creatinine clearance
8.4 Pediatric Use                                                                            pharmacokinetic profile of liraglutide, which makes it suitable for      50-80 mL/min) to severe (estimated creatinine clearance less than
Safety and effectiveness of Saxenda® have not been established                               once-daily administration, is a result of self-association that delays   30 mL/min) renal impairment and subjects with end-stage renal
                                                                                             absorption, plasma protein binding, and stability against metabolic      disease requiring dialysis were included in the trial. Compared to
in pediatric patients. Saxenda® is not recommended for use in                                                                                                         healthy subjects, liraglutide AUC in mild, moderate, and severe
                                                                                             degradation by DPP-4 and NEP.
pediatric patients.                                                                                                                                                   renal impairment and in end-stage renal disease was on average
                                                                                             GLP-1 is a physiological regulator of appetite and calorie intake,
8.5 Geriatric Use                                                                            and the GLP-1 receptor is present in several areas of the brain          35%, 19%, 29% and 30% lower, respectively [see Use in Specific
In the Saxenda® clinical trials, 232 (6.9%) of the Saxenda ® -treated                        involved in appetite regulation. In animal studies, peripheral           Populations (8.6)] .
patients were 65 years of age and over, and 17 (0.5%) of the                                 administration of liraglutide resulted in the presence of liraglutide    Hepatic Impairment - The single-dose pharmacokinetics of
Saxenda® -treated patients were 75 years of age and over. No overall                         in specific brain regions regulating appetite, including the hypo-       liraglutide were evaluated in subjects with varying degrees of
                                                                                             thalamus. Although liraglutide activated neurons in brain regions        hepatic impairment. Subjects with mild (Child Pugh score 5-6) to
differences in safety or effectiveness were observed between these
                                                                                             known to regulate appetite, specific brain regions mediating the         severe (Child Pugh score greater than 9) hepatic impairment were
patients and younger patients, but greater sensitivity of some older                         effects of liraglutide on appetite were not identified in rats.          included in the trial. Compared to healthy subjects, liraglutide AUC
individuals cannot be ruled out.                                                             12.2 Pharmacodynamics                                                    in subjects with mild, moderate and severe hepatic impairment was
8.6 Renal Impairment                                                                         Liraglutide lowers body weight through decreased calorie intake.         on average 11%, 14% and 42% lower, respectively [see Use in
There is limited experience with Saxenda® in patients with mild,                             Liraglutide does not increase 24-hour energy expenditure.                Specific Populations (8.7)] .
moderate, and severe renal impairment, including end-stage renal                             As with other GLP-1 receptor agonists, liraglutide stimulates insulin    Drug Interactions
disease. However, there have been postmarketing reports of acute                             secretion and reduces glucagon secretion in a glucose-dependent          In vitro assessment of drug−drug interactions
renal failure and worsening of chronic renal failure with liraglutide,                       manner. These effects can lead to a reduction of blood glucose.          Liraglutide has low potential for pharmacokinetic drug-drug inter-
which may sometimes require hemodialysis [see Warnings and                                   Cardiac Electrophysiology (QTc) in healthy volunteers                    actions related to cytochrome P450 (CYP) and plasma protein
                                                                                             The effect of liraglutide on cardiac repolarization was tested           binding.
Precautions (5.6) and Adverse Reactions (6.2)] . Saxenda® should
                                                                                             in a QTc study. Liraglutide at steady-state concentrations after         In vivo assessment of drug−drug interactions
be used with caution in this patient population [see Clinical Phar-
                                                                                             daily doses up to 1.8 mg did not produce QTc prolongation. The           The drug-drug interaction studies were performed at steady state
macology (12.3)] .                                                                           maximum liraglutide plasma concentration (Cmax) in overweight            with liraglutide 1.8 mg/day. The effect on rate of gastric emptying
8.7 Hepatic Impairment                                                                       and obese subjects treated with liraglutide 3 mg is similar to the       was equivalent between liraglutide 1.8 mg and 3 mg (acetamino-
There is limited experience in patients with mild, moderate, or                              Cmax observed in the liraglutide QTc study in healthy volunteers.        phen AUC0-300min). Administration of the interacting drugs was
severe hepatic impairment. Therefore, Saxenda ® should be used                               12.3 Pharmacokinetics                                                    timed so that Cmax of liraglutide (8-12 h) would coincide with the
with caution in this patient population [see Clinical Pharmacology                           Absorption - Following subcutaneous administration, maximum              absorption peak of the co-administered drugs.
                                                                                             concentrations of liraglutide are achieved at 11 hours post dosing.      Oral Contraceptives
(12.3)] .
                                                                                             The average liraglutide steady state concentration (AUCτ/24)             A single dose of an oral contraceptive combination product
8.8 Gastroparesis                                                                            reached approximately 116 ng/mL in obese (BMI 30-40 kg/m2)               containing 0.03 mg ethinylestradiol and 0.15 mg levonorgestrel
Saxenda® slows gastric emptying. Saxenda® has not been studied                               subjects following administration of Saxenda®. Liraglutide               was administered under fed conditions and 7 hours after the dose
in patients with pre-existing gastroparesis.                                                 exposure increased proportionally in the dose range of 0.6 mg            of liraglutide at steady state. Liraglutide lowered ethinylestradiol
                                                                                             to 3 mg. The intra-subject coefficient of variation for liraglutide      and levonorgestrel Cmax by 12% and 13%, respectively. There
10      OVERDOSAGE                                                                           AUC was 11% following single dose administration. Liraglutide            was no effect of liraglutide on the overall exposure (AUC) of ethi-
Overdoses have been reported in clinical trials and post-marketing                           exposures were considered similar among three subcutaneous               nylestradiol. Liraglutide increased the levonorgestrel AUC0-∞ by
use of liraglutide. Effects have included severe nausea and severe                           injection sites (upper arm, abdomen, and thigh). Absolute bioavail-      18%. Liraglutide delayed Tmax for both ethinylestradiol and levo-
vomiting. In the event of overdosage, appropriate supportive                                 ability of liraglutide following subcutaneous administration is          norgestrel by 1.5 h.
                                                                                             approximately 55%.
treatment should be initiated according to the patient’s clinical                                                                                                     Digoxin
signs and symptoms.                                                                          Distribution - The mean apparent volume of distribution after            A single dose of digoxin 1 mg was administered 7 hours after the
                                                                                             subcutaneous administration of liraglutide 3 mg is 20-25 L (for
11      DESCRIPTION                                                                                                                                                   dose of liraglutide at steady state. The concomitant administration
                                                                                             a person weighing approximately 100 kg). The mean volume of
                                                                                                                                                                      with liraglutide resulted in a reduction of digoxin AUC by 16%;
Saxenda® contains liraglutide, an analog of human GLP-1 and acts                             distribution after intravenous administration of liraglutide is 0.07
                                                                                             L/kg. Liraglutide is extensively bound to plasma protein (greater        Cmax decreased by 31%. Digoxin median time to maximal concen-
as a GLP-1 receptor agonist. The peptide precursor of liraglutide,                                                                                                    tration (Tmax) was delayed from 1 h to 1.5 h.
                                                                                             than 98%).
produced by a process that includes expression of recombinant                                                                                                         Lisinopril
                                                                                             Metabolism - During the initial 24 hours following administration
DNA in Saccharomyces cerevisiae, has been engineered to be 97%                                                                                                        A single dose of lisinopril 20 mg was administered 5 minutes after
                                                                                             of a single [3H]-liraglutide dose to healthy subjects, the major
homologous to native human GLP-1 by substituting arginine for                                component in plasma was intact liraglutide. Liraglutide is endog-        the dose of liraglutide at steady state. The co-administration with
lysine at position 34. Liraglutide is made by attaching a C-16 fatty                         enously metabolized in a similar manner to large proteins without a      liraglutide resulted in a reduction of lisinopril AUC by 15%; Cmax
acid (palmitic acid) with a glutamic acid spacer on the remaining                            specific organ as a major route of elimination.                          decreased by 27%. Lisinopril median Tmax was delayed from 6 h to
                                                                                                                                                                      8 h with liraglutide.
lysine residue at position 26 of the peptide precursor. The molecular                        Elimination - Following a [3H]-liraglutide dose, intact liraglutide
formula of liraglutide is C172H265N43O51 and the molecular weight                            was not detected in urine or feces. Only a minor part of the admin-      Atorvastatin
                                                                                             istered radioactivity was excreted as liraglutide-related metabolites    Liraglutide did not change the overall exposure (AUC) of atorvas-
is 3751.2 Daltons. The structural formula (Figure 1) is:                                                                                                              tatin following a single dose of atorvastatin 40 mg, administered 5
                                                                                             in urine or feces (6% and 5%, respectively). The majority of urine
                  His       Ala     Glu     Gly    Thr     Phe    Thr    Ser     Asp         and feces radioactivity was excreted during the first 6-8 days. The      hours after the dose of liraglutide at steady state. Atorvastatin Cmax
                                                                                       Val
                                                                                             mean apparent clearance following subcutaneous administration of         was decreased by 38% and median Tmax was delayed from 1 h to
C-16 fatty acid
                  Glu                                                                  Ser   a single dose of liraglutide is approximately 0.9-1.4 L/h with an        3 h with liraglutide.
  (palmitoyl)
                      Lys     Ala     Ala    Gln     Gly    Glu    Leu     Tyr     Ser       elimination half-life of approximately 13 hours, making liraglutide      Acetaminophen
              Glu                                                                            suitable for once daily administration.                                  Liraglutide did not change the overall exposure (AUC) of acet-
              Phe                                                                            Specific Populations                                                     aminophen following a single dose of acetaminophen 1000 mg,
                    Ile     Ala     Trp     Leu    Val     Arg    Gly    Arg     Gly         Elderly - No dosage adjustment is required based on age. Age             administered 8 hours after the dose of liraglutide at steady state.
                                                                                             had no effect on the pharmacokinetics of liraglutide based on a          Acetaminophen Cmax was decreased by 31% and median Tmax was
                                                                  Lys                        pharmacokinetic study in healthy elderly subjects (65 to 83 years)       delayed up to 15 minutes.
                                                                                             and population pharmacokinetic analyses of data from overweight          Griseofulvin
Figure 1. Structural Formula of liraglutide                                                  and obese patients 18 to 82 years of age [see Use in Specific            Liraglutide did not change the overall exposure (AUC) of griseo-
                                                                                             Populations (8.5)] .                                                     fulvin following co-administration of a single dose of griseofulvin
Saxenda® is a clear, colorless solution. Each 1 mL of Saxenda®
                                                                                             Gender - Based on the results of population pharmacokinetic              500 mg with liraglutide at steady state. Griseofulvin Cmax increased
solution contains 6 mg of liraglutide and the following inactive                             analyses, females have 24% lower weight adjusted clearance of            by 37% while median Tmax did not change.
ingredients: disodium phosphate dihydrate, 1.42 mg; propylene                                Saxenda® compared to males. Based on the exposure response               Insulin Detemir
glycol, 14 mg; phenol, 5.5 mg; and water for injection. Each                                 data, no dose adjustment is necessary based on gender.                   No pharmacokinetic interaction was observed between liraglutide
pre-filled pen contains a 3 mL solution of Saxenda® equivalent to                            Race and Ethnicity - Race and ethnicity had no effect on the phar-       and insulin detemir when separate subcutaneous injections of
18 mg liraglutide (free-base, anhydrous).                                                    macokinetics of liraglutide based on the results of population phar-     insulin detemir 0.5 Unit/kg (single-dose) and liraglutide 1.8 mg
                                                                                                     Saxenda ® (liraglutide [rDNA origin] injection)                                                                                         6

(steady state) were administered to patients with type 2 diabetes          Latino. Mean baseline body weight was 106.3 kg and mean BMI                              treated with Saxenda® and 4% of patients treated with placebo
mellitus.                                                                  was 38.3 kg/m2.                                                                          discontinued treatment due to an adverse reaction [see Adverse
13       NONCLINICAL TOXICOLOGY                                            Study 2 was a 56-week trial that enrolled 635 patients with type                         Reactions (6.1)] . The majority of patients who discontinued
13.1 Carcinogenesis, Mutagenesis, Impairment of                            2 diabetes and with either overweight or obesity (as defined                             Saxenda® due to adverse reactions did so during the first few
         Fertility                                                         above). Patients were to have an HbA1c of 7-10% and be treated                           months of treatment.
A 104-week carcinogenicity study was conducted in male and                 with metformin, a sulfonylurea, or a glitazone as single agent or                        Effect of Saxenda® on Body Weight
female CD-1 mice at doses of 0.03, 0.2, 1, and 3 mg/kg/day                 in any combination, or with diet and exercise alone. Patients were                       For Study 1 and Study 2, the primary efficacy parameters were mean
liraglutide administered by bolus subcutaneous injection yielding          randomized in a 2:1 ratio to receive either Saxenda® or placebo.                         percent change in body weight and the percentages of patients
systemic exposures 0.2-, 2-, 10- and 43-times the exposure in              The mean age was 55 years (range 18-82), 50% were women,                                 achieving greater than or equal to 5% and 10% weight loss from
obese humans, respectively, at the maximum recommended human               83% were Caucasian, 12% were African American, and 10% were                              baseline to week 56. For Study 3, the primary efficacy parameters
dose (MRHD) of 3 mg/day based on plasma AUC comparison. A                  Hispanic/Latino. Mean baseline body weight was 105.9 kg and                              were mean percent change in body weight from randomization to
dose-related increase in benign thyroid C-cell adenomas was seen           mean BMI was 37.1 kg/m2.                                                                 week 56, the percentage of patients not gaining more than 0.5%
in the 1 and the 3 mg/kg/day groups with incidences of 13% and             Study 3 was a 56-week trial that enrolled 422 patients with obesity                      body weight from randomization (i.e., after run-in) to week 56, and
19% in males and 6% and 20% in females, respectively. C-cell               (BMI greater than or equal to 30 kg/m2) or with overweight (BMI                          the percentage of patients achieving greater than or equal to 5%
adenomas did not occur in control groups or 0.03 and 0.2 mg/               27-29.9 kg/m2) and at least one weight-related comorbid condition                        weight loss from randomization to week 56. Because losing at least
kg/day groups. Treatment-related malignant C-cell carcinomas               such as treated or untreated dyslipidemia or hypertension; patients                      5% of fasting body weight through lifestyle intervention during the
occurred in 3% of females in the 3 mg/kg/day group. Thyroid                with type 2 diabetes mellitus were excluded. All patients were first                     4- to 12-week run-in was a condition for their continued participa-
C-cell tumors are rare findings during carcinogenicity testing in          treated with a low-calorie diet (total energy intake 1200-1400 kcal/                     tion in the randomized treatment period, the results may not reflect
mice. A treatment-related increase in fibrosarcomas was seen               day) in a run-in period lasting up to 12 weeks. Patients who lost at                     those expected in the general population.
on the dorsal skin and subcutis, the body surface used for drug            least 5% of their screening body weight after 4 to 12 weeks during                       Table 4 presents the results for the changes in weight observed
injection, in males in the 3 mg/kg/day group. These fibrosar-              the run-in were then randomized, with equal allocation, to receive                       in Studies 1, 2, and 3. After 56 weeks, treatment with Saxenda ®
comas were attributed to the high local concentration of drug              either Saxenda® or placebo for 56 weeks. The mean age was 46                             resulted in a statistically significant reduction in weight compared
near the injection site. The liraglutide concentration in the clinical     years (range 18-73), 81% were women, 84% were Caucasian,                                 with placebo. Statistically significantly greater proportions of
formulation (6 mg/mL) is 10-times higher than the concentration in         13% were African American, and 7% were Hispanic/Latino. Mean                             patients treated with Saxenda ® achieved 5% and 10% weight loss
the formulation used to administer 3 mg/kg/day liraglutide to mice         baseline body weight was 99.6 kg and mean BMI was 35.6 kg/m2.                            than those treated with placebo. In Study 3, statistically signifi-
in the carcinogenicity study (0.6 mg/mL).                                  The proportions of patients who discontinued study drug in the                           cantly more patients randomized to Saxenda ® than placebo had
A 104-week carcinogenicity study was conducted in male and                 56-week trials were 27% for the Saxenda ® -treated group and 35%                         not gained more than 0.5% of body weight from randomization to
female Sprague Dawley rats at doses of 0.075, 0.25 and 0.75 mg/            for the placebo-treated group. Approximately 10% of patients                             week 56.
kg/day liraglutide administered by bolus subcutaneous injection
                                                                           Table 4. Changes in Weight at Week 56 for Studies 1, 2, and 3
with exposures 0.5-, 2- and 7-times the exposure in obese
humans, respectively, resulting from the MRHD based on plasma                                                                                                                                              Study 3 (Obesity or
AUC comparison. A treatment-related increase in benign thyroid                                                                         Study 1 (Obesity
                                                                                                                                                                           Study 2 (Type 2 diabetes overweight with comorbidity
C-cell adenomas was seen in males in 0.25 and 0.75 mg/kg/day                                                                          or overweight with
                                                                                                                                                                          with obesity or overweight) following at least 5% weight
liraglutide groups with incidences of 12%, 16%, 42%, and 46%                                                                             comorbidity)
                                                                                                                                                                                                             loss with diet)
and in all female liraglutide-treated groups with incidences of 10%,
27%, 33%, and 56% in 0 (control), 0.075, 0.25, and 0.75 mg/kg/                                                                     Saxenda®            Placebo                        Saxenda®          Placebo      Saxenda®      Placebo
day groups, respectively. A treatment-related increase in malignant                                                                 N=2487             N=1244                          N=423             N=212        N=212         N=210
thyroid C-cell carcinomas was observed in all male liraglutide-                 Weight
treated groups with incidences of 2%, 8%, 6%, and 14% and in
                                                                                               Baseline mean (SD) (kg)                106.2             106.2                                  105.7     106.5         100.4         98.7
females at 0.25 and 0.75 mg/kg/day with incidences of 0%, 0%,
                                                                                                                                      (21.2)            (21.7)                                 (21.9)    (21.3)        (20.8)       (21.2)
4%, and 6% in 0 (control), 0.075, 0.25, and 0.75 mg/kg/day
groups, respectively. Thyroid C-cell carcinomas are rare findings                              Percent change from baseline
                                                                                                                                       -7.4             -3.0                                   -5.4       -1.7          -4.9         0.3
during carcinogenicity testing in rats.                                                        (LSMean)
Studies in mice demonstrated that liraglutide-induced C-cell                                   Difference from placebo (LSMean)       -4.5*                                                 -3.7*                       -5.2*
proliferation was dependent on the GLP-1 receptor and that                                     (95% CI)                             (-5.2;-3.8)                                          (-4.7;-2.7)                 (-6.8;-3.5)
liraglutide did not cause activation of the REarranged during Trans-
fection (RET) proto-oncogene in thyroid C-cells.                                % of Patients losing greater than
                                                                                                                                      62.3%             34.4%                                  49.0%     16.4%         44.2%        21.7%
                                                                                or equal to 5% body weight
Human relevance of thyroid C-cell tumors in mice and rats
is unknown and has not been determined by clinical studies                                     Difference from placebo (LSMean)       27.9*                                               32.6*                         22.6*
or nonclinical studies [see Boxed Warning and Warnings and                                     (95% CI)                            (23.9;31.9)                                          (25.1;40.1)                  (13.9;31.3)
Precautions (5.1)] .                                                            % of Patients losing greater than
Liraglutide was negative with and without metabolic activation in                                                                    33.9%              15.4%                                  22.4%     5.5%          25.4%        6.9%
                                                                                10% body weight
the Ames test for mutagenicity and in a human peripheral blood
lymphocyte chromosome aberration test for clastogenicity.                                      Difference from placebo (LSMean)       18.5*                                                 16.9*                       18.5*
Liraglutide was negative in repeat-dose in vivo micronucleus tests                             (95% CI)                            (15.2;21.7)                                           (11.7;22.1)                 (11.7;25.3)
in rats.                                                                   SD = Standard Deviation; CI = Confidence Interval
In rat fertility studies using subcutaneous doses of 0.1, 0.25 and         * p < 0.0001 compared to placebo. Type 1 error was controlled across the three endpoints.
1 mg/kg/day liraglutide, males were treated for 4 weeks prior to
and throughout mating and females were treated 2 weeks prior to            Includes all randomized subjects who had a baseline body weight measurement. All available body weight data during the 56 week
and throughout mating until gestation day 17. No direct adverse            treatment period are included in the analysis. In Studies 1 and 2 missing values for week 56 were handled using multiple imputations
effects on male fertility was observed at doses up to 1 mg/kg/day,         analysis. In Study 3 missing values for week 56 were handled using weighted regression analysis.
a high dose yielding an estimated systemic exposure 11-times the           The cumulative frequency distributions of change in body weight from baseline to week 56 are shown in Figure 2 for Studies 1 and 2. One
exposure in obese humans at the MRHD, based on plasma AUC                  way to interpret this figure is to select a change in body weight of interest on the horizontal axis and note the corresponding proportions
comparison. In female rats, an increase in early embryonic deaths
occurred at 1 mg/kg/day. Reduced body weight gain and food                 of patients (vertical axis) in each treatment group who achieved at least that degree of weight loss. For example, note that the vertical
consumption were observed in females at the 1 mg/kg/day dose.              line arising from -10% in Study 1 intersects the Saxenda® and placebo curves at approximately 34% and 15%, respectively, which
                                                                           correspond to the values shown in Table 4.
14       CLINICAL STUDIES
The safety and efficacy of Saxenda® for chronic weight management                            100                                                                                        100
in conjunction with reduced caloric intake and increased physical                             90                                                                                         90
                                                                         Cumulative Frequency (%)




                                                                                                                                                                    Cumulative Frequency (%)




activity were studied in three 56-week, randomized, double-blind,                             80                                                                                         80
placebo-controlled trials. In all studies, Saxenda® was titrated to 3                         70                                                                                         70
mg daily during a 4-week period. All patients received instruction                            60                                                                                         60
for a reduced calorie diet (approximately 500 kcal/day deficit) and                           50                                                                                         50
exercise counseling (recommended increase in physical activity of                             40                                                                                         40
minimum 150 mins/week) that began with the first dose of study                                30                                                                                         30
medication or placebo and continued throughout the trial.                                     20                                                                                         20
Study 1 was a 56-week trial that enrolled 3731 patients with obesity                          10                                                                                         10
(BMI greater than or equal to 30 kg/m2) or with overweight (BMI                                0                                                                                          0
27-29.9 kg/m2) and at least one weight-related comorbid condition                              -30 -25 -20 -15 -10 -5 0           5 10                 15      20                         -30 -25 -20 -15 -10 -5 0           5 10      15    20
such as treated or untreated dyslipidemia or hypertension;                                                 Change in body weight (%)                                                                  Change in body weight (%)
patients with type 2 diabetes mellitus were excluded. Patients were                                          Saxenda ®       Placebo                                                                    Saxenda ®       Placebo
randomized in a 2:1 ratio to either Saxenda® or placebo. The mean            ITT, multiple imputations (MI)                                                                         ITT, multiple imputations (MI)
age was 45 years (range 18-78), 79% were women, 85% were
Caucasian, 10% were African American, and 11% were Hispanic/               Figure 2. Change in body weight (%) from baseline to week 56 (Study 1 on left and Study 2 on right)
                                                                                                                                                   Saxenda ® (liraglutide [rDNA origin] injection)                                                             7

      The time courses of weight loss with Saxenda® and placebo from baseline through week 56 are depicted in Figures 3 and 4.                   16      HOW SUPPLIED/STORAGE AND HANDLING
                                                          0                                                                                      16.1 How Supplied
                                                                                                                                                 0
                                                                    Saxenda ®    Placebo                                                                          Saxenda ®      Placebo
                            Change in Body Weight (%)




                                                                                                                   Change in Body Weight (%)
                                                         -1                                                                                      Saxenda® is available in the following package sizes containing
                                                                                                                                                -1
                                                         -2                                                                                 -1.7 disposable, pre-filled, multi-dose pens. Each individual pen
                                                                                                                                                -2
                                                         -3        -3.0                                                              -2.8        delivers doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg (6 mg/mL,
                                                                                                                                                -3
                                                            -3.5
                                                         -4                                                                                      3 mL).
                                                                                                                                                -4
                                                         -5                                                                                     -5
                                                                                                                                            -5.4 3 x Saxenda ® pen                         NDC 0169-2800-13
                                                         -6                                                                                     -6
                                                         -7        -7.4
                                                                                                                                    -6.7         5
                                                                                                                                                -7 x Saxenda   ®
                                                                                                                                                                 pen                       NDC  0169-2800-15
                                                         -8                                                                                      Each Saxenda® pen is for use by a single patient. A Saxenda ®
                                                                                                                                                -8
                                                         -9 -9.2                                                                                -9
                                                                                                                                                 pen should never be shared between patients, even if the needle
                                                        -10                                                                                    -10
                                                                                                                                                 is changed.
              0 2 4 6 8 12 16 20 24 28 32 36 40 44 50 56 ITT-MI                         0 2 4 6 8 12 16 20 24 28 32 36 40 44 50 56 ITT-MI
  N, Saxenda 2487 2273 2159 2073 Weeks 1919             ®
                                                         1812 2487          N, Saxenda 423     385   365   346 Weeks 329          318     423  ® 16.2 Recommended Storage
  N, Placebo 1244 1150 1057      983         885         822    1244        N, Placebo 212     193   166   145         124        116     212    Prior to first use, Saxenda® should be stored in a refrigerator
                                                                                                                                                 between 36ºF to 46ºF (2ºC to 8ºC) (Table 7). Do not store in the
  Observed values for patients on study drug completing each                Observed values for patients on study drug completing each           freezer or directly adjacent to the refrigerator cooling element. Do
  scheduled visit, and ITT with multiple imputations (ITT-MI)               scheduled visit, and ITT with multiple imputations (ITT-MI)          not freeze Saxenda® and do not use Saxenda® if it has been frozen.
  Figure 3. Change from baseline (%) in body weight (Study 1 on left and Study 2 on right)                                                       After initial use of the Saxenda® pen, the pen can be stored for
         7                                                                                                                                       30 days at controlled room temperature (59°F to 86°F; 15°C to
                                  Saxenda ®      Placebo                                                                                         30°C) or in a refrigerator (36°F to 46°F; 2°C to 8°C). Keep the
Change in Body Weight (%)




         6
         5
         4                                                                                                                                       pen cap on when not in use. Saxenda ® should be protected from
         3
         2                                                                                                                                       excessive heat and sunlight. Always remove and safely discard the
         1
         0                                                              0.0      0.3                                                             needle after each injection and store the Saxenda ® pen without
        -1
        -2
                                                                                                                                                 an injection needle attached. This will reduce the potential for
        -3                                                                                                                                       contamination, infection, and leakage while also ensuring dosing
        -4 Low cal diet
        -5                                                                       -4.9                                                            accuracy.
                                   -6
                                   -7                                                                     -6.8                                                                                       Table 7. Recommended Storage Conditions for Saxenda®
                                   -8
                                   -9
                                     -12 -8 -6 -4 -2 0 2 4 6         10 14 18 22 26 30 34 38 42 46 50   56    ITT-WA                                                                                  Prior to first use             After first use
    N, Saxenda®                                               212         190   Weeks      172          156      177
    N, Placebo                                                210         180              159          144      169
                                                                                                                                                                                                        Refrigerated       Room Temperature     Refrigerated
                                                                                                                                                                                                        36°F to 46°F         59°F to 86°F       36°F to 46°F
  Observed values for patients on study drug completing each scheduled visit, and ITT with weighted average (ITT-WA)                                                                                    (2°C to 8°C)        (15°C to 30°C)      (2°C to 8°C)
  Figure 4. Change from baseline (%) in body weight during Study 3
                                                                                                                                           Until expiration date                   30 days
  Effect of Saxenda® on Anthropometry and Cardiometabolic Parameters
                                                                                                                                         17       PATIENT COUNSELING INFORMATION
  Changes in waist circumference and cardiometabolic parameters with Saxenda® are shown in Table 5 for Study 1 (patients without 17.1 FDA-Approved Medication Guide
  diabetes mellitus) and Table 6 for Study 2 (patients with type 2 diabetes). Results from Study 3, which also enrolled patients without See FDA-Approved Medication Guide.
  diabetes mellitus, were similar to Study 1.
                                                                                                                                         17.2 Instructions
  Table 5. Mean Changes in Anthropometry and Cardiometabolic Parameters in Study 1 (Patients without Diabetes)                           Saxenda® is indicated for chronic weight management in
                                              Saxenda®                             Placebo                                               conjunction with a reduced-calorie diet and increased physical
                                              N = 2487                            N = 1244                                               activity.
                                                    Change   from                       Change    from      Saxenda  ®
                                                                                                                       minus  Placebo    Advise patients to take Saxenda® exactly as prescribed. Patients
                                    Baseline Baseline (LSMean1) Baseline Baseline (LSMean1)                                              should be instructed to follow the dose escalation schedule and not
                                                                                                                    (LSMean)
   Waist Circumference (cm)           115.0             -8.2             114.5               -4.0                       -4.2             to take more than the recommended dose of Saxenda®.
   Systolic blood pressure (mmHg)     123.0             -4.3             123.3               -1.5                       -2.8             Instruct patients to discontinue use of Saxenda® if they have not
   Diastolic blood pressure (mmHg)     78.7             -2.7              78.9               -1.8                       -0.9             achieved 4% weight loss by 16 weeks of treatment.
   Heart Rate (bpm)                    71.4              2.6              71.3                0.1                        2.5             17.3 Risk of Thyroid C-cell Tumors
                                                                                                                                         Inform patients that liraglutide causes benign and malignant thyroid
                                                   % Change    from                    % Change     from      Relative Difference of
                                    Baseline Baseline (LSMean1) Baseline Baseline (LSMean1) Saxenda® to Placebo (LSMean) C-cell tumors in mice and rats and that the human relevance of
                                                                                                                                         this finding has not been determined. Counsel patients to report
   Total Cholesterol (mg/dL)*         193.8             -3.2             194.4               -0.9                       -2.3             symptoms of thyroid tumors (e.g., a lump in the neck, hoarseness,
   LDL Cholesterol (mg/dL)*           111.8             -3.1             112.3               -0.7                       -2.4             dysphagia or dyspnea) to their physician [see Boxed Warning and
   HDL Cholesterol (mg/dL)*            51.4              2.3              50.9               0.5                         1.9             Warnings and Precautions (5.1)].
   Triglycerides (mg/dL) †
                                      125.7            -13.0             128.3               -4.1                       -7.1             17.4 Acute Pancreatitis
  Based on last observation carried forward method while on study drug                                                                   Patients should be informed of the potential risk for acute pancre-
  1 Least squares mean adjusted for treatment, country, sex, pre-diabetes status at screening, baseline BMI stratum and an interaction   atitis. Explain that persistent severe abdominal pain that may
                                                                                                                                         radiate to the back and which may or may not be accompanied by
    between pre-diabetes status at screening and BMI stratum as fixed factors, and the baseline value as covariate.
                                                                                                                                         vomiting, is the hallmark symptom of acute pancreatitis. Instruct
  * Baseline value is the geometric mean                                                                                                 patients to discontinue Saxenda ® promptly and contact their
  † Values are baseline median, median % change, and the Hodges-Lehmann estimate of the median treatment difference.
                                                                                                                                         physician if persistent severe abdominal pain occurs.
  Table 6. Mean Changes in Anthropometry and Cardiometabolic Parameters in Study 2 (Patients with Diabetes Mellitus) 17.5 Acute Gallbladder Disease
                                              Saxenda®                             Placebo                                               Patients should be informed that substantial or rapid weight loss
                                               N = 423                             N = 212                                               can increase the risk of cholelithiasis. Cholelithiasis may also
                                                    Change   from                       Change    from      Saxenda  ® minus Placebo     occur in the absence of substantial or rapid weight loss. Patients
                                    Baseline Baseline (LSMean1) Baseline Baseline (LSMean1)                                              should be instructed to contact their physician if cholelithiasis is
                                                                                                                    (LSMean)
                                                                                                                                         suspected for appropriate clinical follow-up.
   Waist Circumference (cm)           118.1             -6.0             117.3               -2.8                       -3.2
                                                                                                                                         17.6 Hypoglycemia in Patients with Type 2 Diabetes
   Systolic blood pressure (mmHg)     128.9             -3.0             129.2               -0.4                       -2.6                      Mellitus on Anti-Diabetic Therapy
   Diastolic blood pressure (mmHg)     79.0             -1.0              79.3               -0.6                       -0.4             Patients with type 2 diabetes mellitus on anti-diabetic therapy
   Heart Rate (bpm)                    74.0              2.0              74.0               -1.5                        3.4             should be advised to monitor their blood glucose levels and report
                                                   % Change from                       % Change from          Relative Difference of     symptoms of hypoglycemia to their physician.
                                    Baseline Baseline                  Baseline
                                                          (LSMean ) 1                Baseline (LSMean ) Saxenda to Placebo (LSMean) 17.7 Heart Rate Increase
                                                                                                         1        ®

   Total Cholesterol (mg/dL)*         171.0             -1.4             169.4                2.4                       -3.7             Patients should be informed to report symptoms of sustained
   LDL Cholesterol (mg/dL)*            86.4              0.9             85.2                3.3                        -2.3             periods of heart pounding or racing while at rest to their physician.
   HDL Cholesterol (mg/dL)*            45.2              4.8              45.4                1.9                        2.9             For patients who experience a sustained increase in resting heart
                                                                                                                                         rate while taking Saxenda ®, Saxenda® should be discontinued.
   Triglycerides (mg/dL)†             156.2            -14.5             155.8               -0.7                      -13.5
                                                                                                                                         17.8 Dehydration and Renal Impairment
  Based on last observation carried forward method while on study drug                                                                   Patients treated with Saxenda® should be advised of the potential
  1
    Least squares mean adjusted for treatment, country, sex, background treatment, baseline HbA1c stratum and an interaction between     risk of dehydration due to gastrointestinal adverse reactions and
    background treatment and HbA1c stratum as fixed factors, and the baseline value as covariate.                                        take precautions to avoid fluid depletion. Patients should be
  * Baseline value is the geometric mean                                                                                                 informed of the potential risk for worsening renal function, which in
  † Values are baseline median, median % change, and the Hodges-Lehmann estimate of the median treatment difference.                     some cases may require dialysis.
                                                                        Saxenda ® (liraglutide [rDNA origin] injection)                                                                 8

17.9 Hypersensitivity Reactions
Patients should be informed that serious hypersensitivity reactions
have been reported during use of liraglutide. If symptoms of hyper-
sensitivity reactions occur, patients must stop taking Saxenda®
and seek medical advice promptly.
17.10 Suicidal Behavior and Ideation
Patients treated with Saxenda® should be advised to report
emergence or worsening of depression, suicidal thoughts or
behavior, and/or any unusual changes in mood or behavior.
Patients should be informed that if they experience suicidal
thoughts or behaviors, Saxenda ® should be discontinued.
17.11 Jaundice and Hepatitis
Inform patients that jaundice and hepatitis have been reported
during postmarketing use of liraglutide. Instruct patients to contact
their physician if they develop jaundice.
17.12 Never Share a Saxenda® Pen Between Patients
Patients should be informed that they should never share a
Saxenda® pen with another person, even if the needle is changed.
Sharing of the pen between patients may pose a risk of transmis-
sion of infection.




                                                                                                                          Version: 2
                                                                                                                          Saxenda® and Victoza® are registered trademarks of Novo
                                                                                                                          Nordisk A/S.
                                                                                                                          Saxenda® is covered by US Patent Nos. 6,268,343, 6,458,924,
                                                                                                                          7,235,627, 8,114,833 and other patents pending.
                                                                                                                          Saxenda® pen is covered by US Patent Nos. 6,899,699,
                                                                                                                          7,686,786, 8,672,898, 8,684,969 and other patents pending.
                                                                                                                          Manufactured by:
                                                                                                                          Novo Nordisk A/S
                                                                                                                          DK-2880 Bagsvaerd, Denmark
                                                                                                                          For information about Saxenda® contact:
                                                                                                                          Novo Nordisk Inc.
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                                                                                                                          Plainsboro, NJ 08536
                                                                                                                          1-844-363-4448
                                                                                                                          © 2014-2016 Novo Nordisk
                                                                                                                          USA16SAM01115          4/2016
                                                                Saxenda® (liraglutide [rDNA origin] injection) Medication Guide                                                                            9
Medication Guide                                                    Who should not use Saxenda ?       ®                                   • When starting a new prefilled Saxenda pen, you must follow
                                                                                                                                                                                    ®

                                                                    Do not use Saxenda® if:                                                  the “Check the Saxenda® flow with each new pen” (see the
Saxenda® (sax-end-ah)                                                                                                                        detailed Patient Instructions for Use that comes with this
(liraglutide [rDNA origin])                                          • you or any of your family members have a history of medullary
                                                                                                                                             Medication Guide). You only need to do this 1 time with each
Injection                                                              thyroid cancer.
                                                                                                                                             new pen. You should also do this if you drop your pen. If you do
Read this Medication Guide and Patient Instructions for Use          • you have Multiple Endocrine Neoplasia syndrome type 2                 the “Check the Saxenda® flow with each new pen” before each
that come with Saxenda® before you start using Saxenda®                (MEN 2). This is a disease where people have tumors in more           injection, you will run out of medicine too soon.
and each time you get a refill. There may be new information.          than one gland in their body.                                       • Inject your dose of Saxenda® under the skin (subcutaneous
This Medication Guide does not take the place of talking with        • you are allergic to liraglutide or any of the ingredients in          injection) in your stomach area (abdomen), upper leg (thigh),
your healthcare provider about your medical condition or your          Saxenda®. See the end of this Medication Guide for a complete         or upper arm, as instructed by your healthcare provider. Do
treatment. If you have questions about Saxenda ® after reading this    list of ingredients in Saxenda®.                                      not inject into a vein or muscle.
information, ask your healthcare provider or pharmacist.               Symptoms of a serious allergic reaction may include:                • If you take too much Saxenda ®, call your healthcare provider
                                                                         o swelling of your face, lips, tongue, or throat                    right away. Too much Saxenda ® may cause severe nausea and
What is the most important information I should know
about Saxenda ?     ®                                                    o fainting or feeling dizzy                                         vomiting.
                                                                         o very rapid heartbeat                                            • If you miss your daily dose of Saxenda ®, use Saxenda® as
Serious side effects may happen in people who take Saxenda ,     ®
                                                                         o problems breathing or swallowing                                  soon as you remember. Then take your next daily dose as usual
including:
                                                                         o severe rash or itching                                            on the following day. Do not take an extra dose of Saxenda®
1. Possible thyroid tumors, including cancer. During the                                                                                     or increase your dose on the following day to make up for your
   drug testing process, the medicine in Saxenda caused rats
                                                     ®                 Talk  with your healthcare provider if you are not sure if you
                                                                                                                                             missed dose. If you miss your dose of Saxenda® for 3 days or
   and mice to develop tumors of the thyroid gland. Some of these      have any of these conditions.
                                                                                                                                             more, call your healthcare provider to talk about how to restart
   tumors were cancers. It is not known if Saxenda® will cause       • are pregnant or planning to become pregnant. Saxenda ® may            your treatment.
   thyroid tumors or a type of thyroid cancer called medullary         harm your unborn baby.
                                                                                                                                           • Never share your Saxenda ® pen or needles with another
   thyroid cancer in people. If medullary thyroid cancer occurs,                                                                             person. You may give an infection to them, or get an infection
                                                                    What should I tell my healthcare provider before using
   it may lead to death if not detected and treated early. If you                                                                            from them.
                                                                    Saxenda®?
   develop tumors or cancer of the thyroid, your thyroid may have
   to be surgically removed.                                        Before taking Saxenda ®, tell your healthcare provider if you:         What are the possible side effects of Saxenda®?
    • Before you start taking Saxenda , tell your healthcare
                                          ®                          • have any of the conditions listed in the section “What is the       Saxenda® may cause serious side effects, including:
        provider if you or any of your family members have had         most important information I should know about Saxenda® ?”
                                                                                                                                            • possible thyroid tumors, including cancer. See “What
        thyroid cancer, especially medullary thyroid cancer, or      • are taking certain medications called GLP-1 receptor agonists.
                                                                                                                                              is the most important information I should know about
        Multiple Endocrine Neoplasia syndrome type 2. Do not         • are allergic to liraglutide or any of the other ingredients in         Saxenda® ?”
        take Saxenda® if you or any of your family members have        Saxenda®. See the end of this Medication Guide for a list of
        medullary thyroid cancer, or if you have Multiple Endocrine                                                                         • inflammation of the pancreas (pancreatitis). See
                                                                       ingredients in Saxenda®.                                               “What is the most important information I should know about
        Neoplasia syndrome type 2. People with these conditions      • have severe problems with your stomach, such as slowed
        already have a higher chance of developing medullary                                                                                  Saxenda® ?”
                                                                       emptying of your stomach (gastroparesis) or problems with            • gallbladder problems. Saxenda® may cause gallbladder
        thyroid cancer in general and should not take Saxenda ®.       digesting food.
    • While taking Saxenda , tell your healthcare provider if
                               ®                                                                                                              problems including gallstones. Some gallbladder problems
                                                                     • have or have had kidney or liver problems.                             need surgery. Call your healthcare provider if you have any of
        you get a lump or swelling in your neck, hoarseness,         • have or have had depression or suicidal thoughts.
        trouble swallowing, or shortness of breath. These may be                                                                              the following symptoms:
        symptoms of thyroid cancer.                                  • have any other medical conditions.                                      • pain in your upper stomach (abdomen)
2. Inflammation of the pancreas (pancreatitis), which may • are pregnant or plan to become pregnant. Saxenda may harm
                                                                                                                               ®
                                                                                                                                               • fever
   be severe and lead to death.                                        your  unborn  baby.  Tell your healthcare  provider if you become       • yellowing of your skin or eyes (jaundice)
                                                                       pregnant while taking Saxenda®. If you are pregnant you                 • clay-colored stools
   Before taking Saxenda®, tell your healthcare provider
   if you have had:                                                    should stop using Saxenda®.                                          • low blood sugar (hypoglycemia) in people with type
    • pancreatitis                                                   • are  breastfeeding or plan to breastfeed. It is not known              2 diabetes mellitus who also take medicines to treat
                                                                       if Saxenda® passes into your breast milk. You and your                 type 2 diabetes mellitus. Saxenda® can cause low blood
    • stones in your gallbladder (gallstones)
                                                                       healthcare provider should decide if you will take Saxenda® or         sugar in people with type 2 diabetes mellitus who also take
    • a history of alcoholism                                          breastfeed. You should not do both without talking with your           medicines used to treat type 2 diabetes mellitus (such as
    • high blood triglyceride levels                                   healthcare provider first.                                             sulfonylureas). In some people, the blood sugar may get so
   These medical conditions can make you more likely to             Tell your healthcare provider about all the medicines you take            low that they need another person to help them. If you take a
   get pancreatitis in general. It is not known if having these     including prescription and non-prescription medicines, vitamins,          sulfonylurea medicine, the dose may need to be lowered while
   conditions will lead to a higher chance of getting pancreatitis  and herbal supplements. Saxenda ® slows stomach emptying                  you use Saxenda®. Signs and symptoms of low blood sugar
   while taking Saxenda .  ®
                                                                    and can affect medicines that need to pass through the stomach            may include:
While taking Saxenda® :                                             quickly. Saxenda® may affect the way some medicines work and               • shakiness                    • confusion
Stop taking Saxenda and call your healthcare provider right
                       ®                                            some other medicines may affect the way Saxenda® works. Tell               • sweating                     • irritability
away if you have pain in your stomach area (abdomen) that is        your healthcare provider if you take other diabetes medicines,             • headache                     • hunger
severe and will not go away. The pain may happen with or without especially sulfonylurea medicines or insulin.                                 • drowsiness                   • fast heartbeat
vomiting. The pain may be felt going from your abdomen through Know the medicines you take. Keep a list of them with you to show               • weakness                     • feeling jittery
to your back. This type of pain may be a symptom of pancreatitis. your healthcare provider and pharmacist each time you get a new              • dizziness
                                                                    medicine.                                                                 Talk to your healthcare provider about how to recognize and
What is Saxenda®?
                                                                                                                                              treat low blood sugar. Make sure that your family and other
 • Saxenda® is an injectable prescription medicine that may help How should I use Saxenda ?
                                                                                                      ®
                                                                                                                                              people who are around you a lot know how to recognize and
   some obese adults or overweight adults who also have weight       • Use Saxenda exactly as prescribed by your healthcare
                                                                                      ®
                                                                                                                                              treat low blood sugar. You should check your blood sugar
   related medical problems lose weight and keep the weight off.       provider. Your dose should be increased after using Saxenda®           before you start taking Saxenda ® and while you take Saxenda®.
 • Saxenda® should be used with a reduced calorie diet and             for 1 week until you reach the 3 mg dose. After that, do not
                                                                       change your dose unless your healthcare provider tells you to.       • increased heart rate. Saxenda® can increase your heart
   increased physical activity.                                                                                                               rate while you are at rest. Your healthcare provider should
 • Saxenda® is not for the treatment of type 2 diabetes mellitus.    • Saxenda® is injected 1 time each day, at any time during the           check your heart rate while you take Saxenda®. Tell your
 • Saxenda® and Victoza® have the same active ingredient,              day.                                                                   healthcare provider if you feel your heart racing or pounding
   liraglutide. Saxenda® and Victoza® should not be used             • You can take Saxenda® with or without food.                            in your chest and it lasts for several minutes when taking
   together.                                                         • Your doctor should start you on a diet and exercise program            Saxenda®.
 • Saxenda® should not be used with other GLP-1 receptor               when you start taking Saxenda®. Stay on this program while           • kidney problems (kidney failure). Saxenda® may
   agonist medicines.                                                  you are taking Saxenda®.                                               cause nausea, vomiting or diarrhea leading to loss of fluids
 • Saxenda® and insulin should not be used together.                 • Saxenda® comes in a prefilled pen.                                     (dehydration). Dehydration may cause kidney failure which
 • It is not known if Saxenda ® is safe and effective when taken     • Your healthcare provider must teach you how to inject                  can lead to the need for dialysis. This can happen in people
   with other prescription, over-the-counter, or herbal weight loss    Saxenda® before you use it for the first time. If you have             who have never had kidney problems before. Drinking plenty of
   products.                                                           questions or do not understand the instructions, talk to your          fluids may reduce your chance of dehydration.
 • It is not known if Saxenda ® changes your risk of heart             healthcare provider or pharmacist. See the Patient Instruc-         Call your healthcare provider right away if you have nausea,
   problems or stroke or of death due to heart problems or stroke.     tions for Use that come with this Medication Guide for detailed     vomiting, or diarrhea that does not go away, or if you cannot drink
 • It is not known if Saxenda ® can be used safely in people who       information about the right way to use your Saxenda ® pen.          liquids by mouth.
   have had pancreatitis.                                            • Pen needles are not included. Use the Saxenda® pen with Novo         • serious allergic reactions. Serious allergic reactions can
 • It is not known if Saxenda ® is safe and effective in children      Nordisk disposable needles. You may need a prescription to             happen with Saxenda®. Stop using Saxenda®, and get medical
   under 18 years of age. Saxenda® is not recommended for use          get pen needles from your pharmacist. Ask your healthcare              help right away if you have any symptoms of a serious allergic
   in children.                                                        provider which needle size is best for you.                            reaction. See “Who should not use Saxenda®?”
                                                                Saxenda® (liraglutide [rDNA origin] injection) Medication Guide                                                          10
 • depression or thoughts of suicide. You should pay
   attention to any mental changes, especially sudden changes,
   in your mood, behaviors, thoughts, or feelings. Call your
   healthcare provider right away if you have any mental changes
   that are new, worse, or worry you.
Common side effects of Saxenda® include:
 • nausea
 • diarrhea
 • constipation
 • low blood sugar (hypoglycemia)
 • vomiting
 • headache
 • decreased appetite
 • upset stomach
 • tiredness
 • dizziness
 • stomach pain
 • changes in enzyme (lipase) levels in your blood
Nausea is most common when first starting Saxenda®, but
decreases over time in most people as their body gets used to the
medicine.
Tell your healthcare provider if you have any side effect that
bothers you or that does not go away.
These are not all the side effects with Saxenda®. For more
information, ask your healthcare provider or pharmacist.
Call your doctor for medical advice about side effects. You may
report side effects to FDA at 1-800-FDA-1088.
Keep your Saxenda® pen, pen needles, and all
medicines out of the reach of children.
General information about the safe and effective use of
Saxenda®.
Medicines are sometimes prescribed for purposes other than
those listed in a Medication Guide. Do not use Saxenda ® for a
condition for which it was not prescribed. Do not give Saxenda®
to other people, even if they have the same symptoms you have. It
may harm them.
This Medication Guide summarizes the most important
information you should know about using Saxenda®. If you would
like more information, talk with your healthcare provider. You can
ask your pharmacist or healthcare provider for information about
Saxenda® that is written for health professionals.
For more information, go to saxenda.com or call
1-844-363-4448.
What are the ingredients in Saxenda®?
Active Ingredient: liraglutide
Inactive Ingredients: disodium phosphate dihydrate, propylene
glycol, phenol and water for injection

For more information go to www.saxenda.com




                                                                                                                             Manufactured by:
                                                                                                                             Novo Nordisk A/S
                                                                                                                             DK-2880 Bagsvaerd, Denmark
                                                                                                                             For information about Saxenda® contact:
                                                                                                                             Novo Nordisk Inc.
                                                                                                                             800 Scudders Mill Road
                                                                                                                             Plainsboro, NJ 08536
                                                                                                                             1-844-363-4448
                                                                                                                             Issued: December 2014
                                                                                                                             Version: 1
                                                                                                                             This Medication Guide has been approved by the U.S. Food and
                                                                                                                             Drug Administration.
                                                                                                                             Saxenda®, Victoza®, NovoFine ®, and NovoTwist ® are registered
                                                                                                                             trademarks of Novo Nordisk A/S.
                                                                                                                             Saxenda® is covered by US Patent Nos. 6,268,343, 6,458,924,
                                                                                                                             7,235,627 and 8,114,833 and other patents pending.
                                                                                                                             Saxenda® pen is covered by US Patent
                                                                                                                             Nos. 6,899,699, 7,686,786, 8,672,898,
                                                                                                                             8,684,969 and other patents pending.
                                                                                                                             © 2014-2016 Novo Nordisk
                                                                                                                             USA16SAM01115 4/2016
                                                                                   Saxenda® (liraglutide [rDNA origin] injection) Medication Guide                                                                           11
Instructions for Use                                                                                                                                         A small drop may remain at the needle tip, but it will not be
                                                                                       • Push the needle              NovoFine ®             NovoTwist ®     injected.
 • Read these instructions carefully before using your                                   straight onto the
   Saxenda® pen.                                                                         pen. Turn until it          D                                       Only check the Saxenda® flow before your first
 • Do not use your pen without proper training from                                      is on tight.                                                        injection with each new pen.
   your healthcare provider. Make sure that you know how
   to give yourself an injection with the pen before you start your                                                                                        Step 3. Select your dose
   treatment.                                                                                                                                                                                 I
                                                                                                                                                           • Turn the dose selector
   If you are blind or have poor eyesight and cannot                                                                                                         until the dose counter
   read the dose counter on the pen, do not use this pen                                                                                                     shows your dose (0.6
   without help. Get help from a person with good eyesight who                                                                                               mg, 1.2 mg, 1.8 mg,                      0
   is trained to use the Saxenda® pen.                                                                                                                       2.4 mg or 3 mg).
 • You can refresh your training at any time by watching                               • Pull off the outer           NovoFine ®             NovoTwist ®
                                                                                                                                                             Make sure you know the
   the online training video at www.saxenda.com.                                         needle cap. Do                                                      dose of Saxenda® you
                                                                                         not throw it away.          E
 • Start by checking your pen to make sure that it                                                                                                           should use.
   contains Saxenda®, then look at the pictures below to                                                                                                     If you select the wrong                         Example
   get to know the different parts of your pen and needle.                                                                                                   dose, you can turn the             0.6
 • Your pen is a prefilled dial-a-dose pen. It contains                                                                                                      dose selector forward or                        0.6 mg
   18 mg of liraglutide, and you can select doses of 0.6 mg, 1.2                                                                                             backwards to the correct                        selected
   mg, 1.8 mg, 2.4 mg and 3 mg. Your pen is made to be used                                                                                                  dose.
   with NovoFine ® or NovoTwist ® disposable needles up to a                                                                                                 Always use the dose counter and the dose pointer to
   length of 8 mm.                                                                                                                                           see how many mg you select.
                                                                                       • Pull off the inner          NovoFine ®           NovoTwist ®        You will hear a “click” every time you turn the dose selector.
Saxenda® pen and needle
                                                                                         needle cap and                                                      Do not set the dose by counting the number of clicks
(example)                                                                                                          F
                                                                                         throw it away.                                                      you hear.
         Pen         Pen                                   Dose          Dose            A drop of Saxenda®                                                  Do not use the pen scale to set the dose. It does not show
        scale       window                                counter       selector         may appear at the                                                   exactly how much Saxenda ® is left in your pen.
                                                                                         needle tip. This is                                                 Only doses of 0.6 mg, 1.2 mg, 1.8 mg, 2.4 mg or 3 mg
                                                                                         normal, but you
                         15
                    12




                                                                                                                                                             can be selected with the dose selector. The selected
                9
            6
        3




                                                              0
                              liraglutide (rDNA origin)
                              injection                                                  must still check the                                                dose must line up exactly with the dose pointer to make sure
                                                                                         Saxenda® flow, if                                                   that you get a correct dose.
                                                               Dose         Dose         you use a new pen                                                   The dose selector changes the dose. Only the dose counter and
                                                              pointer      button        for the first time.                                                 dose pointer will show how many mg you select for each dose.
                Pen cap                                                                  Always use a new needle for each injection.                         You can select up to 3 mg each dose. When your pen contains
                                                                                         This will prevent contamination, infection, leakage of              less than 3 mg the dose counter stops before 3 mg is shown.
                                                                    Flow                 Saxenda®, and blocked needles leading to the wrong dose.            The dose selector clicks differently when turned forward,
                                                          0
                                                                    check                Never use a bent or damaged needle.
                                                                    symbol                                                                                   backwards or past the number of mg left. Do not count the
                                                                                         Do not attach a new needle to your pen until you are ready          pen clicks.
                                                                                         to take your injection.
NovoFine®
                                                                                                                                                             How much Saxenda®                    6
  Outer      Inner           Paper                                                    Step 2. Check the                                                      is left?                        J                       Example
needle cap needle cap Needle tab                                                      Saxenda® flow with each            G
                                                                                                                                                           • The pen scale shows                  3
                                                                                      new pen.                                                               you about how much                                      Approx.
                                                                                      • Check the Saxenda®                                                   Saxenda® is left in your                                3 mg left
                                                                                        flow before your first                     0                         pen.
NovoTwist ®                                                                             injection with each
                                                                                        new pen.
  Outer      Inner           Paper                                                      If your Saxenda ® pen is
needle cap needle cap Needle tab                                                        already in use, go to Step
                                                                                        3 “Select your dose”.
                                                                                      • Turn the dose selector            0                 Flow check
                                                                                        until the dose counter                              symbol          • To see how much
                                                                                        shows the flow check                                selected          Saxenda® is left,                K
Step 1. Prepare your                                                                    symbol (         ).                                                   use the dose counter:
pen with a new needle           A
                                                                                                                                                              Turn the dose selector until
• Wash your hands with                                                                 • Hold the pen with the                                                the dose counter stops.                  0
  soap and water.                                                                        needle pointing up.            H                                     If it shows 3, at least 3
• Check the name and                                                                     Press and hold in the                                                mg are left in your pen. If
  colored label of your                                                                  dose button until the                                                the dose counter stops
  pen, to make sure that it                                                              dose counter shows 0.                                                before 3 mg, there is not
  contains Saxenda®. This is                                                             The 0 must line up with                                              enough Saxenda® left for a
  especially important if you
                                                                                                                                       3
                                                                                                                                                              full dose of 3 mg.                              Example
                                                                                         the dose pointer.                             6
                                                                                                                                                                                                              Dose
  take more than 1 type of medicine.                                                     A drop of Saxenda® will                                              If you need more                  2.4           counter
                                                                                                                                       9

• Pull off the pen cap.                                                                  appear at the needle tip.
                                                                                                                                       12
                                                                                                                                                              Saxenda® than what is                           stopped:
                                                                                       • If no drop appears,
                                                                                                                                       15
                                                                                                                                                              left in your pen                                2.4 mg left
• Check that Saxenda®                                                                    repeat Step 2 above as                                            Only if trained or told by
  in your pen is clear                B
                                                                                         shown in Figures G and                                            your healthcare provider, you may split your dose between your
  and colorless.                                                                         H up to 6 times. If there is                                      current pen and a new pen. Use a calculator to plan the doses as
  Look through the pen                                                                   still no drop, change the                                         instructed by your healthcare provider.
  window. If Saxenda ®                                                                   needle and repeat Step 2                                             Be very careful to calculate correctly.
  looks cloudy, do not use                                                               as shown in Figures G and                                            If you are not sure how to split your dose using 2 pens, then
                                                                                                                                    0




  the pen.                                                                               H 1 more time.                                                       select and inject the dose you need with a new pen.
                                                                                         Do not use the pen
                                                                                         if a drop of Saxenda ®                                            Step 4. Inject your dose
                                                                                                                                                                                            L
• Take a new                      NovoFine ®                      NovoTwist ®            still does not appear.                                            • Insert the needle
  needle, and tear                                                                       Contact Novo Nordisk at                                             into your skin as your
  off the paper tab.           C                                                         1-844-363-4448.                                                     healthcare provider has
                                                                                                                                                                                                                   2.4




                                                                                         Always make sure                                                    shown you.
                                                                                         that a drop appears                                               • Make sure you can
                                                                                         at the needle tip before you use a new pen for the first time.      see the dose counter.                            15

                                                                                                                                                                                                              12



                                                                                         This makes sure that Saxenda® flows.                                Do not cover it with your                         9

                                                                                                                                                                                                               6




                                                                                                                                                             fingers. This could stop
                                                                                                                                                                                                               3



                                                                                         If no drop appears, you will not inject any Saxenda®, even
                                                                                         though the dose counter may move. This may mean that                the injection.
                                                                                         there is a blocked or damaged needle.
                                                                             Saxenda® (liraglutide [rDNA origin] injection) Medication Guide                                                                   12
                                                                                                                                                     • The Saxenda pen you are using should be thrown away after
                                                                                                                                                                   ®
• Press and hold down                                                            • Put the pen cap on                                                  30 days, even if it still has Saxenda® left in it.
  the dose button until                M                                           your pen after each use       R
                                                                                                                                                     • Do not freeze Saxenda®. Do not use Saxenda® if it has been
  the dose counter                                                                 to protect Saxenda® from                                            frozen.
  shows 0. The 0 must line                                                         light.                                                            • Unused Saxenda® pens may be used until the expiration date
  up with the dose pointer.




                                                                     0
                                                                                                                                                       printed on the label, if kept in the refrigerator.
  You may then hear or feel
  a click.                                                                                                                                           • Keep Saxenda® away from heat and out of the light.
                                                                15




                                           0
                                                                12

                                                                9

                                                                6

                                                                3




                                                                                   If you do not have a
                                                                                   sharps container,                 S
• Keep the needle in                                                               follow a 1-handed needle
  your skin after the dose             N                    Count slowly:          recapping method.
  counter has returned to 0                                                        Carefully slip the needle




                                                                                                                                                3
  and count slowly to 6.                                     1-2-3-4-5-6           into the outer needle cap.
• If the needle is removed                                                         Dispose of the needle in a
  earlier, you may see a                                                           sharps container as soon
  stream of Saxenda®                                                               as possible.
                                                                                   Never try to put the
                                                    0




  coming from the needle
  tip. If this happens, the full                                                   inner needle cap back
  dose will not be delivered.                                                      on the needle. You may stick yourself with the needle.
                                                                                   Always remove the needle from your pen.
                                               15

                                               12




                                                                                   This prevents contamination, infection, leakage of Saxenda®,
                                               9

                                               6

                                               3



                                                                                   and blocked needles leading to the wrong dose. If the needle is
                                                                                   blocked, you will not inject any Saxenda®.
                                                                                   Always dispose of the needle after each injection.
• Remove the needle                                                              • Do not throw away in the household trash. Put the
  from your skin.                O              15
                                                                                   needle and any empty Saxenda® pen or any pen used for
                                                                                   30 days still containing Saxenda® in a FDA-cleared sharps
                                                12
  If blood appears at the                        9
  injection site, press lightly.                6
                                                                                   disposal container right away after use.
  Do not rub the area.                          3                                • If you do not have a FDA-cleared sharps disposal container,
  Always watch the                                                                 you may use a household container that is:
  dose counter to know                                                               o made of a heavy-duty plastic
  how many mg you                                                                    o can be closed with a tight-fitting, puncture-resistant lid,
  inject. Hold the dose                                                                 without sharps being able to come out upright and stable
  button down until the dose                                                            during use
  counter shows 0.                                                                   o leak-resistant
  How to identify a blocked or damaged needle?                                       o properly labeled to warn of hazardous waste inside the
   • If 0 does not appear in the dose counter after continuously                        container
       pressing the dose button, you may have used a blocked or                  • When your sharps disposal container is almost full, you will
       damaged needle.                                                             need to follow your community guidelines for the right way to
   • If this happens you have not received any Saxenda® even                       dispose of your sharps disposal container. There may be state
       though the dose counter has moved from the original dose                    or local laws about how you should throw away used needles
       that you have set.                                                          and syringes. For more information about the safe sharps
                                                                                   disposal, and for specific information about sharps disposal in
  How to handle a blocked needle?                                                  the state that you live in, go to the FDA’s website at:
  Change the needle as described in Step 5, and repeat all                         http://www.fda.gov/safesharpsdisposal
  steps starting with Step 1: “Prepare your pen with a new                       • Do not dispose of your used sharps disposal container in your
  needle”. Make sure you select the full dose you need.                            household trash unless your community guidelines permit this.
  Never touch the dose counter when you inject. This                               Do not recycle your used sharps disposal container.
  can stop the injection.                                                        • Safely dispose of Saxenda ® that is out of date or no longer
  You may see a drop of Saxenda® at the needle tip after                           needed.
  injecting. This is normal and does not affect your dose.

Step 5. After your                 NovoFine ®                 NovoTwist ®          Important
injection                                                                        • Caregivers must be very careful when handling used
                                   P                                               needles to prevent needle sticks and cross infection.
 • Carefully remove
   the needle from                                                               • Never use a syringe to withdraw Saxenda ® from your pen.
   the pen. Do not put                                                           • Always carry an extra pen and new needles with you, in
   the needle caps back                                                            case of loss or damage.
   on the needle, to                                                             • Always keep your pen and needles out of reach of others,
                                                                                   especially children.
                                                        3

   avoid needle sticks.
                                                                         3
                                                        6

                                                                                 • Do not share your Saxenda® pen or needles with
                                                                         6
                                                        9

                                                                                   anyone else. You may give an infection to them or get an
                                                                         9



                                                                                   infection from them.
• Place the needle in                                                            • Always keep your pen with you. Do not leave it in a car or
  a sharps container                   Q
                                                                                   other place where it can get too hot or too cold.
  right away to reduce
  the risk of needle
  sticks.                                                                       Caring for your pen
                                                                                • Do not drop your pen or knock it against hard surfaces.
                                                                                  If you drop it or suspect a problem, attach a new needle and
                                                                                  check the Saxenda® flow before you inject.
                                                                                • Do not try to repair your pen or pull it apart.
                                                                                • Do not expose your pen to dust, dirt or liquid.
                                                                                • Do not wash, soak, or lubricate your pen. If necessary,
                                                                                  clean it with mild detergent on a moistened cloth.
                                                                                How should I store my Saxenda® pen?                                  This Medication Guide and Instructions for Use have
                                                                                                                                                     been approved by the U.S. Food and
                                                                                • Store your new, unused Saxenda® pens in the refrigerator at        Drug Administration.
                                                                                  36°F to 46°F (2°C to 8°C).
                                                                                                                                                     March 2016
                                                                                • Store your pen in use for 30 days at 59ºF to 86ºF (15ºC to
                                                                                  30ºC) or in a refrigerator at 36°F to 46°F (2°C to 8°C).           © 2014-2016 Novo Nordisk
                                                                                                                                                     USA16SAM01115 4/2016
                    EXHIBIT	S	


COMPARISON LISTING OF SAXENDA AND VICTOZA ADVERSE
REACTIONS EXCERPTED FROM FDA FULL PRESCRIBING
INFORMATION
	




                    EXHIBIT	S	
	
                                          	
Comparison	listing	of	Saxenda	and	Victoza	Adverse	Reactions	Excerpted	from	
                        FDA	Full	Prescribing	Information	
                                        	
SAXENDA: Adverse Reactions                        Breast Cancer
     Thyroid C-Cell Tumors                        Papillary Thyroid Cancer
     Acute Pancreatitis                           Colorectal Neoplasms
     Acute Gall Bladder Disease                   Cardiac Conduction Disorders
     Hypoglycemia                                 Hypotension
     Heart Rate Increase                          Laboratory Abnormalities:
     Renal Impairment                                     Liver Enzymes
     Hypersensitivity Reactions                           Serum Calcitonin
     Suicidal Behavior                                    Serum Lipase and
     Nausea                                               Amylase
     Diarrhea                                     Post Marketing Experience:
     Constipation                                         Neoplasms – Medullary
     Vomiting                                             Thyroid Carcinoma
     Dyspepsia                                            Gastrointestinal Disorders
     Abdominal Pain                                       Metabolism & Nutrition
     Upper Abdominal Pain                                 Disorders
     Gastroesophageal Reflux Disease                      Renal & Urinary
     Abdominal Distension                                 Disorders
     Eructation                                           General Disorders
     Flatulence                                           Immune System
     Dry Mouth                                            Disorders
     Decreased Appetite                                   Hepatobiliary Disorders
     Headache                              	                                           	
     Dizziness
     Fatigue
     Injection Site Erythema
     Injection Site Reaction
     Asthenia
     Gastroenteritis
     Urinary Tract Infection
     Viral Gastroenteritis
     Increased Lipase
     Insomnia
     Anxiety		
     Hypoglycemia	
     Gastrointestinal Reactions
     Asthenia, Fatigue, Maliase,
     Dysgeusia and Dizziness
     Immunogenicity
     Allergic reactions
     Injection Site Reactions
VICTOZA - Adverse Reactions         	
Thyroid C-Cell Tumors
Pancreatitis
Acute Gall Bladder Disease
Use with Medications Known To
Cause Hypoglycemia
Renal Impairment
Hypersensitivity Reactions
Nausea
Diarrhea
Headache
Nasopharyngitis
Vomiting
Decreased appetite
Dyspepsia
Upper Respiratory Infection
Constipation
Back Pain
Hypoglycemia
Injection Site Reaction
Gastrointestinal Reactions
Malignancy
Papillary Thyroid carcinoma
Cholelithiasis	or	Cholecystitis*	
Immunogenicity
Laboratory Tests:
        Bilirubin
        Calcitonin
        Lipase and Amylase
Post Marketing Experience:
        Medullary Thyroid
        Carcinoma
        Dehydration
        Increased Serum
        Creatine,
        Acute renal Failure
        Allergic Reactions
        Acute Pancreatitis
        Hepatobiliary Disorders
